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   Loy Arlan Brunson
   138 East 12300 South #C-196
   Draper, UT 84020
   Telephone: 801-602-3628
   Email: Loy@7discoveries.com
   Pro Se


                          IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF UTAH


   LOY ARLAN BRUNSON in his personal capacity and
   as a member of "WE THE PEOPLE''.                             FOURTH
                                                           AMENDED COMPLAINT
                          Plaintiff,

                    vs.                               Case No. 2:21-cv-00175

   Named persons in their capacities as United States Judge: Robert J. Shelby
   House Representatives: ALMA S. ADAMS; PETE
   AGUILAR; COLIN Z. ALLRED; MARK E.                  Magistrate Judge: Cecilia M. Romero
   AMODEI; KELLY ARMSTRONG; JAKE
   AUCHINCLOSS; CYNTHIA AXNE; DON BACON;              TRIAL BY JURY DEMANDED
   TROY BALDERSON; ANDY BARR; NANETTE
   DIAZ BARRAGAN; KAREN BASS; JOYCE
   BEATTY; AMI BERA; DONALDS. BEYER JR.; GUS M. ILIRAKIS; SANFORD D. BISHOP
   JR.; EARL BLUMENAUER; LISA BLUNT ROCHESTER; SUZANNE BONAMICI;
   CAROLYN BOURDEAUX; JAMAAL BOWMAN; BRENDAN F. BOYLE; KEVIN BRADY;
   ANTHONY G. BROWN; JULIA BROWNLEY; VERN BUCHANAN; KEN BUCK; LARRY
   BUCSHON; CORI BUSH; CHERI BUSTOS; G. K. BUTTERFIELD; SALUD 0. CARBAJAL;
   TONY CARDENAS; ANDRE CARSON; MATT CARTWRIGHT; ED CASE; SEAN
   CASTEN; KATHY CASTOR; JOAQUIN CASTRO; LIZ CHENEY; JUDY CHU; DAVID N.
   CICILLINE; KATHERINE M. CLARK; YVETTE D. CLARKE; EMANUEL CLEAVER;
   JAMES E. CLYBURN; STEVE COHEN; JAMES COMER; GERALD E. CONNOLLY; JIM
   COOPER; J. LUIS CORREA; JIM COSTA; JOE COURTNEY; ANGIE CRAIG; DAN
   CRENSHAW; CHARLIE CRIST; JASON CROW; HENRY CUELLAR; JOHN R. CURTIS;
   SHARICE DAVIDS; DANNY K. DAVIS; RODNEY DA VIS; MADELEINE DEAN; PETER
   A. DEFAZIO; DIANA DEGETTE; ROSAL. DELAURO; SUZAN K. DELBENE; ANTONIO
   DELGADO; VAL BUTLER DEMINGS; MARK DESAULNIER; THEODORE E. DEUTCH;
   DEBBIE DINGELL; LLOYD DOGGETT; MICHAEL F. DOYLE; TOM EMMER;
   VERONICA ESCOBAR; ANNA G. ESHOO; ADRIANO ESPAILLAT; DWIGHT EVANS;
   RANDY FEENSTRA; A. DREW FERGUSON IV; BRIAN K. FITZPATRICK; LIZZIE
   LETCHER; JEFF FORTENBERRY; BILL FOSTER; LOIS FRANKEL; MARCIA L. FUDGE;
   MIKE GALLAGHER; RUBEN GALLEGO; JOHN GARAMENDI; ANDREW R.



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    GARBARINO; SYLVIA R. GARCIA; JESUS G. GARCIA; JARED F. GOLDEN; JIMMY
    GOMEZ; TONY GONZALES; ANTHONY GONZALEZ; VICENTE GONZALEZ; JOSH
    GOTTHEIMER; K.A.Y GRANGER; AL GREEN; RAUL M. GRIJALVA; GLENN
    GROTHMAN; BRETT GUTHRIE; DEBRA A. HAALAND; JOSH HARDER; ALCEE L.
   HASTINGS; JAHANA HAYES; JAIME HERRERA BEUTLER; BRIAN HIGGINS; J.
   FRENCH HILL; JAMES A. HIMES; ASHLEY HINSON; TREY HOLLINGSWORTH;
    STEVEN HORSFORD; CHRISSY HOULAHAN; STENY H. HOYER; JARED HUFFMAN;
   BILL HUIZENGA; SHEILA JACKSON LEE; SARA JACOBS; PRAMILA JAYAPAL;
   HAKEEM S. JEFFRIES; DUSTY JOHNSON; EDDIE BERNICE JOHNSON; HENRY C.
   JOHNSON JR.; MONDAIRE JONES; DAVID P. JOYCE; KAIALI'I KAHELE; MARCY
   KAPTUR; JOHN KATKO; WILLIAM R. KEATING; RO KHANNA; DANIEL T. KILDEE;
   DEREK KILMER; ANDY KIM; YOUNG KIM; RON KIND; ADAM KINZINGER; ANN
   KIRKPATRICK; RAJA KRISHNAMOORTHI; ANN M. KUSTER; DARIN LAHOOD;
   CONOR LAMB; JAMES R. LANGEVIN; RICK LARSEN; JOHN B. LARSON; ROBERT E.
   LATT A; JAKE LATURNER; BRENDA L. LAWRENCE; AL LAWSON JR.; BARBARA
   LEE; SUSIE LEE; TERESA LEGER FERNANDEZ; ANDY LEVIN; MIKE LEVIN; TED
   LIEU; ZOE LOFGREN; ALAN S.LOWENTHAL; ELAINE G. LURIA; STEPHEN F. LYNCH;
   NANCY MACE; TOM MALINOWSKI; CAROLYN B. MALONEY; SEAN PATRICK
   MALONEY; KATHYE. MANNING; THOMAS MASSIE; DORIS 0. MATSUI; LUCY
   MCBATH; MICHAEL T. MCCAUL; TOM MCCLINTOCK; BETTY MCCOLLUM; A.
   ADONALD MCEACHIN;JAMES P.MCGOVERN;PATRICK T. MCHENRY; DAVID B.
   MCKINLEY; JERRY MCNERNEY; GREGORY W. MEEKS; PETER MEIJER; GRACE
   MENG; KWEISI MFUME; MARIANNETTE MILLER-MEEKS; JOHN R. MOOLENAAR;
   BLAKE D. MOORE; GWEN MOORE; JOSEPH D. MORELLE; SETH MOULTON; FRANK
   J. MRVAN; STEPHANIE N. MURPHY; JERROLD NADLER; GRACE F. NAPOLITANO;
   RICHARD E. NEAL; JOE NEGUSE; DAN NEWHOUSE; MARIE NEWMAN; DONALD
   NORCROSS; ALEXANDRIA OCASIO-CORTEZ; TOM O'HALLERAN; ILHAN OMAR;
   FRANK PALLONE JR.; JIMMY PANETTA; CHRIS PAPP AS; BILL PASCRELL JR.;
   DONALD M. PAYNE JR.; NANCY PELOSI; ED PERLMUTTER; SCOTT H. PETERS;
   DEAN PHILLIPS; CHELLIE PINGREE; MARK POCAN; KATIE PORTER; AYANNA
   PRESSLEY; DAVIDE. PRICE; MIKE QUIGLEY; JAMIE RASKIN; TOM REED;
   KATHLEEN M. RICE; CATHY MCMORRIS RODGERS; DEBORAH K. ROSS; CHIP ROY;
   LUCILLE ROYBAL-ALLARD; RAUL RUIZ; C. A. DUTCH RUPPERSBERGER; BOBBY L.
   RUSH; TIM RYAN; LINDA T. SANCHEZ; JOHN P. SARBANES; MARY GAY SCANLON;
   JANICE D. SCHAKOWSKY; ADAM B. SCHIFF;BRADLEY SCOTT SCHNEIDER; KURT
   SCHRADER; KIM SCHRIER; AUSTIN SCOTT; DAVID SCOTT; ROBERT C. SCOTT;
   TERRI A. SEWELL; BRAD SHERMAN; MIKIE SHERRILL; MICHAEL K. SIMPSON;
   ALBIO SIRES; ELISSA SLOTKIN; ADAM SMITH; CHRISTOPHER H. SMITH; DARREN
   SOTO; ABIGAIL DAVIS SPANBERGER; VICTORIA SPARTZ; JACKIE SPEIER; GREG
   STANTON; PETE STAUBER; MICHELLE STEEL; BRYAN STEIL; HALEY M. STEVENS;
   STEVE STIVERS; MARILYN STRICKLAND; THOMAS R. SUOZZI; ERIC SWALWELL;
   MARK D\KANO; VAN TAYLOR; BENNIE G. THOMPSON; MIKE THOMPSON; DINA
   TITUS; RASHIDA TLAIB; PAUL TONKO; NORMA J. TORRES; RITCHIE TORRES; LORI
   TRAHAN; DAVID J. TRONE; MICHAEL R. TURNER; LAUREN UNDERWOOD; FRED
   UPTON; JUAN VARGAS; MARC A. VEASEY; FILEMON VELA; NYDIA M.
   VELAZQUEZ; ANN WAGNER; MICHAEL WALTZ; DEBBIE WASSERMAN SCHULTZ;


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   :t\.1AXINE WATERS; BONNIE WATSON COLEMAN; PETER WELCH; BRAD R.
   WENSTRUP; BRUCE WESTERMAN; JENNIFER WEXTON; SUSAN WILD; NIKEMA
   WILLIAMS; FREDERICA S. WILSON; STEVE WOMACK; JOHN A. Y ARMUTH; DON
   YOUNG; the following persons named are for their capacities as U.S. Senators; TAMMY
   BALDWIN; JOHN BARRASSO; MICHAEL F. BENNET; MARSHA BLACKBURN;
   RICHARD BLUMENTHAL; ROY BLUNT; CORY A. BOOKER; JOHN BOOZMAN; MIKE
   BRAUN; SHERROD BROWN; RICHARD BURR; MARIA CANTWELL; SHELLEY
   CAPITO; BENJAMIN L. CARDIN; THOMAS R. CARPER; ROBERT P. CASEY JR.; BILL
   CASSIDY; SUSAN M. COLLINS; CHRISTOPHER A. COONS; JOHN CORNYN;
   CATHERINE CORTEZ MASTO; TOM COTTON; KEVIN CRAMER; MIKE CRAPO;
   STEVE DAINES; TAMMY DUCKWORTH; RICHARD J. DURBIN; JONI ERNST; DIANNE
   FEINSTEIN; DEB FISCHER; KIRSTEN E. GILLIBRAND; LINDSEY GRAHAM; CHUCK
   GRASSLEY; BILL HAGERTY; MAGGIE HASSAN; MARTIN HEINRICH; JOHN
   HICKENLOOPER; MAZIE HIRONO; JOHN HOEVEN; JAMES INHOFE; RON JOHNSON;
   TIM KAINE; MARK KELLY; ANGUS S. KING, JR.; AMY KLOBUCHAR; JAMES
   LANKFORD; PATRICK LEAHY; MIKE LEE; BEN LUJAN; CYNTHIA M. LUMMIS; JOE
   MANCHIN III; EDWARD J. MARKEY; MITCH MCCONNELL; ROBERT MENENDEZ;
   JEFF MERKLEY; JERRY MORAN; LISA MURKOWSKI; CHRISTOPHER MURPHY;
   PATTY MURRAY; JON OSSOFF; ALEX PADILLA; RAND PAUL; GARY C. PETERS;
   ROB PORTMAN; JACK REED; JAMES E. RISCH; MITT ROMNEY; JACKY ROSEN;
   MIKE ROUNDS; MARCO RUBIO; BERNARD SANDERS; BEN SASSE; BRIAN SCHATZ;
   CHARLES E. SCHUMER; RICK SCOTT; TIM SCOTT; JEANNE SHAHEEN; RICHARD C.
   SHELBY; KYRSTEN SINEMA; TINA SMITH;
   DEBBIE STABENOW; DAN SULLIVAN; JON TESTER; JOHN THUNE; THOM TILLIS;
   PATRICK J. TOOMEY; HOLLEN VAN; MARK R. WARNER; RAPHAEL G. WARNOCK;
   ELIZABETH WARREN; SHELDON WHITEHOUSE; ROGER F. WICKER; RON WYDEN;
   TODD YOUNG; JOSEPH ROBINETTE BID EN JR in his capacity of President of the United
   States; MICHAEL RICHARD PENCE in his capacity as former Vice President of the United
   States, and KAMALA HARRIS in her capacity as Vice President of the United States and JOHN
   and JANE DOES 1-100,
                      Defendants.


          Comes now Plaintiff, Loy Arlan Brunson ("Brunson'') in prose, alleges against

   Defendants as follows:

                                 PARTIES AND JURISDICTION

          1.     Plaintiff is an individual residing in Utah County, State of Utah.

          2.     Plaintiff voted in the 2020 Presidential Election.

          3.     The acts committed against Plaintiff took place while he was living and

   voted in Utah County, State of Utah.


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            4.      Plaintiff's right to bring this action includes. but not limited to. Amendment

    I of the United States Constitution which states: ··Congress shall make no law respecting

    an establishment of religion, or prohibiting the free exercise thereof; or abridging the

    freedom of speech, or of the press; or the right of the people peaceably to assemble, and to

    petition the Government for a redress of grievances." (Underline added)

            5.      Defendants all have an office, or workplace in Washington, DC.

           6.       This court has jurisdiction pursuant to 28 U.S.C. § 1331 & 1332, and the

    amount in controversy exceeds $75,000.00.

                         BACKDROP COMMON TO ALL ALLEGATIONS

                                      -THE OATH OF OFFICE-

           7.      "Let it simply be asked, where is the security for property, for reputation for lite,

   if the sense of moral and religious obligation desert the oaths which are the instruments of

   investigation in courts of justice:· -George Washington on the sanctity of oaths.

           8.      The oath of office is the thread by which today the U.S. Constitution hangs.

           9.      The U.S. Constitution. Article VI, clause 3 states ·•T!ze Senators and

   Representatives before mentioned, and the Members <~fthe several State Legislatures, and all

   executive andfudicial Officers, both   ~fthe United States and ofthe several States, shall be

   hound by Oath or Affirmation, to support this Constitution; but no religi,ous Test shall ever he

   required as a Qual[fication to any Office or public Trust under the United States. ..

           10.     The U.S. Senator Defendants have each taken this oath "I do solernn(v swear (or

   a.ffirm) that I it'ill support and defend the Constitution ofthe United States against all enemies,

   fhreign and domestic; that I will hear true.fi.1ith and allegiance to the same; that I take this

   ohligationfreezv, without any mental reservation or purpose <~/"evasion; and that I will ii·ell and



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   ji1itl?fidly discharge the duties <?(the <!ffice 011 which I am about to emer: So help me God. "

            11.    The U.S. House Representative Defendants have each taken this oath as

    described in 5 U.S.C. §3331 which states ··I, AB, do solemnly swear (or affirm) that I will

    support and defend the Constitution of the United States against all enemies, foreign and

    domestic; that I will bear true faith and allegiance to the same; that I take this obligation freely,

    without any mental reservation or purpose of evasion; and that I will well and faithfully

    discharge the duties of the office on which I am about to enter. So help me God."

            12.    All the Defendants have made an allegiance to God that they would support and

    defend the Constitution of the United States of America against all enemies, foreign and

    domestic.

            13.    The Constitution of the United States was established to protect our God given

    rights which are therefore unalienable. Every person on earth has these same rights.

           14.     The 2 nd Clause of the Declaration oflndependence states: "We hold these truths to

   be self evident, that all men are created equal, that they are endowed by their Creator with certain

   unalienable Rights, that among these are Life, Liberty and the pursuit of Happiness. -That to

   secure these rights, governments are instituted among Men, deriving their just powers from the

   consent of the governed... "

           15.     Our unalienable rights are given to us from God and therefore the Defendants

   have no right to legislate or enforce laws that would deny or disparage these rights without

   being guilty of committing crimes against Plaintiff and humanity.

           16.     The Utah State Supreme Court supports the fact that our rights come from God as

   clearly demonstrated in the case of American Bush v. Citv O{South Salt Lake. 2006 UT 40 140

   P.3d.1235 which states "In considering State constitutions we must not commit the mistake of



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    supposing that, because individual rights are guarded and protected by them, they must also be

    considered as owing their origin to them. These instruments measure the powers ofthe rulers,

    but they do not measure the rights of the governed .... [A state constitution] is not the beginning

    of a community, nor the origin of private rights; it is not the fountain of law, nor the incipient

    state of government; it is not the cause, but consequence, of personal and political freedom; it

    grants no rights to the people, but is the creature of their power, the instrument of their

    convenience. Designed for their protection in the enjoyment of the rights and powers which

    they possessed before the constitution was made, it is but the framework of the political

    government ... It presupposes an organized society, law, order, property, personal freedom, a

    love of political liberty, and enough of cultivated intelligence to know how to guard it against the

    encroachments of tyranny.'' (Bold emphasis added)

           17.     Amendment 9 of the Constitution of the United States (known as the

    interpretation clause) clarifies the fact that no government has the right to misconstrue our

    God-given rights, it states 'The enumeration in the Constitution, of certain rights, shall not be

    construed to deny or disparage others retained by the people." In other words, Congress has

    no power to enact laws that would violate our God-given rights.

           18.     Laws that violate our God-given rights are null and void. "'[CJonsequences,

   manifestly contradictory to common reason, they are, with regard to those collateral

   consequences, void. I lay down the rule with these restrictions; though I know it is generally laid

   down more largely, that acts of parliament contrary to reason are void. But if the parliament will

   positively enact a thing to be done which is unreasonable, I know of no power that can control it:

   and the examples usually alleged in support of this sense of the rule do none of them prove, that

   where the main object of a statute is unreasonable the judges are at liberty to reject it; for that



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   were to set the judicial power above that of the legislature, which would be subversive of all

   government. But where some coIIateral matter arises out of the general words, and happens to be

   unreasonable; there the judges are in decency to conclude that this consequence was not foreseen

   by the parliament, and therefore they are at libe1iy to expound the statute by equity, and only

   quoad hoc disregard it." (Brackets added) State Ex Rel. Z.C., 2007 UT 54

           19.    Powers put into place that fail to protect our God given rights entitle mankind to ..

   . . . dissolve the political bands which have connected them with another, and to assume among

   the powers of the earth. the separate and equal station to which the Laws of Nature and of

   Nature·s God entitle them. a decent respect to the opinions of mankind requires that they should

   declare the causes which impel them to the separation." (First clause of the Declaration of

   Independence.)

           20.    The exclusive powers extended to the legislative branch of Congress for the

   making oflaws are subject to Amendment IX of the U.S. Constitution, and as such ..This

   Constitution, and the Laws of the United States which shall be made Pursuance thereof; ... shall

   be the supreme Law of the land; .. :'. See Article VI, U.S. Constitution.

          21.       The Defendants by way of their oath of office are sworn defenders of the U.S.

   Constitution-the protector of our God-given rights.

          22.     The Defendants are sworn defenders of the U.S. Constitution bound by oath to

   God to defend the God-given rights of·'We The People'" against foreign and domestic enemies

   of the U.S. Constitution.

          23.     The U.S. Constitution was written with honor, respect and recognition of our Lord

   Jesus Christ as memorialized in Article VII Clause 3 which states. '" ... in the Year of our




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   Lord .. :·, and as such the Defendants have sworn an allegiance to the author of our freedoms

   and liberties; our Lord Jesus Christ.

           24.     The Prophet Isaiah 30: 9, of the King James version of the Holy Bible states,

   --That this is a rebellious people, lying children. children that will not hear the law of the Lord:·

           25.     The -raw of the Lord"' spoken of by Isaiah is the U.S. Constitution as claimed by

   George Albert Smith.

           26.     On September 23, 1945, George Albert Smith, a Prophet of God of the Church of

   Jesus Christ of Latter-Day Saints (..Saints") while giving a dedicatory prayer of the Idaho

   Temple stated,·· .. :for this purpose have I established the Constitution of this land .. .' [D&C

   101:80] ... to fulfill the ancient prophecy oflsaiah that ·out of Zion shall go forth the law and

   the word of the Lord from Jerusalem.' [Isaiah 2:3r. (Brackets and bold emphasis added)

          27.     The said D&C is the Doctrine and Covenants of the Church of Jesus Christ of

   Latter-Day Saints.

          28.     The U.S. Constitution is the instrument set up by God to protect our God-given

   unalienable rights.

          29.     The plenary power of Amendment IX of the U.S. Constitution nullifies any kind

   oflegal protection that an enemy against the U.S. Constitution claims to have.

          30.     The plenary power of Amendment IX nullifies any interpretation of Amendment

   XII that would allow Congress to refuse an investigation into allegations that the election was

   rigged or affected by fraudulent votes provided by the States.

          31.     A rigged or fraudulent election is an attack against the U.S. Constitution
                                                            th
   especially against the equal protection clause of the 14 Amendment of the U.S. Constitution.




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           32.     Despite the allegations supported by congressional claims of evidence showing

    that the November 3, 2020 U.S. Presidential general election ("Presidential Election"'} was

    fraudulent, affecting the President of the United States, the Vice President of the United States

    and members of the United States Congress, the Defendants intentionally refused to investigate

    the allegations backed by congressional claims of evidence in order to have Joseph Robinette

    Biden Jr. (.. Biden'") inaugurated as President and Kamala Harris (''Harris'') inaugurated as Vice

    President.

           33.     This refusal of the Defendants to investigate the congressional claims produced

    by over 100 members of Congress of a rigged and fraudulent election is an act of treason.

           34.     A successfully rigged election has the same end result as an act of war; to place

    into power whom the Defendants want, which is Biden.

           35.     Fraud vitiates everything.

                         FACTS COMMON TO ALL THE ALLEGATIONS

    Intentional refusal to investigate congressional claims by over 100 members of Congress of
    a rigged and fraudulent Presidential Election.

           36.     On January 6, 2021, the 11 ih Congress held a proceeding and debate in

    Washington DC ("Proceeding''). See '·Exhibit 1" which is attached and is a copy of the

    Congressional Record ("Record"') of this Proceeding. This Proceeding was for the purpose of

    counting votes for the President and Vice President of the United States under Amendment XII.

    The following took place in this Proceeding:

           37.     At the top of this Proceeding the Chaplain Reverend offered a prayer and in part

    stated, "We have pledged to defend our Constitution against all enemies, we pray Your hedge of

    protection around this Nation. Defend us from those adversaries, both foreign and domestic ...




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    So help us, God, to serve You and this Nation with Godliness and dignity ... we pray these

    things in the strength of Your holy name. Amen... ('·Prayer")

            38.    After this Prayer, the pledge of allegiance was given.

           39.     During the Proceeding certain U.S. House representatives made allegations

    backed by their claims of significant evidence that exposes a fraudulently rigged Presidential

    Election and as such is an attack against Plaintiffs liberty and against the U.S. Constitution.

           40.     U.S. House Representative James Daniel Jordan ("'Jordan") pointed out that there

    was something wrong with the Presidential election when it was found that during the campaign

    Bi den would do an event and he would get 50 people to his event, while at just one rally

    President Trump would get 50,000 people. But somehow Biden, who never left his house, wins

    the Presidential Election.

           41.     The said statement alone rings with enough circumstantial evidence wan-anting an

    investigation into the Presidential Election for voter and election fraud.

           42.      Jordan asked Defendants Chainnan Nadler and Chairwoman Maloney for an

    investigation into the Presidential Election who both refused.

           43.     Jordan stated that their refusal to allow any kind of hearing or investigation into

    the Presidential Election fraud was due to the fact that they wanted to ensure that President

    Trump would not win. This refusal shows them as conspirators involved in an act of war against

    the U.S. Constitution.

           44.     The Presidential Election was successfully uninvestigated which disenfranchised

    the American voters including Plaintiffs vote.

           45.     The Presidential Election was intentionally not investigated by Defendants

    including those involved on a large scale who had power to keep it from being investigated for



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     any fraud or crimes, and who had the power to keep certain members of our judicial branch of

     Government from refusing to rule on the evidence of the fraud presented to them.

            46.        Jordan went on to allege identifying acts connecting to and leading up to election

     and voter fraud which were not investigated, he went on to say~

                  a.   that On July 31, 2016 Jim Comey·s FBI takes out an insurance policy; opens an

                  investigation on the President Trump based on nothing~

                  b. and then on May 17, 2017 Mueller was named special counsel. Two years they

                  investigate the Russia hoax. Nineteen lawyers, 40 agents and 40 million dollars of

                  taxpayer money for nothing~

                  c. and then on December 18, 2019 Democrat House Members voted to impeach

                  President Trump based on an anonymous whistleblower with no firsthand knowledge,

                  who was biased against the President and who worked for Biden,

                  d. and then after these attempts failed, they unconstitutionally changed the election

                  laws of Arizona, Pennsylvania, Georgia, Michigan, Nevada, and Wisconsin.

            47.        The election laws that were changed in the said States violated the separation of

    powers doctrine stealing the election from Trump for Bi den's win.

            48.        During the Proceeding, U.S. House Representative Andrew S. Biggs ('"Biggs""),

    produced 1,000 affidavits in support of the allegations that the Presidential Election was rigged

    giving Biden his win.

            49.        Also, Biggs identified more acts of a rigged election by laying before the

    Proceeding a letter (..Letter'') dated December 31, 2020 addressed to Defendant Vice President

    Michael Richard Pence ("Pence'") from Kelly J. Townsend ("Townsend'") (whom at that time

    was a Senator-Elect) who attested in the Letter that;



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                 a. as the Chairwoman of the Arizona House Elections, she experienced several

                 occurrences thwarting their ability to investigate election fraud surrounding the

                 Presidential Election,

                 b. and on December 14111, 2020, Arizona sent an alternate slate of electors, along

                 with a resolution from 21 current and 8 newly elected legislators asking Defendant

                 Pence to refrain from accepting the Biden electors until they could adequately

                 investigate claims of fraud,

                 c. and that she requested an Election Committee discovery hearing in order to

                 invoke subpoena power to acquire the voting machines and ballots in order to do a

                 comprehensive and forensic audit, which was denied,

                 d. and she said that probable tampering with the voting machines existed, and that a

                 group of A2 citizens uncovered a minimum of over 100,000 fraudulent votes

                 supported by over 1000 affidavits,

                 e. and on December 9, the Senate President authorized a hearing via the Judiciary

                 committee that did result in subpoenas to the Maricopa County Supervisors (who

                 oversee the elections process) that they had not yet, as of the date of her letter, been

                 complied with, and;

                 f   she further stated that because they had been met with strong obstruction at every

                 tum as itemized in exhibit A of her letter, she moved Pence to not accept the electors

                 until a resolution of the said matters had been made.

           50.       The allegations found in Townsend's Letter, including her exhibit A, is

    incorporated as though her allegations are fully stated herein.




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            51.    During the proceeding, U.S. House Representative Morris Jackson "Mo" Brooks

    stated that for years the news media and the Democrats have deceived America about the Trump-

    Russia collusion and the existence of foreign interference in the 2016 elections.

            52.    Mo also stated that in 2020 Democrats promoted massive foreign interference in

    American elections by helping illegal aliens and other noncitizens vote in American elections,

    thereby canceling the votes of and stealing elections from American citizens.

            53.      Mo provided Exhibits A-J of compelling and irrefutable evidence that had only

    the lawful votes cast by eligible American citizens been counted, Biden lost. and President

    Trump won the electoral college.

            54.     The allegations made by Mo along with his said exhibits are incorporated as

    though they are fully stated herein.

            55.    Mo stated it was his constitutional duty to promote honest and accurate elections

    by rejecting electoral college vote submissions from States whose electoral systems are so badly

    flawed as to render their vote submissions unreliable, untrustworthy, and unworthy of

   acceptance. The oath of office requires all members of U.S. Congress to do the same.

            56.    The Proceeding provides additional strong allegations with the claim of

   irrefutable evidence proving beyond a reasonable doubt that the Presidential Election was rigged

   in every single State of the United States of America giving Biden and Harris a fraudulent win.

            57.    The allegations claiming that Biden had a fraudulent win was accomplished by,

   but not limited to, the illegal changing of both state and federal election laws, the counting of

   fraudulent / illegal votes favoring Biden wherein the number of submitted ballots exceeded the

   number of registered voters, and the voting machines fraudulent! y switched Trump votes to

   Biden.



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            58.      The said allegations and claims that the Presidential Election was rigged are

    nothing short of stealing the election from Plaintiff and legitimate honest voters which was

    protected by~ 1) the denial of investigations, 2) by the mainstream news media who almost on a

    daily basis discredited election and voter fraud allegations during relevant times, and these

    allegations were made without any investigation made on their part, 3) by social media giants

    who discredited and silenced allegations of election and voter fraud, 4) by many members of the

    Executive Branch of Government such as State and Federal prosecuting attorneys, 5) by

    members of the Judicial Branch of Government-Article III courts, 6) and by members of the

    Legislative branches of Government found in both State and Federal levels.

            59.     The protection was so widespread that it included all the Defendants who made

    wild claims without any investigation that the election was honest, fair and that there was no

    fraud of any kind affecting the outcome of the Presidential Election. The Defendants conspired

    in giving aid and comfort to enemies of the U.S. Constitution.

            60.     Despite the ovenvhelming preponderance of evidence presented throughout the

    Proceeding and found elsewhere that is readily available and continues to be exposed, all proving

    Biden's win was fraudulent, the Defendants refused to investigate the allegations of a :fraudulent

    and rigged election thus holding fast to the lies that Biden won an honest election.

            61.     The Defendants pushed these lies with the cry that the Presidential Election was

    the most honest in history and that many courts oflaw agreed.

            62.     Additionally, Defendant Mike Lee stated, ··we each have to remember that we

    swore an oath to uphold, protect and defend this document, wiitten nearly two and a half

    centuries ago by wise men raised up by God for that very purpose. That document ma..kes clear

    what our role is and what it isn ·t.   It makes clear who does what when it comes to deciding



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    Presidential elections ... Then comes the 12th Amendment ... Our job is to open and then count.

    Open then count -that is it. That is all there is:·

            63.      The oath of office does not allow Congress to count fraudulent votes.

            64.      The serious congressional allegations of voter and election fraud and that the

    Presidential Election was rigged, under the sacred duty of Defendants oath of office, they were

    required to investigate these allegations prior to their duty to "Open then count...

            65.      As an example, Lee as a attempt to faithfully execute his duty secured by a

    contract as a bus driver, full of passengers, refuses to investigate the claims from 100 mechanics

    that his brakes will fail.

            66.      The congressional level of allegations that the Presidential Election was racked

    with fraud and rigged does not allow the 12th Amendment to commence until allegations of fraud

    are investigated and resolved. Fraud vitiates everything it touches.

            67.      Then Defendant Steny H. Hoyer stated, "'We. the Member of Congress, who

    swore an oath before God to preserve and protect the Constitution of the United States and our

    democracy, must do so now:'

            68.      The Defendants correctly espoused their duty under their oath of office, and then

    they knowingly mocked their oaths and the opening Prayer by becoming the very enemies of the

    U.S. Constitution, which they swore to protect by refusing to investigate the allegations of a

   fraudulent and rigged Presidential Election.

            69.      The 12th Amendment cannot be construed to allow allegations of fraudulent votes

   to be counted, if so then it stands in direct conflict with their oaths of office. Defendants cannot

   be sworn protectors and defenders of the U.S. Constitution and then be its enemy under the

   auspices of the   li11 Amendment. This is treason.


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            70.     The Defendants claim the U.S. Constitution was inspired by God, and then they

    mocked God by refusing to investigate the allegations of a rigged and fraudulent Presidential

    Election thus potentially allowing a criminal to steal an election and then to be crowned its

    victor. -"'Thou shalt not steal'' has no meaning to the Defendants because they falsely claimed it

    was nullified by the 12th Amendment.

            71.     For the reasons stated above, the intentional disregard to investigate the

    Presidential Election for voter and election fraud was a levy of war and an attack against

    Brunson's constitutional protected right to participate in a honest and fair election. In addition it

    was an act of war against the U.S. Constitution and the United States of America.

            72.     To those Defendants who suffer a sense of wrongdoing will be freed when they

    accept their wrong doing.

                                    FIRST CAUSE OF ACTION
                       (Promissory Estoppel Count I - as to all the Defendants)

            73.    Plaintiff hereby incorporates all preceding and foregoing paragraphs including all

    Exhibits attached to this Complaint as though set forth fully herein.

           74.     Promissory Estoppel Count I- Failure to protect Bronson's right to vote in an

    honest and fair election.

           75.     As stated above, each of the Defendants have taken the required binding Oath of

    Office respective to their offices as either a U.S. Senator, U.S. House member, President, and

    Vice President of the United States. This oath is also a promise made to Brunson that they

    would not disenfranchise his vote by failing to investigation the said allegations of a fraudulent

    and rigged Presidential Election.




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             76.      Each of these Defendants made a promise under their said oaths, which

     constitutes an oath to Brunson, and to '"We The People.., that they would ensure an honest and

     fair election.

             77.      Article IV Section IV of the U.S. Constitution states, ""The United States shall

     guarantee to every State in this Union a Republican Fonn of Government." Voting is the

     greatest power an individual can exercise in a Republic; it is their voice and the way citizens

     protect their Constitutional rights and the U.S. Constitution.

             78.      An honest and fair election can only be supported by legal votes, this is sacred. It

     is the basis of our U.S. Republican Fonn of Government protected by the U.S. Constitution. The

     efforts made, as stated above, that avoided an investigation of how Biden won the election, is an

     act of treason and an act oflevying war against the U.S. Constitution which violated Brunson's

    right to vote in an honest and fair election and as such it wrongfully invalidated his vote.

             79.      The Defendants refusal to investigate the serious allegations that the Presidential

     Election was rigged, as stated above, ran contrary to their oath to ensure an honest and fair

    election.

             80.      Brunson relied upon the Defendants promise for a fair and honest election when

    he cast his vote in the Presidential Election.

             81.      During the Proceeding, the votes of the electors affecting the Presidential Election

    that were presented for counting were cased with allegations of fraud as stated above. On

    account of this, all of the Defendants were required by oath to protect Brunson·s right to vote in

    an honest and fair election by rejecting the elector votes until an investigation could be made.

    This they did not do. By failing to do this they wrongfully, unconstitutionally, and in violation

    of their oaths to Brunson, invalidated Bronson's vote.



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            82.     Failing to investigate how Biden won the election reaches the same effect as

    though fraudulent votes were counted to give him his win. This invalidated Brunson·s vote so

    that he could not participate in an honest and fair election.

            83.     The said oath of office requires that the Defendants must fight against all enemies

    of the U.S. Constitution for Brunson and "'We The People... Furthermore the 9th and 12th

    Amendments do not allow for the counting of fraudulent votes because in so doing it fails to

    protect the U.S. Constitution thus protecting Brunson·s right to vote in an honest and fair

    election.

            84.     For the reasons stated herein, the intentional blocking of any investigation by

    Defendants was an attack against Bronson's right to vote in an honest and fair election.

            85.     The Defendants intentional blocking of an investigation into the allegations of

    election and voter fraud aided and abetted this fraud, and it violated Bronson's right to vote in an

    honest and fair election.

            86.     The Defendants all failed to protect the U.S. Constitution by thwarting the said

    investigation which invalidated Brunson•s vote. In this manner, they denied Bronson's right to

    vote in a fair and honest election which also identified the Defendants as enemies of the U.S.

    Constitution.

           87.      As to Defendants Biden, Pelosi, Harris and Pence, in addition to violating their

    oaths by refusing to protect Brunson' s right to vote in an honest election, they also had direct ties

    ensuring that no said investigation would take place into how Biden won the election. This was

    done to ensure that Trump would not win while also ensuring that they, except for Pence, would

    win their own elections. and also to invalidate Brunson ·s vote thus setting a precedence that

    Bnmson·s vote would never be validated for any future Federal or State elections.



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                                   SECOND CAUSE OF ACTION
                         (Pomissory Estoppel Count II - as to all Defendants)

            88.     Plaintiff hereby incorporates all preceding and foregoing paragraphs including all

    Exhibits attached to this Complaint as though set forth fully herein.

            89.    Promissory Estoppel Count II - giving aid and comfort to enemies of Brunson's

    right to vote in an honest and fair election.

            90.    The Defendants outright refusal to investigate the allegations of a rigged and

    fraudulent Presidential Election purposely gave aid and comfort to the enemies of the U.S.

    Constitution whose desire was to wrongfully invalidate Brunson·s vote in violation of Brunson·s

    right to have an honest and fair election.

            91.    The Defendants had constructive knowledge of the allegations of evidence that

    there was voter and election fraud of the Presidential Election, and against these allegations, they

    refuted this infonnation and claimed without any investigation that the election was transparent

    and honest, and as such invalidated Brunson·s vote.

            92.    As to Defendants Biden, Pelosi, Harris and Pence, in addition to violating their

    oaths by refusing to investigate the allegations of a rigged and fraudulent Presidential Election,

    this violation gave aid to enemies of Bronson's right to vote in an honest and fair election, they

    also had direct ties ensuring that no said investigation would take place into how Biden won the

    election. This was done to ensure that Trump would not ,vin while also ensuring that they, except

    for Pence. would win their own elections, and also to invalidate Bronson's vote thus setting

    precedence that Brunson's vote would never be validated for any future Federal or State

    elections.

                                    THIRD CAUSE OF ACTION
                                 (Negligence- as to all the Defendants)



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            93.       Plaintiff hereby incorporates all preceding and foregoing paragraphs including all

    Exhibits attached to this Complaint as though set forth fully herein.

            94.       As per the Defendants oath of office, they each had a legal duty to protect

    Brunson's right to vote in an honest and fair election.

            95.       As stated above, the Defendants had a legal duty to investigate the allegations of a

    fraudulently Presidential Election which they refused to do.

            96.       Defendants had a duty under their oath of office to protect Brunson ·s right to vote

    in an honest and fair election by investigating the said claims that the Presidential Election was

    rigged in favor ofBiden. Defendants refused such an investigation which damaged Brunson by

    invalidated Bnmson·s vote.

                                      FOURTH CAUSE OF ACTION
                  {Intentional Infliction of Emotional Distress- as to all the Defendants)

            97.       Plaintiff hereby incorporates all preceding and foregoing paragraphs including all

    Exhibits attached to this Complaint as though set forth fully herein.

            98.       Each of the Defendants took their oath of office without any mental reservations

    knowing full well what it meant with a strong will to never violate it. The Prayer was a solemn

    witness to this in addition to Defendant Senator Mike Lee's statement as said above.

            99.       As stated above, the oath of office is also a promise to Brunson.

            I 00.     The Defendants during the Proceeding gave a witness of their duty to keep their

    oath of office.

            10 I.     The Defendants during the Proceeding purposely and maliciously violated their

    oath of office when they refused to conduct an investigation as to why Bi den won the

    Presidential Election.




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             102.    This extreme and outrageous conduct was a direct attack against Brunson·s right

     to vote in an honest and fair election. It also gave aid and comfort to the enemies of the U.S.

     Constitution and was an act of treason by each of the Defendants.

             I 03.   The Defendants violation of the oath of otlice was a complete disregard to the

     votes of"We The People ... and to Brunson·s vote. along with his right to vote in a honest and

     fair election, causing extreme sever and emotional shock and distress to Brunson.

             I 04.   The Defendants \Vho so easily violated Brunson·s right to vote in an honest and

     fair election caused Brunson severe emotional damage. This damage causes fear that Defendants

     are now on a course to violate Brunson's right to freely travel. to make a living. to have privacy,

     to own property and essentially destroying his liberties.

            105.     Brunson·s daily emotional distress and suffering finds moments ofreliefwhen

     Brunson envisions that the Defendants, especially Biden, Harris, Pelosi, Schumer, Schiff, Cortez

    and Omar will all soon be thoroughly investigated for high treason.

                                      FIFTH CAUSE OF ACTION
                                    (Fraud- as to all the Defendants)

            I 06.    Plaintiff hereby incorporates all preceding and foregoing paragraphs including all

    Exhibits attached to this Complaint as though set forth fully herein.

            107.     The Proceeding specifically identifies the date, where and each of the Defendants.

            I 08.    Defendants represented to Brunson that they would protect his vote and his voting

    rights pursuant to their oath of otlice which they took on the day they took otlice.

            109.     For the Presidential Election Brunson cast his vote which the Defendants swore to

    protect which they intentionally did not do as stated above.




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            I 10.   Before Brunson cast his vote, he knew that the Proceeding would be by those

    individuals who would take, or had taken, the oath of office, therefore he was confident in

    feeling secure by their oath of office that his vote would be validated.

            I 11.   Those Defendants who took their oath of office after Brunson cast his vote knew

    that Brunson would be relying upon them to validate his vote.

            112.    The Defendants induced Brunson to vote by way of their promises made to

    Brunson that his vote would be validated in a., honest and fair election. They did this to give the

    appearance that the election was fair and honest which they claimed during the Proceeding.

            113.    Brunson relied upon and was induced by Defendant's promises (oath of office} to

    cast his vote for the Presidential Election. He did not know or even imagine that the Defendants

    would not keep their promise.

            114.    Brunson did not know that the Defendants during the Proceeding would

    fraudulently use a tactic to invalidate Brunson ·s vote by refusing to do any investigation into the

    allegation that the Presidential Election was rigged.   This intentional act fraudulently

    invalidated Bronson's vote.

           115.     Defendants wanted Brunson and ··we The People"' to believe their claim that

    they made during the Proceeding that the Presidential Election was fair and honest as though an

    investigation had produced this finding when in fact no investigation had been done at all.

           116.     The fact that the Defendants fraudulently did not validate Brunson 's vote in an

    honest and fair election deprived Brunson of his U.S. Citizenship because his vote is an essential

    element of his Citizenship, and 1) it inhibits his freedom of association for political groups.

    Parity of resources among political groups to persuade, and 2) it violates Bronson's right of

    purpose to listen to informed debates with equal opportunities to persuade.



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            I I 7.   Voting is the greatest power an individual can exercise in this U.S. Republic; it is

    their voice and the way citizens protect their Constitutional rights and the U.S. Constitution.

    Defendants outright refusal to investigate the allegations of a fraudulent and rigged Presidential

    Election took this power away from Brunson.

            118.     Defendants have damaged/violated Brunson of his sacred right and unalienable

    right to cast a vote in an honest and fair election by purposely refusing to investigate the

    allegations of a fraudulent and rigged Presidential Election.

            119.     The number of damages Defendants inflicted upon Brunson as stated under this

    cause of action is impossible to fully incorporate herein.

            120.     Article III Section III of the United States Constitution states, '"Treason against

    the United States, shall consist only in levying war against them, or in adhering to their enemies,

    giving them aid and comfort.., The Defendants committed acts of treason and committed fraud

    against Brunson by denying his right to cast a vote in an honest and fair election.

            121.     Biden and Harris both intentionally thwarted the said investigation which

    constitutes that they ran a fraudulent campaign and as such aligned themselves as being enemies

    of the U.S. Constitution and have committed acts of treason and committed fraud against

    Brunson by denying his right to cast a vote in an honest and fair election.

            122.     Defendant Pelosi with her direct ties to thwarting the said investigation constitutes

    acts of treason and committed fraud against Brunson by denying his right to cast a vote in an

    honest and fair election.

            123.     Defendant Pence received a Letter warning him that the Presidential Election had

    been rigged and instead of pursuing an investigation into this warning, Pence participated in the

    Proceeding, which was fraudulent for the lack of the said investigation. which means he



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    committed acts of treason. and committed fraud against Brunson-wrongfully invalidating

    Bronson's vote.

            124.    Defendants defrauded the American people and Brunson of their right to vote in

    an honest and fair election by intentionally failing to allow the said investigation.

            125.    As stated herein, Defendants had full constructive knowledge that the said

    investigation should have taken place, and outrageously refused.

            126.    Pelosi and Pence with their powers of seat could have ensured the said

    investigation to take place, but instead they ensured the exact opposite and allowed the

    Proceeding to take place, which fraudulently invalidated Bronson's vote.

            127.    The Defendants induced Brunson to vote with their promises that it would be

    validated. They falsely represented to Brunson, by making the claim that his vote supported an

    honest and fair election for Bi den's win, when in fact the Defendants fraudulently invalidated

    Brunson 's vote, as stated above, to give Biden his win, and as such the Defendants fraudulently

    and willfully damaged Brunson as stated herein. The Defendants did this with full constructive

    knowledge.

                                      SIXTH CAUSE OF ACTION
                              (Civil Conspiracy - as to all the Defendants)

    128.    Plaintiff hereby incorporates all preceding and foregoing paragraphs including all

    Exhibits attached to this Complaint as though set forth fully herein.

    129.    Each of the causes of actions stated herein tie into this cause of action.

    I 30.   Defendants al] worked in concert committing civil conspiracy during the Proceeding

    which identifies the date, where and who was all involved.

    13 I.   During the Proceeding and as outlined above, all of the Defendants were given

    constructive knowledge from over I 00 members of Congress that the election was rigged. It was


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    Defendants object and course of action to deny this knowledge in order to skirt any kind of

    investigation into whether or not the election was indeed rigged.

    132.    As outlined above it was unlawful for the Defendants to have purposely refused any kind

    of an investigation into how Biden won the election.

    133.    Defendants' unlawful refusal to have an investigation as to how Biden won the election

    constituted serious damage against Brunson; it violated his vote along with his right to vote, and

    the free exercise of his citizenship as explained above.

            WHEREFORE Plaintiff prays for relief against the Defendants as follows:

    Relief Under the First Cause Of Action:

            134.    Defendants are to be removed from office with an order that they never be

    allowed to serve in any government office found anywhere in the United States of America nor

    serve in the legal profession for the rest of their lives.

            135.    Defendants shall be forbidden to collect any further payments, or retirements, or

    income derived from the U.S. Government for their services rendered to the U.S. Government.

            136.    Judgment against Defendants shall incorporate the fact that each of the

    Defendants failed to protect the U.S. Constitution, which invalidated Brunson's vote.

            137.    Judgment against the Defendants shall incorporate the fact that each of the

   Defendants gave aid and comfort to enemies of the U.S. Constitution which invalidated

    Brunson's vote.

            138.   Judgment against the Defendants shall incorporate a recommendation that the

    Defendants should be investigated for treason.

            139.    Defendants, except for Biden, Pelosi, Harris and Pence. shall each pay$ l ,000,000

   (One Million Dollars payable in United States legal tender money).



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            140.    As to Defendants Pelosi, Biden, Harris and Pence. they each shall pay

    $25,000.000 (Twenty-Five Million Dollars payable in United States legal tender money).

            141.    And it shall be ordered that fonner President Trump immediately be allowed to be

    inaugurated President of the U.S.A.

    Relief Under the Second Cause Of Action:

            142.    Defendants are to be removed from office with an order that they are never to be

    allowed to serve in any government office found anywhere in the United States of America nor

    serve in the legal profession for the rest of their lives.

            143.    Defendants shall be forbidden to collect any further payments, or retirements, or

    income derived from the U.S. Government for their services rendered to the U.S. Government.

            144.    Judgment against Defendants shall incorporate the fact that each of the

    Defendants failed to protect the U.S. Constitution, which invalidated Brunson·s vote.

            145.    Judgment against the Defendants shall incorporate the fact that each of the

    Defendants gave aid and comfort to enemies of the U.S. Constitution which invalidated

    Brunson's vote.

            146.   Judgment against the Defendants shall incorporate a recommendation that the

    Defendants should be investigated for treason.

           147.    Defendants, except for Biden, Pelosi, Harris and Pence, shall each pay $1,000,000

    {One Million Dollars payable in United States legal tender money}.

           148.    As to Defendants Pelosi, Biden, Harris and Pence they each shall pay $25,000,000

    (Twenty-Five Million Dollars payable in United States legal tender money}.

           149.    It shall be ordered that former President Trump immediately be allowed to be

    inaugurated President of the U.S.A.



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    Relief Under the Third Cause Of Action:

            150.    Defendants are to be removed from office with an order that they are never to be

    allowed to serve in any government office found anywhere in the United States of America nor

    serve in the legal profession for the rest of their lives.

            151.    Defendants shall be forbidden to collect any further payments, or retirements, or

    income derived from the U.S. Government for their services rendered to the U.S. Government.

            152.    Judgment against Defendants shall incorporate the fact that each of the

    Defendants failed to protect the U.S. Constitution \Vhich invalidated Bronson's vote.

            153.    Judgment against the Defendants shall incorporate the fact that each of the

    Defendan.ts gave aid and comfort to enemies of the U.S. Constitution which invalidated

    Bronson's vote.

            154.    Judgment against the Defendants shall incorporate a recommendation that the

    Defendants should be investigated for treason.

            155.    Defendants, except for Biden, Pelosi, Harris and Pence, shall each pay $1,000,000

    (One Million Dollars payable in United States legal tender money).

            156.    As to Defendants Pelosi, Biden, Harris and Pence they each shall pay $25,000,000

    (Twenty-Five Million Dollars payable in United States legal tender money).

            157.    It shall be ordered that former President Trump immediately be allowed to be

    inaugurated President of the U.S.A.

    Relief Under the Fourth Cause of Action:

            I 58.   Defendants are to be removed from office with an order that they are never to be

    allowed to serve in any government office found anywhere in the United States of America nor

    serve in the legal profession for the rest of their lives.



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             159.   Defendants shall be forbidden to collect any further payments, or retirements, or

    income derived from the U.S. Government for their services rendered to the U.S. Government.

             160.   Judgment against Defendants shall incorporate the fact that each of the

    Defendants failed to protect the U.S. Constitution which invalidated Brunson·s vote.

            161.    Judgment against the Defendants shall incorporate the fact that each of the

    Defendants gave aid and comfort to enemies of the U.S. Constitution which invalidated

    Brunson's vote.

            162.    Judgment against the Defendants shall incorporate a recommendation that the

    Defendants should be investigated for treason.

            163.    Defendants. except for Biden, Pelosi, Harris and Pence, shall each pay $1,000,000

    {One Million Dollars payable in United States legal tender money).

            164.    As to Defendants Pelosi, Biden, Harris and Pence they each shall pay $25,000,000

    (Twenty-Five Million Dollars payable in United States legal tender money}.

            165.    It shall be ordered that fonner President Trump immediately be allowed to be

    inaugurated President of the U.S.A.

    Relief under the Fifth Cause of Action.

            166.    Defendants are to be removed from office with an order that they are never to be

    allowed to serve in any government office found anywhere in the United States of America nor

    serve in the legal profession for the rest of their lives.

            I 67.   Defendants shall be forbidden to collect any further payments, or retirements, or

    income derived from the U.S. Government for their services rendered to the U.S. Government.

            168.    Judgment against Defendants shall incorporate the fact that each of the

    Defendants failed to protect the U.S. Constitution which invalidated Brunson·s vote.



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            169.    Judgment against the Defendants shall incorporate the fact that each of the

    Defendants gave aid and comfort to enemies of the U.S. Constitution which invalidated

    Bnmson · s vote.

            170.    Judgment against the Defendants shall incorporate a recommendation that the

    Defendants should be investigated for treason.

            17 I.   Defendants, except for Bid en, Pelosi, Harris and Pence, shall each pay $1,000,000

    (One Million Dollars payable in United States legal tender money).

            I 72.   As to Defendants Pelosi, Biden, Harris and Pence they each shall pay $25,000.000

    (Twenty-Five Million Dollars payable in United States legal tender money).

            173.    It shalI be ordered that former President Trump immediately be a11owed to be

    inaugurated President of the U.S.A.

    Relief under the Sixth Cause of Action.

            174.    Defendants are to be removed from office with an order that they never be

    allowed to serve in any government office found anywhere in the United States of America nor

    serve in the legal profession for the rest of their lives.

            I 75.   Defendants shall be forbidden to collect any further payments, or retirements, or

    income derived from the U.S. Government for their services rendered to the U.S. Government.

            176.    Judgment against Defendants shall incorporate the fact that each of the

    Defendants failed to protect the U.S. Constitution. which invalidated Brunson's vote.

            177.    Judgment against the Defendants shall incorporate the fact that each of the

    Defendants gave aid and comfort to enemies of the U.S. Constitution which invalidated

    Brunson·s vote.




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            178.   Judgment against the Defendants shall incorporate a recommendation that the

    Defendants should be investigated for treason.

            179.   Defendants, except for Biden, Pelosi, Harris and Pence, shall each pay $1,000,000

    {One Million Dollars payable in United States legal tender money).

            180.   As to Defendants Pelosi, Biden, Harris and Pence, they each shall pay

    $25,000,000 (Twenty-Five Million Dollars payable in United States legal tender money}.

            181.   And it shall be ordered that former President Trump immediately be allowed to be

                   inaugurated President of the U.S.A.

            182.   TOTAL AMOUNT OF MONEY DAMAGES: $2,905,000,000 (2 Billion 905

    million dollars)

           183.    And for any such other relief that the Court may deem proper.


           Dated this the 30th day of December, 2021.




           Isl Loy Arlan Brunson
           Loy Arlan Brunson
           Plaintiff




                                                     30
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        EXHIBIT 1
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                            ~ongrrssional llrcord
                             PROCEEDINGS AND DEBATES OF 'IHE                     117 !b CONGRESS, FIRST SESSION
 Vol. 167                            WASHINGTON, WEDNESDAY, JANUARY 6, 2021                                                         No. 4


                        House of Representatives
   The House met at noon and was and our debates. LhaL You would be re-                                  OFFICE OF THE CLERK.
 cal1ecl lo order by the Speaker pro tem-    vealed and exalted among the people.                      HOUSE OF R~:PRE.-SEXTATIVES,
 pore (Mr. SWAL,VELL).                         We pra.y these things in the strengt.h                  Washington. DC. January 5. 2021.
                                                                                           Hon, :N'ANc,· PELOSI.
                                             of Your holy name.                            Speakn. House of R;,presentati,>es.
                                               Amen.                                       'Washington, DC.
   DESIGNATION OF THE SPEAKER
             PRO TE.i"\1PORE                                                                  DEAR M.W.4-cii'. S!'E...KER: Pursuant to \.he
                                                                                           permission granted in Clause 2<h) of Rule II
   The SPEAKER pro Lempore laid be-                       THE JOURNAL                      of the Rules of the U.S. Ho\lse of Representa-
 fore the House the following commu-                                                       t.ives. I haNe the honor to tr'mIBmit a sealed
 nication from the Speaker:                    The SPEAKER pro tempore. Pursu-             envelope received from the '\\'11ite Ho\lse on
                    WASHIXOTO::(", DO.
                                             ant to sect-ion 5(a)(l)(AJ of House Reso-     January 5. 2021 at 5:00 p.m., said to contain
                          Januar.11 6, 2021. lution 8. the Journal of t,he last day·s      a message from the President regarding ad-
   I hereby appoint the Honorable ERit' proceedings is approved.                           ditional steps addressing the threat posed by
 SWALWELL to ad as Speaker pro tempore on                                                  applications and other software developed or
 this day.                                                                                 controlled l)~, Chinese companies.
                             NANCY PELOSI,
                                                                                              With best wishes. I an1.
                                                   PLEDGE OF ALLEGIANCE                           Sincerely,
      Speaker of the !louse ()j Repre.~entati\,es.
                                              The SPEAKER pro tempore. Will the                                   Cllli'RYL L. J OIL'ISON.
                                            gentleman from Kansas (Mr. MANNJ                                          Clerh· of tile House.
                  PRAYER                    come forward and lead the House in the
   The Chaplain, Reverend Margaret Pledge of Allegiance.                                   ADDRESSING THE T"rlRE.AT POSED
 Grun Kibben. offered the following           Mr. MANN led the Pledge of Alle-               BY APPLICATIONS AND OTHER
 prayer:                                    giance as follows:                               SOFTWARE DEVELOPED OR CON-
   O God. our refuge and our strength, a      I pledge allegiance to the Flag of the         TROLLED BY CHINESE COMPA-
 very present help in times of discord United States of America. and to the Repub-           NIES-MESSAGE          FROM      THE
 and trouble. Mountains crumble, lic for which it stantls. one nation llllder God.           PRESIDENT OF THE           UNITED
 waters rage. nations roar. and yet. we indivisible. with Ii berty and justice for all.      STATES (H. DOC. NO. 117---6)
 need not be afraid. for even now You                                                        The SPEAKER pro tempore laid be-
 abicle wit-h us in these times of great                                                   fore the House the following message
 discord. uncertainty, and unrest.          APPOINTMENT OF TELLERS ON                      from the President of the United
   We, who have pledged to defend our         THE PART OF THE HOUSE TO
 Constitution against all enemies, we                                                      States: which was read and. together
                                              COUNT ELECTORAL VOTES                        with the accompanying papers, referred
 pray Your hedge of protection around         The SPEAKER pro tempore. Pursu-              to the CommiLtee on Foreign Affairs
 this Nation. Defend us from those ad- ant to Senate Concurrent Resolution 1,
                                                                                           and ordered to be printed:
 versaries, both foreign and domestic. and the order of the House of January
 outside these walls and perhaps within 4. 2021. the Chair announces the Speak-            To the Congress of the United States:
 these Chambers, who sow seeds of acri- er's appoint.1nent of two Members as                Pursuant to the International Emer-
 mony to divide colleagues and conspire tellers on t.he pa.rt of the House to             gency Economic Powers Act (50 U.S.C.
 to undermine trust in Your divine au- count the electoral votes:                         1701 et seq.) {IEEPAJ. the National
 thority over all things.                                                                 Emergencies Act {50 U.S.C. 1601 et seq.),
                                              The gent.Iewoman from California
   The journey of this experiment in de- ([\TJ.S, LOFGREN); and                           and section 301 of title 3, United States
 mocracy is perilous and demanding.                                                       Code. I hereby report that I have issued
                                              The gentleman from Illinois (1VIr.
 fraught with anger and discontent. But RODNEY DAVIS}.                                    an ExecuLive Order declaring addi-
 wise rulers still seek You.                                                              tional steps to be taken concerning the
   So help us. God. to find You in the                                                    national e1nergency with respect to the
 midst of us.                                                                             information and communications t.ech-
   So help us. God. to see Your 1,,'Tacious      COMMUNICATION FROM THE                   nology and services supply chain de-
 plan even in the events of these days,             CLERK OF THE HOUSE                    clared in Executive Order 13873 of May
   So help us. God. to serve You and         The SPEAKER pro tempore laid be-             15. 2019 (Securing Lhe Information and
 this Nation wiLh Godliness and dignity. fore the House the following commu-              Communications Technology and Serv-
   We lay before You the gift,s of our nication from the Clerk of the House of            ices Supply Chain) to deal wit,h the
 hopes. our dreams. our deliberations. Representatives;                                   lhreat posed by applications and other

                   0 This symbol represents the time of day during the House proceedings, e.g., 0 1407 is 2:07 p.m.
     Matter set in this typeface indicates words inserted or appended. rather than spoken, by a Member of the House on the floor.

                                                                                                                           H75
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  H76                                   CONGRESSIONAL RECORD-HOUSE                                             January 6, 2021
  software developed or controlled by                          RECESS                      of people be on Lhe floor. may I a..~k
  Chinese companies.                            The SPEAKER pro tempore. Pursu-             how one would make an objection or
      The pace and pervasiveness of Lhe       ant to clause 12(a) of rule I. the Chair     make a parliamentary inquiry in t-lie
  spread in the United States of certain      declares the House in recess until ap-       future if you are not on the floor but in
  connected mobile and clesktop applica-      proximately 12:55 p.m. today.                 the gallery.
   tions and other software developed or        Accordingly <at 12 o"clock and 6 min-         The VICE PRESIDE..l\JT. Under sec-
  controlled by persons in the People's       utes p.m. l. the House stood in recess.       Uon 18 of title 3. United States Code.
  Republic of China (PRC>. to include                                                      debate is not permiU,ed in the joint,
  Hong Kong and Macau (China). con-                                                        session.
  Linue to Lhreaten the national se(.:U-                         Ci   1255                    Mr. GRIFFITH. Further p-arliamen-
  rity. foreign policy. and economy of                                                     t.ary inquiry.
  the Unitecl States. By accessing per-                   AFTER RECESS                        Mr. Vice President.. I am nol- at-
  sonal electronic devices such a.s             The recess having expired. the House       tempting to debate. I am trying Lo find
  smartphones. t.ablets. and computers,       was called to order hy t-he Speaker at       out how a parliamentary inquiry or a
  Chinese connected soft.ware applica-        12 o"clock and 55 minutes p.m.               parliamentary point. of order wou1(l be
  tions can access and capture vast                                                        made in following wit,h Lhe Speaker·s
  swaths of informatio11 from users. in-                                                   request that most of us not he on the
  cluding sensitive personally identifi-      ANNOUNCEMENT BY THE SPEAKER                  floor. How do you make one of those
  able infonnat,ion and private informa-        The SPEAKER. As the House comes            points of order when you <lon'L know
  tion. The continuing activity of the        to order for this important. historic        what is going to happen later?
  PRC and the Chinese Communist Party         meeting. let us be reminded that each           The VICE PRESIDENT. Respectfully.
  to steal or otherwise obtain United         side. House and Senat.e. Democrats and       the gentleman·s parliament.ary inquiry
  St.ates persons· data makes clear that      Republicans. each have 11 Members al-        constitutes debate. which is not per-
  there is an intent, Lo use bulk data col-   lowed to be present on the floor. Others     mitted in the joint session under sec-
  lection to advance China's economic         may be in Lhe gallery. This is at the        tion 18 of title 3, United States Code.
 ancl naLional security agenda. To deal       guidance of the Ati.,ending Physician           Maclam Speaker. Members of Con-
  with this threat. additional steps are      and the Sergeant al. Arms.                   gress. pursuant to the Constitution and
  required against, those who develop or        The gentlemen on the Republica11           Lhe laws of the United States. t.he Sen-
 control certain Chinese connectecl soft,..   side of the aisle will please observe so•    ate and House of Representatives are
  ware applications to protect our na-        cial distancing and the agreement to         meeting in joint session to verify the
  tional security.                            have 11 Members on each side so Lhat         certificat-es and count the votes of the
      The Execut.ive Order prohibits cer-     we can honor the responsibility to this      electors of the several States for Presi-
  tain future transactions. as determined     Chamber of this House of Representa-         dent and Vice President of the United
  by the Secretary of Commerce <Sec-          tives.                                       Stat-es.
 ret.ary), involving the following Chi-         Please exit the floor if you do not           After ascertainment has been had
 nese connected sonware applications:         have an assigned role from your leader-      thaL the certificates are auLhentic and
  Alipay. CamScanner. QQ Wallet.              ship. You can share with your staff if       correct in form. the tellers will count
 SHAREit. Tencent QQ. "\'Mate. WeChat         you want to have a few more, but you         and make a list of the votes cast by the
 Pay. and WPS Office. The Secretary is        cannot be that close together on Lbe         electors oft.he several States.
 also directed Lo:                            floor of the House with that many peo-          The tellers on t.he part of the two
                                              ple in here.                                 Houses will take their places at the
     <i> conUnue to evaluate Chinese con-                                                  Clerk's desk.
 nected software applications that may          I Lhank the Senate, and the Demo-
                                              crat.s and Republicans. for followi11g          The tellers, Mr. BLUNT and Ms. KLO-
 pose an unacceptable risk Lo the na-                                                      BUCHAR on the part of the Senate. and
  tional security, foreign policy. or econ-   the rules.
                                                                                           Ms. LOFGREK and Mr. RODNEY DAVIS of
 omy of the United States, and to Lake                                                     Illinois on the part of the House. took
 appropriate action in accordance wiLh                                                     Lheir places at the desk.
 Execut.ive Order 13873: and                  COUNTING ELECTORAL VOTES-
                                                 JOINT SESSION OF THE HOUSE                   The VICE PRESIDE:!\'T. Without ob-
     (ii) in consultation with the Attorney                                                jection, the tellers will dispense with
 General and the Director of National            AND SENATE HELD PURSUANT
                                                 TO THE PROVISIONS OF SENATE               the reading of the formal portions of
 Intelligence. provide a report Lo the                                                     the certificates.
 Assistant to the President for NaLional         CONCURRENT RESOLUTION 1
                                                                                              There was no objection.
 Security Affairs with recommenda-               At 12:59 p.m.. the Sergeant at Arms,         The    VICE      PRESIDENT.      After
 tions to prevent the sale or transfer of     Paul D. Irving. announced the Vice           ascertaining that the certifi.cat-es are
 United States user data to. or access of     President and the Senate of the United       regular in form and authentic. the tell-
 such data by, foreign adversaries. in-       St.ates.                                     ers wili announce the votes cast by the
 cluding through the establishment of            The Senate enLered the Hall of the        electors for each State. beginning wiLh
 regulaUons and policies to idenLify.         House of Representatives. headed by          Alabama. which the Parliament.arian
 control. and license the export of such      the Vice President, and the Secret.an, of    has advised me is the only certificaLe
 daLa.                                        the Senate. the Members and offi~ers         of vote from that State. and purports
     I have delegated to the Secretary, in    of the House rising t,o receive Lhem.        to be a reLurn from the State. and that
 consultation \"i.th the Secretary of the        The Vice President took his seat as       has annexed to it a certificate from an
 Treasury and the Attorney General.           the Presiding Officer of the joint con-      authority of that State purporting to
 the authority to take such actions, in-      vention of the two Houses. the Speaker       appoint or ascertain electors.
 cluding adopting appropriate rules and       of the House occupying the chair on his        Senator BLUNT. Mr. President. the
 regulations, and employing all other         left-. Senators took seals to the right of   certificate of the electoral vote of the
 powers granted Lo Lhe President by           Lhe rostrum as prescribed by law.            St.ate of Alabama seems to be regular
 IEEPA. as may be necessary to imple-            The joint session was called Lo order     in form and authentic. and it appears
 ment the Executive Order. The heads of       by the Vice President..                      therefrom thaL Donald J. Trump of the
 all executive departments and agencies                l'ARLLUn:NTARY ):SQtrIRIE:-l        Slat.e of F101ida received 9 votes for
 are directed to take all approp1iate           Mr. GRIFI!'ITH. Mr. Vice President.        PresidenL and MICHAEL R. PENCE of the
 m&'l,sures within their authority to im-     parliamentary inquiry.                       State of Indiana received 9 votes for
 plement the provisions of the Execu-           The VICE PRESIDENT. The gen-               Vice President.
 tive Order.                                  tleman from Virginia will state his            The VICE PRESIDENT. Are there
     I am enclosing- a eopy of the Execu-     parliamentary inquiry.                       any objeccions to counting the certifi-
 Live Order I have issued.                      Mr. GRIFFITH. Mr. Vice President.          cate of voLe of the St.ate' of Alabama
                    DOKALD J. TRt:l\!P.       in ordel' to follow the Spea.ker's in-       that the t-eller has verified appears to
       THE WHITF. Hom,E. January 5. 2021.     struct-ions that only a limited number       be regular in form and authentic?
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 January 6, 2021                                CONGRESSIONAL RECORD-HOUSE                                                                                  H77
     'I'here was no objedion.                                               ::;K"'ll:ATOI<:-:i the Chair will put the question. Shall
     The VICE PRESIDENT. Hearing-                                                              l-he objection be agreed Lo?
                                                        Mike Braun. Joh.!1 Kennedy. Ron John.~on.
 11011e. Lhis certificate from Alaska, the                                                        The Clerk will report the olJJection
                                                      Ste,·e Daines. ,Tames Lankford. Bill Hagerty.
  Parliamentarian has advised me. is Lhe              Marsha Blaokhurn.                        made in the joint session.
  only certificate of vote from that. Stat.e                   MEMilEP.S OF c-,,:,;GREHB          'I'he Clerk read the objection as fol-
  that purports to he a return from the                 Mo Brooks AL 5. And.y Biggs AZ-5. ,Jim lows:
  Stale and that. has annexed to it a cer-            ,Jord;,n OH-4. Madison Cawthorn ::si'C-11,                OB.1}:t'l'JO'.\i TO C01TTIINC TIU: EI.J,X•TORAI.
  t,ificate from an authority of the State            Scott Perry PA-10. Mike Kelly PA 16. Clay                     YOTE» OF TIIE S'L\.TE OF ARrzo:,;_,.
                                                      Biggl.n.s LA-3. ,John\\'_ Rose '.!':Ii 6. Bill Posey      We. a Member of the House or Representa-
  purporting to appoint. and ascertain
                                                      FL-8 . .Jeff Duncan SC 3. Brian Babin TX 36.           tives and a T:'nited States Senator. object to
  electors.                                           Louie Golunert TX 1. Bl'ian J. Mast FL-18.             t.he counting of the elect.oral Yotes of the
     Ms. LOFGREN. Mr. President. lhe                  Wan·en Davidson OH 8. Andy Harris MD 1.                State of Arizona on the ground that they
 certificate of the elect.oral vote of the            Stew.n Palazzo MS 4. Doug· Laml,orn co 5.              were not. under all of the known cir-
  State of Alaska seems t,o be regular in             Kat Cammack FL-3.                                      eumstanees_ reg-ularl;r h-'iven.
 form and authentic. and it appears                     Tracey Mann KS 1. Bob Good V A·5. Adrian                                               PAF!. G<l<lAR.
  therefrom that. Donald J. Trump of the              Smith ;,!E 3. Billy Lon,,.· M0-7. Jack Bergman                       Representalire, State of Arizona.
  State of Florida received 3 votes for               MI 1. Michael Cloutl TX-27. Rick Crawford                                              TED CRr·z.
 President and MICHAEL R. PRNCE of the                AR 1. Roger Williams TX 25. Boh Gibbs OH                                        Senator. Slate of Te,·as.
                                                      7. Russ Fulcher ID 1. Teel Bud.d :>IC 13, Barr,•                            SE.r..~ATOR:-;
  SL.ate of Indiana received 3 votes for              Moore AL 2. Lee Zelilln l\'Y 1. Jake
 Vice President.                                                                                               Mike Braun. ,John Kennedy. Ron John.~on.
                                                      LaTurner KS 2. David Rouzer ::si'C 7. ,Jason           Steve Daines. James Lankford. Bill Hagert~·.
     The VICE PRESIDE.¾'T. Are there                  Smith M0-'8. Lauren Boebert CO 3. Chuek                Mar:;ha Blackburn.
 any objections to counting the certifi-              Fleischmann TN-3. Tim Burchett TN 2.                                ,il-:MBE..'lti OF COl>:GRES,S
 cat,e of vote of the State of Alaska that            Chris Jacobs NY,27.
                                                         Andl'ew S. Clyde GA 9. Lance Gooden TX                 Mo Brooks AL 5. Andy Bigi:ra AZ 5. Jim
  t,he teller has verified appears to be                                                                     Jordan OH--4. Madison Cawthorn ::-ic 11.
 regular in form and authentic?                       5. Dia.na Harshbarge1• T:11•1. Ma1-y E. Miller
                                                      IL 15. Mark E. Green T::si 7. Ron Estes KS 4.          Scott P,m·y PA .. JO. Mike Kelly PA 16. Clay
     There was no objection.                                                                                 Riggins LA 3. John W. Rose T::-l 6. Bill Pose~·
     The VICE PRESIDENT. Hearing                      ~foal Dunn FL 2. Ronny Jackson TX· 13.
                                                      Ralph ::siorman SC 5. Joe Wilson SC-2. Vicky           FL-8. Jeff Duncan SC 3. Brian Babin TX 36.
 none. t,his certificate from Arizona. the            Hartzler M0·4. Seott Des.Ja.rlais T;,l 4. Mar-         Louie GohmerL TX··l. Brian J. Mast FL 18.
  Parliamenta,rian has advised me. is the             jorie Taylor Green" GA H. Doug LaMalfa                 War1·en Davidson OH -8. Andy Harri,; MD l.
 only certificate of vote that the State              CA-1. Jeff Van Drew )!J.z. Ben Cline VA-6.             Steyen Palazzo MS 4. Doug Lamborn CO 5.
 purports t-o be a return from the State              Michael D. Rogers AL-3. Ma.rkwayne Mullin              Kat Cammack FL 3.
                                                                                                                T1-acey Mann KS l. Bob Good YA 5. Adrian
 and that has annexed to it a certificate             OK·2. Pat Fallon TX 4. Rand~· K. Weber TX              Smith NE-3. Billy Long M0-7. Jack Bergman
 from an aut,horit,y of that State pur-               14.                                                    MI· 1. Miebnel Cloud TX--27. Rick Crawford
  porLing t,o appoint or ascertain elec-               The VICE PRESIDENT. Are there                         AR-1. Roger \\'illl.ams TX.25. Bob Gibbs OH-
 tors.                                               further objections to the certificate                   7. Russ Fulcher ID 1. Ted Budd NC,13. Barry
     Senator KLOBUCHAR. Mr. Presi-                   from the SL.ate of A1izona?                             Moore AL 2. Lee Zeldin NY-1. Jake
 denL the certificate of the electoral                 There was no objection_                               LaTurner KS 2. David Rouzer NO 7. .Jason
 vote of the State of Arizonl'. seems to               The VICE PRESIDENT. The two                           Smith MO ll. Lauren Boehert C0-3. Chuck
                                                                                                             Fleischmann T;,l-3. Tim Burchett ~ ·2.
 be regular in form and authentic. and               Houses will withdraw from joint ses-                    Chris Jacobs J',i"Y-27.
 il appears therefrom tliat Joseph R.                sion. Each House will delillerate sepa-                    Andrew S. Clyde GA-9. Lance Gooden TX
 Biden. Jr., of the State of Delaware re-            rat-ely on the pending objection and re-                5. Diana Har::ihhal'ger TN 1. ?.Iary E. Miller
 ceived 11 votes for President and                   port its decision back to the joint ses-                IL-15. Mark E. Green T;I! 7. Ron E.<ites KS ,.
 KA").fALA D. HARP.IS of 1,he State of Cali-         sion.                                                   ~foal Dunn FL-2. Ronny Jackson TX 13.
 fornia received 11 votes for Vice Presi-              The Senate will now retire to iLs                     Ralph Norman SC·5. Joe Wilson SC 2. Vicky
 denL.                                               Chamber.                                                Hartzler MO 4. Scott DesJarlais 'Til"-4. J.V'".uu·-
                                                                                                             fo1ie Taylor Greene GA-14. Doug LaMalfa
    The VICE PRESIDE:I\TT. Are there                   The Senate retired to its Chamber.                    CA-1. Jeff Van Drew )!J.2. Ben Oline VA 6.
 any objections to counting the certifi-                                      C 1315                         Michael D. Rogers AL-3. l\1arkwayne Mullin
 cate of vote of the State of Arizona                                                                        OK 2. Pat Fallon TX-4. Rancly K. Weber TX
  that the teller has verified appears to                     !\S:-!Ol.'!>i("fil>.!E!'IT BY THE SPEAKER
                                                                                                             14.
 be regular in form and authentic?                                The SPEAKER. The Chair will re-              The SPEAKER. The Chair will en-
    Mr. GOSAR. Mr. Vice President. I.                           mind Members of Lhe need to adhere to        deavor to alternate recognition be-
 PAliL GosAR from Arizona. rise for my-                         the decorum requirements of the              Lween Members speaking in support of
 self and 60 of my colleagues to object                         Chamber as laid out i11 the Speaker's        Lhe objection and Members speaking in
 to the counting of the electoral ballots                       announced policies of January 4. 2021,       opposition Lo the objection.
 from Arizona.                                                  in accordance with the guidance of the         The Chair recognizes the gentleman
    The VICE PRESIDENT. Is the objec-                           A ttendi.ng Physician.                       from Louisiana <Mr. SCALISE) for 5
 tion in w1iting and signed by a Sen-                              Members are advised to remain in the      minutes.
 ator?                                                          Chaml.>er only if they are participating       Mr. SCALISE. Madam Speaker, I rise
    Mr. GOSAR. Yes. it is.                                      in debate and must wear a mask at all        today to object to a number of States
    Senator CRUZ. It is.                                        Limes. even when under recognition for       that dicl not follow the constitutional
    Tlle VICE PRESIDENT. An objection                           debate.                                      requiremenL for selecting electors.
 presented in writing and signed by both                           Members must also practice proper           Madam Speaker. this is somethL7J.g
 a Representat.ive and a SenaLor com-                           social distancing while present in the       that is clear Lhat our Founding Fathers
 plies with Lhe law. chapter 1 of title 3,                      Chamber.                                     debat,ed abouL as a funclamental deci-
 United StaLes Code.                                               Please. in the interests of your own      sion of how we choose our President.
    The Clerk will report U1e objection.                        health a:nd as an example to the Amer-       There was a lot of back and forth. if
    The Clerk read the objection as                             ican people. abide by the numbers, now       anyone reads the founding documents
 follows:                                                       up to 25 on each side of the aisle. to       of our country. about the different
     OB,Jl-:CTION TO COU!¼"TIO:G THE Ew:C."l'OllA!.             participate in this stage of the debate.     versions they went through Lo ulti-
           Von:l< OF THE ST.4TI: m· AmzoxA                         Fursuant t-0 Senate Concurrent Reso-      mately come up with a process whern
    We. a Member of tbe House of Representa- lution I and 3 U.S.C. 17 g·overning Lhe                         each State has elections: each State
 ti\•es and a United States Senator. objeet to procedure for counting Lhe electoral                          has a process for selecting their elec-
 the counting of the electoral ,,ot.es of the votes. when t,he two Houses withdraw                           tors and sending them to Washington.
 StatEc of A1izona on the ground that the;,· from the joinL session Lo count, Lhe                              Madam Speaker. in a number of
 were not. under all of lhe known dr- elec Loral vote for separate consider-
 cu111t,t..an{'e:-,. reg-u.larly g-i ven.
                                                                                                             those States. thal consULutional proe-
                                       PAn.Go:sAP..             ation of objecLion. a Representative         ess was not followed. and UiaL is why
                     RepresC'ntatin.•. Statf' of ..-lri..:-m1a. may speak t.o lhe objection for 5 min-       we are here to ohjecL
                                          TED CRUZ.             utes. and not more than once. Debate           If you look al ·what the requirement.
                               Senator. Stat,, of Tc.ras.       shall nol exceed 2 hours. after which        says. nowhere in Article II. Section 1
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   does it Jarive t11e secl'etar.v of ;;tale of a     In fact. on our first full day of this       ate. to do only this: open Lhe sealed en-
  State that ability; nowhere does it give           Congress. many of us brought leg"isla-        velopes aml then the votes shall be
  the Governor that ability: nowhere                 Lion onto the House floor t.o start- fix-     counted. Simple. It doesn·t say counted
  does it, give a court that ability. U ex-          ing the problems with our elections. to       in a manner that some Members of
  clusively gives that ability to the leg--          rest.ore integrity l-0 the elecUon proc-      Congress or the Vice President might
  islat,ures. In fact. in most States. that          ess. which has been lost by so many           prefer. No. The votes are simply to l1e
  is the process that was followed. But              millions of Americans. And we had a           counted as eert-ified and transmitted bv
  for those States. this wasn·t followed.            vote. Every single Republican voted to         t-he States.                           ·
     Unfortunately. this h; not new. We             reform the process. Every single Demo-                            C 1130
  have seen over and over again more                c1-at voted against it. They don·t want
  States where the Democratic Party has                                                                During reconstruction afLer the Civil
                                                     to fix this prohlem.                          War. more than one slate of electors
  gone in and selectively gone around                   But the Const.itution is our guide.
  this process. That has to end. Madam                                                             were appointed ))y St.ates. Dueling lists
                                                    and it is time we start followiu..g- the       were sent and protractecl processes
  Speaker. We have to follow the con-               Constitution. IL is time we get back to
  stitutional process.                                                                             were undertaken in Presidential elec-
                                                     what our Founding }'athers said is the         tions. And. as a result. Lo make an or-
    Now. there might- be reasons why                process for selecting electors: that is
  some people don·t like t-he process laid                                                         derly process. Congress enacted the
                                                     the legislatures in public view. noL be-      Electoral Count Act of 1887. This law
  out lJY a legislative body.                       hind closed doors. not smoke-filled
    Madam Speaker. I served on one of                                                              governs our proceedings today. The act.
                                                    rooms. not bullying somebody that              provides dispute resolution mecha-
  those legislative bodies when I was in            migl1t give you a better l'ttling.
  the SLaLe legislature for 12 years. I                                                            nisms.
                                                        Let"s get back to rule of law and fol-         Under Lhe ECA. if a Governor cer-
  served on the House and Governmental              low t-he Constitution. Madam Spea.ker.
  Affairs Committee. where we wrote the                                                            tifies a slate of electors and there are
                                                        The SPEAKER. For what purpose              no competing slates in that Stat-e. t..he
  laws for our State·s elections. And I              <loes the gentlewoman from California
  can tell you. when we had t.o make                                                               Governor-certified must lJe counted.
                                                     (Ms. LOFGREN') seek recognition?              Today. every single slate of eleclors
  changes. those were extensively nego-                 Ms. LOFGREN. Madam Speaker. I
  lia Led. We would have people on both                                                            won by Joe Biden. or won by Donald
                                                    rise to strike the last word.                  'I'rump, got their Governor's certifi-
  sides come.                                           The SPEAKER. The gentlewoman
    Republicans and Democrats. Madam                                                               cation. Not a single State submitted a
                                                    from California (Ms. LOFGREN) is recog-        G'Ompeting slate. There is no dispute to
  Speaker. would get together to work               nized for 5 minutes.
  Lhroug-h those changes. any minute                                                               resolve.
                                                        Ms. LOFGREN. Madam Speaker. Lhis               The 2020 election was the most secure
  change to how a precinct would func-              day marks a crossroadl:l for American
  Uon. to how a change would be made in                                                            election conducted in mode1·n history.
                                                    democracy. Those who object Lo the             Challenges were resolved by lawful re-
  Lhe Lime of an election. signature re-            counting of the electoral college votes.
 quirements. all the many things that                                                              counts and audits.
                                                    which reflect the votes of the American           The result?
  involve a clerk canying out the duties
                                                    people. want, to substit,ute their pref-          Vice President Biden won the 2020
  in each parish. in our case.
    You would see people come and give              erences for the voters· choice. That- is       election.
  testimony. l\'ladam Speaker. Both sides           not what our Constit.ution requires.               More than 60 lawsuits were filed con-
 could come. Clerks of court were there             and it is at odds with our American            testing elements of t,he election proc-
  in t..he hearing rooms.                           democratic Republic.                           ess. None of these lawsuits prevailed.
                                                        If Congress selects L11e next President.      Wny?
    It was an open process. by the way.                                                                As even President Trump·s own judi-
 not behind closed doors in a smoke-                instead of the American voters. we
                                                    would have no need for an elect,oral           cial appoint-ees ruled. there was no evi-
 filled room where somebody might
                                                    college. In facL. we would have no need        dence of a1w wrongdoing that would
 want to bully a secretary of state to                                                             change the outcome.
 get a clifferenL version Lhat might ben-           for Presidential elections aL all. We
                                                    would be moving from a government.                The people spoke. It was not a close
 efit them or their party or their can-                                                            election. The margin of victory for
 didate. That is not what our Founding              elected by the people Lo a governmen L
                                                    selected by those already go.verning.          Biden in 2020 was larger than Trump·s
 :B'athers said is the process. Maybe it is                                                        margin in 2016. 1n fact. the Eiden vie-
 how some people wanLed Lo carry it                     That is not America. In the United
                                                    Stat,es. we abide by the choices of the        Lory is one of the most- decisive in mod-
 out. But they laid out that process.                                                              ern times, exceeding the margin en-
    So when we would have to make                   people. not by an elite few.
                                                        The Framers of our Constitution con-       joyed by Reagan when he defeated Car-
 those changes. they were in public                                                                ter in 1980.
 view; t.hey were heavily debated; and              sidered to have Con,,uress select t,he
                                                    President and specifically rejected it.           Congress has gathered in a joint ses-
  then, ultimately. those laws were                                                                sion to count electoral votes every four
 changed in advance of the election so              Instead. they wrote Article II and the
                                                    12th Amendment.                                years since 1789. I understaud the dis-
 everybody knew what the rules were.                                                               appointment people feel when their
 People on both sides knew how t-o play                Article II creates the electoral col-
                                                    lege. where each StaLe appoints elec-          candidate for President loses. I have
 bJ' the rules l:>efore the game started.                                                          felt the same several times in my vot-
 not getLing somewhere in the process               tors. Laws of an 50 States and D.C. re-
                                                                                                   ing life.
 and saying. wen, you don·t think it is             quire electors to vote for the winner of          When that happens. it is not an invi-
 going to benefit you. so you try to g·o            the State's popular election. Each             tation to upend the Constitution and
 around the ConstiLution.                           State provides for the orderly conduct         the laws of the United States. It is an
    That is not how our system works. It            of elections. including lawful chal-           invitation to work with the new Presi-
 has gott.en out of hand. So President              lenges. recounts. and the like.                dent for the good of the countrv and to
 Trump has called this out. and Presi-                 The 12th .-"unendment is what brings        wait for Lhe next election in 4 'years if
 dent Trump has stood up to it. So                  us to today. It says the electors meet.        you are dissat.isfied.
 many of us have stood up to H.                     in their SlaLes. That happened Decem-             In that spirit. I urge my colleagues
    In fact. over 100 of my colleagues.             ber 14.                                        to uphold the American democracy and
 Madam Speaker. asked the Suureme                      The amendment says the electors             reject, the objection.
 Court to address this problem just a               shall cast their votes. sign and certify          Mr. JORDAN. Madam Speaker. I rise
 few weeks ago. and. rulfort.unately. the           them. and transmit them to us. sealed.         to support the objection.
 Court chose to punt. They didn"t an-               That has been done. The sealed enve-              The SPEAKER. The gentleman from
 swer H one way or the allier. They                 lopes containing the signed and cer-           Ohio is recognized for 5 minutes.
 didn"t want to get in the middle of this           tified ballots from each Sl.ate·s elec-           Mr.    JORDAN. Madam Speaker.
 discussion.                                        tors reflecting the votes of Lhe people        Americans instinctively know there
    We don't have that luxury Loday. We             are in those mahogany boxes.                   was something wrong with this elec-
 have to discuss this. We have to fix                  'l'he 12th Amendment directs Lhe Vice       tion. Du.ring- l-he campaign. Vice Presi-
 this.                                              Presirlent. as the President of the Sen-       dent Biden would do an evenl and he
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  would get 50 people at the event. Presi-       the elect-ion 3 days: not- the legislature.        That we are here. with a subsLantial
  dent Trump. at just one r-a.11y. gets          the partisan Supreme Court.                    number of our Members seeking t,o
  50.000 people. President Trumu in-                Pennsylvania law says mail-in bal-          overturn an election is remarkable,
  creases vot,es with African Americans:         lots require signature verification.           tragic. and all too predictable. for iL is
  increases votes with Hispanic Ameri-             Democrat secretary of state said:             t-he natural result of a locomotive set
  cans: won 19 of 20 bellwether counties:        Nope. I am going· to decide by myself          in mot:ion months ago with a myth.
  won Ohio by 8: Iowa by 8: and Florida          lhal i Ldoesn't. for 2.6 million bailot.s.      For weeks and weeks. before. during.
  by 3. President Trun1p got 11 million            Pennsylvania law says mail-in bal-           ancl after our election. a d.a.ngerous
  more votes than he did in 2016. and            lots can't be processed until election         falsehood was propagated: ThaL our
  House Republicans won 27 of 27 toss-up        tlay. Some counties said no. And you            election would be marred IJy massive
  races.                                        can imagine which counties they were.           fraud.
     But somehow the guy who never left         Democrat.--run counties said no and al-             Never mind it was lhe same election
  his house wins the election?                  lowed ballots Lo lle cw'ecl and fixed he-       which brought the very men and
     Eighty minion Americans. 80 mimon          fore election day.                              women to t.his Chamber who woultl
  of our fellow citizens. Republicans and          They did an end-run around t.he Con-         challenge its resulLs. What value has
  Democrats. have douhts a-houl this            st.itution in every State that Repub-           consistency when measured against
  election: and 60 million people. 60 mil-      licans will objecL Lo today. Every sin-         ambition?
  lion ..o.mericans think it was stolen.        gle one. It was a pattern. It was their             A former Senator from Georgia. re-
     But Democrats say: No problem. No          template. They did iL in Arizona. They          marking on a contested election over a
  worries. h'verythfag is fine.                 did it in Georgia. They did it in Michi-        centwy ago. said: ··Able men. learned
     We asked for an investigation. We          gan. They did it in Pennsylvania. They          men. distinguished men. great men in
  asked Chairman NADLER. Chairwoman             did it in Nevada. They did it in Wis-           the eyes of the nation. seemed intent
  MALONEY for an investig·ation. They           consin.                                         only on accomplishing a party tri-
  said no. They wouldn"t want to inves-            YeL some of our Members say: Don't
                                                worry about it. We shouldn't do any-            umph. without regard to the con-
  tigate something that half the elec-                                                          sequences to the country. That is
  torate has doubts abouL,. It is just Uie      thing. Just let it go. It was just six
                                                St-aLes who violaLecl the Constitution.         human nature. That is:· he said. "un-
  Presidency of the Unit,ed SLaLes.                                                             fortunaLely. party nature."
     Why? Why noL one single invesUga-             \\-'hat if it is 10 States next time?
                                                What if it is 15? What if. in 2024. 2028, it       Was he right?
  tion? Why not even one single hearing                                                            \:Ve stand in a House which was once
  over the lasL 9 weeks in the United           is 26 States? \Vhat if it is half the
                                                States tllat do an end-run around what          the place of giants. Have we become so
  Stales House of Representatives? \Vhy?                                                        small? Does ow· oath t.o uphold Lhe
     Because all Lhe Democrats care about       the Constitution clearly spells out?
                                                   We are the final check and balance.          Constitution. t,aken just. days ago,
  is making sure President Trump isn'l                                                          mean so very little?
  President. For 4½ years that is all Lhey      The authority rests with us, the United
                                                States Congress. the body closest, to              I think no!,. I believe. to quote our
  have cared about,.                                                                            dear departed friend. Elijah Cummings.
     July 31, 2016. befo1·e he Vl'US elected    the American people. right where the
                                                Founders wanted it. We should do our            that. we are better t-han that. I think
  the first Ume. Jim Comey·s FBI takes                                                          Elijah would be proud that the debate
  out the insurance policy; opens an in-        dui,y. We should object t-o and vote for
                                                this objection to the A1izona electors.        here today is not between Democrats
  vestigation on the President based on                                                        and Republicans. and that some Repub-
  not-hing.                                        Mr. SCHil<'P. Madam Speaker. I rise
    May 17. 2017. Bob Mueller was named         in opposition to the objecUon.                  licans. including the Republican leader
  special counsel. Two years Lhey inves-           The SPEAKER. The gentleman from              of the Senate. remain devoted to the
  tigate the Russia hoax. Nineteen law-         California is recognized for 5 minutes.         principle that we are a nation of laws.
  yers, 40 agents and $40 million of tax-          Mr. SCHIFF. Madam Speaker. a litLle         not individuals. let alone a single indi-
  payer money for nothing.                      more than 2 months ago. America per-           vidual.
    December 18. 2019. Democrat House          formed an extraordinary feat. Under                 It may seem unfair to the new Mem-
  Members vote to impeach PresidenL            some of the most trying circumsLances           bers who have only just taken the oath
 Trump based on an anonymous whistle-          in our history, our fellow citizens con-        for the first time. that they should be
 blower with no firsthand knowledge.           ducted a free and fair election. vindi-         so soon tested with one of the most
 who was biased against the Presi<lent         cating our Founders· belief once again.         consequential votes they may cast. no
 and who worked for Joe Eiden.                  that we were capable of self govern-           matter how long they serve. But it fa
    But none of that worked. As hard as        ment and a peaceful transition of               so, and none of us can shrink from that
 they tried. none of that worked. Thev         power.                                          responsibility. Nor can we console our-
 threw everything they had at him.         •      On November 3. the American people           selves with the inLoxicat-i11g fiction
    So what did they do next?                  chose Joe Biden to be their next Presi-          that we can break that oath wi!Jlout
    They changed the rules. '.Phey             dent by an enormous margin. The suc-            consequence because doing so will not
 changed the election law and they did         cessful conduct of Lhat election. among         succeed in overturning t,he election. An
 it in an unconstitutional fashion. and        the most secure in Arnerican history.           oath is no less broken when the break-
 that is what we are going Lo show over        was not an accident. It was the resulL          ing fails to achieve its end.
 the next several hours of debate.             of the dedicated work of thousands of               We must be mindful that an:v who
    The Constitution is clear, as Wnip         volunteers. canvassers. poll workers.           seek to overturn an election wm' do in-
 SCALISE just said. State legislatures         electors, and Stale and local elecLion          jury Lo our Constitution, whateve1· the
 and only State legislatures set election      officials.                                      result. For just as the propagation of
 law.                                             \Vhen the conduct of any Slate elec-         Lhat dangerous myth ahout this elec-
    In Arizona. Lhe law says voter reg--       tion was challenged. Lhe courts.                Uon made this moment inevitable. our
 isLraUon ends on October 5.                   through judges appointed by Demo-               actions today will put another train in
    Democrat.s said: We don·t care what        crats and those appointed by Repub-             motion. This election will not. he over-
 the law says.                                 licans. heru·d unsubstantiated claims of        turned.
   They went to a court. got a.n Ohama-        fraud. found they had no merit. and                 But- what al)out the next? Or the one
 appointed judge to extend il 18 days.         said so.                                        after that?
 No dehate. as Steve talked about. No             But most important. the American                 What shall we say when our demo-
 debaLe. No tUscussion. They just ditl it.     people persevered. In the midst of the          cratic legacy is no more substantial
    Pennsylvania. same thing. Pennsyl-         worst pandemic in a century. America            than the air. except that we broug·ht
 vania laws says mail-in balloLs have to       had one of t-he most impressive elec-           trouble to our own house and inherited
 he in by 8 p.m. election day.                 t-ions in a century. with historic voter        the wind?
    Democrat Supreme Court said: Nope.         turnout.                                            This isn't the first time we have had
 We are going to exLencl it-.                     Our fellow citizens di{l their civic         a contentious elect-ion. and it won·t. be
   Election day doesn·t end on Tuesday         duty. The question we face t,oday is:           the last-. In 1800. John Adams lost a
 now. They took it to 1',1iday. Extended       Will we do ours?                                closely contested election lo Thomas
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  Jefferson. in the first peaceful tra11si-     sion. the bypassing- of lhe deadline t.o          111ittee. I '\\Tite to you witb uprnost. Ul'ge.uty
  tio11 of power from one party t.o an-         10 days.                                          to co1nn1unic-ate to :.,.,.ou seYei'al oc::U1-rence8
  other in our history. Adams was haraiy           The appellate court.. without legal            that thwart our ahility as legi~falors to in-
                                                justificalion. also decided that every-           \~esLigate legltLmate and t·oncerning all~g.a-
  pleased ,vith the result. ehoosing- to                                                          Lions of election fraud in the most reuent
  skip the inau,,"11.ral activities. but- he    one who registered after the legal dead-          general election. On Decemb<=l' H. 2020. Ari-
  <lid whaL leaders are required to do in a     line. but, before the deadline created by         zona sent an allernate :slate of eleetors,
  demooraLic government when they               judicial fiat. could still vote.                  alon." with a resolution from 21 current and
  lose. He went home. He went home.                Not.e that !,he Arizona legislature was        8 newly elected legislators asking ~·on to re-
     Jefferson would lat,er refer to his vic-   no longer in control of det,ermining the          frain from accepting the Blden electors until
  tory as the Revolution of 1800. but mar-      manner of appointing Presidential                 we could adequately in,estigate these claim_q
 veled that the Revolution had oeeurred         electors because the court had set a              or fraud.
                                                new deadline. even thouirh lhe appel-                 Soon after the election. I rec1ue~te<l an
  ··by the rational and peaceful instru-                                                          Elect.ions Committee discover:; hearing in
  ments of reform. the suffrage of t.he         late court found the legislature·s dead-
                                                line was constitutionally sound.                  order to use subpoena powe1· to a<:qui.re the
  people.··                                                                                       voting machines and ballots in orde!' to <lo a
     It has never been our place to airer-         During that window. more than 32.000
                                                                                                  comprehensive and forensic audit. I was told
                                                voters registered in Maricopa County
  turn an elect.ion. and if we hope to re-      alone. Here are copies of those voter
                                                                                                  that it was not a good idea and was denied
 main a democracy. it never will be.                                                              the abilit,·. I continued to request the hear-
                                                registration records. In going around             ing with the Speaker of the House. asked
     Mr. BIGGS. Madam Speaker, I rise in        the deadline set by the legislature. the
 support of Lhe objection.                                                                        publi<,:ly. and tried every avenue to no avail.
                                                court ignored the Arizona legislature·s           _,; full month later on December 9th. the Sen-
     The SPEAKER. The gentleman from            obligation and right to direct, the man-          ate President authorized a hearing- via the
 Arizona is recognized for 5 minutes.           ner of choosing Presidential electors as          Judiciary committee. and that did result in
     Mr. BIGGS. Madam Speaker. I join           set forth in Article II. Section 1.               subpoenas to the l\Iaricopa County Super-
  the objection to counting votes of elec-         As a consequence of that judicial              visors <who oversee the elections process)
  t,ors from my l1ome State of Arizona. as      usurpation. more than 32.000 people               th.at have yet. as of the writlng of this letter.
 well as Georgia. Pennsylvania. Wis-            were allowed to unlawfully cast. ballots          been complied with.
 consin. Michigan. and Nevada. because                                                                Court cases have been dismissed due to not
                                                in Arizona ·s Presidential elecUon in             ha,•ing evidence. howe,•er our efforts to do an
 elecUon integrit,y is the heart of our         2020.                                             audit to oht.ain such evidence have been sup-
 American constitutional republic?                 The Arizona legislature seeks an               pressed. We held a hearing on nao.2020 with
     In a represent.ative form of govern-       independent audit of the election. The            Rudy Giuliani Lo at least hear testimony
 ment. we must be able to trust. Lhat our       Governor refuses now to call them into            from citizens who experienced irregula1ities.
 elections accurately represent the will        a. special session. The Maricopa County           along with subject matter experts who re-
 of t11e American voter. This is the ap-        Board of Supervisors has refused to               ported St>vere lrregulariLies and probable
 propriate forum ant.icipated and pro-          comply with legislative subpoenas. In             tampering wlth the machine apparatus. On
 vided for by our Founders to debate            Arizona. the people who cont,rol t.11e            11,30,2020. a group of A1izona citizens 1·e-
 whether this election complied with            evidence related Lo the election have             ported publicly that they had uncovered
 the ConsUtution Lhat we have all               done everything possible to prevent an            with great confidence a minimum estimation
                                                                                                  of 160,000 fl'amiulent voters. based on over
 sworn to orotect.                              independent. audit. direct.ed by the leg-         1000 declaration.•,:affida vits collected. This
     Every particular of the Constitution       islature.                                         supports an ea.r•lier document submitted to
 is Lo be protected. including Article II.         Arizonans haYe used the limited                the Attorney General and wonl<l largelJ' Im-
 Section 1. The debate as to the legit..-       amount of records available to inves-             pact the outcome of the eleetion.
 imacy of the 2020 Presidential election        tigate Lhe 2020 Presidential election. Of             We have experienced ohsu·uction at. every
 has been suppressed by the left and its        a limitea sample of 1,000 addresses of            turn. For your !'eference. I have itemi~ed. in
 propagandisLs in the media until today.        voters. they found 539 voters did not             Exllibit A. many of the various ways we have
                                                live at the addresses on the Yoter rolls.         been stopped from invest.igating claims of
     State legislatures are required to de-                                                       fraud and gross irregula1ities. It is my hope
 termine the manner i11 which electors          Here is a st.ack of 1.000 declaration of
                                                affidavit.s supporting that.                      that you will see th.at the Arizona Presi-
 are chosen. Arizona names ns electors                                                            dential election is still in dispute and uru·e-
 on the general elect.ion ballot. and iden-        I object to counting the votes of Ari-
                                                                                                  solved. We call on you to take this into con-
 tifies what candidate those electors are       zona electors because the Federal                 sideration as you perform. your duties on
 required to vote for should that can-          courts went around the legislatively              January 6th. and not accept the electors
 didate obtain the majority of votes in         constructed mechanism for choosing                until we have resolution to these matters.
                                                Arizona's Presidential electors. allow-                   With uwnost respect.
 the general elecUon.                           ing tens of thousands of voters to un-                                    KEIJ,Y J. TOWNSEND.
     As part of the manner for deter-
 mining electors. Arizona also estab-           lawfully cast votes. The court usurped                                                 Senator-Elect.
                                                a key component of the Arizona legis-                                   Ex!IIBIT A
 lishes deadlines for voter registration.       lature ·s manner of selecting Presi-                 L Request.~ from the HoU$e Elections
 The deadline has been in place for 30          dential electors. thus violating Article          Chairwoman <myself) and the House Federal
 years.                                         II. Section 1. The legislature is being           Relations Chairman <Mark Finchem1 to hold
                    C 1345                      obstructed in its efforts. And what lit-          an eviclentia1·y hearing were repeatedly de-
                                                tle evidence we have and what. little in-         nied and have yet to be honored, Multiple
     This year. that vot.er regisLration                                                          Chairmen of various committees requested a
 deadline was Oct,ober 5. Early voting          formation we have has produced this
                                                kind of evidence. which indicates a sig-          hearing in order to investigale claims. to no
 commenced 2 days later. Five days he-                                                            avail, We were forced to hold an unofficial
 fore the deadline. a group filed a law-        nificant problem with the inLegrity of            l1earing on November 30th where mans came
 suit demanding that Arizona election           the PresidenLial election.                        forward with very concerning evidence and
                                                   Madam Speaker. I include in the                claims.
 officials not enforce the deadline.            RECORD my written comments. to-
    Tlie Federal District Court decided                                                             2. The Senate ,Judiciary Committee hear-
                                                gether with l,he voLer regist.ral-ion             ing was not held until 41 days after the elec-
 that since other States have a deadline        records that reflect the 32.000 registra-         tion on 12'1;!;2020. Lhe o;ame da~· as the Elec-
 later than Arizona·s and some even             tions permit.ted in contravention of              tors were to cast theil· votes. This delay ren-
 allow for registration when voting.            State law: letters and resolutions from           dered the l1earillg of little effect regarding-
 thai A1·izona·s new deadline would be a        Arizona legislators pertaining to the             having conlldence in l.he couect yotes cast.
 lime he chose. not t.he legislature's          count of votes from electors: along               The Chairman thus i&,ued a suhpoena for the
 timeline.                                      with approximately 1.000 affidavits and           equipment and ballots. but the Maricopa
    The appellate court effectively over-                                                         Board of Supervi:sors has countersned and
                                                declarations pertaining t-o potential             refu:;e to comply. The,' will 11ot release any
 t.urned t,he lower court ruling and            voter fraud in Arizona in the 2020 Pres-          1112.()hine or halloL info. even Lhough witllin
 noted Umt the Arizona deadline estab-          idential election: and the statement of           the RFP for Lhe Dominion machine$. ii. hs
 lished hy l-he St-ate legislature was          Conia·essman RAXDY WEBER of Texas.                stated that their ke~· fe'atures are thei.t- abil-
 sound and appropriate and complied                                    DECEMBER 31. 2020.         it;, to conduct hand count.~. perform risk
 with Lhe Constit.ution. But the appel-          DEAR VICE PHESIDENT PR:>;('~;: -"-s the Chair-   Umitin,,!s au,lit,s. and puhlish l>allol ilnag-e,;
 late eourt merely shortened the ext.en-        woman oi the' Arizona House Elections Com-        and adjudieation 1·eeo1'(1...:: witll 111c-irklng-~ on a
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 public wel,sil.e. t.:alling it their open data ini-   10. The J\iaricopa County Re,•order at.-            zona electoral votes. Our eledlon i~ st.ill in
  tiative. :srow that they are being asked for it. tended mar~ than one DefCon conference                  disput.e. anil we have olJfuscation and al-
 they are refusing to make il availahle. cit.in.>< tlin.t focuHed on the ahilit.;;· Lo hac,k \'Oting       tempt.s at. running out. the dock to prevent
 voter eonfidentiality. There is no voter in- machine,;. The Legislature was never in-                     discovery of the fal't.s. We helieve il is impos-
 formation contained in the machine or on a formed that the out<:ome or these con-                         sible t.o condusively declare a winner in P....ri-
 ha!lot.. howen,r. so thal reasoning i;; insuffi- ferences recommended thal deded officials                zona and p1·ay that ;rou would refrain from
 <.:lent.. Their inaction and nonfeasam:e pre- l><1 notified due to unprotected porls on the               counting the ele1:toral votes from our :state.
 \'ent us from prope1• discovery.                    machines. passwm·ds left unset or left. in de-        and consider l:.he alternate slate should we he
    3. I. along· with sevetal others, 1·equested fault configurations and security featm·es of             ahle to est.a hlish validity to the various
 the Governor to call us in for special session the underlying commercial hardware were                    claims of election fraud on such a scal1c that
 to be able to deal with the issue. It i.-s our un- left unused or even disahled. It. was rec-             would change the outcome.
 derstanding that we cannot enforce the sub- ommended that to improve elect.ion securit;-•.                  Thank YOU. kindly. fo1• ,\'OUl' attention to
 poena. for equipment and ballot,,; unless we paper ballots should he used. and a rigorous                 these matters.
 are in session. His ongoing un,villingness to post-election audit he performed. '\'\'e learned
 call us into session to addres.<i t.he>\e i,;sue,s al.Jout lhis issue via social media. and it was                  A RESOJ.l;TIO~ TO COXGill,iiS
 had kept us from adequate discovery. On 12 obfuscated hy the Election officials.                              Whereas. it ls the constitutional and legal
 02'2020. Governor Doug Ducey was asked by             11. Arizona Republican State Chair Kelli
                                                                                                           obligation of the Legislature of l:.he State of
 the media if he was going to honor the Leiris- Ward reports the following malfeasance and                 Arizona to ensure that the state's presi-
 lator· s request for a spedal se;-sion. He pro-     obstruction;
                                                       a. No allowed review of the digit.ally adju-        dential electors truly represent the will of
 ceeded to inconectly name Monday ,January dieatetl ballots- owr 200.000.                                  the voters of Arizona: and
 13th as our first day oack in 1'egular session.       h. Only 100 of the duplicated l.Jallots re-             \Vhe1•eas. pursuant to Lb.e direction or Con-
 In response. Lb.e reporter asked. "So you see viewed--.. 3% error rate in favor of Pre:sident             gress as set forth in Unitetl St."\te;; Code. title
 no need for a special session to look at any Trump, Maricopa County refused to look at                    3. secLion 1 as authorized by Article II. sec-
 of these issues 01· the issue of Presidential the otl1er 28.000 ballots.                                  tion 1. clause 4 of the Constitution of the
 elet:Lors... :· to which the Governor inter-          c. No meaningful sign.a.tu.re vedfieation.          'United States. antl state law adopLed pursu-
 rupted and saitl. "I"ll see the Legislature in County             employees        doing     signature    ant thereto. Arizona conducted an election
 ,January:-                                          verification offsite. over the internet. with-        for presidential electors on the Tuesday next
    4. The House leade1'Hhlp attempted to deter out ove1-sight. and at times at a rate of 30               after the first Monday in ~ovember of 2020
 Representative Bret Roberts from sending a signatures or n1ore per minute.                                that iB. on November 3. 20'20; and
 let.tel' to Attorney General Brno,ich and lhe         12. The Sec1·etary of State took 24 days to             W'hereas. that election w.as marred hs
 Mar'i.copa County Board of Supervisors re- answer a public records request hy Merfasa                     irregularities so significant as to render it
 garding the accurate perfmmance of a han<I Hamilton. asking them to deliver the meet-                     highly douhtful whether the certified results
 count based on the statutory requirement to ing minutes from their technical committee                    accurately represent the will of the voters:
 do so h~l pred.nct, Yersus vote center. By to certif;, the Dominion voting equipment.                     and
 doing· a hand count based on voting centers_ Onl~· after four requests and the involvement                    Wher<>.as. Congress has furthe1· directed in
 it. renders it impossiMe to t.ell if there was a of the Ombudsman did she oJJtain the infor-              l:.S. Code. title 3. seetion 2 that when a ,state
 rogue precinct. involved in fraud. Neverthe- mation, The resulls of that request showed                   "has held an election for the put'])ose of
 leM. Rep. Robert·s efforts to enforce statute th.."tt despite the votin.<>: equipment not being           choosing electors. and ha,s failed to make a
 were thwarted by House leade1-ship.                 able to calculate the votes properly. which
                                                                                                           choice on the day prescribed by law, the elec-
    5. One week prior to the Electors voting. was never addressed, the machines were still
                                                                                                            tors may be appointed on a subsequent day
 on December 7th. the House and Senate lead- certified. The Mari.eopa County RFP for the
                                                                                                           in such manner as the legislature of such
 ership closetl the buildings in the name of Dominion equipment did not give the pul'>li(•
                                                                                                           State may direct": and
 COVID-19. preventing any in-person hearings a chance to give input on the procm·ement.
                                                                                                               Whereas. that provision implicitly recog-
 01· work to he performed. This greatly hin- There was never an.v discussion or an offer of
                                                                                                           nizes Lb.at Article IL Seetion L Clause 2 of
 dered our ability to push for discovery re- various options to choose from. The Board of
                                                                                                           the U.S. Constitution grants to each state
 garding election integrity tluring the last Superv!so1-s went straight to a vote with no
                                                     discussion and approved the matehines unani-          legislature. with stated limitations. the sole
 days before the Eledor·s votes were cast.
    6. The )l,faricopa County Board of Super- mously.                                                      autho1ity to p1•escribe the manner of ap-
 visors held a closed meeting on 1L20.2020 in          13. There are multiple-numerous examples            pointing electo1-s for that state: and
 order to certify the election resnlts. where of how on election day observers and poll                        \Vhereas.. the United States Supreme Court
 the public was not allowed to participate and workel'S were prevented from ove1-seeing the                and othe1· com·ls have explained that when a
 ask questions. Prior to that meeting. on 12: various procedures. thereby undermining                      state legislature directs the manner or ap-
 08-2020. Merissa Hamilton !a data intel,.'l"ity confidence l:.hat there was no illegal activity           pointing electors, it does so pursuant to a
 expert) delivered to the Attorney General a and violaling Arizona ·s statutes 1·egariling                 i,,'T.ant of authority from the 'C'.S. Constitu-
 st.a tistically slgnific.an t listing of deceased elecLion integrity. We ha,·e had no fonnal in-          tion ratl!er than by reason of any state con-
 voters that received a ballot and those de- vestigation into the VMl majority of these                    stitutional or other legal provision: that tl!is
 ceased who actuall.,v returned a ballot.. At the accusations.                                             authority may oe exercised hy the leg-isla-
 aforementioned meeting. the Maricopa Coun-                                SUMMARY                          tm·e alone without other aspects of the nor-
 ty Elections Director Ray Valenzuela stated           Arizona has many unresolved issues tb.at            mal lawmaking process; and ti1at the state
 that the list of deceased voters casting a bal-     we   would  like  to  have invesLigated in order      legislature·s authority over the appointment
 lot was mere folklore and dismissed it as a to confidently say oru· electors voted for the                of presidential electors is plenai:y and may
 nonissue. Thi,; accusation is still pending an t..me victor in the 2020 Presidential election.            be resumed at any time: and
 investigation.                                      We still ha11e outstanding issues left um·e-              \Vhereas. because U.S. Code. title 3. section
    7. After submitLing a public record;, re- solved and ai-e bein.1; stopped at. nearly eve1·y            7 mandates that all presidential electors
 quest for the Federal onl.v voters who cast a turn from investigatin_g-. For example. the                 vote for President and Vice President of the
 ballot in the 2020 General election, I was told Maricopa County Recorder·s office started                 t:nited States on December 14. 2020. lt is in1-
 hy a staff member that the Elections Di1•ee- counting early ballots 14 da;,.·s before elect.ion           possible to pursue the LeJ?;:islature·s preferred
 to1• was "vetting the list" before he gave it day. During that time. the backup serve1·                   courne of action, which would be for Arizo-
 to me. I d1d not request a cleaned-up list of was removed each night by a Dominion em-                    na·s voters to participa.te in a new and fair
 ,·oters. but the list in its entirety. Tllis di- ployee. This is of significant concern because           and rree presidential election before l:.hat
 minished my confidence in that list. that I the information on those servers could have                   date; and
 have a true representation of persons who been manipulated and 01· provided to nefar-                         Whereas, in view of the facts heretofore re-
 ca,,t a ballot that cannot est<'thlish their ious people as to how mnny ballots-vote:s                    cited. the Legislature is rec1nired io exercise
 identity or citizenship.                            were needed to change the results of the              its best judgment as to which slate of elec-
    8. Arizona State House leadership pre- election as time went on.                                       tors the voters prefex: and
 \·ented Legislators fron1 issuing press re-           i\fan:v in the Legislatm'e believe that if we           Whereas, legal precedent ensts where in
 leases ha,•ing to do with the election that did are able to do a forensic autlit. we could in-            1960 the State of Hawaii sent. an alternate
 not conform to thell' own opinlon. This di- vestigate tl!ese and otJ1er seriou>< dall:ns                  slate of electors while the Presidential elec-
 minished. our alJility to communicate to the brought forward to us. However, as you can                   tion was still in que.~tion in order to meet.
 public our concerns about how the elet:tion see by the list above mot exhausth-e l,ut                     the deadline of selecting elector,;. and upon
 and post procedure,, were being handled.            brief for your benefit) we have many entities         recount the alternate slale of electors· ])al-
    9. On 1Z 01-2020. I requested the Attorney who appear to be blocking om· efforts to get                lots were ult.imately counted: and
 General" s Elections In tegrit~· oflke to inves- to l:.he hot.tom of Lb.e i>lSue, One can only ask.           "\\'here.as. the undersigned haYe an ol>liga-
 tigate the claim,; made at the ='i'o,·ember 30th in a suppose,U,· secure and fair eled.ion. why           tion to find the trutl1. For thls r·eason. on
 Giuliani hea1·ln_g and pi·ovided tbem the link. discoYer,· i,s hein;,; quashed.                           several occasions since November 3. we stat.P
 1 was tolt! t-hat none of !.he itemes listed at                         t'OX!'Lt:SIOX                     lawmakers have requested fact-finding l!e-a1·-
 the Giuliani hearing would he ln\'esiigated           It i,s a"k,.d that all of the,:;e issut's he con-   ings to include a comprehensive and inde-
 hy that offict'.                                    sideretl wh,-n contemplating- !.he eleYen Ari-        pendent foren.sk au,1il. At this time. no suc·h
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  auclit has been authorized. Tllits Je,;v;;s t.he         Today we are int-he peop1e·s House to      Trump la.st year. He reject-ed President
   uncert.aint:v of the election re,;ult~ ;n a state     oomplele the people's prooes,; for           Trump·s pr-ayer to hlock cerLificaLion
  that requireR rurthe1· inve:-=:tiµ-a tion and r~so-    choosing the people's President. We as-      of Eiden·s victory in Georgia. saying il
  lution: and
     Whereas. ongoing election 11~·egularit.v lit!-      semble into joint session for a solemn       ··has no bash; in fact or law."
  )(ation is eurrent.1,• acti,•e. nnd there are un-      purpose that we have all sworn a sa-            Take U.S. Dist,rict, Judge Bretl Lud-
  1·esohed disputE's by hoth the Leg-islalm·e            cred oat.h to faithfully discharge. T11e     wig. another Trump nominee who took
  and at least one Presidential campaign. ren-           121-h Amendment obligates eaeh and           the bencl1 in September. He dismissed a
  dering- the election inconelu~ive as of datfc' of      every one of us to count the electoral       lawsuit, seeking: to overturn the results
  signinp: of this Jetter.                               votes to 1·ecognize the will of t,he peo-    in Wisconsin. calling it "ext,raor-
     Therefore. be it.                                                                                dinary.··
     Resofred by the undersi;;·ned Legislators.          ple in l-he 2020 Presidentia1 election.
  members of the Arizona Hou:;e and Senate.                We are not here. Madam Speaker. to            He said: ··A siUing Presidenl who did
  request that Lhe alternate 11 electoral voles          vote for t-he candidate we want. We are      not prevail in his bid for reelection has
  he accepted for to Donald ,J. Trump or to              here to recognize the candidate the         asked for Federal Court help in setting
  have all electoral votes nullified completely          people actually voted for in the Slates.    aside the popular vote based on . . .
  unLH a full forensic audit can he com1ucted.             Madam Speaker. the 2020 elect.ion is       issues he plainly could have raised be-
  Be it further resolved that the "C'nited States        over and the people have spoken. Joe        fore the vote occurred.
  Congress is not to consider a slate of electors                                                         .. This courL allowed Lhe plaintiff the
  from the S~1.te of Arizona until Lhe Legisla-
                                                         Eiden received more than 80 million
                                                         Yates. SeYen million more than Presi-       chance t.o make his case. and he has
  tu1·e deem£ Lhe election to he final and all
  irregularities resolved.                               dent Trump. A number larger than any         lost on Lhe merits:·
     Signed this da;v. 14 December, 2020.                other President has receiYed in U,S,            Trump has asked for the rule of law
     Senator Elect Kelly Townsend. Legi.-;lative         histor:v. The sweeping popular victory       to be followed, Judge Ludwig observed.
  District Hi; Representative Kevin Payne.               iranslaLed inLo an electoral college vie-   and he said clefinitively: It has been.
  Legislative DisLrict 21; Representative Mark
                                                         Lory of 306--232. a mal'gin which Presi-        I have been a constituUonal Jaw pro-
  Finchem. Legislative Di,;Lrid 11: Senator                                                           fessor for 30 years. and if I were to test
  Sonny Bonelli. Legislath'e Distrid 5; Rep-             dent Trump pronounced a landslide
                                                         when he won by those exact same num-         my students on these decisions, iL
  resentative Bret Robert,;. Legislative Di,;-
  trfrt 11: Representative Bob Thorpe, Legisla-          bers in 2016.                                would be Lhe easiest test in ihe world
  th·e District 6: Senator David Farnsworth.               So now we count, the electoral Yates       because Lhe plainliffs have lost nearly
  Legislative District 16: Representative Leo            that were just delivered to us in the       every case and every issue in lhe most
 Biasiu,,ci. Legislative District 5: Representa-         beauLiful mahogany cases brought by         sweepin,_1; terms. Thal is all they would
  tive Anthony Kern. Legislative District 20;            Lhose hardworking Senate pages. These       have to rememher. There is no basis in
  Senator Sylvia Allen, Legislative District 15;                                                      fact or law Lo justify the unprece-
 Senator Elect Nancy Tun-to, Legislative Dis-            mahogany cases contain only the 538
                                                         elecl-oral votes that were sent in by Lhe    dented relief that is being requested of
 trict 15: Majority Leader Warren Petersen.                                                           nullifying these elecLions.
 Legislative Dist1iet 12; Representative Steve           States. not the 159 million ballots that
 Pierce. Legislat.ive Distl'ict l: Representative        were cast by our const:ituent.s. Those          We are here to count the votes. Let
 Tony Rivero. Legislative District 21: Senator           were counted 2 months ago by hun-            us do our job.
 David Gowan. Legislath'e District 14: Rep-                                                              Mi-s. BOEBERT. Madam Speaker. I
                                                        <lreds of thousands of elecLi-on officials
 resentative David Cook, Legislative District                                                        rise to support the objection.
                                                        and poll workers across America who
 8: Representative John Fillmore, Legislative                                                            The SPE.i\.KER. The gentlewoman
 Dust.rict 16: RepresentaUve Travis Grantham.           risked their health and even their lives     from Colorado is recognized for 5 min-
 Legislative District 12; Representative Wal-           in the time of COVID to deliver what         utes.
  t.er Blackman.. Legislative District 6: Rep-          our Department of Homeland Security              Mrs. BOE.BERT. Madam Speaker. t.o
 resentative Shawnna Bolick. Legislative Dis-           called the mosL secure election in           ease everyone's nerve. I want Members
 trict 20: Represent.ath-e Noel Campbell. Leg-          American hist,01·y. Many of ihese offi-       Lo all know that I am not here to chal-
 islative Districl 1; Representative Elect Jac-         cials have endured threaLs of reLribu-
 queline Parke1·. Legislative District 16; Rep-                                                      lenge anyone to a duel like Alexander
                                                         Lion. violence. and even deaLb just for     Hamilton or Aaron BmT.
 resentative Elect Beverly Pingerelli. Legis-           doing their jobs.
 lative District 21: Representative Elect Jake                                                           Madam Speaker. my primary objec-
 Hoffman. Legislative District 12: Senator                 Just as the popular vote was for           tion to Lhe counting of the elecLoral
 Elect Wendy Rogers. Lt Col. USAF !retl.                Eiden, so was the electoral vote. On         votes of the StaLe of Arizona is basecl
 Legislative District 6: Represent.1.tive Elect         December 15. Senate Majority Leader          on the Constitut.ion and Lhe direclion
 Steve Kaiser. Legislative District 15; Rep-            MITCH MCCONNELL recognized it. ··The         of State legislatures through St.ate
 resentallve Elect Brenda Barton.. Legislative          elecLoral college has spoken:· the Sen-
 District 6; Represent.1,tive Elect Joseph
                                                                                                     law, as spelled out in the follovring two
                                                        ator said from the Senate floor.             clauses of Article II. Section 1. Clause
 Chaplik. Leisislaiive District 23: Representa-         ··Today I want to congratulate Presi-
 tive Eleet Judy Burges, Legislative District                                                        2: ··Each State shall appoint. in such
 I: RepresentaLive Elect Quang Nguyen. Leg-             dent-elect Joe Biden."                       manner as the legislature thereof may
 islative District L                                       Yet, we have seen escalaLin..i; aLtacks   direct. a number of electors:•
   Mr. RASKIN. Madam Speaker. I                         on our elecLion with unfounded claims            And the election clause of t.he Con-
 claim t,he Lime in opposition to the ob-               of fraud and corruption. More than 60        stitution provides State legislatures
 jection.                                               iawsuit,s have been brought to date          with explicit authority to prescribe
   The SPEAKER. The gentleman from                      seeking to overturn the results. They        .. the t.imes. places. and manner of hold-
 Maryland is recognized for 5 minutes.                  have failed repeateclly antl the.v have      ing elections."
   Mr. RASKIN. Madam Speaker. I                         failed speet.acularly.                           For more than three decades. Arizona
 thank you first and all my dear belovecl                  Every objection we hear t,oday ma-        Jaw, set by the State legislature, has
 colleagues for your love and tender-                   ligning our St.ates and their officials-     required Lhat voter registration end no
 ness. which my family and I will never                 both Republican and Demoeralr-has            later than 29 days before an election.
 forget.                                                been litigated. adjudicated. and oblit-          This is clear. It is law. unless amend-
   Abraham Lincoln, whose name is a                     erated in hot,h Federal and StaL.e           ed by the State legislature. This is the
 comfort to us all. said: ··we have got                 Courts. The President has not just had       way it needs t.o be carried out.
 the best government the world ever                     his clay in court-. Madam Speaker. he            In Arizona, the deadline for voter
 knew."                                                 has had more than 2 months in court          registration for the 2020 Presidential
   IL is best because the first three                   looking for a judge Lo embrace these         election was Octoher 5. 2020. Usi..ng
 words of the Co11stituLion tel1 us who                 arguments. In more than 50 cases.            COYID as a reasoning. Democrats filed
 govenis here: We the People.                           Madam Speaker. at least 88 different         a lawsuit to ext.end this deadline by 18
   \Vatch this proceeding toclay and tell               judges. including many appointed by          days. An :injunction was made by an
 the world with pride. as Lincoln dicl.                 the President himself. ha,·e meLicu-         Obama-appointed judge preventillg Lhe
 a!Jout t.he brilliant meaning and prom-                iously reject-ed the President's claims      A.rizona secretary of state from enforc-
 ise of our country. Our Government he-                 of fraud and corrupt.ion.                    ing the constitutional deadline set- !Js
 longs t.o t.be peol)le.                                   Take Georgia U.S. District Court          Lhe State legislature.
   As President. Ford said: Here the peo-               Judge Steven Grimberg. who was                  As a result, of this frivolous. parUsan
 ple l'Ule.                                             named t,o the bend1 hy Presidenl             lawsuit. 10 exLra days were added via
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   judicial .fiat t,o allow vol-er registra-    over legal observers not being able to              They met Lheir duls, and l-hey once
   tion. These 10 days were added afler          obsel've and inspect signat-m·es. that.        again rose lo t-he occasion and cerUfied
   voting had already begun. This is com-        t-he laws and Constitution of Arizona           l-he election. And the question now is.
   ple Lely   indefensible.    You   cannot     were not violated Lo chanire voting out.-       will we do ours'?
   change Lhe rules of an election while it     comes?                                              Now. I know l-here are man.v
   is irndenvay and expect, the American            And I will wait for a response.              ~extualists among us. many of my col-
  people to tmsL iL.                                The SPEAKER. The time of Lhe g-en-          lea,.,"1.les who would unuerst-an<l Lhat t11e
     Now. in this JO-day period. at least        t.leman has expired.                           Constitution must guide our work
  30.000 new voters were registered to                                                          today. Ami the Constitution is crystal
                                                                    O 1400                      clear: Our dut-y t,oday is a narrow one.
  vote in Arizona. All of these vol.es are
                                                    Mr. NEGUSE. Madam Speaker. I rise               Article IL Section l. Clause 3 reads:
   unconsLit.utional. It does not matter if
                                                in opposition to t.he objection.                '"The President of the Senale shall. in
  thev voted for President Trump or if             The SPEAKER. The gentleman from
  the;_, voted for Vice President Biden.                                                        the presence of l-he Senate and House
                                                Colorado is recognized for 5 minutes.           of Represent-atives. open all the certifi-
  They did not register in Lime for Lhe             Mr. NE.GUSE. Madam Speaker. Loclay
  elect.ion. The law states Odober 5. Ei-                                                       cates, and Lhe votes shall then l)e
                                                is an import.ant. day. In 1862. during t-he     count-eel. The person having the g:real--
  ther we have laws or we do not.               denths of the Civil War. President. Lin-
     If we allow Slate election laws as set                                                     est number of vat.es for President shall
                                                coln submit-ted his annual message Lo           be t-he PreisidenL ··
  forth by Lhe St-ate legislatures to he ig-    Congress. to this body, and in it. he               That is it.. period. Our job is not Lo
  nored and manipulated on the whims of         wrote the following: "Fellow citizens.          replace the judh"Illent made by the
  partisan lawsuits. unelected bureau-          we cannoL escape history. We. of this           American people wi.Lh our own. Yet.
  crats. unlawful procedures. and arbi-         Congress and t.his administration, will         that. is precisely what so many of my
   trary ru.les. then our constitutional Re--   be remembered in spite of ow·selves.            House ancl Senate Republican col-
  public will cease to exist.                   . . . The fiery lrial through which we          leagues ask [.his body to do. to suh-
     The oath I took this pasL Sunday to        pass wm light us down. in honor or dis-         stitute their judgment for the ex-
  defend and support the Constitution           honor. Lo t.lie lat.est generation . . . . We   pressed will of the American people.
  makes it necessary for me l-0 object to       shall nobly save. or meanly lose. the               In America. we don't- do that.. In the
  Lhis travesty. Otherwise. the laws            last best hope of EarLh. ··                     United States. we accept- the results of
  passed by the legislative branch merely           Madam Speaker. we gather today t,o          free antl fair elections.
  become suggestions to be accepted. re-        ensure Lhe sw-vival of our grand Amer-              Madam Speaker. we don·t- ignore the
  jected. or manipulated by those who           ican experiment.. the greatest. democ-          will of the voters and attempt to in-
  did noL pass them.                            racy this world has ever known. and             stall a preferTed ca11didate into power.
     Madam Speaker. I have constituents          there are millions of people watching          That tloesn·t happen here.
  outside of this building right now. I         today·s proceedings. The eyes of t.he               Madam Speaker. I will close with
  promised my voters to be their voice.         world are 011 us now. my colleagues.             this. Our duty. our task. is a very sim-
  In this branch of government. in which        wondering if we will keep the faith.            ple one: to honor the voice of the peo-
  I now serve. it, is n1y separate but equal    wondering if our const,itutional Repub-         ple. to honor our ConsLilution, Lo
  ohligation Lo weigh in on this election       lic will hold.                                  count t.he votes. to certify this elec-
  and object.                                      ·Will we adhere lo our Constitution.          tion. and begin to heal this greaL coun-
     A.re we not a government of. by, and       that solemn visionary document that-            Lry or ours.
  for the people?                                                                                   I pray each of us may find t.he com·-
                                                has guided us so well for so long ancl          age to do so.
     They know LhaL Lhis election is not        enabled the peaceful t.ransfe1· of power
  right: and as Lheir Representative. I                                                            ·Mr. JOHNSON of Louisiana. Madam
                                                for the last. 230 years?                        Speaker. I rise in support of the objec-
  am sent here to represent- Lhem. I will           Will we continue to be a count.ry pre-
  not allow the people to be ignored.                                                            Lion.
                                                mised on Lhe consent of the governed. a             The SPEAKER. The gentleman from
     Madam Speaker. it is my duty under         Congress Lhat respects the will of the
  the U.S. Constitution to object to the                                                        Louisiana is recognized for 5 minutes.
                                                people. and a Republic that Will en-                Mr. JOHNSON of Louisiana. :tviadam
  counting of the elect-oral votes of the       dure?                                           Speaker. we have a solemn responsi-
  St.ate of Arizona. The Members who               Madam Speaker, those are the ques-           billty today. We must vote to sustain
  stand here today and accept the results       Uons before us Loday. With respect- t-o         objections to slates of electors sub-
  of this concentrated. coordinated. par-       my new colleague from Colorado. the             mitted by Stat.es that we genuinely be-
  tisan effort by Democrats. where every        question is not. whether Joe Biden was          lieve clearly violated the ConstiLution
  fraudulent vote cancels out the voLe of       elected the 46th President of the               in t11e Presidential election of 2020.
  an honest America. has sided with ex-         United States. He clearly was. The peo-            This is the threshold legal question
  tremists on the left.                         ple of Arizona. like so much of the             before us, and it is an issue before us
     The United States Congress needs to        country. spoke clearly and resound-             for the State of Arizona. We have to re-
  make an informed decision. and that           ingly. They voted in record nwnbers.            peat Lhis for emphasis because a lot of
  starts with this ohjecti01i.                  and over 81 million Americans selected          people seem to be confused.
     Mad.am Speaker. I yielcl to the gen-       Joe Eiden as the next President.                   Because judges and not t.he State leg-
  lleman from Florida <Mr. l\i.AST).               Now, today. we hear from some in             islature changed the rules of the elec-
     Mr. MAST. Madam Speaker, I rise as         this Chamber-not all, but some of my            tion. Arizona clearly viola.Led the plain
  well to support. the objection. and 1 rise    colleagues on the other side of Lhe             language of Article 11. Section 1 of Lhe
  wi t-h the simple question: Can the           aisle-vag·ue claims of fraud.                   Constitution in its selection of Presi-
  Chair honesL!y tell Americans. with a            No substance.                                dential electors.
  pending Supreme Court case over legal            No evidence.                                    The Framers of our Constitution rec-
  observers not being allowed to observe           No facts.                                    ognized that elections were susceptible
  and imspect signatures. that the laws            No explanation for why over 88               to corruption. We all know Lhat. So.
  and U1e Constitution of that, State           judges across this land have rejecLed           how did they fix it-? How did they pro-
  were not violated to change voting out.-      the very same claims.                           vide for that-? They created the elec-
  comes?                                           Madam Speaker. the botLom line is            toral college as a safeguard. and Uiey
     Madam Speaker. I will wait- for a re-      l-his. As my colleague. Representative          expressly empowered State legislatures
  snonse.                                       RASKIN. so eloquenUy put iL. the people         to ensure the integrity of out unique
   • The SPE...'1.KER. The genlleman from       have spoken. and that is why. on De-            election system.
  Florida (Mr. MA'5T) has 25 seconds re-        cember 14. the electoral college met t-o           Only the State legislatures. because
  n1aining.                                     certify l-he election of a duly elect.ed        t,hey are a full hody of representatives
     Mr. MAST. Madam Speaker. I will re-        President,. just- as Lhey have done for         and not rogue officials. were l\·iven the
  peat my question.                             centuries during Lerrible world wars.           auLl10riL~r to direcl the manner of ap-
     Can you honestly tell Americans.           recessions. depre:ssions. plague:,. and         pointing Presidential electors because
  wilh a pending Supreme Court case             pandemics.                                      il was so importanL
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     The Supreme Court- has acknowl-             Court- spoke to this. The~' plainly ac-      administered with inLeg-rity. trans-
   edged this over and over. They pre-           knowledged this important delibera-          parency. and in accordance with State
   viously affirmed in ArLide II. Sedion         tive role of Congress, It was the farnous    iaws:·
   1. Clai.,se 2: "'l'he appointment of Lhese    Bush v. Gore litigation that everybody          Arizonans showed up to the polls in
   electors is thus placed absolutely and        remembers from 2000.                         record numbers. More than 3.4 million
  wholl:y with the IegislaLm·es of Lhe sev-         In a per curiam opinion-meaning all       people voLed. with increases in every
   eral States:· ThaL authority can never        nine Justices. t-hal, iL was unanimous-      county. and 65 percent- of all eligible
   be taken away or abdicated.                   they not.ed strict adherence to the pro-     voters in Arizona voted in the 2020 elec-
     The Arizona Legisla.t,ure did enact de-     visionE of tl1e Electoral Count Act may      tion. ~~..rizonans cast their ballots up
   tailecl rules and procedure;, U1at the        create "a •s!tfe harbor· for a Stale inso-   and do,vn for Republicans an<l Demo-
   StaLe was supposed to follow to choose        far as congressional consideration of        crats. and 11 electoral votes were
  il-s electors. BuL in the months pre-          its electoral votes is concerned...          granted to Joe Biden and KA:>IALA HAR-
   ceding Lhe 2020 election. as we have             However. unanimously. the Court           rm; based on their victory in Arizona.
  heard-ancl by t-he way. a thousand             ;,aid since LiUe 3. seeLion 5 contains a     ThaL is Lhe story.
   pages of evidence have just been sub-         principle of l<'ederal law that would as-       Arizonans voLed in hundreds of races
  mitted on the fact;, on this-those well-       sure finality of the St..ate·s determina-    this year. In addition t-o t,he Presi-
   esLablished rules and procedures were          Lion if they followed all the prosurip-     dency. these races include nine mem-
   deliberately changed.                         Lions there. i:f the will of t-he legisla-   bers of the State's congressional (lele-
     They weren't changed by Lhe legisla-        ture is attempted to be changed by a         gation that are with :,rou-four of them.
  ture. friends. They were changed lly           St.ate court. that is a problem. That.       my Republican colleagues, These Mem-
   judges. And those act.ions taken by Lhe       they said. Congress might deem to be a       bers have already heen seated in the
   judiciary were not limited to mere in-        change in the law.                           117th Congress. They do not question
  terpretations of existing law. No. they           That is precisely wh._v we are here       l-he accuracy of Arizona·s 2020 elections
  were substa,ntive. wholesale changes to        rig-ht now. Go read Bush v, Gore. and        l-o seleul Lhe congressional delegation.
  those statutes.                                you will see this.                           yet, my four Republican colleagues
     Madam Speaker. tha-l is a usurpation           Chief Justice William Rehnquist an(l      question the PresidenUal election.
  of Lhe aulhority lhal Lhe legislature          Justices Scalia and Thomas joined in a          Our colleagues may say they are only
  had. TI'hal usurpation was repeated            concurring opinion 8 days later. and         asking questions and seeking to reas-
  across the country i,his year. It is Lhe       they reiterated this point.                  sure voters. but let us be clear: These
  primary reason-it is one of Lhe rea-              A significant dep-arture from the leg-    questions have been answered by the
  sons why the election of 2020 became           islature·s scheme for appointing Presi-      voters and by the courts. Rather than
  riddled wit,h an unprecedenled number          dential electors presenLs a Fe<leral         accepting the answers and t-he results
  of seriom, allegaLions of fraud an<l           question. It is a big problem for us. and    of the election. they are fanning the
  ilTegularit.ies all over the counLry.          it is one we cannot get around. Thal is      flames of unfounded suspicion and once
     National polls. it has been said. indi-     why we are here.                             again creating a threat. a very real and
  cate that a huge percentage of Ameri-             Madam Speaker. I urge my col-             dangerous threat to our democracy.
  cans now have serious doubts about not         leagues today to look at- the facts. to         Again. our friends clo not question
  just the out:come of this Presidential         follow t-he law. and to follow our con-      the outcomes of their own eleutions.
  contest but also the future reliability        gressional oath. We are supposed to          That is because they have no reason to.
  of our election system itself.                 support and defend t-he Constitution.        just as they have no legitimate reason
     Since we are convinced that. the elec-      That is what- we do here today. I urge       to question the results of the Presi-
  tion laws in Arizona and some other            everyone t-o tlo the right thing.            dential election in Arizona.
  key States were changed in this uncon-            Mr. GRIJALVA. Madam Speaker. I               Madam Speaker. I ask my colleagues
  stitutional manner. we have a responsi-        rise in opposition to the objection.         to reject this objection. to respect t.he
  bility today. The slates of electors uro-         The SPEAKER The gentleman from            will of the voters in Lhe State of Ari-
  duced under those modified laws -are           Arizona is recognized for 5 minutes.         zona and throughout t-his country. and
  thus unconstitutional. They a.re not              Mr. GRIJALVA. Madam Speaker.              to fundamentally add some preserva-
  --regularly given·· or --1awfully cer-         this exercise in futility that Congress      tion to our democracy from any future
  tified ... as required by the ElecLoral        is undertaking is at the behest of Re-       damage, t-hat Lhis effort that we are
  Count Act. and they are invalid on             publican Members of CongTess. The e:f-       undertaking in this House and in the
  their face. That is jusL lhe conclusion        f01·t, t-o overturn the Presidential elec-   Senate today does not further damage
  that you have to reach.                        tion and grant Donald Tl'lUllP 4 more        om· democrac~'.
     Madam Speaker. given these inesca.p-        years is the motivation behind it. And          Mr. GOSAR Madam Speaker. I rise
  able facts. we believe we have no              to continue a baseless conspiracy-           in support of my object-ion.
  choice today but to vote to sustain ob-        fueled threat to our democracy makes            The SPEAKER. The gentleman from
  jections to those slates of electors.          no sense because there is no viable con-     Arizona is recognized for 5 minutes.
                                                                                                 Mr. GOSAR. Madam Speaker, I filed
     Mr. RASKIN an<l others today have           stituLional or legal path to overt-urn
                                                                                              my challenge on the slate of electors
  cited the 12th Amendment,. antl they           t-he election that will make Vice Presi-     from the State of Arizona Lhat was ac-
  cit-e Article IL Section 1. Clause 3-re-       dent Biden and Senator HARRIS Presi-
                                                                                              tually put forwai·<l by Governor Ducev
  member that, Clause 3. And they have           dent and Vice President of the United        of ~"'-rizona.                           '
  asserLed that Congress has only one            States after January 20.                        Ms• ask to you. the Speaker. through
  narrow role today: we are just supposed           One certain outcome of this whole         the Vice President-, is simple. Do not-
  to count the electoral votes that have         process is the weakening of our democ-       counL these electors m1til and unless
  been submitt-ed. But those advocates           tacy and tlle threatening of our democ-      the secret,ary of stat.e allows a forensic
  have overlooked a critical first- prin-        racy. Beginning with Arizona. Congress       audit of l-he elecLion. a requesl she has
  ciple.                                         is being asked to chase down a rabbit        denied repeatedly.
     Theil' assertion is only true so long       hole baseless. discredited. and judi-           \Ve have been told over and over tl1at
  as Congress first is convinced that Lhe        cially discarded fringe conspiracy theo-     even t,hough this was a puhlic election
  electoral votes were not produced by a         ries.                                        using public money and public ma-
  process Lhat violated Lhe ConstiLuLion            Madam Speaker. for the record. let's      chines utilizing public employees. the
  is there. We have Lo get through Clause        l-alk a. little bit about Arizona. Arizona   public t,oday has no ability t-o simply
  2 of ArLiule II. Sec1.,ion 1, before we get.   and StaLe and local officials difl an m1-    double-check Lhe veracitv of these re-
  to Clau:;e 3 is the poinL                      believable job to ensure that- l-he 2020     sults.                      '
     Look. in our unique s;vsl-em. Conin-ess     elections ran smoothly. Mr. Hickman.
  is positioned as the last bulwark in a         the Republican chairman of the Mari-                          C 1415
  Presidential election to ensure the            copa CounLy 1loarl1. the largest county       If the Presidential election was a
  Constitution has been followed. Indeed.        in l-he Stal-e of Arizona. said: "No mat--   football game. we would get- a ;,low-mo-
  just two decac1es ago. the Supreme             t-er how you voted. this election wa.5       tion review from multiple angles and a
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  eorrection of a controve1-sial decision.          You have a letter from Lhe Arizona              We always knew that this responsi-
  BuL not so. we are told by our sec-             Legislature stating its intent Lo review       bility would take us inLo Lhe night. and
  rel.ary of state. for the Presidential          the issue on January 11. Our Governor          we will sLay as long a..s iL takes. Our
  elect.ion. no review for :.-ou.                has refused to allow the State to prop-         purpose will be acuomplished. We must.
     No access to the Dominion voting            erly convene t-o do its proper oversig·hL       and we will. show to the country. and
  machines wiLh a documented history of             Mr. Speaker. I ask you one question          indeed to the world. thaL we will not be
  enabling fraud through its now discred-         today: Are you a ceremonial figurehead         diverted from our du.Ly. that. we will re-
  it-ed adjudication syst,em. a system           in your current role. or did t,he fu'afters     spect, our responsibility to the Con-
  that 1i terally allows one person to           of the 12th Amendment and Congress,             stitution and Lo the American people.
  change tens of Lhousands of votes in           in the Electoral Count Act of 1887. en-            On Sunday, it was my gre.at honor t.o
  mere minutes.                                  vision a role where you made discre-            be swon1 in as Speaker au!l Lo preside
     In the only audit done in Arizona. a        tionary decisions about, ballot fraud           over a sacred ritual of renewal as we
  court found 3 pereent error rate               and fair elections?                             gathered under the stone of the temple
  against- President Trump. Vice Presi-             If you are merely ceremonial. Lhen           of democracy to open the 117th Con-
  denL Biden·s mari;-in oi e1·ror was one-       let's be done with this. Let·s eat our          gTess. I said. as we were sworn i..n then.
  tenth of I.Jlat. at 0.03 percenL. By the        tea and crumpets a.ml witness our na-          we aceepL a responsibility as daunting
  way. a 3 percent e1Tor ral,e at minimum         tional decline.                                anc1 demanding as any previous genera-
  is 90.000 ballot,s. After finding Lhe 3 per-      But if you are not merely eeremoniaI         tion of leadership has ever faced.
  ceu t en-or rate. the court stopped the        but vest.eel with discernment. ration-             We know that. we are in difficult
  1a.udit and refused to go further.             ality. and legal autho1ity to not just           Limes. but little could we have imag-
     In Arizona. as my aLLachme.nts make         count, from 1 to 270. then do not accept        ined the assault that was made on our
  clear. mail-in ballots were alt.ered 011       Arizona ·s electors as certified. Remand        democracy today.
  the first, day of counting as shown in         the slate back to the secretary of state.          '.ro those who stoked deterrence from
  data graphs we have provided. as con-          back to the Governor. with the fol-             our responsibility. you have failed. To
  cluded by data analysts. Over 400.000          lowing instructions: Until a full. com-         those who engaged in the gleeful dese-
  mail-in ballots were altered. switched         plete electoral forensic audit is allowed       cration of this. our temple of democ-
  from President Trump to Vice Presi-            by the secretary of state. the electors         racy. American democracy. justice will
  dent Biden. or completely erased from          currently certified will not be counted.        be dornc.
  President Trump's totals.                         It will then fall 011 the State of Ari-         Today. January 6. is the Feast of the
     The proof is in the counting curves.        zona to tlecide are its electors i11 the        Epiphany. On this day of revelation. let
                                                 game or not. A.uy~hing less is an abdi-
  the curves that cannot occur except            cation of our constitutional Republic           us pray that this instigation to vio-
  with odds so rare and unlikely Umt                                                             lence will provide an epiphany for om·
  winning the Mega Millions lottery is           anll our ethos: one man. one vote.              cow1try to heal.
                                                    \Ve ask: \V'hy? What is there to hide?
  more probable.                                 Shouldn·t the lawful victor of an elec-            In Lhat spirit of healing, I invoke the
     Mr. Speaker. can I have order in the        tion be proud. open. and traJ.1Sparent          song of Saint Francis. I usually do.
  Chamber?                                       about an election audit? I would. In-           Saint Prancis is the patron saint. of my
                    RE{'E,;s
                                                 stead. we are met with denials. cover-          city of San Francisco. and Lhe ··Song of
    The SPEAKER pro tempore (Mr.                 ups. and contempt of subpoenas.                 Saint Francis" is our anthem.
  McGOVER.t'l). Wit,hout objection. pursu-          There is too much evidence of fraud.            Lord. make me a channel of lhy
  ant to clause 12(bi of rule I. the Chair       demonstrated by statistical anomalies           peace.
  declares the House in recess snbjecL to        that experts have determined cannot                Where Lhere is darkness. may I bring
  the c.all of the Chair.                        happen in the absence of fraud. to ac-          light.
    There was no objection.                      cept such a slate. I am not ai,king these         Vv11ere there is hatred. leL us bring
    Accordingly (aL 2 o·clock and 18 min-        electors never be countec;l: it is just         love.
  utes p.m.). the House stood in recess.         that they need to be certified the prop-          \V11e1·e there is despair. let us bring
                                                 er way.                                         hope,
                    D 1426                                                                         We know that we would be part of
                                                    Our beloved Constit-ution is hut a
                 AFTER RECESS
                                                 mere piece of paper if we do not follow         history in a positive way today. every
      The recess having expired, the House       the law. upholdi11g the law. But now.           4 years when we demonstrate again the
   was called to order by the Speaker pro        alas. we find ourselves lawless. destroy-       peaceful transfer of power from one
   t.empore (Mr. McGm'ERN) at 2 o'clock          ing the very thread that binds us to-           President to the next. and despite the
  and 29 minutes p.m.                            get.her. But we need to get back to the         shameful actions of today. we still will
     The SPEAKER pro tempore. The gen-           rule of law. That is what has been vio-         do so. We will be part of a history that
   Ueman from Arizona (Mr. GOSAR) has            lated. truly. by the actions in these           shows Lhe world what America is made
  2~,:, minutes remaining.                       States.                                         of. Lhat this assault. this assaull is just
     The gentleman may proceed.                                       l!ECE$..<;
                                                                                                 thaL It shows the wea.kness of those
     Mr. GOSAR. Mr. Speaker. as I was                                                            who have had Lo show through violence
  saying, the probability of these ectopic         The SPEAKER pro tempore. Without
                                                 objecLion. pursuant to clause 12(b> of          whal their message was.
  curves, you have a beUer likelihood of                                                           My colleagues. it is time to move on.
  winning the Mega Milliol.lS lottery than       rule I. the Chair declares the House in
                                                 recess subject to the call of the Ohair.        I wear this pin quite frequently. Actu-
  you do having st,atistical issues here.          There was no objection.                       ally, I gave it to our beloved JOHN
     Over 30.000 illegal aliens voted in Ari-      Accordingly (at 2 o'clock and 29 min-         LEW'IS just the weekend or so before he
  zona using the Federal ballot. yet our         ut,es p.m. ). the House stood in recess.        left us. It is the flag of our country. a
  secretary of state refused the public ac-                                                      nag of the United Stat.es of America.
  cess t,o review Lhe ballots.                                      C 2102                       On it. it says. "One country. one des-
     Over a thousand residences were vis-                         AFTER ltECESS                  tiny."
  ited for proof of residency and address:         The recess having expired. the House            "One country. one destiny" is writ-
  456 failed that Lest. They were vacant         was called to order by the Speaker at 9         ten 011 the flag. ThaL was also what was
  lot-s. Even the Recorder·s office was          o'clock and 2 minutes p.m.                      embroidered in Abraham Lincoln·s
  used as an address.                                  .'c.,!'!0!1XC'Ell1~T BY 1'1!E i'lPEAKER   coat that he had on that fateful night.-
     \Vhat are they hidL71g? If the process        The SPEAKER. The Chair will ad-               Lincoln's part,~,. Lincoln's message:
  was fair. these would he improbable.           dress t,he Chamber.                             One country. one destiny.
  These wo,1ld he once-in-a-lifet-ime-t.ype        Today. a shameful assault- was lnade            So on this holy day of Epiphany. let
  applications.                                  on our democracy. It cannot. however.           us pray. I am a big believer in prayer.
     So let·s look at the ballots. the sig-      det,er us from our responsibilit,y Lo           LeL us pray that there will be peace on
  natm·es. and the adjudicated records.          validaLe Lhe election of Joe Eiden and          Earth and LhaL it wm beg-in with us.
  Until this is done. Mr. Speaker. we            KAMALA HARRIS. For that reason. Con-            Let us pray that God will conLinue Lo
  should not count this slate.                   gress has returned Lo the Capit.ol.             bless America.
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       With thaL let us procee(l with our re-   afLer court- have dismissed ouL of hand.       by the country-the~· voted. and they
   sponsilliliLies to the Constitulion to       not because there wa.-s a little evidence.     voted preUy decisively.
   wl1ich we have just. wilhin 72 hours.        hut because there was no evidence.                ·we. the people. toget,her. must Lurn
   taken lhe oath to uphold.                       That is why we are the longest-last-        away from division and its dangers.
       Mr. HOYER. Madam Speaker. I rise         ing constitutional democracy in the               The senior Member of our body. DON
   in opposition Lo the objection.              world. I hope all of us in this body are       Y0GXG from Alaska. spoke the othel'
       The SPEAKER. The gentleman from          proud of that and understand wl1.y that        day when we were sworn in and said:
   Maryland is recognizea for 5 minutes.        is the case. Because. as Dick Gephardt         Ladies and genLlemen of this House. we
      Mr. HOYER. Madam Speaker. it- is a        said on this floor many years ago. de-         are so divisive that it is going to de-
   sad day in Amerka. It is a wrenching         mocracy is a suhsLit.ute for war to re-        stroy our country. We neeu to reach
   clay ill Amerka. IL is a. day in whiuh       solve differences. U proved once more          out anu hold one another's hands.
   our words and our actions have had           the ever-beaLi.ng strong heart that               \Ve all have a title that we honor
   consequences of a very. very negaLive        gives life t.o our Republic and our free-      moi·e Lhan any other-perhaps parent,
   nature. We ought to watch our woro.s         doms.                                          perhaps husband. But we are all Ameri-
  and think what. it may mean to some.            That strength. Madam Speaker. is             cans. Not. Americans-R: noL Americans-
      My remarks were written before the        derived in part from our institution           D. We are Americans.
   tragic. da.nirerous. and unaccepta!Jle ac-   and our laws. liut most important.ly. it          Let us hope tonight that we act like
   tions-and ·•unacceptable·· is such a         is powered by citizens· ancl leaders·          Americans. Not as Ds and R:;. but as
   tame word. My remarks st.arted wiLh.         commitment to our Constitution. Not            Americans. just as Al Gore. just as Hil-
   .. Madam Speaker. Lhe American people        just us. We swear an oath. But it is all       lary Clinton. just as Adlai Stevenson.
   today are witnessing- one of the great-      of America.                                    just as Abraham Lincoln. who had won
   est challenges to our democrac.v in its        Barack Obama spoke from that                 that election. of course. But he had de--
  244-year hisLory."                            Chamber. and he said: I am going to be         featecl people. and he said that, is not
      Little did I know lha.t Lhis Capitol      taking another title next year-cHizen.         t.he isstie; Lhe issue is t-o reunite.
  would lJe attacked l>y the enemy wit.h-         And he was proud to take that. And              We. the people. must again be the
   in. I was here on 9/11 when we were at-      every citizen needs to protect. pre-           strong heart of our American democ-
   tai::ked by the enemy wiLhout.               serve. and uplift our democracy.               racy.
      We need t.o all work togeLher to tame        Some today did not do that. many               We. the people. on this day in Con-
  and reduce the anger and. yes. the hate       today.                                         gress. must be a.gents of uniLy and con-
  that some stoke. \Vhat some-not, all.           SLxty-eight years ago in Springfield.        structive action Lo face the grave
  Maclam Speaker. hut some-in this              Illinois. Governor Adlai Stevenson             threats that confront us and tell those
  House and this Senale are doing· loday        gracefully conceded his loss to General        who would assault, our Capitol: That is
  will not i::hange Lhe outcome of the          Dwight Eisenhower. He said this: "It is        not the American way.
  election, which is Lhe clear and insur-       traditionally American:· he told his              We. the Members of Congress. who
  mountable victory of President-elect          deeply disappointed supporters. .. to          swore an oath before God to preserve
  Eiden and Vice-Presinent-elect Harris.        fight hard before an elecLion:·                and protect the Constitution of the
  Instead, all they will accomplish is to                                                      United St-ates and our democracy.
  fm•ther the dangerous divisio11s.
                                                                  c; 2115                      must do so now.
      This was written before this Capitol         But then he added. it is equally tradi-        I don·t usually read Senator McCo'.:'1-
  wa:; assaulted. before this democracy         tional to close ranks as soon as the           NELI:s speeches. but 1 am nol speaking
  was put aside by t.housands. encour-          people have spoken-not tl1e Cong1·ess.         as a Democrat, nor was he speaking as
  aged by Lhe Commander in Chief.               not the e1ecLors. t,he people have spo-        a Republican just a few hours ago.
      Instead. all they will accomplish is to   ken.                                              .. we·re debating a step that has never
  further Lhe dangerous divisions. as I            That which unites us as American            been taken in American history.
  said. among our people and energize           citizens is far greater than LhaL which        wheLher Congress should overrule the
  conspiracy theories stoked by our for-        divides us as political parties.               voters and overturn a Presidential
  eign adversaries. which seek to erode            It was another man from Springfield.        election:·
  America·s confidence in our democracy         fourscore and 8 years earlier. who won            He went on to say that he supports a
  and our system oi free and fair elec-         reelection to the Presidency in the na-        strong State-led voting reform.
  tions.                                         Lional crisis that tested our country            "The ConstituLion. ·· he said, "gives
      I was here in 2000. I was strongly in     and its democratic institutions. who           us here in Congress a limited role. We
  favor of Al Gore for President. and my        pleaded even in his hour of victory for        cannot simply declare ourselves a na-
  candidate got more votes than t.he            Lhe same spirit of reconciliation. That        tional 1Joard of elections on steroids.
  other candidate. His name was George          was the party of Lincoln. That hasn·t          The voters. the courts. and the States
  Bush. of course. And one of the saddest       happened to this hour.                         have all spoken:·
  days was January 20th of 2001 when our           Lincoln said: ·•. . . now tha.t the elec-      Five people said the election of 2000
  candidaLe. who won Lhe election. in my        tion fa over." he asked. --may not all,        was over. We dic1n't agree with them.
  view, was not elected. BuL it, was also       having a common interest. reunite in a         But Al Gore said: We are a nation of
  one of Lhe proudest moments of my ca-         com111on effort to save our common             laws. Five people-yes. they were mem-
  reer because the great.est power on           country?'·                                     bers of t.he Supreme Court. but they
  Earth passed peacefully from Bill Clin-          Such is the duty of an American who         were five people-said the election is
  ton to George \V. Bu.sh.                      stands for elections. or participates in       over. I sat, on Lhat podium and saw that
      Not a shoL was fired. Nobody as-          our politics. to l)e eiLher humble in tri-     power transfer Lo George W. Bush.
  saulted this Caucus or this Congress or       umph or gracious in defeat.                      McC01'"1ELL went on Lo say: •'If we
  Lhis Chamher. Because we were not. dis-          I have lost some elections-not too          overrule them. it would damage our
  appointed? No. Because we were noL            many-and I have won a lot of elec•             Republic forever."
  angry? No. Because we believe in de-          tions. I hope that I have bee11 gracious         He said that, MC.'Co).'NELL, the Repul)-
  mocracy. We helieve in ··we the peo-          in defeat and humble in victory. I hope        lican leader of the Senate. about 2
  ple:·                                         that I put. my State and my country            hours ago. 3 hours ago. ,1ow 4 hours.
      One of t.he speakers. I Lhink it was      firsL. not myself.                               He went on to say: "If this eiecLion
  the Senator from Texas. expressed: We            It is clear to all that the out.going·      were overturned hy mere aJ1egations
  are here for the people.                      President has not followed Lhe pat.h           from the losing side. our democracy
      If t-hose were Lhe people. we are in a    Lhat. Stevenson and Lincoln urged. So.         would enter a death spiral."
  lot of Crou])le.                              we. the people--each one of us rep-              He concluded: ··IL would he unfair
      Our elect01·aJ system. our democratic     resents about 750.000 to 800.000 people.       and wrong to disenfranchise American
  system. however. did not break under          some a few less. The people. they have         voLers and overn1le the eom·ts and the
  the strains of the misinformation. the        spoken in Lhe way that our Constitu-           St.ates on t,his extraordinarily Lhin
  claims of fraud. which court after court      tion set for t.hem l,o he heard by us and      basis. And I will not pret.end such a
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  vole would he a harmless protest ge:,-        Lhings I may not see fair or jusl. hut                            C: 2130
  ture .. :·                                    that is the way we should handle                 We will respecL your opinion. we will
    How prescienl-ly he spoke. People           things.                                       respect what you say. and we are will-
  who think t,hat. the election has heen           The majority leader is right: We are       ing- t,o list,en to iL I think the Nation
  stolen with some fraud. why do they           all Americans first.                          will he better for it. on both sides of the
  Lhink it? Because the Commander in               But we should also think for a mo-         aisle. Let"s show the country the mob
  Chief said so. and they respect him and       ment: \'ithaL no we put. on social media?     did not win. We have a job to do. Let·s
  they follow him. And words matter.            What do we conve~' to one another?            do it with pride and let·s be better
    "Pet,e:· as he ended. ··I will not. pre-    Just lrncause you have a personal opin-       when the sun rises tomorrow.
  tend such a vote wou1c1 he a harmless         ion different than mine. you have a              Mr. STANTON. Madam Speaker. I
  protest gesture while relying on otJ1ers      right to say it. but nobod,v has a right      rise in opposition to the ol;jection.
  to do Lhe right thing. I wi11 vot.e lo re-    Lo become a mob. And we all should               The SPEAKER. Tl1e gentleman is
  spect. the people's decision ancl defend      st-and united in condemning the mob           recognized for 5 minutes.
  our syslem of govel'nrnent as we know         together.                                        Mr. STANTON. Madam Speaker, over
  it.··                                            We solve problems before our Nation.       the last few hours. we have seen Lhe
      I urge my colleagues to vote "no·· on     not through deslruction. but through          consequences of dangerous un-Amer-
  this objection. as MCCOK)IELL said. a         debat,e. Thal is the heart of this democ-     ican rhetoric: an armed insurrect.ion
  danger to our democracy.                      1-acv. I know what we debate today is         against the seat of government of the
      Mr. McCARTHY. Ma{la.m Speaker. 1          tough. lmL iL is just: it is right.           most. powerful countr;<r on Earth: a
  rise for a point of personal privilege to        This isn·t lhe first side of the aisle     breach of this Capitol building t.o at-
  address the House for 5 minutes.              thaL has ever debated this issue. I           tack Congress. something- U1at has not
     The SPEAKER. The gentleman from            Lhoug·ht. of what Madam Speaker said          taken place since the Britisl1 occupied
  California is recognized for 5 minutes.       back in 2005 ... this is democl'acy at it.s   this building- during the \Var of 1812; an
     Mr. McCARTHY. Madam Speaker. I             best:· when they Lalkecl ahout a Presi-       attempted coup spurred hy rhetoric
  rise t,o address what happened in this        dential election in Ohio.                     coming- from t,hose who are looking out.
  Chamher today and where do we go                 These are the moments that we              for themselves. not country.
  from here.                                    should raise the issue about integrity           It is stunning. Matlam Speaker, that
     The violence. destrucLion. and chaos       and accountability and accuracy in our        there are some in this House who have
  we saw earlier was unacceptable. llll-        elections. Bl,t vou know what we              voiced support- for wbat happened__ It
  democratic, and un-Ameriean. It was           shoulc1 do. the next difference? Not just     was not a protest. IL was treason. It
   the saddest day I have ever had serving      raise the issue. but work together to         was sedition. And it should be pros-
  as a. Member of this inslituLion.             solve the problems.                           ecuted as such.
     The Capitol was ill chaos. Police offi-       Now is the moment to show America             At its root is a disease that has in-
  cers were attacked. Guns were drawn           we can work best togeUrnr. I will tell        fected our poliLics. one that will make
  on lhis very floor. A woman tragically        j'OU. the size of the majorita' is slim. so   some political leaders do anything, in-
  lost her life.                                it gives us the opportuniLy to make           cluding lie and incite violence to hold
     No one wins when this building and         that happen. The only thing that can          on to power. That is what we are seeing
  what it stands for are desLroyed. Amer-       hold us back is the will of one another       !Jefo1·e our very eyes.
  ica. and Lhis institution. is bett.er than    to do it.                                        In conl.esting the ouLcome of this
  that.                                            This side of the aisle alwa;\'S believes   election. my Republican colleagues
     We saw l,he worst of America this          in working with anybodj' who wants to         make a contradictory argument that
  afternoon. YeL, in the midst of violence      move it forwanl. That does not mean           puts party and power before country.
  and fear. we also saw the hesl of Amer-       that we are going t-0 agree 100 percent       They ar1,,'1le the election results were
  ica.                                          of t-lle time. That does not mean our         valid when it showed they won their
     n starts with our law enforcement-         voice cannot be beard. That does not          races. but the same ballots were some-
  t.he Capitol Police. the Na,t.ional Guard.    mean we cannot be treated fairly: we          how fraudulent when il produced a re-
  Lhe FBI, and the Secret Service-who           should be. That may mean 011 the size         sult President Trump did not like.
  faced t,he most difficult- challenges but     of committees. that means on our abil-           Keep the results we like. they de-
  did their duty with confidence and            ity to offer an amendment, that means         mand. cancel the one we don ·t.
  strength. Many of them are injured            on our ability to have Olli' voice. But at       That is not how democracy works.
  right now.                                    the end of the day. it helps us come to       and neither is armed insurrection.
     It also extends to this Chamber.           a better conclusion.                             Here is the truth: Arizona has a long·
  where both Democrat-s and Republicans            By returning here to complete the          bipartisan record of conducting safe.
  showed courage, calm. and resolve.            work we were sent to do. we are prov-         secm·e, and fair elections. And I say
     I would like to recognize the Mem,         ing that our democracy cannot be dis-         that as someone whose party has more
  bers now who helped t-0 hold the line:        rupted by criminal behavior. We will          often than not been on the losing end
  MARKWAi:')IE MC.:LLJN. TO::S--Y GONZALES.     not faltel'; we wm not bend: and we           of t,hose elect.ions. This last elecLion
  JASO); CROW. PAT FALLON, and TROY             will not shrink from om· duty.                was. once again, safe and secure. And I
  NBHL;;. Working Vtith Lhe Capitol Po-            Let me be very clear: Mobs don·t rule      commend our State and county elec-
  lice. they ensured the noor of this           America. Laws rule America. It was            tion officials. public servants on bol-h
  Chamber was never breached. These are         true when our cities were burning this        sides of the aisle. for making Arizona
  Lhe heroes among us. Thank you for            summer. and it is true now.                   proud once again.
  the show of courage.                             When Americans go to hed tonight.             We are here because the case that Re-
     Looking back on Lhe past- few hours.       their lasting memory shoulcl not be a         uublicans have brought hefore us has
  it, is clear this Cong.-ess will not be the   Congress overrun by rioters. IL must. be      failed in court over and over and over
  same after today. ;;;_nd I hope it- will he   a resolute Congress conducting healthy        again.
  Lhe hetLer. I hope not just this institu-     deliaLe.                                         My colleagues say: Let ·s go hack to
  Lion. huL 1 hope every American pauses           We may disagree on a lot in America.       the Stat-e. let Lhem decide.
  for that moment and thinks among              but tonig-ht we should show the world            Mv friends. Arizona has spoken, They
  Lhemselves that we can disagree with          that- we· will respect.fully. but thor-       have sent the correct electors.
  one another but not dislike eauh other:       oughly. carry out the most basic duties          Arizona ·s Republican attorney gen-
  we can respect. the voices of others.         of democracy.                                 eral. one of the most partisan in the
     There are many times we debate in             We will continue with the task Lhat        country. saitl: ""There is no evidence.
  this bodv. and we should. There are           we have been sent here to do. We will         there are no facl-s t-hat would lead any-
  many tii~es we can geL healed. I sUll         follow Urn Conskitulion and the iaw           one to believe the election rnsuHs will
  uonsider STEKY HOYER a very good              ancl the pro<.:ess for hearing valid <.:on-   change."
  friend. There are time.s l get upset,. and    ce111s ahout election inte~•-rity. We wm         The Republican speaker of our Slate
  I will call him at home to express the        do it with respecL.                           house has t.old us he doesn·t lik!:' the
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   resuli.,s of the eledion. hut the~· are the      This hallowed temple of democracy is       of late ballots. and hand-stamping bal-
   rig-ht results. Joe Biden has won Ari-        where generations of i\.mericans have         lots with the previous day·s dale.
   zona.                                         peacefully come together to face our            My North Country constituenL.s and
      The Stale supreme eourt. ma\le up          Nation·s greatest challenges, hri<lge         the American people cherish the Con-
   entirely of justices appoinletl hy Re-        our deepest fissures. and creat.e a more      stitution. They know. according to the
   publican Governors. has spoken. Loo.          perfect system of governmenL This is          Constitution. elected officials closest
   The court said the President ·s chal-         the appropriate place we stand to re-         to the people in State legislatures have
   lenge ·'fails to presenl, any evidence of     spectfully and peacefully give voice to      the power of the pen to write election
   misconduct.. illegal vol-es. or that the      the people we represent across our di-       law. not unelected bureaucrats, judges.
   Eiden electors did noL in fact receive        verse counLry.                               Governors. or secretaries of state.
   t,he highest numlJers of votes for of-           The Representatives of the American          To the tens of thousands of constitu-
   fice."                                        people in this House are standing up         ents who have reached out to me.
      Look t,o lhe words of one of Lhe           for Lhree fundamental American be-            thank you. Please know LhaL I am lis-
   President's own campaign chairs in my         liefs: The right t-o vote is sacred. Lhat    tening and I hear you. hoth those who
   State. our Governor. Doug Ducey. Our          a Representative has a duty t,o rep-         agree a.nd those who disagree. Our Con-
   Governor loves the President. He has          resent his or her constituents. and Lllat.   stitutional Republic will endure this
   been so loyal. He made sure Lhe P1·esi-       the rule of law is a hallmark of our Na-      tragic day because Uie Founding Fa-
   denL could hold large rallies in our          tion.                                         thers undersLood Co11gress and the
   SL-aLe in the middle of a pandemic. The          And in the spirit of healing-those        American people would face unprece-
   Governor personally al-tended them.           are not my words-Lhose are the words          dented and historic challenges by de-
   They spoke so often Lhat the Governor         of you. Madam Speaker. from this very        bating them 011 this very floor.
   gave Lhe President a i:,-pecial ··Hail to     Chamber. when some of my colleagues             I believe that the most precious foun-
   Lhe Chief" ring tone on his phone.            and friends a.cross the aisle objected to    dation and the covenant of our Repub-
      After election day. as the legal chal-     !,he 2005 electoral college certification.   lic is the right to vote. and the faith in
   lenges played ouL the Governor kepl              I11 facl. there were objections on this    Lhe sanctity of our Nation's free an.d
   quiet: but w11en the truth became             floor to the certification of nearly         fair elections. We must work together
   clear. even he acknowledged •·Joe             ever:y Republk:an President in my life-      in this House to rebuild that faiLh so
   Biden did win Arizona."                       time: In 1989. in 2001. in 2005. and in       that all our elections ai·e free. fair. se-
      I am 1,>-ratefol that. in this instance.   2017.                                         cure. safe and. mosl- impor·tantly, that
   the Governor put law. not partisan pol-         So history is our guide that the peo-       they are according Lo the United
   itics. first. And I urge my colleagues in     ple's sacred House is the appropriate        States Constitution.
   the House to follow his !ead.                 venue for a peaceful debate. And this           Mr. ROY. Mada.in Speaker. I rise in
      Each and every one of us in i.,his         peaceful debate serves as a powerful         opposition to the objection.
   House. the people's House. swore an           condemnation to the violence t.hat per-         The SPEAKER. The gentleman is
   oath Lo preserve, protect. and defend         petrated our Capitol grounds today.          recognized for 5 minuLes.
   our Constitut.ion a,,o-ainst all enemies.     The violence thal- was truly un-Amer-           Mr. ROY. Madam Speaker. Leday. the
  foreign and domestic. Over the last few        jcan.                                        people's House was attacked, which is
  hours. we have gained a better under-            Today's discussion is about the Con-       an attack on the Republic itself. There
  standing of what that means.                   stitution and it is about the Ame1ican       is no excuse for iL. A women died. And
      The future of the Constitution. the        people. but il must also be about clear-     people need Lo go to jail. And the Presi-
  most precious of the founding docu-            ly and resolutely condemning the \7 io-      dent should never have spun up certain
  ments of the greatest democrac~-               lence that oceurred today.                   Americans t,o believe something that
  human kind has ever known. is in our             I am honored each and every day to         simply cannot be.
  hands. Defending democracy is not. and         represent New York"s 21st Congres-              I applaud House leadership of both
  should not be. a partisan task. It is a        sional District. and I believe it is my      parties for bri:ng·ing us back to do our
  sacred one. Right here. right now. we          solemn and sacred duty to serve as           job. which is to count the electors and
  must recognize that fidelity to Lhe            their voice and their vote in the peo-       no more.
  foUllding principles of our Nation are         ple "s House.                                   The problem we face. though, is even
  not about 1oyal1.,y Lo one man. but rath-        Tens of millions of •.\mericans are        bigger. We are deeply divided. We are
  er to ensure L.hat government of Lhe           concerned that the 2020 election fea-        divided about even life. liberty. and the
  people. by the people. and for the peo-        tured unconstitutional overreach by          pursuit of happiness. The words which
  ple shall not perish from the Earth.           unelected State officials and judges ig-     used to bind us together now. at times.
     The world is wat-ching us all right         noring Stat.e election laws. We can and      tear us apart because we disa,.,"Tee
  now. We must get it right,. Reject this        we should peacefully and respectfully        about whaL they even mean.
  ill-conceived attack on our democracy.         discuss these concerns.                         My constituents at home in Texas
     Ms. STEFANIK. Madam Speaker. I                In Pennsylvania. the Stale supreme         are genuinely upset. I say to my col-
  rise to support the objection.                 court and secretary of state unilater-       leagues on the other side of the aisle.
     The SPEAKER. The gentlewoman is             ally and unconstitutionally rewrote          we have a constant barrage of Lhose
  recognized for 5 minutes.                      election law eliminating signature           who wish to remake America into a so-
     Ms. STEFANIK. Madam Speaker. I              matching requirements.                       cialist welfare State. efforts to attack
  rise with a heavy heart. This has been           In Georgia. there was const-itutfonal      our insLituLions. tear down staLues.
  a truly tragic day for America. We all         oven-each when the secretary of state        erase our history. defund our poliee.
  join together in fully condemning the          unilaLe1·a1ly and unconstitutionally         We have seen the debasing of our lan-
  dangerous violence and destruction             gutted signature matching for absentee       guage. We teach our children that
  L.hat oecurred today in our Nation's           ballots and. in essence. eliminated          America is evil. We destroy om· sov-
  Capitol.                                       voter verification required by St.ate        ereignty. empower cart.els. Vle attack
     ,-'unericans will always have their         election law.                                our Second Amendment. \'Ve destroy
  freedom of speech and the consLitu-              In Wisconsin. officials issued illegal     small businesses through lockdowns.
  tional right Lo protest, but violence in       rules to circumvent a State law. passed      We divide ourselves by race. We can·t
  any form is absolutely unacceptahle. It        hy the legislature as the ConstituLion       even agree that there is man and
  is anti-America. and must be pros-             requires. but required absentee voLers       woman. We extinguish the unbom be-
  ecuted to the fullest extent of the Jaw.       Lo provicle ftu·ther identification hefore   fore they eve11 have a chance to see
     Thank you to the heroic Unitecl             obtaining a ballot.                          daylight.
  Slal-es Capitol Police. And thank you            In Michigan. signed affidavits docu-          But at the heart. of our path f01ward
  to the bipartisan professional sLaff of        ment numerous unconstitutional irreg·-       lies the essence o:f our Republic. its
  the Unitefl Sta.Les CaplLol fol' pro-          ulal'ities: Officials physically blockL11g   cornerstone. 'I'haL we are a 1111ion of
  t.ecting Lhe people's House anrl Lhe           the legal 1ight of poll watchers t.o ob-     St.at.es bound together for common de-
  American people.                               serve vote counts. the illegal counting      fense and economic ,;LrengLh. and more
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   so hound log:ei.her through federalism            Many St-ate,;; made poor poliey deei-        As an aside. I have seen higher per-
   in whieh we may live together peaee-          sions. Whether these poor policy (leci-        centages in other studies.
   fully as eit.izens in this vast land agree-   sions violat-e St.at-e laws is a contested       Exhibit E. The 2010 Census counled 11
   ing lo disagree. free to live aecordh11'(·    matter and a matter for Lhe Sk'1,Les Lo        million illegal aliens in America.
   t-o our own beliefs and according· to the     resolve for themselves.                          Exhibit J<'. A 2018 Yale study esU-
   dictates of our conscience.                      More. five of Lhe six legislatures are      matell as many as 22 million illegal
      Now. many of my eolle.agues were            controlled by Repuhlieans. Not one            aliens in America.
   poised Lhis afternoon to vote to inse1-t      body has sent. separat-e electors. Not           Exhibit G. The math means belween
  Congress into t-he constituUonally pre-        one )Jody ha:-; sent us even a let-ter hy a    880.000 and 1.72 million illegal aliens il-
  scribed decisionmaking of t-he Slate::'        majority of its whole body. The only           legally vot.ed in t-he 2020 elecl-ions.
   by rejecting the sole official electors       body. the Pennsylvania Senate, who               Exhibit H. 1n 2014. Old Dominion Uni-
  sent to us by each of Lhe States of Lhe        managed to come up wHh a majority of           ve1-sity and George Mason University
   Union. I hope they will recon,;;ider.         Republicans to complain only did so            professors surveyed noncilizens an(l il-
      I can tell you that I was not going: to.   yesterday in an eleventh-hour face-sav-        legal aliens and found l-hey vote Demo-
  and I will not be voting to reject the         illg political statement. Not one GOP          eraL roughly 80 pel"cent of t.he Lime.
   eleeLors. And that. voLe may well sign        stat-ewide official ha,; formally called         Exhibit I. The mat.h is again
   my politieal deat.h warrant. hut so he        on us to change. Not one law enforce-          straightforward. The 60 percent- Biden
   it. I swore an oath to uphold the Con-        ment organization. St.ate or Federal,          advantage times the illegal alien vol-
  sLituLion of the United Stal-es, and I         has presented a case of malfeasarn..-e.        ing number means Joe Eiden gained
   will not bend its words into contor-             Hist01·y ·,,vill judge this moment.         roughly 1.032.000 votes from illegal
   l-ions for personal political expediency,        Let us not turn the last firewall for       alien voting. That is Lhe high number.
      Number one. rejecting lhe electors         liberty we have remaining· on its head           Exhibit J. \Vhile no one knows for
  cerl-ified to Congress by sovereign            in a fit of populist rage for political ex•    sure how massive the illegal alien vot-
  Slates violates l-he 12th Amendment            pedieney when there is plenty of look-         ing bloc is. we do know Joe Biclen aml
  and the entirety of the Const.itution it       ing inLo the mirror for Republicans to         his campaign believed it large enough
  amends. notwithstanding claims that            do for (lestroying our election systems        and critical enough t.o winning the
   you must read certain sections first. It      with expansion of mail-in ballots.             PresidenLia1 race LhaL at the October
   is clear. iL is black and whit-e. we             I may well get atUi.cked for this. but      22 Pr·esidential clebal-e. Joe Bidell pub-
  count. It is ministerial. And ou.r onl~t       I will not abandon my oath to Lhe Con-         licly solicited the illegal alien bloc
  job is to count the electors before us.        stitution. And I will make clear that I        vote by promising: ·•Within 100 days. I
   We have only one slate of elet:l-orn per      am standing up in defense of that Con-         am going Lo send to the United States
  St-at-e sent to us under color of law. and     sUtut-ion to protect our federalist order      Congress a pathway to ciUzenship for
  no more.                                       and the electoral college, which em-           over 11 million undocumented people:·
      Number two. t-o the extent you be-         powers lhe ver;y States we represe11t to         Ladies and         gent,lemen.     Madam
  lieve we do have constil,utional author-       stand athwart the long arm of this             Speaker. that. is the pot of gol(l at the
  ity to reject. we are arguing using· in-       :Pederal Government hy its very design.        end of the rainbow for illegal aliens.
  complete and oft-en misleading dat-a              Mr. BROOKS of Alabama. Madam                Joe Eiden knew exactly what he was
  points to prove it. I am not afforded          Speaker. I rise in support of the objec-       doing by seeking the illegal alien bloc
   time to go point by point. but there are       Uon.                                          vot.e. After all. on May 11. 1993, t-hen-
  more misleading claims than legiLi-               The SPEAKER. The gentleman from             Senator Joe Eiden voted for the Na-
  mat-e ones.                                    Alabama is recognized for 5 minutes.           tional Voter Registration Act. which
                                                    Mr. BROOKS of Alabama. Madam                makes it illegal to require proof of citi-
                      IJ 2145                    Speaker. for years. Democrats and              zenship from illegal aliens and other
      Three. rejecting the electors ignores       their media allies deceived America           noncitizens when they seek to register
   the Founder·s specific admoniLion that        about Trump-Russian collusion and the          to vote.
  Coni,.•-ress not choose the President. as      extent- of foreign interference in t,he          Madam Speaker. the evidence is com-
  articulated in Federalist No. 68.              2016 elections. Yet. in 2020. Democrats        pelling and irrefutable. Noncit-izens
      Four. indeed, the Founders drafted         promoted massive foreign int,erference         overwhelmingly voted for Joe Biden in
  the inclusion of a phrase specifical1,y        in American elections by helping ille-         exchange for the promised amnesty and
  putting Congress into the manner of            gal aliens aud other noncitizens vote in       ciLizenship and in so doing helped steal
   t-he elect-ion process then specifically      American elections. thereby canceling          Lhe elect.ion from Donald Trump. Re-
  rejected it.                                   the votes of and stealing elections from       publican candidates. and American
      Five. if more than a trivial bloc of       li,merican ci Lizens.                          citizens across America.
  Lhis body votes to reject a sovereign             \Vant evidence·? Exhibit A. In 1993.          Madam Speaker. in my judgment.. if
  State's electors. it will iri-evocably em-     Democrats rammed through Congress              only lawful votes cast by eligible
  power Congress Lo t.ake over the selec-        Llle Nat-ional Voter Registration Act.         American cit-izens are counted. Joe
  tion of Presidential electors. and doing       making it illegal-illegal-to require           Biden lost anti President 'l'rump won
  so will almost- certainly guarantee fu-        proof of citizenship thaL prevents ille-       the electoral college.
  ture Houses will vote Lo reject the elec-      gal aliens and noncitfaens from reg-             As such, it is my constitutional duty
  tors of Texas or any of our States for         istering to ,1ot-e.                            to promote honest and accurate elec-
  whatever reason.                                 Why did Democrats do U1aL? Simple.           tions by rejecting electoral college
      Six. voLing t-o reject the electors is     'ro steal elections. of course.                vote submissions from States whose
  not rernoLely consistent with our vot.e          Exhibit B. How bad is the noncitizen         elect.oral systems are so badly flawed
  on Sunday. a vote I forced lo highlight.       voting problem? In 2005. Democrat              as t.o render their vot-e submissions un-
  the very hypoerisy: l-o accept. the ouL-       President Jimmy OarLer·s Commission            reliable. unLrustworthy. and unworthy
  eome of the election of ourselves              on Federal Election Reform v,arned             of accept.a.nee.
  through elections conduct,ed under the         that ··noncitizens have registered Lo            Mr. REED. Madam Speaker. as a
  same rules. ))y procedw·es put in place        vote in several recent elections" and          proud Republican. I rise in opposit,ion
  by the same executive branch officials.        recommended that "all States should            to t-he objection to the electorat,e.
  impacted by rulings from t.lie same            use their best efforts Lo obLain proof of        The SPEAKER. The gent.leman from
  judges. Str.te and Federal. To do so is        ciLize11ship before registering voters."       New York is reco1mized for 5 minutes.
  entirely inexplicable on its face.               Exhibit C. A June 2005 General Ac-             Mr. REED. Madam Speaker. 1 come
      Seven. the anrnment, for reject-ion        countability Office report discovered          to this side of the aisle as a proud Re-
  mosL given by my colleagues is based           l-hat up to 3 percent- of people on voter      publican but. most impor!-antly. as a
  011 the allegations of S~'"Sl.emie election    reg•i::'Lration lists are uot U.S. citizens.   proud Amf>-.rican.
  abuse h;v executive or judiefal branch           Exhibit D. In 2008. Electoral Studies          Today. we saw an assauH on our de-
  officials interfering with the ··legisla-      surveyed 339 noneitizens. Eight percent.       mocracy. I love Lhis inst.itul-ion. I love
  tures thereof'" in Article II.                 admit-ted voting in Ame1·ican elections.       the United States Con~ress. and I love
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   U1e United St.at.es of America. And           Mr. REED- Madam S!)(".aker. I enc,our-     courts unilaterally ext.ended the legis-
   what I saw today was moh rule that.        age my colleagues to ahvays search            latively set deadline to register Lo
  spat. upon lhe blood of my father thal      their conscience and Lheir souls. l re-       vote.
   is in the soil of Europe and in the soil   spect. my Republican colleagues and                             C 2200
   of Korea. and who gave us through that     my Democratic colleagues. but today.
   blood lhis sa.cred Const.ituLion and the   let us pause and remember what hap-              The Arizona State Senate issued sub-
  sacred ability lo lead this world as a      pened here today_ Let us pause that, our      poenas post-election l-o get information
  power that says we seitle our dif-           t,enure in this Congress will far surpass    from the Maricopa County board on
  ferences not with mob rule: we settle       the t.ime that we stay here. And leL us       various election matters. hut Lhe board
  our difference through elections. And       pause and casl our votes today recog-         and the courts refused to help a(, all t-o
  when those elections are over. we have      nizing that what we do here today will        let the State senate complete its con-
  a peaceful transiLion of power.             set the course of this inst.itution for       stitutional duties.
     Now. make no mistake to my col-          years to come.                                   In Pennsylvania. where Stat.e legisla-
  leagues on the Demouratic side of the          This instHution. Madam Speaker.            tors wrote us about their powers being
  aisle. I will be passionate i11 my dis-     shall not fail because the United States      usurped. the Democrat ma.jorit:v 011 the
  agreement with you. I will be pas-          of America shall forever be the beacon        State supreme court changed signa-
  sionate in my ideas for the future of       of hope. the inspiration t.o all.             ture. signature matching and postal
   this country. and I will fight for my         May God bless our great c-ountry.          marking requirements. The date to
  RepulJlican ideas that. I hold near and        Mr. ZELDI.l.'J. Madam Speaker. I rise      suhmiL mail-in ballots was ext,ended
  dea1'. But I will stand with you tonight    in support. of the objection.                 contradictory to the date seL by State
  and sencl a message to the Nation and          The SPEAKER. The gentleman from            law.
  all Americans that what we saw today        New York is recognized for 5 minutes.            The State legislature expanded no-
  was not. American. and what we see to-         Mr. ZELDIN. Madam Speaker. my              excuse mail-in balloting· wnhouL a con-
  night in this body shall be what we do      constUutional oath is sacred. and I           stitutional amendment. Constitutions
  in America. and thal is lo transfer         have a duty to speak out a.bout con-          apply Lo the act:; of all b1·anches of gov-
  power in a peaceful way.                    firmed evidence-filled issues with the        ernment.
     iv1r. GOTTHEIMER. Will Lhe gen-          administration of the 2020 Presidential          The issue was magnified by Lhe voter
   tleman yield?                              elect.ion in       certain hattleground       rolls being so inacctu·ate that more
     Mr. REED. I yield to the gentleman       States.                                       voters submitted ballots than there
  from New Jersey.                               Signature verification. ballot ohser-      were registered voters. Signature au-
     Mr. GOTTHEIMER. Madam Speaker.           vation. voter roll integrity. voter· ID       thentication rules for absentee and
  I thank my friencl for yielding and for     requirements. and ballot collection           mail-in ballots were weakened by the
  standing wil-h me and with all of us.       protedions were weakened on top of            Democrat secretary of the Common-
     TOM REED is my co-chair of the Prob-     the millions of mailboxes that- were          wealth without authorization. BalloL
  lem Solvers Caucus. He is a Repub-          flooded with unrequested mail-in bal-         defects were allowed to be cured in
  lican. and I am a Democrat. \vnen it        lots.                                         some counties but not others. There
  comes t,o policy views. we often dis-          Many of my constituents have been          were poll watchers denied Lhe abilit,v
  agree. But at the end of the day. we are    outraged and dei11and111g that I voice        t,o closely observe ballot counting oper-
  united as Americans. My good friend.        their Objections here today.                  ations.
  like me. always put~ country first.            This debate is necessary because              In Georgia. t.he secrel.ary of stale
     Today. a group of lawless Lhug:s         rogue election officials. secretaries of      unilaterally entered into a settlement
  soug·ht. t-0 upend the Constitution and     state. and court.s circumvented State         agreement wilh the Democratic Party,
  the peaceful transition of power be-        election laws. They made massive              changing statutory requirements for
  cause they didn·t like Lhe outcome of       changes to how their State·s elecUon          confirming voter identity. Challengi11g
  the Presidential election. So. they         would be run. These act.s. among other        defective signat.ures was rnacle far more
  tried to nullify it using improvised ex-    issues. were unlawful and unconstitu-         difficult. and the setLlement even re-
  plosives. shattering windows. breaking      tional.                                       quired election officials to consider
  down doors. injuring law enforcement,.         Congress has the duty to defend the        issuing training materials drafted by
  and even tearing down the American          Constitution and any powers of State          an expert ret,ained by the Democratic
  Ilag that rises above this beacon of de-    legislatures that were usurped.               Pru:ty_
  mocracy.                                       Some claim l-oday·s objections set            In Wisconsin. election officials as-
     BuL their attempt to ohsl-ruct democ-    new precedent by challenging· State           sisted voters on how t-0 circumvent the
  racy failed. Their insurrection was         elect.ors. That claim. of course, ignores     State·s voter ID laws and signature
  foiled. The American people and the         that Demoura ts · have objected every         verification laws. while also placing
  greatest democracy U1e world has ever       time a Republican Presidential can-           unmanned drop boxes in. locations
  known won.                                  didat.e has won an election over the          picked to hoost Democrat turnout. The
     Abraham Lincoln. who served in this      past genera.Lion. If you don·t have any       Democracy in llie Park event in Wis-
  very body. famously said: .. A house di-    observations today. that is your call.        consin had over 17.000 ballots trans-
  vided against itself ca..>mot stand.,.      hut dou·t 1ecture aliout precedent.           ferred that, shouldn"t have been.
  That is why. for the sake of t.11is coun-      Over the pa.st 4 years. Democrats             These are all facts and certainly not,
  try. we must. stand together. united.       boycot.ted President Trump·s inaug·ura•       ··evidence free:-
  and celebrate a peaceful transition of      tion and State of the Union Addresses.           Americans deserve nothing less than
  power.                                      pushed t.he Trump-Russia collusion            full faith and confidence in their elec-
     In 14 days. President-elect Eiden will   conspiracies and investigations and           tions and a guarantee that their vote-
  be sworn in. And despite all of our dif-    knowingly lied about it. \7 oted t.o im-      their voice-counts and that their con-
  ferences. I have faith that. for the        peach the President before even know-         cerns are being heard. That is why we
  Ameriuan people. we will come to-           ing what to impeach him for_ and then         need to have this debate today. wheth-
  gether. Democrat:; and Republicans.         actually passed Articles of Impeach-          er you like it or not.
  committed to unity. civiliLy. and           ment before Senate Democrats voted to            Tllis isn·t about us. This is about our
  truth. We will recognize our higher         remove him from office.                       Constitution. our elections. This is
  purpose Lo help America t.lu:ough these        Today·s debate is necessary. espe-         about our people and our Republic.
  dark days.                                  cially because of l-he insisl-ence that          Mr. GALLEGO. Madam Speaker. I
     That is the only way we wi11 beat        everything PresidenL Trump and his            1ise in opposition to the object.ion.
  COVID. rebuild our economy. and st.and      supporters say about lhe 2020 elect.ion          The SPEAKER. The gentleman from
  up to threats al home i,nd abroad.          is evidence-free. That is simply not          Arizona is recognize(l for 5 minutes.
     Working logelhel" as Democrals and       true.                                            Mr. GALLEGO. Madam Speaker. I
  Republicans. I know our besi dayi:s will       No one can honestly claim it is evi-       am the pr-oud son of immigrnnt-s. Grow-
  always be al1ead of us.                     denc.:R•frt>e. When I say that. in Arizona.   ing up. I heard stories about parties.
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   politicians. and Presidents invali<laLing     Mr. BISHOP of North Carolina.                  lawsuits aimed at. displaeing SLat.e leg·-
   elections when i.,he people t,ook power     lVIadam Speaker. I rise to speak in              h,lative uontrol.
   far themselves. That is why. when I         favor of the objection.                             Now. as I have seen it. only lhe most
   joined the Marine Corps. lhe most sa-         The SPEAKER. The gentleman from                experience(1 and independent judges ap-
   cred part of my oalh was l-o protecl t.he   N orlh Carolina is recognized for 5 min-         pear to have recognized what wa:;
   Constitution of the Unit-ed States.         u t.es.                                          afoot. In the fourth cireuit, dissenting-
     I never thought I would have Lo do          M1·. BISHOP of North Carolina.                 judges Wilkinson and Agee said this;
   that on Lhe floor of Congress, but here     Madam Speaker. H has been quite a                ..Let·s understand the strategy that is
   we are. The people have spoken. and         day. An<l in contrast to the gentle-             being deployed here . . . Our country is
   the power of the people. the Constitu-      man's comments just- now. I couldn·t             now plagued with a proliferation of
   tion. will be preserved.                    get over this text that I received from          preelection litigation:· And as they
     Madam Speaker. l left my youth. I         the mayor of Charlotte. Vi Lyles.                put it. 385 election year cases to that
   left my sanity. I left it all in Iraq for   about 30 minutes ago, She is a prog-res-         point on October 20. and they referred
   tllis counlry because there is this one     sive Democrat. a political opponent for          Lo the website healthyelections.org to
   p1>ecious idea that we all had. that we     years. a tremendous and graceful per-            verify Lhat.
   all believed: that Lhis country was                                                             .. Around the country:· they wrote.
                                               son. She said:                                   ··courts are changing; the rules of Lhe
   going to protect everyone·s individual        Represent,ati\'e Bishop. I hope you are sate
   rights. that you were going to be ahle                                                       upcoming elections at the lasL minute.
                                               and well. It must, have been a day of anguish
   to vote. that you were going to be able     for the world to see our Capitol buildings
                                                                                                It makes the promise of the Constit.u-
   to preserve democracy and pass it on as     unde1· siege. I know ;\"ou ha,·e a long· night   Lion ·s Elections and Eledors Clauses
   a legacy. as an inheritance to every        ahead and want you to know I was thinking        int,o a farce:·
   American.                                   ahout you. your family. and sLaff.                  This was a political operation
     But today-today-there was Lreason           God blE'SS.                                    masquerading a.s a judicial one. And in
   in this House. Today, there were trai-        Vi.                                            keeping with that. il- featured .,>Toss
   tors in this House.                            Back home. the gene1·osity of spirit          breaches of litigation ethics: forum
     So I am not asking my Republican          still exists.                                    shopping. repetitive suiLs after losses.
   colleagues Lo help me and stop this ob-        .A..nd I undersLand 1..he sharp words         and collusive settlements with cooper-
   jection to Arizona: 1 am asking you to      and feelings on the oLher side tonight.          ating DemocraLic officials of State and
  get off all these objections. It is time     but tl1ere are also good people back             local governn1e11t.s.
  for you to save your soul. It is ti.me for                                                       That is what led Lo officials changing
                                               home. and I have heard from many.
  _you to save your country.                                                                    the rules in State after State. mainly
                                               many. many of them.
     That man at 1600 Pennsylvania Ave-                                                         through consent. orders. or the prelimi-
                                                   News would suggest Lhere are mil-            nary. unreviewed decisions of St.ate
  nue will forget, you. He will use you        lions of American&-thaL is a big num-
   and he will dump you to the side. but                                                        and Federal t,rial judges inclined by
                                               ber-millions, tens of millions. who be-          partisanship or having limited experi-
   what Vvill be lefL will be the stain-the    lieve something went awry in this elec-
   stain-on <lemocracy that you are en-                                                         ence with the Electoral Clause.
                                                tion. And they aren't dumb. They                   In turn. the displacement of rules set
  gaging· in right now.                        aren't mindless. They don·l believe
     Listen to yourselves. I consider mosL                                                      by State legislatures led to chaotic
                                               things simply be<-'ause the President            condiLions on the ground. about which
   of you very smart. believe it or not.       says them. There were problems.
  but the idea that we would rig an elec-                                                       so many Americans are angry and dis-
                                                  I know that, Joe Eiden will be Presi-         heartened.
   tion for the President but not preserve     dent. but. I don·t know that it hurts or           I think we can do better. I think that
   the congressional seats for all of our      would hurt any of us ta have the gen-            strategy was unwise. and I think. par-
  friends tllaL we just lost in the last       erosity of spirit. to continue to reflect        Licularly in light of what has happened
  election is absurd.                          on what might be better or what might            here today. we should.
     The idea Lhat. we would help Vice         seriously have gone wrong here. even if             Mr. o·HALLERAN. Madam Speaker.
  President Eiden win but wouldn·t make        you reject the not.ion that the result           I rise tonight in oppositio11 to the ob-
  sure that we got enough .Senators in         was wrong.                                       jection.
  the Senate for us to pass a full agenda         I would like to offer a slightly dif-            The SPEAKER. The gentleman from
  is absurd.                                   ferent perspective. a distinct perspec-          Arizona is recognized for 5 minutes.
     The idea that there was somehow ne-                                                           Mr. o·HALLERAN. Madam Speaker,
  farious border registration in Arizona       tive. Perhaps it will be rejected. I
                                               think if I were sitting on the other side        as a nation. we have endured trying
   that tipped the scale when. during tl1at                                                     times and overcome man:r challenges.
  same time of border regiStration. there      of the aisle. it would be very difficult
                                               for me to listen L-0 tonight. but you all        and now we face an unprecedented ef-
  were more registered voters that were                                                         fort to ignore the will of the American
  Republicans than Democrats is absurd.        have heard it said. and it certainl:t is
                                               true, that many executive branch offi-           people and the people of Arizona. Given
     You are better than this. Many of                                                          the facts and the unprecedented events
  you did serve, many of you have never        cials around the Nation departed from
                                               State legislatures' enacled laws.                of tonigl1t. this effort. must be finished.
  served. but- there is an opportunity and                                                      and America can be united again. That
  a time for courage. I hope you never            I know it is less understood how this
                                               came to pass.                                    is going to take leadership.
  have to face fire or bullets or bombs for                                                       \Ve are all leaders.
  your country, but right now-right               It was not a sponLaneous. inde-                 We are elected Lo be leaders. And if
  now-this country is asking you Lo be         pendent decisionmaking. but it re-               we are going to do that. we have to do
  !Jetter. Right now. this country is ask-     sulted. I would argue. from a coordi-            it from respect to others. the idea t,hat
  ing you to show courage.                     nated. nationwide parUsan plan. And              truth is important. that factual con-
     That man will leave. Your soul will       the fact and scope of the plan really            tent is important. that we are going to
  stay with you for the rest. of your life.    isn·t disputed.                                  tel1 the Ameri<..-a.n people what is going
     You owe it l-o democracy. You owe it         If you go t-0 democracydocket.com. it         on in this country and nol what we
  t.o the hundreds and thousands of rne.n      is the wel)site of Marc Elias. the na-           hope they hear from a 30-second sound
  and women that, have sacrificed their        tional Democratic election lawyer who            bite.
  life.                                        appeared in hundreds of cases across               I used to be a homicide investigator.
     You know bell-er. You are better. Be      the country in the course of the elec-           My job was to follow the facts. develop
  the good American. Be the American           Uon year.                                        a case. make decisions and ree-
  you want. Preserve this democracy: re-          This plan was not a response to               ommendations based on where Lhose
  ject this movement: and stop this ter-       COVID. by the v,,ay. H preexisted that.          facLs led me. Following the proeess
  rorism that is happening- from the           And his \vehsite shows that as well. He          means that (ledsions cannol be made
  \Vhile House.                                explained that in January of 2020.               011 rlllnors anu innuendos alone.
     The SPJ:i:AKER. Memhers are re-              IL was a chaos strategy. a plan to              1 am proud to say that Arizona has
  minded to address their remarks t.o the      flood State and Federal eourts with              used mail-in voting for over two c1ec-
  Chair.                                       hundreds of simultaneous election year           ades. Both Republicans and Democrat;;
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  have long been proud of how our Staie         American puhlie only serves Lo weaken        t.hat some of the peopie who breached
  has administered elections.                   us and make us vulnerable to foreign         the Capitol today were not Trump sup-
     In 2020. over 65 percent of eligible Ar-   actors who do us harm. J;'or the good of    porters. They were masquerading as
  izonans voted. a record number. Our           our country. this must- stop. Now is the    Trump supporters. and. in facL were
  Republican Governor. Republican at-            time to come together to preserve our      members of the violent, terrorisl group
  torney general. Democratic secretary          democracy and to protect om· national       antifa.
  of state. and our State's election ad-        security.                                      Now. we shoulcl seek t.o build Amer-
  ministrators and volunteers worked               I know my constituents are looking       ica up. not Lear her down and destroy
  v.1th integril-Y to administer a fair         to Congress to move past its divisions,     her, And I am sure glad that. at least
  election.                                     find common ground. and pass legisla-       for one day. I didn't hear m~' Democrat
     \Ye saw turnout increases in both Re-      tion t.o improve the lives of sLruggling    colleagues calling to defund the police.
  publican and Democratic areas. and. in        families. We must stay focused on              Now. I appreciate all the talk of com-
  fact. more Republicans registered in          fighting the pandemic. We must work         ing together. but let us not pretend
  this election than any o Lher party. I        to ensure all Americans can be vac-         that our colleagues on the left have
 am proud thaL many of our Tribal.              cinated as soon as possible so we can       been free of some antidemocratic im-
  rural. and underserved communities            save American lives. safely reopen          pulses. Just hec,-ause we signed on Lo
  voted in record numbers, all during a         schools. get people back to work. and       legal briefs and asked courts to resolve
  pandemic. In 2020. Arizonans made             visit loved ones again. I urge my col-      disputes. t,here were some on the left,
  t-heir voices heard.                          leagues to fol1ow this.                     who said that we should not even be
     'l'he fact is. multiple Federal and           Mr. GAETZ. Madam Speaker. I rise         seated in the bod:,r. that we ought to be
  State judges. agencies. and State elect,-     in support. of the olJjecUon.               prosecuted. maybe even jailed. Those
  ecl officials concluded the winner was           The SPEAKER. The genLleman from          arguments anger people.
  Joe Biden.                                    Florida is recognized for 5 minutes.           But, people do understand Lhe con-
     In Arizona. this process was adminis-         lVlr. GAETZ. Madam Speaker. one of       cepts of basic fairness. and no competi-
  tered and overseen by officials from          the first things we did when the House       tion. contest. or elect.ion can be
  bot.h parties. Election officials con-        convened today was to joiJ.1 together to    deemed fair if the participant-s are sub-
  ducted random. hand-count.ed audits of        extend our grace and our kindness and       ject to different rules.
  many precincts that confirmed there           our concern for a colleague who has ex-        Baseball !,earns that cheat and st,eal
  were no en·ors that would change the          perienced just an insurmountable            signs should be stripped of their cham-
  result of Lhe election.                       amount of grief with his family. And I      pionships. Russian Olympians who
     The fact is that- the Republican           want all of our fellow Americans            cheat and use steroids should be
  chairman of Maricopa Count,,. the             watching to know that. we did that. be-     stripped of their medals. And St.at,es
  largest- Republican county in the SLaLe.      cause we care about each other and we        that do nol run clean elections should
  t.he biggest. population county. st.aLed:     don't want bad things t.o happen to         be stripped of their electors.
  ··More than 2 million ballots were cast       each other. and our heart, hurts when          This fraud was systemic.:; it was re-
 in Maricopa County. and there is no            they do.                                    peated: it, was Lhe same system: and. I
 evidence of fraud or misconduct or                Now. I am sure there are plenty of       dare say. it was effecLive. We saw cir-
  malfunction ...                               folks over there who don·t like me too      cumstances where. when Democrat
     He concluded: --No matter how you          much and there are few of them that I        operatives couldn·t get the out-comes
  voted. this election was administered         don·t care for too much. But if anybody      they want.eel in State legislatures.
 with integrity. Lransparency. and in           had been hurt today. it would have          when they couldn't get the job done
 accordance wiLh State laws:·                   been even more of a cat.ast,rophe than       there, they went and pressured and liti-
    The fact is. the President. his cam-        we already saw. and I think thal, is an     gated and usurped the Constitution
 paign. and several Republican-led              important, point for the country.           with extra-constitutional action of
 groups filed eight election lawsuits. all         An0Lhe1· important point for the         some officials in some St-ates. They
 of which were dismissed. The Arizona           country is that this morning. President     fraudulently laundered ballot-s. votes,
 Supreme Court. a body where all jus-           Trump explicitly called for demonst.ra-     voter registration forms, and then they
  tices have been appointed by Repub-           1..ions and prot,ests to be peaceful. He    limited review.
 lican Governors. unanimously dis-              was far more-you can moan and                  In 2016. Democrats found out that-
 missed the case.                               groan, but he was far more explicit         they couldn't beat Donald Trump at
                                                about. his calls for peace than some of     the ballot box ¼ith voters who actually
                     C 2215                     the BLM and leftwing riot,ers were this     show up. so t-hey turned to impeach-
    The justices found that the part.y had      summer when we saw violence sweep           ment and the witness box. And when
 ··failed to present any evidence of •mis-      across this Nation.                          that failed. they ran to Lhe mailbox.
 conduct..· or 'illegal votes· . . . let           Now. we came here Laday to debate.       where this election saw an unprece-
 alone establish any degree of fraud or a       to fo11ow regular order. to offer an ob-    de11tecl amount of votes L11at could not
 significant error rate that would un-          jection. to follow a process that is ex-    be aut.henticated with true ID. with
 dermine the certainty of the election          pressly contemplated in our Constitu-        true signature match. and wiLh true
 results ...                                    tion: and for doing that. we got called     confidence for the American people.
    After these judicial rulings. t-he Gov-     a bunch of seditious traitors.                 Our Article III courts have failed by
 ernor said: "'l trust. our election sys-          Now. not since 1985 has a Republican     not holding evidentiary hearing-s to
 t.em. There's il1tegrity in our election       President been sworn in absent some         weigh the evidenc,"e. We should not join
 syst.em."                                      Democrat effort t.o object t.o the elec,~   in that. failure. We should vindicate the
    The fact is. Joe Eiden is the certified     tors: but when we do it. it is the new      rights of States. We should vindicate
 winner of Arizona's 11 electoral votes.        violation of all norms. And when those      the subpoenas in Arizona that have
 Arizona's elected and appointed offi-          things are said. people get angry.          been issued Lo gel a hold of these vot-
 cials from both parties followed the              Now. I know there are many coun-         ing machines. and we should reject
 facts and came to this conclusion. I           Lries where political violence may be       these electors.
 urge my colleagues to do the same.             necessary. but America is not one such         Ms. DEGETTE. Madam Speaker. I
    To my colleagues across the aisle. I        country.                                    rise in opposition to the objection.
 know we may disagree on who we want               Madam Speaker. iL was wrong when            The SPEAKER. The gentlewoman
 as President. hut what. we personally          people vandalized and defaced your          from Colorado is recognized for 5 min-
 want is not what matters here. Rather.         home. It was wrong when thugs went to       utes.
 t-he people's influence. as reflected in       Senator HAWT,RY's home. And I don't,           Ms. DEGETTE. Madam Speaker. I am
 the certified elect.oral college results.      know if the reports are Lrue. bul The       very pleased 1.0 yield my Lime to lhe
 is what matters. Facls matter.                 Washing·ton Times has just report,ed        g-entleman from Arizona iMr. Gm-
    Unu.ermining faith in our election          some pretty compelling evidence from        .JALYA ). the (lean of the Arizona delega-
 Ill·ocess lJ~· atLempLing· t.o mislead the     a facial recognition company showill!:-     tion.
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  January 6_. 2021                               CONGRESSIONAL RECORD-HOUSE                                                                                                  H93
      Mr. GRIJALVA. Madam Speaker. l                Mr. JORDAN. Madam Speaker. on                                                     :\fonlf"ll<i.:'i?      ~~•w·,,11
                                                                                                                                      ).foon~:\-             ~lH•1n1a:r.
   thank the genUewoman from Colorado t.h,1.L I demand the yeas and nays.                                   JQ),fCt" 1()-H}           ]\foo1'{' (t;T,        ~hf•nill
   for yieldiIJg time.                              The SPEAKER. Pursuant. Lo seotion                       Kah..Pli;'"              l\Ioore- f\\"Jl         Simp$0:Il
      I will be very 1Jl'ief. lVladam Speaker. 3,s) of House Resolution 8, the yeas and                     K.:U}tUr                 1'-Inri:•111•           ~ire~
   There is really nothing left to say. This nays are ordered.                                              Katkv                    Moultun                 ~lotkm
                                                                                                            Kf"a.tiu~                 !>.Ir-.;-an            Srn.itb 1NJ-t
   challenge brou._,rht by Members of this           The voLe was taken by electronic de-                   Kt>-!lr1·                 ;\-Iurph~r t I-'I..l   :;mi1htW•.1.~t
   House. Republican Members from t,his vice. and there were-yeas 121. nays                                 K"llv ,ll.1              ~Iutph:v ixc,           $mw·kPr
   House from Arizona and a Senalor 303. noL voting 7. as fo11ows:                                          Kl:uuma                  Xn.dltH                 Sot-0
                                                                                                            Kii<lfw                  ~apolitap.o             SpanUerger
   from Texas. the whole discussion                                 {Roll )lo. 10]                          Eilme1                   :Seal                   .Spartz
    today. tllis challenge to the 11 electoral                        YEAS 121                              Kim;!'(,!:                ~(-1:?,1i,~-
                                                                                                                                                             Sp-;;•iN
   voLes that are designated for President Ad~rhoil              Ga<•tz                ),fa~t
                                                                                                            Kind                     Nt>whou...~r.           !?ranton
   Eiden and Vice President Harris. Lhe .Ali~n                                                              Kint.in~-er               N'N\'ffiaJ.1
                                                                                                                                                             :-;rn,u1n?r
                                                                 Garcia. 1CA1          1·kC.m·thy                                    ~orn·ass
                                                                                                            Kirkp.atrkk                                      Sti~:aniJ::
   discussion today proves Lhere is no Ar,:i.~tun                Gibbs                 )1t:Cla.1n           Kt·ishnD..lliOO!""lhi    O'Hall<•l·an
                                                Babin
   merit to denying those electoral voLes. Bairtl                GillWIH'=Z.            ;l.'11lJPJ tlJ,I
                                                                                                            Kusto,·                  Ocasio-to:·u-.z
                                                                 Gohn1p;·t             MiUer 1Vi,T1                                                          ~t\'~-1:'llf-
   There is no legal standing. The courts Banks                                                             Kustoff                  Omar
                                                                 Good tY.~,            .Moore ~ALI          LJ:Hood                  (}W-en:l
                                                                                                                                                             St--:.>Wall
   have proven that in Ariz011a time and B::r~lllU.D             Good<>n tT.Xl         Mullin               Lamb                     Pailon~
                                                                                                                                                             Blive_p;
   time again. There is no precedent. Bil::t 10K1                Gosar                 Xehls                                                                 8t:rkklancl
                                                                                                            I.an~ev'.In              Pan~thl
                                                Bi_cg•           Gta'i.'(~IMO,         Xr:11"Ill<\ll                                                         Buo?,.:d
   There was no constitutional violat.ion. Bt:,,.hop lXC1        Grf'E>-l'liTN')
                                                                                                            Lar:::en t \\"t\ 1       Pa.pµa~
                                                                                                                                                             ~\\'alwt"ll
                                                                                        Xun!.?$             LaIBon-1CT1              Pa.....C!'t"ll
      But we are here today. Madam Boe-be-t·t                    Grt•-t:>!le ,{;.A)    Ohe11JOlt~                                                            Ta.kauo
                                                                                                            L::ttta                   Pa:-;,rn<•
   Speaker. because of one man and those Bost                    G1iffith              .Pahtzz.o            I.a~-ri"rn.:l'            Prloii
                                                                                                                                                             Taylor
   who are desperate to please him.             Brocl-:s.        G1.1e.<-t              Palm~r                                                               ThomtIBon tCA1
                                                                                                            I.-.'t\""80-ll ;f1.,.J    Penc-e                 Thom~on 1:!\lS}
                                                Bndti            Ha.gt>dOt'!l
                                                                                                                                      P~rlmutt-1:·r-
      So what do we have to show for this Btu~be>tt              H.l.n-1~
                                                                                        P€"r~               LPe iCA)
                                                                                                                                                             'I'hompscm tP.'\~
                                                                                       PfiUf!\''l           Lt•c 1N\"l               Pt"tt"t.,;,,
   process today? Fear. a lockdown, vio- Bur-,H-.fl.$            Ha~hha!'!?',•r         PosC>y              LezN· FernandE•7.         Philli!J"
                                                                                                                                                             TituF
   lenc.,-e. and. regrett.al)ly and sadly. C'1.l\"~L1            Hartz!f'l'            R-.·sdit·nthnlt~r    J.N~in 1CA:               Pill"'(I't'• 1
                                                                                                                                                             Tonlrn
                                                C,.unma,· k
   death. arrests. prese11t and real danger. C.u-1               m,rn                   l-ht:etSC1          L1.""Vin1~Ih             Poc-.an                 To11·r..•s:: t-t"Ai
                                                                 !!~11'\'ll
                                                                                                                                     l'o.rt"t"'l
                                                                                                                                                             Torr~ -t~l.-~
   threal-s. an assault 011 our instit-ulion. -C..irtt•rrGA}     Hie!:" tG...\i
                                                                                       Ro;::fl-SlALJ
                                                                                                                                                             Tntba.n
                                                                                       Roge:-l:,; iKYi      J.of.:.?r<"n             Pn•ss.k•v
   this House. this Congress. and t.he ver;v Cartt'r~TX1         Hi!!.'l{illRiI.A,
                                                                                       Rtt.::;f•            Lowenthal                Pritt" tNCl             Tronc-
   demoerae;v Lhat we practice here.            Cawtho111        Hurl.wn                                    Ltu·i;l                  Qui~lcy                 Turner
                                                Clinr•           l:;;sc.1.             Rosendal~
                                                                                                                                                             Ull.dt:"liVOOd
      And Lo what end? What did we ac- Cloud                     J,'\ckson             Rouzer               L~'ll<'h                 Raskin
                                                                                                                                                             'Cpton
  complish?                                                                            Ruthel'forn          liai.'e                  Rt>etl
                                                C1ydl:'          .JJ:cobs tNYl                              M;:;.JiUO\\'Ski           Rke tXY,               YanDltj°!l.('
                                                                                       &alisi_:,-
      The reality is that the challenges Colf·                   John.sou n ....~i
                                                                                       s~sion..--.          Malonf'Y.                 Richmond               ,·a.r~as
   will be defeated. Come January 20. Cr·.J."t\'"!orti           .John..-:on 10H~                             ( ·arol.r11 B.                                 Yrn::;r-~·
                                                D.i\'ich:-c1u    Jorda11               Smith\I\10•                                                           \"~la
   President Eiden and Vice President Dr~Tarlais                                       :;.mit"h1NEI         ~falon.(•y. Bt·an         ROAA
                                                                 Joyce 1PA1                                 ).1.annim::              Roy                     \"t'lazQUP.2
  Harris wm be the PresidenL and Vice Dia.z.-Balall              Kd!y ,:;.1,.;,        ~tt~ubt.:
                                                                                                            :\la.."'-fie              Ro;bal-Al!aJd          Ka;rnf'r
                                                Donald~          K~lly1PA1             '!1ffan;-·
   President of the United States.                                                                          ).fatsui                  Ruiz                   W.alt7.
                                                                                       Tim.moll~
      So what have we accomplished? To Dun(.:an Dunn
                                                                 I..aMalltt
                                                                 Lamborn               Van Drew             :lkBarh                   Ru:ppt>-rnhl•r~t:>-r   tras...~rlruU!
  further divide Lhis Nation? To continue E."i,:t{:-$                                                       I\--IcCunl               Ru.~h                      Schultz
                                                                 LaTttrne-1·           Walrn,r,r
                                                                                                            ~kC11ntock               Ryan
  to fan the same rhetoric of division and      Fallon           Lesko                 ifalorski
                                                                                                            Mi;.'"Collum             &i.nche-z               \'\"a.t£:on Cuh.\m,rn
  us versus them? To paralyze and dis- FiMhbat•h                 Lon;:                 W~bf'1·tTXl                                                           w,,tch
                                                                                                            :llcEachin               S..1.rh,"'l.lH'~
                                                                 I~oudNmilk            \\'ebsre-r iFL,
  mantle our democracy? Is that what we FitZ.!:t>-1-ald
                                                Flri1'lchmann    Lucas                 \\"Hliam~ iTX}
                                                                                                            !.\.kGu-\"f'Jn           &anlon                  Wr-n.ci.ti'lll.J
  attempted to accomplish today?                                                                            McHenry                  H-chakOW$ky             WPsterman
                                                Frank!in. C-.    Lut•tkm11-t...,Y<'!'  Wilson tSC:~         McKinley                 Schiff                  W(•Xton
      The mob that attacked this institu-         &ott           .i\lallfot.aki:.      W1·ight
                                                                                                            M!'X\?1-nc-r              SC'hne-i<lc-r          Wild
  tion. I hold no Member specifically re- Fulcher                Mann                  7.,,J<lin                                                             \\~illL-unF- lGA>
                                                                                                            Meeks                     Schl.wdr.1€l"
                                                                                                                                                             ~..ilson :FL}
  sponsible for that madness that was                                 :NAYS 303                             .Mt.~i}t?-1·             SchriP:r
                                                                                                            !\-ten~                  Scllweikf>rl            ,\"ittm,.n
  around us. but we do share a responsi- Ad.am~                 Cidllin!-'-            Fortenben·y          lfon:;er                 Scott <VA}              \Voma.-ck
  bility, my friends. to end iL. It is past Aguil.nr             Clark 1:11A,          Po~U."1              '.lffume                 Scott. Au~tin           Ya.."'IllUt!l
                                               Allred
   Lime to accept reality. to reaffirm our Ammfoi                Clarke      •NY;      Foxx                 ).fjller~~IP~k~          Sc-ott. Da'l'id         Young
                                                                 Cle.a\'"-Pr           I<"'rankei. Loh•
  democracy and move on.                        Annfltrong-      Cl;;-bum              Fud<r<'                                       ~OT VOTI:NG 7
      I would urge my colleagues from Ari- _;.uchinclos.s        Co.hen                Gallagher            Bilil·akis               Ha.,iin.~               Tloil.l
  zona who filed this challenge Lo with- .-\..."i:Ilt'           Comer                 Gal!eg-o
                                                                                                            B.rady                   Kim<C.'1.>
                                               Ba(·,0n           CJonnoll:r            Gal."2.lIICUdi
  draw theil· challenge to this. to Arizona Balderson            CooP<"r               G.a.rba.J·ino
                                                                                                            Grall$:!r-r              Steel
  and Lo the electors that have been cho- Barr                  Cott(Ht               Gan:fa tll.1
                                                                                                                                             C' 2308
  sen Lo give their 11 votes to t-he win- Ban·."..gan           Costa                  Garcia rTX,
  ners in that election.                       Bass             Courtnes               Golden                 Messrs.       MOONEY.         WITTTh-'lAN.
                                               Beatty           Craii                  Gom.ez               VICENTE         GONZALEZ        of   Texas.
      But, if lhat doesn·t happen. Lhen I Bentz                 Crenshaw-              C-onzales. Tour
  would urge my colleagues to reject this Bera                  Crl$t                  Co.nzal(>Z i OH l    YOUNG, and GROTHMAN changed
  challe.nge and defend all voters. defend     Bt-Y~I'          C?"OW                  Gonzalez.            t11eir vot,e from ··yea·· to ..nay:·
                                               Bishop      tGA> Cudlar                      YiCf'"llt.P       Messrs.       JOHNSON         of    Ohio.
  the voters of Arizona and that democ- RJum-E"uaue-r           Cw·ti:;                Gotthe:mP·t"
  racy that we practice da:ilv in the rep- Blunt RL-che:<-tn Ua\~id.'- tK!-:H          Gru~('S:. 1J_.;1     RESCHENTHALER.                and      Ml'S.
  resentation of our constituents. That is Bonamici             D.avls, Drm.lly I<. Gi-een. Al <'l'X;       WALORSKI changed their vol-e from
  what is at stake today.                      Ro1.1:rdei"'I.UX Dati!i.. Rodn-1:'r    Gi-jja.ka.            --1my" to "yea."'
                                               Bowman           Dean                  01·-0-thtnan
     Ms. DEGETTE. Madam Speaker. on Boyle. llrend:m IX>Faiio                          Guthrie
                                                                                                              So the objection was not, agreed Lo.
  Sunday. every Memher in this Chamber            r·.           De-GP-tt<"            H..talanfl              The result of the vote was announced
  took an oath to uphold the Constitu- Bro"t'in                 ~Lauro                 H.\rdOl' tCA>        as above recorded.
                                               Brownl"t>y
  tion. anci there is- only one voLe tonight !lu<ohanan         Deill<'n<>            Hay~                    A motion to reconsider was laid on
                                                                Dcl:,ado               Hl'"rrera Hnmlt.·r
  for those who took that oath. and Lhat Buck                   Demil.1g~              H.(gi,in, tNY,       the table.
  vote is to reject. this challenge.           Buc-!illon       De-Saulnier           Hill                    Stated against:
     The SPEAKER. All time for del:Jate Bush                    Deut.ch               H:imP!=-                Mrs. K!M of California. Madam Speaker. I
                                               Bustos           Din~~U                Hilli'lOD
  has expired.                                 Butte-1·fie.-ld  Doggptt               Holling:m--ort11
                                                                                                            was   unavoidably detained, Had I been
     The question is. Shall the objection Carbajal              Do:,le. :.liduu·I     Ro1~ord               present, ! would have voted ''nay" on rollcall
  Lo the Arizona electoral college vote Canlena:.:                    F.              Houlahan              No.10.
  count submitted by the gentleman C:a1~u                       F.mme-1·              Hn-y-t>r                The SPEAKER. The Clerk will now
                                               C'a1twrliht      E:::,cobJ..l'         Huffman
  from Arizona <.Mr. GosAHJ and the Sen- C'..t.::tt"            E.."hoo               HuiZt"'ll~a           notify the Senate of Lhe aclion of L-he
  ator from Texas cMr. CRU>I) be a_;;Teecl C'.,~t,.:,n          Esp11il1tt            .Jc11.:kf.on Lt'i'    House. informing that body that the
  Lo.                                          C~~:-:!,Jt <FT,1 F!\·.ans              .Jacofa• 1C'A1        House is now ready to proceed in joint
     The quesl.ion was taken: and Llle Ch&b!ll.C~u~tlo fT'Xl    l>~~n:-:i1·.a         .Jnf:.t].):i.1
                                                                                                            session ,vith the further counting- of
                                                                :1-'(~l'~USOU         ,Jt-1-fflit":::
  Speaker announced that. the noes ap- C'hcn'('V                Fitz.patrk k          ,JoJuu•on ,GA 1       the electoral vote for the President nn(1
  peared t-o have it..                         ('hu             Fh•tc:h,;-1           ,Inhn.-:un i~IJi      the Vice President.
---------------------------------                ---   ---------   -   ------------     --------   ------   -------·-     -------   ---------


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                AX:--<Jl:X('l,;~il•;_Yr HY TIIE >iPKAKB!t                 original certificate suhmit.ted by t-he         There was no objection.
           1'he SPEAKER. To remind both sides                             State of Arizona will be counl-ed as pro-       The VICE PRESIDENT. Hearing
        of the aisle. during in the joint session.                        videcl therein.                               none. this certificate from Con-
        there are 11 House Republicans. 11                                  The tellers will now record and an-         necticut. the Parliamentarian has ad-
        House Democrats. 11 House Senate                                  nounce the vote of the State of Arkan-        vised me. is the 011ly certificate of vote
        Democrats. 11 SenaLe Republicans. 44                              sas for President and Vice President in       from that- State that PUl'l)orts to be a
        Members on the floor. Please view l,he                           accordance with the action of the two          return from the State and that- has an-
        proceedings from :vom· offices. Thank                            Houses.                                        nexed t-o iL a certificate from an au-
        yo,,.                                                               Tllis certificate from Arkansas. the        t-hority of the State purporting to ap-
           This is not. a suggestion. That is a di-                       Parliamentarian has advised me. is the        point or ascertain electors.
        rection. in the intei·esL of good example                         only certificate of vote from that              Senator KLOBUCHAR. Mr. Presi-
        t-o the public of how serious we take                             State. and purports to be a return from       dent. the certificate of the electoral
        the coronavirus threat- and the need for                          ~he State. and that has annexed to it a       vote of t-he State of Connecticut seems
        social distancing.                                               certificate from a11 authority of that         to be regular in form a11.d authentic.
           Please. my colleagues. if you are not                         St.ate purporting lo appoint or ascer-         and it appears Lherefrom Lhat Joseph
        participating in t,he next part of this.                          Lain electors.                                R. Biden. Jr .. of the State of Delaware
        please return to your offices.                                      Mr. RODNEY DA VIS of Illinois. Mr.          received 7 votes for President and
           I wish to remind Members that we                              President. the certifical-e of the elec-       KAM.-\LA D. HARRIS of the State of Cali-
        have to reduce the number of Members                              toral vot,e of the StaLe of Arkansais         fornia received 7 votes for Vice Presi-
        on the floor to the gallery to 'witness                          seems to he regular in form and au-            dent.
        L-he proceedings from there. in a rel-                           thentic. and it appe?...rs therefrom that        The VICE PRESIDENT. Are there
        ative number. So first come. first                               Donald J. Trump of the State of Flor-          any objections Lo counting the certifi-
        serve.                                                           ida received 6 votes for President and         cate of vote of t-he St.ale of Connecticut
                                                                         TI-IlCHAEl, R. Pi%"CE of the Stal,e of Indi-   that. the teller has verified appears to
                                                                         ana received 6 votes for Vice President.       be regular in form and authentic?
             :t\.1ESSAGE FROM THE SENATE                                    The VICE PRESIDENT. Are t.llere               There was no objection.
            A message from the Senate by Ms.                             any objections to counLing l-he certifi-                          Ci 234.5
        By:rd. one of its clerks. announced that                         caLe of vote of Lhe Stal.e of A1·kansas           The VICE PRESIDENT. Hearing
         L-he Secretary of the Senate shall in-                          that Lhe teller has verified appears to
        form the House of Representatives that                                                                          none. this certificate from Delaware.
                                                                         he regular in form and authentic?              t-he Parliamentarian has advised me. is
         l,he Senate is ready to proceed in joint                           There was no objecLion.
        session wiLh the further counting of                                The VICE PRESIDENT. Hearing                 t,he only certificate of vote from that.
                                                                                                                        State that purports to be a ret,ur-i1 from
        lhe electoral votes for Presi<lenL- and                          none. this certificate from California.
        Vice President.                                                                                                 t,he Stat,e and that- has annexed to it a
                                                                          Lhe Parliamentarian has advised me. is
            At 11:35 p.m .. the Sergeant at Arms.                                                                       cert.ificale from an authority of the
                                                                          Lhe only certificate of vote from that
        Paul D. Irving. annou11ced the Vice                              State that purports to be a return from        State purporUni,: to appoint and ascer•
        President and the Senate of the United                                                                          t,ain elect.ors.
                                                                          Lhe State and that, has annexed to it a          Mr. RODNEY DA VIS of Illinois. Mr.
        States.                                                          certificat,e from an authority of the          President. the certificate of the elec-
            The Senate entered the Hall of the                           StaLe purporting to appoint and ascer-
        House of Representatives, headed by                                                                             t.oral vote of Lhe Stale of Delaware
                                                                         1.,ain elect.ors.                              seems t-0 he regular in form and au-
        the Vice President and the Secretary of                             Ms. LOFGREN. Mr. President. the
                                                                                                                        thentic. and it appears Lherefrom that
        t-he Senate. the Members and officers                            certificate of the electoral vote of the       Joseph R. Eiden. Jr.. of Lhe State of
        of the House rising to receive them.                             State of California seems t.o be regular
           The Vice President took his seat as                                                                          Delaware received 3 votes for President
                                                                         in form and authentic. and it appears
        the Presiding Officer of the joint con•                                                                         and KAMALA D. HARRIS of the St.ate of
                                                                         therefrom that Joseph R. Bide11. Jr .. of
                                                                                                                        California received 3 vol..es for Vice
        vention of the two Houses. the Speaker                           Lhe SLat.e of Delaware received 55 votes
        of the House occupying the chair on his                                                                         President.
                                                                         for President and KA~1AL.A D. HARRI» of           The VICE PRESIDENT. Are there
        left. Senators took seats to the right of                        Llte State of California received 55           any objections Lo counting the t.>ertifi-
        the rostrum as prescribed by law.                                votes for Vice President.                      cate of vote of the State of Delaware
           The VICE PRESIDE..l-ifT. The joint                               The VICE PRESIDENT. Are there               that. the teller has verified appears to
        session of Congress to count the elec•                           any objections to counting the certifi-
                                                                                                                        be regular in form and authentic?
        Loral vote will resume. The tellers will                         cate of vote of the State of California          There was no objection.
        l-ake their chairs.                                             t,hat the teller has verified appears to          The VICE PRESIDENT. Hearing
           The two Houses retired Lo consider                           be regular in form a.rid authentic?             none. this certificate from the District
        separately and decide upon the vote of                              There was 110 objection.                    of Columbia. the Parliamentarian has
        the State of Arizona. to which an ob-                               The VICE PRESIDENT. Hearing                 advised me. is l,he only cerl-ificate of
        jection has been filed.                                         none, this certificate from Colorado.           vote from the District that purports to
           The Secretary of t.he Senate \'Till re-                       the Parliamentarian has advised me. is         be a return from the Districl and that
        port the action of the Senat,e.                                 Lhe only certificate of \rote from that         has annexed to it a cert,ificate from an
           The Secretary of the Senate read Lhe                         St-ate that purports to be a return from        authority of Lhe District- purporting to
        order of the Senate. as follows:                                the St-ate. and that has annexed to H a         appoint and ascertain electors.
          Orderl.'d. That. the Senate by a vote of 6                    certificate from an authority of the              Senator BLUNT. Mr. President. the
        aye~ to 93 na.vs rejecl,s the objection t.o the                 Sk-i.te purporting to appoint and ascer-        certificate of the electoral vote of the
        electoral votes cast in the State of Arizona                    tain electors.                                  District of Columbia seems to be reg-
        fol' Joseph R. Eiden. Jr .. for President and                       Senator BLUNT. Mr. President. the
        KAl!Al,A D. HARRI>; for Vice President.
                                                                                                                        ular in fo1m and authent,ic. and it ap-
                                                                        certificate of the electoral vote of L-he       pears therefrom that. Joseph R. Biden.
          The VICE PRESIDENT. The Clerk of                              State of Colorado seems Lo be regular           Jr .. of the State of Delaware received 3
        the House will report, the acLion of the                        i.11 form and authentic. and it appears         votes for President and K..-\MAL.A D.
        House.                                                          therefrom that Joseph R. Bide11. Jr .. of       HARRIS of t.he State of California re-
          '.Phe Clerk of Lhe House read the order                       the State of Delaware received 9 votes          ceived 3 voles for Vice President.
        of Lhe House. as follows:                                       for PresidenL and KAMALA D. HARRIS of             The VICE PRESIDENT. Are !,here
          Ordered. That the House of Representatives                    l,he State of California received 9 votes       any objections to counting the cerLifi-
        reject~ t.he objec,tlon to the electoral vote              or   for Vice President.                             cate of vote of the District of Columl)ia.
        t.111, St.aw of Arizona.                                            The VICE PRESIDElll'T. Are there            thal the teller has verified appears to
          The VICE PRESIDENT. Pursuant to                               any objections to counti11.g- Lhe certifi-      he regular in form and authentic?
        the law. chapter 1 of title 3. United                           cate of vote of the State of Colo!"ado            There was no ol.>jectiou.
        States Code. because the two Houses                             that the teller has verified appears (,o          The VICE PRESIDENT. Hearing-
        have not- sustained the objection. the                          be reg-ular in form and authentic?              none. this certificate from Florida. the
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   Parliamentarian has advised me, is Lhe       Stale and that has annexed to it a cer-        Senator KLOBUCHAR. Mr. Presi-
   only cerlificate of vote from t,hal State    t.ificate from an authority of the State     dent.. Lhe certificate of the electoral
   Lhal- purports to be a rel-urn from l,he     purporting to appoint and ascertain          vote of the State of Indiana seems t-0
   State and that has annexed to it a cer-      electors.                                    be regular in form and auLhentfo. and
   tificate from an authority of the State         Mr. RODNEY DAVIS of Illinois. Mr.         it appears therefrom lhat Donald J.
  purporling t-o appoint. ancl ascertain        President. the certificat-e of the elec-     Trump of the State of Florida received
   electors.                                    toral vote of the State of Hawaii seems      11 votes •for President and MICHAEL R.
     Ms, LOFGREN. Mr. President-. lhe           to he regular in form and authentic.         PENCE of the Slate of Indiana received
   certificate of the elecL-oral vote of U1e    ,md it appears therefrom that Joseph         11 votes for Vice President.
  Stale of Florid.a seems to he reg-ular in     R_ Biden. Jr .. of tlle State of Delaware      The VICE PRESIDENT. Are there
  form and authentic. and it appears            reeeived 4 votes fol' President and          any ohjections to counting the certifi-
   therefrom that Donald J. Trump of the        KAMALA D. HARRIS of the State of Cali-       cate of vote of the State of Indiana
  St.ate of Florida received 29 votes for       fornia received 4 votes for Vice Presi-      that the teller has verified appears to
  President and MICHAEL R. PENCE of the         dent.                                        be regular in form and authentic?
  State of Indiana received 29 votes for           Tl1e VICE PRESIDENT. Are Lhere              There was no ol)ject,ion.
  Vice President.                               any objections to counLing the cel·tifi-       The VICE PRESIDENT. Hearing
     The v'ICE PRESIDENT. Are there             cate of vote of the State of Hawaii that     none. this certificate from Iowa. the
  any objections to counting the certifi-       Lhe teller has verified appears to be        Parliamentarian has advised me. is the
  caLe of vote of t-he Slate of FlorWa          regular in form and authentic?               011ly certificate of vote from that Slate
  that the teller has verified appears Lo          There was no objection.                   that purports to be a return from the
  lJe regular in form and authentic?               The VICE PRESIDENT. Hearing               State and that has annexed to it a cer-
     There was no objection.                    none. this certificate from Itlaho. the      tificate from an authority of the Stat-e
     The VICE PRESIDENT. Hearing                Parliamentarian has advised me. is the       purporting; to appoint and ascert-ain
  none. this certificate from Georgia. the      only cerUfieate of vot-e from that State     elect-ors.
  Parliamentarian has advised me. is the        Lhat purports to be a return from the          Ms. LOFGREN. Mr. PresidenL the
  only certificate of vote from that State      State and that has annexed to it acer-       eert.ificate of lhe electoral vote of the
   that purports to be a return from the        tificat.e from an authority of the State     State of Iowa seems l-0 be regular in
  State anc1 that has annexecl to it a cer-     purporting to appoint and ascertain          form and auLhentic. and it appears
   Lificate from an authority of the State      electors.                                    therefrom that Donald J. Trump of the
  purporting t-o appoint and ascertain             Senator BLUN'l'. Mr. PresidenL. the       St.ate of F1orida received 6 votes for
  electors.                                     certificate of the electoral vote of the     PresidenL and MICHAEL R. PE..'lCE of the
     Senator KLOBUCHAR. Mr. Presi-              State of Idaho seems to be regular in        State of Indiana received 6 votes for
  dent-. the certificat,e of the electoral      form and authentic, and iL appears           Vice P1·esidenL.
  vote of the State of Georgia seems to         therefrom Lhat Donald J. Trump of Lhe          'l'he VICE PRESIDENT_ Are l-here
  be rei,,'7.llar in fonn and authentic. and    State of Florida received 4 votes for        any object-ions to counting the certifi-
  it appears therefrom that Joseph R.           President and MICHAEL R. PENCE of the        caLe of vote of the State of lcwa Lhat
  Biden. Jr .. of the State of Delaware re-     State of Indiana received 4 votes for        Lhe te1ler has verified appears to be
  ceived 16 votes for President and             Vice President.                              regular in form and authentic?
  K.-\MALA D. HARRIS of the Sta.t,e of Cali-       The VICE PRESIDENT. Are there               There was no objection.
  fornia received 16 votes for Vice Presi-      any objections Lo counti11g the certifi-       The VICE PRESIDENT. Hearing
  dent.                                         cate of vote of t,he St.aLe of idaho that    none. this certificate from Kansas, the
     The VICE PRESIDENT. For what               lhe Leller has cerUfied appears Lo he        Parliamentarian has advised me. is t.he
  purpose does the gentleman from Geor-         regular in form and authentic?               only certificate of vote from that State
  gia (l\1r. HICE) rise?                           There was no objection.                   LhaL purports to he a return from the
     Mr. HICE of Georgia. Mr. President.           The VICE PRESIDENT. Hearing               State and that has annexed to it a cer-
  myself. members of the Georgia delega-        none. this certificate from Illinois. the    tificate from an authority of the State
  tion, and some 74 of my Republican col-       Parliamentarian llas advised me. is the      purporting to appoint and ascertain
  leagues and I object to the electoral         only certificate of vote from that State     electors.
  vote from the St.ate of Georgia on the        that purports to be a return from the          Senat-or BLUNT. Mr. Presic1enL. Lhe
  grounds that t,he elecUon conducted on        Stat,e and that has annexed to it a cer-     certificate of the electoral vote of Lhe
  November 3 was faull,y and fraudulent         tificat-e from an authority of the State     State of Kansas seems to be reguJar in
  due t.o unilateral actions by the sec-        purporting to appoint and ascertain          form and authentic. and it, appears
  retary of state t.o unlawfully change         electors.                                    therefrom that Donald J. 'l'rump oft.he
  the State's election process wil,hout            Mr. RODNEY DAVIS of Illinois. Mr.         State of Florida re<..-eived 6 votes for
  approval from the General Assembly            President. the certificate of the elec-      President and MICHAEL R. PE::-oci.: of the
  and thereby setting the stage for an          toral vote of the State of Illinois seems    St.ate of Indiana received 6 votes for
  unprecedented amount of fraud and             to be regular in form and authentic.         Vice President.
  irregularities. I have signed the objec-      and it appears therefrom that Joseph           The VICE PRESIDENT. Are there
  tion myself.                                  R. Eiden. Jr .. of the State of Delaware     any objections to counting the certifi-
     The VICE PRESIDENT. Sections 15            received 20 voLes for President and          cat,e of vote of the State of Kansas that
  and 17 of Litle 3, United States Code.        KAMA.LA D- HARRIS of the State of Cali-      Lhe teller has verified appears to be
  require that any object.ion be presented      fornia received 20 votes for Vice Presi-     regular in fon11 and authentic?
  in wri Ling: and signed by a Member of        dent.                                          There was no objection,
  lhe House of Representatives and a               The VICE PRESIDENT. Are there               The VICE PRESIDENT. Hearing
  Senator.                                      any ohjeetions to counting the certifi-      none, this certificate from the Com-
     Is the object-ion in VvTiLing and signed   cate of vole of the State of Illinois that   monwealth of Kenlucky. the Parlia-
  by a Member and a Senat,or?                   Lhe teller has verified appears to be        me11tarian has advised me. is the only
     Mr. HICE of Georgia. Mr. President.        regular in form and authentic?               certificate of vot-e from that State that
  prior t-o the actions and events of             There was no objection.                    purports to be a return from the Stat-e
  today. we did. hut following the events         The VICE PRESIDENT. Hearing                and that has annexed to it a certificate
  of io<la;v. it appears that some Senator,;    none. this certificate from Indiana. the     from an authori.t.y of the State pw·-
  have withdrawn their objeeLion.               Parliamentarian has advised me. is the       porLing- t.o appoint and aseert.ain elec-
     The VICE PRESIDENT. In that case.          onh, certificate of vote from that State     tors.
  the objeclion cannot be entertained.          that purports to be a 1·eturn from the         Ms. LOFGREN. Mr. PresidenL. the
     This certificate from Hawaii. the          St.ate and that has annexed to it- a cer-    certificate of the electoral vote of the
  Parliamentarian lms advised me. is the        tificat.e from an aut.hority of the Stale    Commonwealth of Kentucky seems to
  only cerLificat.e of vote from that St.ate    purport-ing to appoint and ascertain         be regular in form and authent.ic. and
  LhaL purports to be a return from the         electors,                                    it appears therefrom l-hat Donald J.
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  Trump of the State of Florida received        for President and KAMALA D. HARRIS of            The VICJ;; .PRESIDENT. In that case.
  8 votes for .President and MJCHAEL R.         the State of California received 10           ihe objection cannot be entertained.
   .l:'ENC'E of the State of Indiana received   votes for Vice President.                        Are there any furl-her objections t-0
  8 votes for Vice President.                       The VICE PRESIDENT. Are there             counting the certifkat.e of the vote
        The VICE PRESIDENT. Are Lhere           any objections to counting the certifi-       from the Stat.e of Michigan that. the
  any o1Jjections to counting Lhe cerl-ifi-     cate of vote of the State of Marylaml         teller has verified appears to be regular
  cate of vote of Lhe Commonwealth of           that the Leller has verified appears t-0      in form and authentic?
  Kentucky thaL the teller has verified         be regular in form and authentic?                There was no objection.
  appears to he regular in form and au-             There was 110 objection.                     The VICE PRESIDENT. Hearing no
  then tic?                                         The VICE PRESIDENT. HealiR!s'
                                                                                              further objections. this certificale
        There was no objection.                 none. this certificate from Massachu-
                                                setts, the Parliamentarian has advised        from Mi.nnesot.a. the Parliamentarian
        The VICE PRESIDb'NT. Hea1ing                                                          has advised me. is the only cerLif:icaLe
  none. this certificale from Louisiana.        me. is the only cerLificate of vote from
                                                that State that purports to he a return       of vote from that State that purports
  the Parliamenta.1ian has advised me. is                                                     to be a return from t.he St.ate and thaL
  the only certifiel',te of vote from that.     from l,he State and that has annexed to
                                                it a certificate from an authority of         has annexed to it a certificate of an au-
   StaLe t.hat purports to IJe a return from                                                  thority of the Stat.e purporting Lo ap-
  the Stale and that has annexe,l to it a       the State purporting to appoint and as-
                                                cerl.ain electors.                            point, or ascerk'l.in electors.
  certificate from an authority of the              Ms. LOFGREN. Mr. President. the              Senator KLOBUCHAR. Mr. Presi-
  State purporting- to appoint and ascer-       cerUficate of electoral vote of the           dent. the certificate of the electoral
   Lain electors.                               Commonwealth           of    Massachusetts    vote of the St.ate of Millilesota seems
        Senat.or KLOBUCHAR. Mr. Presi-          seems to be regular in form and au-           to be regular in form and authe11tic.
  dent. the certificate of the electoral        thentic. and it appearn Lherefrom that,       and it appears therefrom that Joseph
  vote of the State of Louisiana seems l-o      Joseph R. Eiden. Jr .. of the Stat.e of       R. Bi.den. Jr., of the State of Delaware
  be regular in form and aut,hentic. and        Delaware received 11 votes for Presi-         received 10 votes for President and
  appears therefrom t.hat Donald J.             dent and KA:,\1.".LA D. HARP.JS of the        KAM.ALA D. H..-',,RRIS of the State of Cali-
  Trump of the State of :fiorida received       State of California received 11 votes for     fornia received 10 votes for Vice Presi-
  8 votes for President and MiCHAEL R.          Vice President,.                              dent.
  Pi-:NCI, of Lhe SLate of Indiana received         The VICE PRESIDENT. Are there                The VICE PRESIDENT. Are there
  8 vol-es for Vice President.                  any objections to counting the certifi-       any objections to counting t.he certifi-
        The VICE PRESIDEN'l'. Are l,here        cate of vote of the Commonwealth of           cate of the vote from Lhe State of Min-
  any objections to counting the certifi-       MassaclmseUs that the teller has              nesota Lhat the teller has verified ap-
  cate of vote of the State of Louisiana        verified appears to be regular in form        pears to be ri:,g1.1lar in form and authen-
   that. the teller has verified to be reg-     and authentic?                                Uc?
  ular in form and authentic?                       There was no objection.                      There was no ohjection.
       There was no objection.                      The VICE PRESIDENT. Hearing
       The VICE PRESIDENT. Hearing                                                               The VICE PRESIDENT. Hearing
                                                none. this certificate from Michigan.
  none. this certificate from Maine. the        the Parliamentarian has advised me. is        none. this certificate from Mississippi.
  Padiamentarian has advised me, is t.he        the only certificate of voLe from thaL        the Parliamentarian has advised. is the
  only certificate of vote from that St.at.e    State that purport.s to be a return from      only certificate of vote from t.hat State
  that purports to be a return from the         the State and that has annexed to it a        that purports to be a reLurn from the
  State and th.at lrn.s annexed t.o it a cer-   certificate from an authority of the          State and that has annexed to iL acer-
   tificate from an aut,hority oft-he St-at.e   State purporl-i11g to appoint and ascer-      tificate of an authority of Lhe State
  purporting to appoint and ascertain           tai11 electors.                               purporting t.o appoint or ascertain elec-
  electors.                                         Senator KLOBUCHAR. Mr. Presi-             tors.
       Mr. RODNEY DAVIS of Illinois. Mr.        dent., the certificate of the electoral          l\.1r. RODNEY DA VIS of Illinois. Mr.
  President. the certificate of the elec-       vote of the State of Michigan seems to        President. the certificate of the elec-
  toral vote of the State of Maine seems        be regular in form and authentic. and         toral vote of the State of Mississippi
  to be regular in form and auLhentic.          it appears therefrom that Joseph R.           seems to be regular in form and au-
  and it appears therefrom that Joseph          Eiden. Jr .. of the St.ate of Delaware re-    Lhentic. and it appears therefrom thaL
  R. Eiden. Jr .. of the St.ate of Delaware     ceived 16 votes for President and             Donald J. Trump of I.he State of Flor-
  received 3 votes for President. and Don-      KAMALA D. HARRIS of the State of Cali-        ida received 6 votes fol· President and
  ald J. Trump of t11e Slate of Florida re-     fornia received 16 votes for Vice Presi-      MICIIAEL R. PE.11:CE of the Stat.e of Indi-
  ceived 1 vote for President, and KAMALA       dent.                                         ana received 6 votes for Vice President.
  D. HARRIS of the St.ate of California re-         The VICE PRESIDENT. For what                 The VICE PRESIDEN'l'. Are there
  ceived 3 votes for Vice President. and        reason does the genLlewoman from              any objections to counLing the certifi-
  MICH...\EL R. PENCE of the St.ate of Indi-    Georgia (Mrs. GREENE) rise?                   cate of the vote from t.he State of Mis-
  ana received 1 vote for Vice President.           Mrs. GREENE of Georgia. Mr. Presi-        sissippi that the Le1le1• has verified ap-
       The VICE PRESIDENT. A.re there           dent. I. along wi t,h 70 of my Republican     pears to be regular in form and authen-
  any objections to counting- the certifi-      colleagues. object t.o the counting of        t.ic?
  cate of vote of the State of Maine that       Lhe electoral votes for the State of             There was no objection.
  the teller has verified appears t.o be        Michigan on the grounds that the error           The VICE PRESIDENT. Hearing
  regular in form and authentic?                rate exceeds the FEC rate allowed a.t         none. this certificate from Missouri.
       There was no objecUon.                   0.0008 percent. and that Lhe people who       the Parliamentarian has aclvised, is the
       'I'he VICE PRESIDENT. Hearing            signed affidavits at risk of perjury.         only certificate of vote from that State
  none. this certificate from Maryland.         their voices have not been heard in a         that purports to be a return from the
  l-he Parliamentarian has advised me. is       (.,'Qurt of law.                              State and that has annexed to it a cer-
  t.he only certificate of vote from l-hat.                        C:: 0000                   tificate of an authority of the Stat.e
  State t.hat purports to be a return from          The VICE PRESIDENT. Sections 15           purporting- to appoint. or ascertain elec-
  the State and that has annexed to it a        and 17 of title 3 of the U.S. Code. re-       tors.
  certificate from an autho1ity of the          quire Lhal- any objection be presented           Senator BLUNT. Mr. .l:'reside11t. the
  State purporting- to appoint and ascer-       in w1i Ling and sig:ned by a Member of        certificate of Lhe electoral vote of the
  tain electors.                                lhe House of Representatives and a            State of Missouri seems to be regular
       Senator BLUNT. Mr. Presi<lenL. the       Senator.                                      in form and authentic. and it appears
  certificate of the elect.oral vote of the         Is the objection in writ.ing and signed   therefrom that Donald J. Trump of the
  State of Maryland seems to he regular         by a Member and a Senator?                    State of Florida received 10 voles for
  in form and aulhentie. ~u1d i i appear;;          Mrs. GREENE of Georgia. The objec-        President. and M!OHAEL R. PENCE of the
  t.ht>refrom that. Joseph R. Biden. Jr,. of    tion is in writ.ing. 11ol signe<l lw a Sen-   St.ate of Indiana received 10 votes for
  L-hf> Stat.e of Delaware receivea 10 votes    ator.                                         Vice President..
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     'l'he \'ICE PRESIDENT. Are there            fornhi received 6 votes for Vice Presi-       Jeri:;ey t.hat the teller has verified ap-
  any o!Jjections t,o counting the certifi-      dent.                                         pears to he reg..,lar in form and authen-
  cate of Lhe vot,e from the State of Mis-          The VICE PRESIDENT. l<'or what             tic?
  :souri that the teller has verified ap-        purpose does the gentle1nan from Ala-            There was no objection.
  pears to be regular in form and authen-        bama rise?                                       The VICE PRESIDENT. This certifi-
  Uc?                                               Mr. BROOKS of Alabama. Mr. Presi-          caLe from New Mexico. the Parliamen-
     There was no object-ion.                    dent, I and 55 oLher Members of the           t-ai.'ian has advised. is the only certifi-
     The VICE PRESIDENT. Hearing                 United St.ates House of Representatives       cate of vote from the State that pur-
 none. this cerLificate from Montana.            objecl- to the electoral vote for the         ports to be a ret.m•n from the State aml
  the Parliamentarian has advised. is the        State of Nevada in order to protect. the      that has annexed to it- a certificate of
  only certificat,e of vote from that State      lawful votes of Nevada and all other          an authority of the St-ate purporting to
  that purporLs Lo be a return from the          American citizens.                            appoint or ascert.ain electors.
  State and that lias annexed t-0 it a cer-         The VICE PRESIDENT. Sections 15               Senator KLOBUCHAR. Mr. Presi-
  tificate of an authority of the St.ate         and 17 cf title 3 of the UnHed St.ates        dent, the certificate of the electoral
  purporting to appoint or ascertain elec-       Code. require that any objection lle          vot-e of the State of New Mexiuo seems
                                                 presented in writing and signed by a          to be regular in form and authentic.
  tors.                                                                                        and it app,>,;u•s llierefrom tliat Joseph
     Ms. LOFGREN. Mr. President. the             Member of the House of Represenh1-
                                                                                               R. Eiden. Jr .. of the State of Delaware
  certificate of the electoral voLe of the       tives and a Senator.
  State of Montana seems to he regular              Is the objection in writing and signed     received 5 votes for President and
                                                                                               KAMAL.-\ D. HARRIS of Lhe State of Cali-
 in form and auLhenUc. and it- appears           by a Member and a Senator?                    fornia received 5 votes for Vice Presi-
  t.herefrom thaL Donald J. Trump from              Mr. BROOKS of Alabama. Mr. Presi-
                                                                                               dent.
  t.he St.ate of Florida received 3 votes        de11t, it is in writing. but. unfol'tu-          The VICB PRESIDENT. Are tl1ere
 for President, and MICHAEL R. PE:-scg           nately. no United States Senator has          any objections to counting the certifi-
 from the Slate of Indiana received 3            joined in this effort.                        cate of the vote from the State of New
 votes for Vice President.                          The VICE PRESIDENT. In that case.          Mexico that Lhe teller has verified ap-
     The YICB PRESIDENT. Are there               Lhe objection cannot be entertained.          pears to be 1•egular in form anll aut-hen-
 any objections to counting U1e certifi-            Are there any further objections Lo        tic?
  cate of the vote from the State of Mon-        counting t.he certificate of vote from           There was no objection.
  tana that. the teller has verified ap-         Lhe State of Nevada that the teller has          The 'VICE PRESIDENT. Hearing
 pears to he regular in form and authen-         verified appears to be regular in form        none. this certificate from New York.
 tic?                                            and authentic?                                 the Parliamentarian has advised me. is
     There was 110 objection.                       There was no objection.                     the only (,-ertificate of vote from the
     The VICE PRESIDENT. Hearing                    The VICE PRESIDE'.N"'T. This certifi-      State tha.t purports t-0 be a return from
 11011e. this certificate from Nebraska.         cate from New Hampshire. the Parlia•          the State and has annexed to it a cer-
 the Parliamentarian has advised. is t.he        mentarian has advised me, is the only         tifica.te of an authority from the State
 only certificate of vote from thal St.ate       certificate of electoral vote from that.      purporting to appoint or ascertain elec-
 t.hat. purports to be a return from the         St,ate that purports to be a return from      tors.
 State and that has annexed to it acer-          the StaLe and that has annexed to it a           Mr. RODNEY DA VIS of Illinois. Mr.
 tificate of an authority of t.he State          cert-ificate of an authority of tl1e State    President. the certificate of Lhe elec-
 purporting t-0 appoint oi: ascertain elec-      purporting to appoint or ascerLain elec-      toral vote of the State of New Yoi·k
 tors.                                           tors.                                         seems to be regular in form and au-
     Senat.or KLOBUCHAR. Mr. Presi-                 Senator BLUNT. Mr. President. the          thentic. and it appears therefrom that
 dent. the certifkat.e of the electoral          certificate of t1ie electoral vote of the     Joseph R. Biden. Jr .. of the State of
 vot.e of the State of Nebraska seems to         State of New Hampshire seems to be            Delaware received 29 votes for Presi-
 be regular in form and authentic, and           regular in form and authentic. and it         dent and KA'.1,!ALA D. HARRIS of the
 it. appears therefrom that Donald J.            appears therefrom that Joseph R.              State of California received 29 votes for
 Trump of the State of I<'Iorida received        Biden. Jr .. of the State of Delaware re-     Vice President.
 4 votes for President: and Joseph R.            ceived 4 votes for President and                 The VICE PRESIDENT. Are there
 Biden, Jr.. of the State of Delaware re-        KAMALA D. HARRIS of L11e State of Cali-       any objections to counting the certifi-
 ceived 1 vote for PresidenL; and MI-            fornia received 4 votes for Vice Presi-       cate of lhe voLe from the State of New
 CHAF,L R. PENCE of the State of Indiana         dent.                                         York that the teller has verified ap-
 received 4 votes for Vice President; and          The VICE PRESIDE:NT. Are there              pears to be regular in form and authen-
 KA:>fALA D. HARRIS of the State of Cali-        any objections to counting the cert,ifi-      tic?
 fornia received 1 vote for Vice Presi-          cate of vote of the St.ate of New Hamp-          There was no objection.
 dent.                                           shire tliat the teller has verified ap-          The VICE PRESIDENT. Hearing
    The VICE PRESIDENT. Are there                pears to be regular in form and authen-       none, this certificate from North Caro-
 any objections to cormting the certifi-         tic?                                          lina. the Parliamentarian has advised
 cate of vote from the State of Nebraska           There was no objection.                     me. is the only certificate of vote from
 that the teller has verified is regular in        The VICE PRESIDENT. This certifi-           that State that purports to be a retur11
 form and authentic?                             cate from New Jersey, the Parliamen-          from the State and that has annexed to
    There was no objection.                      l.arian has advised. is the only cert..ifi-   il a cerUficate from the State pur-
    The VICE PRESIDENT. Hearing                  cate of vote from the St-ate that. pur-       porting to appoint or ascertain elec-
 none. this certificate from Nevada. the         ports to be a return from the State and       t.ors.
 Parliamentarian has advised. is t.he            that has annexed to it a certificate of                          C 0010
 on1y certificate of vote from Lhe State         an authoriLy ill the Stat,e purporting to        Senat.or BLUN'J'. Mr. President. tbe
 t.hat purports to be a return from t-he         appoint or ascerLain electors.                certificate of the elect.oral vote of the
 State and that has annexet1 t.o it acer-          Ms. LOFGREN. Mr. Prei,ident. the            State of North Carolina seems to l)e
 tificate of an authority from the State         certificate of the electoral vote of the      regular i11 form and authentic. and it
 purporting Lo appoint or ascertain elec-        State of New Jersey seems to be reg-          appears therefrom that Donald J.
 tors.                                           ular in form and authentic. and it ap-        Trump of the State of Flol'ida received
    Mr. RODNEY DA VIS of Illinois. M1•.          pears therefrom t11at Joseph R. Biden.        15 votes for President and MICHAEL R.
 Presiclent. the certificat.e of the elet.:-     Jr .. of the State of Delaware received       Pl<:N0F. of the State of Indiana received
 toral vot.e of the SL.ate of Nevada seems       14 votes for President and KAMALA D.          15 votes for Vice President,.
 to he reg·ular in form and auLhent,ic.          HARlllS of the St.ate of California re-          The VICE PRESIDENT. Are there
 and it appears t.l1erefrom thal Joseph          ceived 14 votes for Vice President..          any objections to counting the certifi-
 R. Biden. Jr .. of the State of Delaware          The VICE PRESIDENT. Are there               cat-e of vote of the State of North Caro-
 1•eceived 4 votes for Presiuent and             any objections to counting the ce1•tifi-      lina that the teller 11as verified appears
 K.-\)1.-\L.-\ D. HARRIS of the State of Cali-   cate of the vote from the State of New        to be reg-ular in form an(l aut-hentic?
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     There was no objection.                    St-ate and that has a certificate of au-           OH 4. Dan Meuser PA 9. Clay Higgin,; LA 3.
     The VICE PRESIDENT. Hearing                thol"i Ly from the State annexed to it t.o         Tom Rice SC 7. Y,•eite H<errell NM 2. Alex-
  none. this certificate from North Da-         appoint and ascerLain electors.                    ander Moone~- WY 2. And;, Bi)..~..:s AZ 5. ,John
                                                                                                   W. Rose TN 6. i\'. Greg Steutie FL- l'l. Madi-
  kota. Lhe Parliamentarian has advised            Senator BLUNT. Mr. President. the               son Cawthorn NC· 11. Bill Po,;ey FL-8. ,Jeff
  me. is the only cerLifie-ate of vole from     certificate of the elecioral vote of the           Dun"'1.n SC· 3:. Brian Babin TX 36. Louie Goh-
  that State. and purports to be a return       State of Oregon seems t,o be reirnlar in           merl TX-1.
  from the State and that has annexed t.o       form and authentic. and it appears                    Brian ,J. Mast FL 18. Warren Davidson Off
  it, a cerLificaLe of an authority of the      therefrom Lha.t. Joseph R. Biden. Jr .. of         8. Andy Harris MD 1. Doug Lamhorn CO 5.
  State purporting t-o appoint, and ascer-      the State of Delaware received 7 votes             Kat Cammack FL· 3. Trace;1· Mann KS l. Bol,
   Lain elecLors.                               for President and KA:.iALA D. HARRIS of            Good VA 5. Adrian Smith NR3. Bills Lolll!
                                                                                                   MO 7. Jack Be1-;:-man MI l. Michael Cloud
     Ms. LOFGREN. Mr. Presiuent. the            the State of California receivecl 7 voLes          TX-27. Byron Donalds FL-19. Rick Crawford
  certificate of the electoral vot.e of the     for Vice Presiclent.                               AR 1. Rog-er William.-; TX 25. Bob Gibbs OH
  State of Nort.h Dakota seems to be reg-          The VICE PRESIDENT. Are lhere                   7. Russ Fukher ID l. Richard Hudson NC 8.
  ular in form and authentic. and it ap-        any objections lo counting the certifi-            Ted Budd NC·13. Barry Moore AL 2. L<'e
  pears therefrom that Donald J. Trump          cate of vote of the State of Oregon that.          Zeldin :,.y.. 1_
  of t1J.e State of Florida received 3 votes    the teller has verified as regular in                 ,Jake La Turner KS 2. Da,·id Rouzer NC 7.
  for President and MICHAEL R. PF.NCB of        form and authentic?                                ,Jason Smith MO 8. Lauren Boebert CO 3.
   Lhe Slate of Indiana received 3 votes           There was no ohjectio11.                        Paul A. Gosar AZ 4. Chuck Fleischmann T.N'
                                                                                                   3. Tim Burchett TN 2. Chris .Jacolis N"Y 2'i.
  for Vice Presicleni.                             The VICE PRESIDENT. Hearing:                    Bill ,Johlison OH 6. Andrew S. Clyde GA 9,
     The VICE PRESIDENT. Are Lhe1·e             none. this cerl-ificate from the Com-              Lance Gooden TX- 5. Randy Feenstra IA 4.
  any objections to counting t11e cerLifi-      monwealth of Pennsylvania. the Par-                Ivfury E. Miller IL-15. Diana Harshbarger TN
  caLe of Yote of Lhe SLaLe of North Da-        lia.menLarian has advised. is the only             1. Mark E. Green TN 7. Ron Estes KS-4, Neal
  kota Lhat the teller has verified as reg-     cert-ificate of vote from that- State thaL         Dunn FL 2. Ronny Jackson TX 13. Elise
  ular and authentic?                           purports to be a retum from the State              Stefanik NY 21. Ralph Norman SC 5.
     There was no objection.                    and that has annexed Lo il a certificate              Joe Wilson SG 2. Vit-ky Hartzler MO 4.
     The VICE PRESIDENT. Hearing                from an authority of t,he State pur-               Scott Dei,;.Jarlais TN -1. Marjorie Taylor
                                                                                                   Greene GA 14. Doug LaMalfa CA-1. Jeff Van
  none. the ceriific.:at,e from Ohio. the       porting to appoint- and ascertain elec-            Drew NJ 2. Ben Cline VA 6. Michael D. Rog-
  Parliamentarian has advised. is the           tol·s.                                             ers AL·3. Il'Iarkwayne Mullin OK 2. Jeff Dun-
  only certificate of vote from U1aL               Ms. LOFGREN. Mr. President. the                 can SC-3. Pat Fallon TXA, Brad R. WeMtrup
  State. and purports t,o be a return from      certificate of the electoral vote of ~he           OH 2. August Pl1nger TX 11. Roh Wittman
   the St-ate and Lhat has annexed to it a      Commonwealth of Pennsylvania seems                 VA-1. ScoU Franklin FL 15, David Kustoff
  certificate of an authority of the Sta.le     t.o he regular in form anc1 autl1entic.            T::-i 8, Sam Graves MO-6. lVIaU Gaetz FL 1.
  purport-ing to appoint or ascertain elec-     and it appears therefrom that Josepl1              Randy K. Weber TX 14.
  tors.                                         R. Biden. Jr .. of the State of Delaware             The VICE PRESIDEJ:,:""T. Are there
     Senator KLOBUCH.AR. Mr. Presi-             received 20 votes for President and                further object-ions to the certifie-ale
  dent. the certificate of the elecloral        KAM.ALA D. HARRIS of the State of Cali-            from t.he Commonwealth of Pennsyl-
  vote of the State of Ohio seems t-0 l)e       fornia received 20 votes for Vice Presi-           vania?
  regular in form and auLhenLic. and il         dent.                                                There was no objection.
  appears therefrom thaL Donald J.                 The VICE PRESIDENT. For what                      The VICE PRESIDENT. The Chair
  Trump of the St,at,e of Florida re<.,-eived   purpose does the gentleman from Penn-              hears none.
  18 votes for President and MICIIAEL R.
                                                                                                     The two Houses will withdraw from
                                                sylvania rise?                                     joint session. Each House will delilJ--
  PENCE of the Slate of Indiana re<.,-eived        Mr. PERRY. Mr. President. sadly.
  18 votes for Vice President.
                                                                                                   era.te separately on the pending objec-
                                                but resolutely. I object to the electoral
     The VICE PRESIDENT. Are there                                                                 tion and report its decision back to the
                                                votes of my beloved Commonwealt.h of
  any objections to counting Lhe cerlifi-       Pennsylvania on the grounds of mul-                joint session.
                                                                                                     The Senate will now retire to its
  cate of vote of the State of Ohio Lhat        tiple constitutional infractions that
  the teller has verified is regular in                                                            Chamber.
                                                they were not under all of the known                 The Senate retired to its Chamher.
  form and authentic?                           circumstances regularly given: and on
     There was no objection.                    this occasion. I have a V.-Titten objec-                                 Ci 0020
     The VICE PRESIDENT. Hearing                tion signed by a Senator and 80 Mem-                 The SPEAKER. Pursuant Lo Senate
  none. this certificate from Oklahoma.         bers of the House of RepresentatiYes.              Concun-ent Resolution 1 and section 17
  the Parliamentarian has advised. is the          The VICE PRESIDENT. Is the objec-               of title 3. United States Code. when the
  only certificate of vote from that            tion in writing and signed by a Sen-               two Houses withdraw from the joint
  SLate. and purports to be a return from       ator?                                              sei,-sion to count t-he electoral Yote for
  the Stale and that has annexed to it a           Mr. PERRY. Yes, Mr. Vice President.             separate consideration of objection. a
  certificate of an auLhority of the Sl,ate     it is.                                             Representative may speak Lo the objec-
  purporting to appoint or ascertain elec-         The VICE PRESIDEN'r. All objection              tion for 5 minutes and not more than
  tors.                                         presenl.ed in writing and signe(l by both          once. Debate shall not exceed 2 hours.
     Mr. RODNEY DAVIS of lllinois. Mr.          a Represent.alive and a Senator com-               after which the Chair shall put the
  President. the certificate of Lhe elec-       plies with Lhe law. chapter 1 of title 3,          question. Shall the objection be agree.d
  toral vote of the State of Oklahoma           United States Code.                                to?
  seems to be regular in form and au-              The Clerk will report the objection.              The Clerk will report, the objeclion
  then tic. and it appears therefrom that.         The Clerk read the object.ion as fol-           made in the joint session.
  Donald J. Trump of the State of Flor-         lows:                                                The Clerk rea<l the objection as fol-
  ida received 7 votes for President, and                                     ,JANt'ARY 7. 2021.   lows:
  MICHAEL R. P&"I/CE of the State of Incli-       \'i"e. a 'Gnited St.ates Senato!' and Members                                     JANL~RY 7. 2021.
  a.na received 7 votes for Vice President.     of the House of Representati\'es. object to           \\'e. a United States Senator and Meml,ers
     The VICE PRESIDE..l\JT. Are t,here         the ~'<lUnting- of the electoral \'Oles of the     of the House of Representat.ives. object to
  any objections to counting the certifi-       State of Penn,wlvania on t11e ;:-round that        lbe counting of the electoral votes of the
                                                the;' we1•e not. unde1· all of the known ci.r-     Sta~e of Penn.-;ylvania on the ground that
  cate of vote of the State of Oklal10ma        eu1nstanceR. te:._ru:Jarly given.                  t.hey were not.. under all of t.he known eil'•
  that the teller has verified to be reg-                        .Jrnm HAWLEY.                     etunstanees. reg-ularly given.
  ular in form and authentic?                                       United States Senator.                           ,TOSH HAWLEY.
     There was no objection.                                     SCOTT PERRY.                                          United Sta{c>s S{~nator.
     The VICE PRESIDENT. Hea.ring-                                 ;\frmber of Congress.                             SC-OTT PHRHY.
  none. this uertificat.e from Oregon. the                  ME:'\ITf£RS   ()J,   Cl)XGRR.s..-=;                        .\fpmbt•r of Con.r:rres~.
  Piirliamenlarian has advised. is the            Mo Brooks AL 5. JI.like Kelly PA 16. John                    :-.!E?<.ffmR.:-- OF COXGRI-;n~
  only certificate of vote from that State      Jo:,;c>e PA 13. Fred Keller PA~l2. Scott Pe1~·y       Mo Brooks AL··&. Mike Kelly PA 16. ,John
  that purports to he a return from l-he        PA-10. Glenn Thompson PA 15. ,Jim ,Jordan          .Joye<"- PA 13. Fre,1 Kelle,· PA 12, >:l<:ott Pen;-
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  PA-10. Glenn Thompson PA--15. ,Jim ,Jonlan              Once a.gain. the court not only defied    Lhal he was unable to est,ahlish with
  OH4. Dan Meuser PA-9. Clay Higgins LA 3.             the Constitution and the will of the         an;v degree of reasonable assurance
  Tom Rke SC 7. Yvt>tte Herrell )TM 2. Alex-           people. but by 80 cloing. t.hey created a    that the SURE system is secure and
  ander Mooney WY -2. Andy Biggs AZ 5. Jolin           separate class of voters. thereby vio-       thal- Pennsylvania vet.er 1>eg·istralion
  \\'. Rose TN 6. W. Greg Steuhe FL 17. Madi-
  .son Cawihom C'l"C 11. Bill Pose:,· FL 8. Jeff       lating the Equal ProtecU011 Clause pre-      records are complete and accurate.
  DlillNUl SC-3. Brian Bahin TX-36. Louie Gol1-        scribed in the ConsLitution.                   That is what we are relying on. Tha1,
  mert TX 1.                                              How can we have two legally sepa-         right there. This is the very same s,vs-
     Brian ,J. Mast FL--13. Warren Davidson OH         rate c1asses of voters? Yet. the court       tem used to certify the eleclion in Lhe
  8. Andy Harris l\.'.ID-1. Doug Lamhorn CO 5.         made iL so. not l,he legislature.            contest for President of the United
  Kat Cammack FL-3. Tracey Mann KS-1. Boh                 The Const-ituLion doesn"t mention         Stat.es. This is the very same system
  Gootl \'A 5. Adrian Smith );E-3. Bill,· Long         Lhe l!Ourt when detennining the time.        that the State used to certify the 2020
  M0-7. ,Jack Bergman MI-1. Michael Cloud
  TX-27. B;n'On Donalds FL-19. Riek Crawford           place. and manner of elections because       election. even though its figures do not,
  AR 1. Roger Vi'illiams TX-25. Bob Gibhs OH           Lhey are not authorized to make those        match more than half of Pennsylva-
  7. Russ Fukher ID-1. Richard Hudson )l"C-S.          decisions. Yet. they did it.                 nia"s 67 counties.
  Ted Budtl NC- 13. Barry Moore AL 2. Lee                 And the U.S. Supreme Court has re-          To this day. right- now, while we
  Zeldin !\TY L                                        fused to hear the case. denying Lhe evi-     stanci here. how can this elecUon be
     Jake LaTurner KS-2. David Rouzer )TC 7.           dence aml denying Lhe demands for jus-       certified using a system that aft-er 2
  Jason _Smith MO -8. Lauren Boehert C0-3.             tice from lhe people of Pennsylvania         months still displays that over 205.000
  Paul A. Gosar AZ- 4. Chuck Fleischmann Tes
  3. Tim Burchett TN- 2. Chris Jacobs :::n.·-.27_      and America.                                 more votes were cast in Pem1sylvania
  Bill Johnson OH--6. Andrew S. Clyde GA 9.               These aren't my opinions. These           than people who vo1,ed in the November
  Lam,e Gooden TX-5, Rand~· Feen..'<tra IA-4.          aren't partisan viewpoints. These are        election? Let me say that again: 205.000
  Mary E. I\/Iiller IL 15. Diana Ha1-shbaJ.1ser TN     irrefutable facts.                           more votes than voters.
  l. Mark E. Green T::sl- 7. Ron Est.es KS- 4. cseal      Six days before the election. guid-         Mr. NEGUSE. Madam Speaker. l rise
  Dunn FL- 2. Ronny ,Jackson TX 13. Elise              ance emailed from the secretary of           in opposition to the objection.
  Stefanik cIY-21. Ralph Norman SC-5.                  state required that the counties shall         The SPEAKER. The gentleman from
     ,roe Wilson SC 2. Vicky Hartzle1· MO -4.
  Scot.I. DesJarlai$ T'.:(! 4. Mm·jorie Ta~·l01·       no~ pre-canvass or canvass any mail-in       Colorado is recognized for 5 minutes.
  Greene GA-14. Doug LaMalla CA 1. .Jeff Van           or civilian absentee ballots received !)e-     Mr. NEGUSE. Madam Speaker. to my
  Drew XJ-2. Ben Oline VA-£. Mkha.el D. Rog-           l-ween 8 o"clock Tuesday and 5 o'clock       colleague from Pennsylva:i.1ia. I will say
  ers AL-3, Markwayne Mullin OK- 2. Pat                1''riday and that they musL he kepl, sep-    this: I carry the same Constitution
  Fallon TX-4. Brad R. Wenstrup OH 2. August           aratel;v. That was 6 days hefore the         t.hat you do. And the ConsLituUon. sir.
  Pfluger TX 11. Roh Wittman YA L Scott                election.                                    does not allow you. me. or any Member
  Fr·anklin FL 15. David Kustoff TN ll. Sam               Madam Spea,ker. 2 days before Lhe         of this body to substit-ute our judgment.
  Graves MO -6. Matt Gaetz FL 1. Randy K.              election, counties received new guid-
  '\l'eber TX 14.
                                                                                                    for that of the American people. It does
     The SPEAKER. The Chair will en-                   ance from the secretary of state. in-        not allow us Lo disreg·ard the will of the
  deavol' Lo alternate recognition be-                 forming counties that Lhey shall can-        Ame1ican people. Because under this
  tween Members speaking in support of                 vass segregated absentee and mail-in         Constitution. under our Constitution.
  the object,ion and Members speaking il;              ballots as soo11 as possible upon re-        Con.,,<>Tess doesn't. choose the President.
  opposition to the objection.                         ceipt.                                       The American people do. A.nd they
     'I'he Chair recognizes Lhe gentleman                 The secretary of state is not elecLed     have chosen in resounding numbers. as
  from Pennsylvania (Mr. PERRY) for 5                  b;y the people. She is not. a member of      every single Member of this body well
  minutes.                                             Lhe legislature. Yet. she. and she alone.    unders t,ands.
     Mr. PERRY. Madam Speaker. this is                 determined the time and manner of              Madam Speaker. I have been at a loss
  a somber day for the defense of the                  elections. That was unconstiLuLional.        to explain what happened today. huL
  Constit-ution. You see, t,he Constitution               In defiance of a U.S. Supreme Court       there is a statement that I found Lhat-
  is just a piece of paper. It cannot de-              orcler that all ballots receiYed afte1•      largely summarized my thoughts on
  fend itself. That is why our leaders                 election day be segregated. the sec-         the matter.
  swear an oath to uphold and defend the               retary of state knew. once they were           "The scenes of mayhem unfolding aL
  Constitution. and that is what I am                  canvassed. that. is opened and commin-       the seat, of our Nat.ion's govel'!lmenl'"
  doing: here t1lis evening.                           g·led with all the other ballots. they       are a "sickening· and heart.breaking
    The Constitution states: ·'The times.              would be counted with all the rest.          sight. This is how election resulls are
  places. and manner of holding elect-ions                And what is the remedy for this defi-     disputed in a banana republic. not our
  . . . shall be prescribed . . . by the leg-          ance. for this lawbreaking? So far. the      democratic Republic. I am appalled lJy
  islature··-not the courts, not the Gov-              court has decided there is no remedy.        the reckless behavior of some political
  ernor. not the secret.ary of state or                There is no penalty for this lawless-        leaders since the election and by the
  other bureaucrats or elected officials,              ness. this dilution of lawfully cast         lack of respect shown t-oday for our in-
  Lhe legislature.                                     votes, this defiance of the Constitu-        stitutions, our traditions. ancl our law
    In Pennsylvania. the supreme court                 tion-no remedy. When the State legis-        enforcement. The violent assaulL on
  unilaterally extended the deadline for               lature requested the Governor to con-        the Capitol. and tlle disruption of a
  ballots to 3 days aft.er the elect.ion.              vene a special session Lo address the        constitutionally mandated meeting of
  They actually want,ed 10. The supreme                unanswered questions and try to pro-         Congress. was 1111clerlaken by people
  eourt i::; not the legislature. The su-              vide a remec'ly. he refused.                 whose passions have been inflamed by
  preme court manda~ed un-post,marked                     When votes are accepted llllder un-       falsehoods ancl false hopes. Insurrec-
  ballots to be received. destroying the               constitutional means without fair and        tion coulc1 do grave damage to our Na-
  validity of all the votes that were casl-            equal protection for all. the only result    tion and our reputation.
  timely.                                              can be an illegitimate outcome-ille-           "In Lhe United States of Ame1ica. it
    The supreme court action defied the                gHimaLe.                                     is the fundamental responsibility of
  law. the legislature, and the will of the               The voters did no!, create this mess.     every pat.riotiu citizen to support the
  people.                                              but tlle will of the people is absolutely    rule oi law. To Lhose who are dis-
    The supreme court authorized the                   bein...!; subverted lly the deliberate and   appointed in the results of the election:
  use of drop boxes. where ballot har-                 willful actions of individuals defying       Our country is more imporl-ant than
  vesting could occur. The legislature                 their oath. the law. anrl the Constitu-      the politics of the moment. ..
  never authorized that form of voUng·,                tion.
  and the court had absolutely no right                   In Pennsylvania. we use the Sta1,e-                        C 0030
  to do so.                                            wide Uniform Registry of ElecLors. or          Those are not my words. Thm,e are
    Responding Lo lhe :::ec1·etary of state.           SURE. system as the llasis of deter-         the words of former Republican Presi-
  Kathy Boockvar. the supreme court                    mining· who can vote. Unfortunate!;,;,. a    dent George \"V. Bush.
  ruled that mail-in baUot,s 1ieed not au-             recent- attempt-eel auclit by the Demo-        To my colleagues. it is after mid-
  thenticate signatul'es.                              crat St.;,te audit-or general concluded      nig-ht tonight. It has been a long day
                                                                        ------         -------------~---




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  HlOO                                   CONGRESSIONAL RECORD-HOUSE                                               January 6, 2021
  for our country. a long clay for our Re-         M.r. MEUSEl-t. Mau.am Speaker. a da.y         If there is an American ideal that all
  public.                                       that was intended to debat.e t.he impor-      citizens. regardless of party affiliation.
     Let us dispense wit.h Lhis. Let,·s do      tance of election integrity and the rule      can agree upon. it is that, we must have
  t-he right thing. Let's honor our oaLh.       of law tragically beca.me a day that.         election integrity. We should not cer-
  Let·s certify the result-s. and let's get     will he a black mark in our NaUon·s           tify these electors. which were derived
  back to the work of the American peo-         history. Nevertheless. the work of l.his      by unlawful actions and a result of in-
  ple.                                          House must go on. as America v.ill go         accurate vote tallies.
     Madam Speaker. I yielcl to the gen-        on.                                              Madam Speaker. I yield t,he remain-
  tlewoman from California <Ms. LOF-               We musL all sincerely thank the Cap-       der of my Lime t,o the genl-leman from
  GREN).                                        itol Police and Metro Police for their        Pennsylvania (Mr. JOYCE).
      Ms. LOFGREN. Madam Speaker. our           selfless actions today. putting their            Mr. JOYCE of Pennsylvania. Madam
  duty L-oday is significant but slraight-      safety ana lives on Lhe line Lo protect       Speaker. I rise in support of the objec-
  forward. We must counL the voLes of           this House. The lawlessness and vio-          tion.
  the electors as cast, in the electoral        lence of to(lay must be condemned. just          Tonight. my lleart is heavy as we
  co1Jege and announce the results.             as all violent protests must be con-          consider the dark acts that transpired
      As discussed. our roles and respon-       demned.                                       in this ChamlJer today. Bul. Madam
  sibili Lies are established by the Con-          Nevertheless. the fact remains. a          Speaker. the American people can be
  sl-iLuLion and Federal law. and they are      la1·g·e number of Pennsylvanians a.re         assured that violent and irrat.ional at-
  clear. The facts before us are also           enormously frustrated with actions            tacks on tJ1is body cannot derail the
  clear. Pennsylvania submitted one             Laken by elected and appointed offi-          constitutional rel:lponsibiliLy thaL lies
  slate of electors. as chosen lJy the vot-     cials in Pennsylvania. which have led         in front of us.
  ers of the State. The slate was cerUfied      to a hi.gh level of distrust, for this past      This has always been about uphold-
  according to State law. Now those law-        election.                                     ing the Jaw. It has always been about
  fol results must he count.ed and an-             \X.'e have the United States Constitu-     protecting government- of. by. and for
  nouncetl.                                     tion, which is Lhe reason we have been
                                                                                              the people. Preserving the rule of law
      Despite disinformation and any num-       and will continue to be a i,,"reat country
                                                and a country of laws.                        is more important than ever.
  ber of false ulaims that you may have                                                          We musL acknowledge t-hat unconsti-
  heard. including here today. as former           The U.S. ConstituLion is unambig-
                                                uous. Madam Speaker. in declaring             tutional acts unduly impacted the
  AHorney General Ban· said: ··we have                                                        Presidential election in Pennsylvania.
  noL seen fraud on a scale that could          that State legislatures are the entity
                                                with the authority Lo set election pro-       Contrary to law. the supreme court ex-
  have effected a different outcome in                                                        tended the deadline for mail-in ballots
   t,he election:·                              cedures and to enact any changes to
                                                election law. Article I. Section 4.           for 3 days beyond the election day.
      This is not simply a conclusory                                                         Contrary to law. the secretary of the
  statement,. The results of the election       Clause 1 states: --The times. places. and
                                                manner of holding elections . . . shall       Commonwealth discarded mail-in bal-
  have been litigated. The record is                                                          lot signature verification safeguards.
  clear: 'I'he lawsuits challenging the         he prescribed in each Sta.Le by l,he leg-
                                                islature thereof.··                           These leaders took advantage of a
  election results failed. They failed be-                                                    deadly pandemic and seized the State
                                                   The authority of election procedures
  cause there is simply no evidence to                                                        legislature's rightful authority.
                                                lies with the Stat.a legislature. period.
  support these baseless claims.                   In Pe1msylvania, this authority was           I took an oath to uphold the law and
      Now. it is one thing to tweet a belief.   indisputably usurped by the Pem1syl-          defend the Constitution. I pledged to
  quite another to provide actual evi-          vania Governor's office. by the Penn-         protect free and fair eledions. I can-
  dence. These cases failed because there       sylvania secretary of state. and by the       not. in good faHh. certify electors that
  is no evidence. Juclges ruled in the law-     Pennsylvania Supreme Court.                   were selected under an unlawful proc-
  suits that the 2020 election was souncl.         These unlawful actions include. but
      It should come as no surprise that                                                      ess.
                                                are not limited to. accepting ballots            I will object to the electoral college
  Republican officeholders have recog-          past 8 p.m. on election day; incon-
  nized the election results as legitimate                                                    certification to protect, the will of
                                                sistent application of verified signa-        Pennsylvania voters. to uphold the
  and accurately determined in an elec-         ture requirements for in-person ballots
  tion that was conduded safely. se-                                                          law. to restore trust in our electoral
                                                versus mail-in ballots: authorizing the       system. and. ultimately, to save our
  curely. and with integrity.                   curing of mail-in ballots wiLh less than
     We all take an oath to support and                                                       ConsLil-ution.
                                                24 hours· notice. leading to incon-              At GetLyslJurg. which is in my dis-
  defend the ConsLHuUon. As we near             sistent, preparedness between counties:
  the end of the task before us, let"s re-                                                    trict. President Abra.ham Lincoln
                                                and authorizing the use of unsecured          spoke about the great task of ensuring
  member the beginning of the Constitu-         drop boxes. which is noL permitted in
  tion. Before Article II and the 12th                                                        government by, of. and for the people
                                                statute.                                      shall not perish from the Earth.
  Amendment. which spell out the elec-             If such unlawful actions are to he ac-
  toral college. and before Article I.                                                           Mr. MICHAEL F. DOYLE of Pennsyl-
                                                cepted. what do we have to look for-          vania. Ma(lam Speaker. I rise in opposi-
  which creates Congress, the Constitu-         ward to next. year? The Pennsylvania
  tion begins with the preamble. The pre-                                                     tion.
                                                secretary of state allowing online vot-          'I'he SPEAKER. The gentleman from
  amble is short and bold: "'We the peo-        ing because it may be raining in Phila-
  ple:·                                                                                       Pennsylvania is recognized for 5 min-
                                                delphia? IL was a free-for-all.
     The people spoke in historic mun-             Madam Speaker. it, was back in 2005        utes.
  llers. Their voles have been counted.         when then-Minority Leader PELOSI.                Mr. lVIICHAEL F. DOYLE of Pennsyl-
  Their choice is clear. Il is time. as the     while leading 31 DemocraLs as they ob-        vania. Madam Speaker. nearly 7 mil-
  law requires. to announce the sLate of        jected to the Presidential elector cer•       lio11 Pennsylvanians showed up to vote
  the people"s vote.                            tificaLion. as t.hey di(l in Lhe lasL three   in l-he 2020 elections. They cast. !,heir
     The violence a.nd disorder inflicted       Presidential elections when a Repub-          votes for Democrats and Republicans
  on our democracy by seditious rioters         lican won. stated quite well. actually:       up and down the 1Jallot. including the
  today is an indication of why adher-             The Members of Congress have               entire U.S. House delegation. the en-
  ence Lo our Constitution is so vit,al.        brought this challenge and are speak-         tire State house. half of the State sen-
     I urge all of us to stand up for law.      ing up for their aggrieved constituents.      ate. and other State and local races.
  for democracy. for our Constitution.          many of whom have been disenfran-                Since the election. there have been
  and lo stand up for America and reject.       chised in this process. This is their         allegations of widespread election
  this objection.                               only opportunity t,o have this debate         fraud in Pennsylvania; but. remark-
     M1·. MEUSER. Madam Speaker. I rise         while the country is listening. and it. is    ably. the 20 suits filed by the Trump
  t.o support the object.ion.                   appi:opriate to do so.                        campaign. Pennsylvania Republicans.
     The SPEAKER. The genUeman from                Thank you for those wordl:l. Madam         and others cha1le11g-ing- the result~ in
  Pennsylvania is recognized for 5 min-         Speaker. They were appropriate then.          Pennsylvania have neve1· claimed that
  utes.                                         as they are now.                              there was vot,er fraud.
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                     G 0040                      illogical and inconsistent. colleagues.      thority of the State legislature. Fur-
     Perhaps that is hecause at.tornevs          and I am pleased to note l,hat the Su-       thermore. tJ1e ellief law offiee1· of the
  could lose their licenses when th~v            preme Court rejected it as wen.              Commonwealth sat idly while this
  make unsubstantiated claims in court.             The fact is, the election has received    process unfol<led.
  That is where the rubber reallv meets          unp1·ecedented scrutiny in the court.s. I       Now. I joined many of my colleagues
  the road.                         '            believe it is irresponsible and umlemo-      in Pennsylvania requestil1g the leg·isla-
     So if the.se lawsuHs didn'l claim elec-     c,·ati<: to a1·gue today that t,he U.S.      tors in Harrisburg condud an inves-
  Lion fraud. what did they claim?               Congress ought to relit.igat,e t.he 2020     tigation and audit to ensure such neg-
     Most of the legal challenges to the        Presitlentfal election and second-guess       ligence will be preYented in future elec-
  Presidential election in Pennsylvania         the will of the voters in multiple            tions.
  quesUon relatively small numbers of           States. the decisions of numerous                I have serious concerns about how
  ballots that were allegedly tainted by        State and Federal courts, including the       these in•egula1ities in the application
  technical violations. Even assuming-           Supreme Court. and the coUllts and re-       of the Commonwealth's election laws
  that all of these ballots had been cast       counts conducted by State election of-        will play in fut,ure elections. Only wiLh
  fol' Joe Eiden. throwing them out             ficials.                                      equal applicalion of law will lhe voters
  wouldn't have changed the result of the           There were 20 lawsuits filed in Penn-     of the Commonwealth of Pennsylvania
  elect.ion.                                    sy1vania challenging aspects of the           have certainty in Lheir election proc-
     Now. one exception is l-he lawsuit,         Presidential election. In 19 of Lhem you     esses.
  filed h~- one of our colleagues from          got laughed ouL of court. The one case           Now. I remain committed t,o ensul'.ing
  Pennsylvania. Kelly v. Commonwealth.           you won affected roughly 100 vot,es. Joe     the voters receive an electoral system
  which would have Lhrown out all the            Biden and KAMALA HARRIS won by over          they deserve and where equal applica-
 mail-in votes cast in the 2020 general         80.000.                                       tion of law is guaranteed. If our elec-
  elect.ion on the grounds that Act 77. lhe         Mr. THOMPSON of Pennsylvania.             tion integrity is compromised. we have
  State law allowing those votes. was un-       Madam Speaker. I rise t,o support, the        failed the very voters who have sent us
 constitutional. TI1at suit would have          objecl-ion.                                  here to c1efend lhe Constitulion.
  disenfranchised 2½ million Pennsylva-             The SPEAKER. The gentlemal1 from             Madam Speaker. I yield to lhe gen-
 nians. Let:s let, that sink in, 2'h million    Pennsylvania is recognized for 5 min-         Lleman from Maryland (Mr. HARRrnJ.
  Pennsylvanians would have had t.heir          ut,es.                                           Mr. HARRIS. Madam Speaker. I
 votes nullified.                                   M1·. THOMPSON of Penn.:,~,lvania.         thank the gentleman for yieliling.
    Now. I want to provide my colleagues        Madam Speaker. I rise this eve11ing              The oath I took is very simple.
 with some background about the State           wiLh a heayy heart. The Yiolence lhat         Madam Speaker. you adminisLere(l it..
 law at the heart of this challenge. In         occurred toc1ay at the U.S. Capitol was       It is to support and defend Lhe Con-
 2019. the Republican-controlled State          senseless, destructive. and counte1· to       stitution.
 legislature approved Act 77. a bipar-           our American values.                            Now. as you walk back lo the office
  tisan hill to reform the State·s election         This past Sunday. each Meml)er of         l)uilc1ings. you will walk by thaL wall
 laws. which instituted no-excuse mail           Lhis body Look an oath lo upholrl lhe        U1at has when Lhe yarious Slates ac-
 balioting. Act 77 was supported almosl         United SLat,es ConsLiLution. And while        cepted Lhat, Constitution. Remember.
 unanimously by Republicans in l-he             the pat,h of least, resist.ance. particu-     when a Stale accepts the Constitution.
 State House and State Senate. In facL.         larly following today's events. would         it agrees to accept every part of the
 it was 1manimous in the St.ate Senate          lie to remain silent, my oath lo uphold       ConsULuLion. Ii doesu·t get, l,o pick and
 and all hut two Republicans in t..he           the Constitution does not permit me to        choose.
 St.ate House.                                  maintain silence.                               Penns;vlvania was there when iL was
    Moreover. once this Act was passed.            While systemic Yoter fraud was not        written. They were so en!.husiaslic
 Act 77 had a 120-day period where chal-        something proven. we witnessed a sys-        about the Constitution. they approved
 lenges could be filed against t..he Act if     Lemic failure in Lhe application of          it in 1787.
 people thought, it was unconslit,u-            Pennsylvania's voting law when it               My State. Maryland, is a litlle fur-
  tional. Well. 4 months went by, nobody        comes to the 2020 general election.           ther tlown the wall. 1788. They were
 files a challenge. On June 3. Pennsyl-            In late 2019. the Commonwealth re--       there when it was written.
                                                                                                The clause that gave the legislature
 vania. had their primary under this new        visited and modernized its election law
                                                with Lhe biparusan Act 77. Granted. in        the power over Lhe elections was there
 system. Nobody challenged Lhe pri-
                                                lale 2019, Lhe Commonwealth's legisla..-     when they accepted it. It has been
 mary elect.ion. It was only challenged
 in November. when Republicans didn't           ture did noL have Lhe foresight to an-        there since. How dare Lhe judicial
                                                ticipate how COVID-19 would present          branch or the executive branch of that
 get the result they wanted at the top of
                                                challenges to voting. Despite t,hat. it is   State usurp the legislative authori.t:y.
 the ticket. Not surprisingly. this case
 was dismissed by the Pennsylvania Su-          not up to the Governor. the secretary        That is a clear violation of the Con-
                                                                                             stitution.
 preme Court and an appeal to the U.S.          of the Commonwealth. nor Lhe State
                                                                                                Now. we heard there is no evidence.
 Supreme Court was denied.                      supreme court to unilaterally create            Evidence?
    Another exception is Texas v. Penn-         law.                                            The Pennsylvania Supreme Court
 sylvania. They asked t,he court, t-0 re-          The election abuses to Pennsylvania       unilaterally ext,ended the deadline to
 jed t-he results of the Pennsylvania           Act 77 taken by the Pennsylvania exec-       receive absentee and mail-in ballots.
 Presidential contest in Pennsylvania           utive branch and upheld by the Penn-            Does anybody contest that over here?
 and         several     ot,her       States.   sylvania judicial branch were clearly        Does it say t.he legiSlaLure did that?
 disenfranchising- tens of millions of the      unconstitutional and had an obvious. if         No. it doesn't. It says the court did
 voters. Seven Republican members of            noL major. impact on the 2020 election.      it.
 the Pennsylvania U.S. House delega-            particularly when it comes to the citi-         That is a violation. That is what the
 Uon signed the U.S. House Republican           zens· faith in the electoral process.        'I'exas lawsuit, was all about. We dis•
 brief in support of Texas v. Pennsyl-             Irregularities in Pennsylvania in-        advantage oLher States when St.ates
 vania.                                         cluded: Uneve11 application of the law:      like     Pennsylvania.     t.he execut.ive
    Wllile I feel compelled to point out to     ballot curing; ignoring· signature vali-     branuh and judicial hranuh. eheaL on
 my colleagues that, the same voters            dation requirements: using unsecured         the Constitution; and lhat is what they
 who sent t,hem to Lhe 117th Congress           drop hoxes: accepting ballots beyond         did here.
 cast their votes for the President by          the deadlines: and interfering with cer-        But there is more evidence. Bul wait.
 marking- the ver-y same hallols. whid1         lified poll watcher access. among oth-       there is more. The Democrat secretarv
 were read hy the .-ery same ballot :;can-      ers.                                         of t.he Commonwealth eroded integrit;,
 ner::; and monitored by the very same             The$e act.ions were taken by the          by dismissing- signature authent.ication
 election workers. Yet. our colleagues          Commonwealth·,; Governor and see-            on a ballot.
 who sii.rned the brief only want to in-        reta1·y of st.ate where the Pe1msylvania        Does anyone here believe t.he Penn-
 valid,He t-he Presidential votes. This is      Sup1·eme Court circumvented the au-          $ylvania legisla t.ure woulcl have agreed
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  to create a separal,e syst-em for mail-in          are as clear as they are overwhelming.           Russian eollusion are t,he same people
  ha11ots and in-person ballot-s? That if            The only question that remains is this:          Lrying Lo discredit hardworking Amer-
  you mail it in. you don·t need a signa-            Will t.his House reaffirm our fidelil,y to       ican poll watchers who are risking per-
  ture? But if you vote in person. yot1 tlo          our democracy. or will we end it?                jury by signing affidaviLs confirming
  and it has to be authent.icated?                      I must concede. Madam Speaker. I              massive voter frau<1 in mu1tip1e States.
     Of course not. The legislature c1early          have been naive ahout one subject. I al-           The same fake news who took the
  wouldn't have 8-b>Teed t.o Lhat. Bul that          ways just assumed our democracy                  word of Christine Bla,sey Ford against
  didn't st.op the usurpation of constitu-           would naturally endure. almost as if it          Justice Kavanaugh. who her own
  Uonal authority.                                   was predestined. I never even ques-              friends denied happened. also dismissed
     Madam Chair, I vigoro1L'31Y support             tioned it until the last several years.          the sworn under penalty of perjury ac-
  t.his objection. and I include in the                 T\¥0 centuries ago. one of our Found-         counts from people who witnessed the
  RRCORD t,he objection to counting the              ing Fathers cautioned al,"2.inst this no-        election fraud.
  elect.oral vat.es fol' U1e State of Arizona.       tion. John Adams wrote. --Remember.                The same fact-checkers who Lold you
  additional signers.                                democracy never lasts long. H soon               that Dominion machines weren·t, co11-
    OB,JBC'Tltll\ TO Cotili"T!XG TICE ELEC'T0RAL     wastes. exhausLs. and murders itself.            nectet1 to the internet. and couldn't, be
       Vo1•g,; H)R THE STATE o~· _>\RJZO::-;A        There was never a democracy yet that.            hacked are the same people telling you
               ADD!TI0!\A.L SlGXERS                  did not commit suicide...                        that there has been no voter fraud and
   ,Jeff Duncan SC -3                                   I now realize the wisdom of his               no violations of election law. But it has
   Matt GaeLZ FL 1                                   words. Never again will I take for               been proven that these machines are
                                                     granted our clemoc1-acy. IL must. be             connected and that they can he hacked.
                    C 0050                                                                               We have heard repeatedly argued
                                                     jealously clefended by every generation.
    Mr. BRENDAN I;'. BOYLE of Pennsyl-               Alwa~'S.                                         that objecting to these ba11ot-s is un-
  vania. Madam Speaker. I rise in opposi-               But. :Madam Speaker. despite the              constitutional and violates the rights
  tion.                                              alarm. I feel that our democracy has             of St-ate legislatures. They would rath-
    The SPEAKER. The gentleman from                  heen brought to this breaking point. as          er us affirm fraud and pass the buck
  Pennsylvania is recognized. for 5 min-             we have seen today. Nonetheless. I still         back to Stat-es rather than following
  utes.                                              maintain hope.                                   the process Madison. HamilLon. Jeffer•
    Mr. BRENDAN F. BOYLE of Pennsyl-                    Growing up in Philadelphia. raised in         son. and the Framers of the Constitu-
  vania. Madam Speaker. tonighL. we                  an immigrant family. I was often                 tion designed.
  will not be picking the President. for             brought. doVv-n to visit the historic               When St.ates fail Lo do their job. we
  the people did that on November 3.                 sights. Every summer. without faiL we            are Lhe last line of defense. Congress is
  Rather. tonight. in t-his House. we will           would spend a day seeing Independence            here for lhis exact situation. We are
  decille whether American democracy                 Hall, Congress Hall. the Liberty Bell.           here to be the fail-safe when St-ates
  survives. Let. us be under no illusion.               It was at Independence Hall where             refuse lo protect the people's votes.
  These are t.he st.akes. If this objection          our Nation was declared free and our                By objecting today. we are tellin__g-
  succeeds and lhe will of 7 million Penn-           Constitution born. At the Const.itu-             the thousands of witnesses who signed
  sylvania voters is casL aside. iL will be          tional Convention. Lhe oldest and mosL           affidavil-s that we have their hack. and
  the end of our representative democ-               widely accomplished delegate was Ben-            we will not allow local officials who
  racy.                                              jamin Franklin. one of our greatest              violate their ov..-11 election laws to steal
    Now. there is no reasonable debate               I;'ounding Fathers and my city·s great-          this election from those who lawfully
  about what. happened in this election in           est citizen.                                     voted.
  Pennsylvania. Seven million Penn-                     On the final day. as the last delegates          I :i,,"ield t-o the g·entleman from South
  sylvanians voted. Joe Biden won by                 were signing the Constitution. Frank-            Carolina (l\1r. NORMA:<i'}.
  over 81.000 votes. This was certified in           lin pointed to the painted Sun on the               Mr. NORMAN. Madam Speaker. I rise
  67 counties by bipartisan local-elected            back of the Convention chair. Observ-            today to support the foundaUon of our
  officials. including Republicans. And              ing the painters had found it difficult          democracy, the ConsUtution of the
  every single com·t. whether the judg·e is          to distinguish a rising Sun from a set-          United States of America. This docu-
  a Democrat or a RepurJ1i<.'an. has re-             ting Sun. Franklin went on to say:               ment is the fabric and Lhe solid founda-
  affirmed this outcome.                                I have often, dul'ing the course of lhis ses- tion of a nation we call America. which
    The object.ors. however. claim we do             sion, looked at that Sun without being al>le has been a beacon of hope and a shining
  not know the will of the people because            to tell whether il was rising or setting-. But cit-yon the hill for over 230 yeai.'S.
  the election in Pennsylvania was some-             now. at length. I have the happiness lo know        The words of our Constitulion. as
  how conduct.ed corruptly. Much of                  it is a rising Sun.                              spe11ed out in ArLicle II. Section 1, are
  Lheir objection centers around the                    Madam Speaker. on a day like Loday, very clear when it comes to our elec-
  State law passed in 2019 known a-s Act             when a mob has stormed the Capitol. tions: mandating. not suggesLing. not
  77 that gives voters the option of ex-             and some Members are threatening the implying. but mandatin,g- [,hat St.ate
  panded mail-in voUng. Objectors are                core of our democracy, it <,-an be hard legislatures, not secretaries of Stale.
  alleging that. this law was somehow a              to tell whether for American democ- not State commissions. not county of-
  brilliant plot by Democrats to dis-                racy the Sun is rising or setting. But I ficials. not Governors. but State legis-
  advantage Republicans and rig elec-                maintain my fait11 l,hat tonighL, by an lators presc1ibe the time. place. and
  tions. This is laughable.                          overwhelming bipartisan majorit.y in manner of holding elections.
    Here are the facts. Act 77 was a Re-             Congress. we will uphold Lhe will of                This mandate was not. followed in the
  publican-led efforL in a Republican-               "We the People." and our democracy great State of Pennsylvania. If we
  controlled legislaLure. Literally, every           ·will live.                                      allow this fraud to go on-in a foot-ball
  single Republican in Lhe Pennsylvania                 Mrs. GREENE of Georgia. Madam analogy. the moving of the goalpost
  Senate voted for it. And in the state-             Speaker. I rise (.o support the objec- after the ball has been kicked and in
  house. the vote among Republicans was              tion.                                            the air-the preview of coming attrac-
  105--2.                                               The SPEAKER. The genLlewoman tions will be future elections that do
    Here is what the Republican speaker              from Georgia is recognized for 5 min- not adhere to honest and open voting
  of the Pennsylvania House had to say               utes.                                            ))y ··we the People .. and the loss of our
  a1Jou1 Act 77: This bill does not benefit             Mrs. GREENE of Georgia. I would great Republic.
  one party or the other or any one can-             like to point. out that all the cases that         As a lady told me not long ago. don'l
  didate or single eleclion. It serves to            have been thrown out have been :.-1pit in my face anrt L.ell me it is rain-
  preserve the integrity of every election           thrown out on standing. not the evi- ing. This is exactly what- has happened
  and lift Lhe voiee of every voter in the           dence of voter fraud. I would also like L-o Uie American people in this elec-
  Commonwealth.                                       to point out Urn same people who. for 4 t-ion. In the words of Winston Church-
    So there is no queslion as to the                years. have failed to fi11d a shred of e,ri- ill. when Gre,aL. Britain was under siege
  facts surrounding this election. They              dence t.o convict Presitlent Trump of by Germany. he said: There wm be a
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   time when doing your best is not good           In facL. contrary Lo Lhe asseJ't.ion of      Lhe Pennsylvania Constitution and fol-
   enough. We must do what is required.         my colleague from Georgia across Uie            lowed Lhe letl.,er of the law: buL, unfor-
      And we must do what is required to        aisle. not a si~le lawsuiL in Pennsyl•          tunat.ely, LhaL sentiment, is not shared
   save this great Republic.                    vania a11eged fraud. The genLlewoman            across the Commonwealth.
      Ms. VlILD. Madam Speaker. I rise in       may not be aware of t-his. l)Ut a.llega-          Today. my objection is not about
   opposition.                                  tions of fraud require specificity and          voter fraud: it- is grounded on unconst.i-
      The SPEAKER. The gent1ewoman              detail. and no lawyer could risk his or         tutional measurE>.s t.aken by bureau-
   from Penns~1 lvania is recognized fOl' 5     her license to make such false claims.          crats anc1 partisan just.ices in the Com-
   minutes.                                        I am heartened that seyeral of the           mouwealth of Pennsylvania that have
      Ms. WILD. Madam Speaker. as t,er1i-       country's leading Republicans. includ-          unlawfully change<l how t.his election
  fyi11g as today was here in the peop1e·s      ing Senate Republican Majority Leader           was carried oul. This potentially
  House. il was. thankfully. fairly short       McC0)!XELL. Senator MITT R◊:VI:S:EY.            changed Lhe outcome and certainly
   in dui·ation. In contrast-. the pain and     and former Republican Speaker of the            caused millions of our States· voters to
  fear that so many Americans are expe-         House Paul Ryan. have spoken out                question the election results. Other
  riencing this year has been long and          against t11is political slunL.                  speakers have outlined this issue.
   continuous to this very moment.                 Senator Ro::.n,l!."Y said: ..The egregious     In brief. the Pennsylvania State Leg-
      Rather than pitting Americans             ploy to reject electors may enhance the         islature. in 2019. passed a bipartisan
  againsl Americans, as we are here. we         politfoal ambition of some. buL dan•            election law reform hill. and then the
  should he working to e11SU1'e rapid dis-      gerously threatens our democratic Re-           partisan Pennsylvania Supreme Com·t
   l-ribuUon of vaccines and adequate re-       public.•·                                       look it upon themselves to rewiite
  1ief to Americans who are strug<6 li11g          And as former Republican Represent-          that Jaw just 7 weeks before the elec-
  economically because of this horrific         alive Charlie Dent from my distr•ict            tion. They unlawfully legislated from
  pandemic. But. we are not doing that.         said. the claim by t.he President of            the l>ench and made substantive
  Instead. we have witnessed a stU1ming         voLer fraud in our SLat.e •·was simply          changes to the law. including allowing
  assault on our democracy itself.              reprehensible: the trut.h is Lhat he sup-       for unsecured drop boxes and ordering
      This challeng-e is not an act of patri-
                                                pressed his own vote by discouraging            thaL ballots received after the elect.ion
   otism. The position of the objectors is      mail-in \'Otillg."                              he counted. among other things.
  comp1etely incompalible with patriot-            And as Pennsylvania siate Senat.or             The Pennsylvania Seeretary of SLat.e
  ism.                                          Gene Yaw. also a Republican. has said:          took it even further. Her unilateral.
      Our country is defined by her great
  people. and our democrac~- is defined         "MY quesLion is. if the mail-in vot,ing         unconstitutional changes resulted in
  above all else by our Constitution. a         of AcL 77 was so bad, why did The               counties treating ballots differently so
  Conslilution that these individuals           Trump Organization send out a mail-in           thaL some voters had the opportunity
                                                ballot application to every registered          to change mail-in ballots Lo eorrect de-
  want to ignore because they have de-
  cided that their judgment. the judg-          Republican in the State? ..                     ficiencies, while in other counties.
  ment of a small minority of partisan             Today, I am Lhink:ing of all of the          their ballots simply were not counted.
                                                people who took the time to do their              _I\J, Members of Congress. we serve as
  elites. should somehow override that of                                                       a voice for our constituents. This is the
                                                civic duty and vote. many standing· in
   lhe more than 155 million .Americans                                                         one time I have a voice in this process.
                                                long lines or painst.akingly researching
  who participat,ed in this election. That.
                                                how Lo vote by mail con-ecLly.                  and I cannot simply look away when
  my friends. is not democracy.
                                                   We reject these disgraceful auacks           tens of thousands of my constituents
                     C 0100                     on the voters of Pennsylvani:,. and Lhis        ha\'e rea1 and legitimate com-erns   ..
      \Ve should all remember this coun-        atl-empl to throw out their votes.              about how this election was conducted
   tr•y·s founding was a rejection of mon-        To those in this Chamber who may              in Pennsylvania.
  archy. a rejection of the notion that         cynically believe that stoking the                In fact. I think an inadequate re-
  any one person could be all-powerful.         forces of disinformation and diyision           sponse to those concerns by Pennsyl-
  Our commitment to self-determination          may be wortll a short-term benefit to           vania officials is one of the major prob-
  'is what gave rise Lo our Declaration of      their political careers. I would urge se-       lems. Simple measures like audits
  Independence and our Constitution. It         rious self-reflection.                          should be routine and random and sup-
  is why our Foui1ders made the choice            Our democracy is one of the most              ported by both parties. and I believe
  to build a country anchored in respect        precious resources of the American              they are critical for restoring faith in
  for the rule of law rather than one tied      people. protected against enormous              Pennsylvania's elections moving for-
  to the whims of men. It is why we have        odds and at great sacrifice by each gen-        warcl.
  free and fair elections that allow us to      eration of servicemembers and every-              The bottom line for my constituents
  vote out those who hold office.               day citizens who put their lives on the         is that Pennsylvania's officials. at all
     I am proud Lo join the vast majority       line to build a freer and more equitable        levels, failed to conduct a uniform and
  of my colleagues in both Chambers. Re-        nation. They deserve better than what           legal election. and for that reason.
  publicans and Democrats alike, in             is happening in this Chamber today.             they inappropriately and unlawfully
  making i l clear t.hat our democracy is         Mr. SMUCKER. Madam Speaker. I                 certified the State's electors.
  bigger than any of us.                        rise today in support of the objection.           Madam Speaker. I yield the balance
     Let·s be clear; Joe Biden and KA:.\!ALA      The SPEAKER. The genLleman from               of my time to the gentleman from
  HARRIS won a victory of 306 electoral         Pen11Sylvania is recognized for 5 min-          Pennsylvania (Mr. KELLER). my col-
  votes in the electoral college. the same      utes.                                           1eague.
  margin trui.t President Trump won by            Mr. SMUCKER. Madam Speaker. I                   Mr. KELLER. Madam Speaker. I
  in 2016 when he ca1led iL a landslide.        would like to start by making two               thank t.he gentleman from Pennsyl-
     Nearly 7 million of my fellow Penn-        basic points:                                   vania (Mr. SMUCKER) fOt' yielding.
  sylvanians braved t-his devastating             Number one. indi\'idual States who              Madam Speaker. Lhe violence that
  pandemic and economic cri,sis to casl         administer elections musL ensure that           occurred in the Capitol today was
  their ])allots. culminating in a total        they are conducted fairly, uniformly.           shameful. unacceptable. and un-Amer-
  turnout, of more than 70 percenL. the         and in accordance wiLh t-he law; and            ican. We are a nation of la.ws. not law-
  hig-hest in the histon.r of the Common-         Number two. every American wants              lessness. and we will ne,rnr give in to
  weallh of Pennsylvania. ..;.nd nation-        to be. and deserves t.o be. confident           the mob.
  wide. we saw record-lJreaking turnout.        that- our elections are secure and that.          Thank you to the men and women of
     Both in Pennsylvania and nationally.       all elig·ilJle leg-al votes are count.ed ac-    our Capitol Poliee and other law en-
  the President:l-1 efforts to overturn the     curaLelv and in a transparent manner.           forcement agencieR who herokally df:'-
  election resull,s in the courts failed re-      And I will say tllis. In my district in       fended this building.
  soundingly. wi Lh many of the strongest       Lancaster and York Counties. I think              The criminal behavior we witnessed
  rebukes coming· from judges the Presi-        that occurred. I am very proud of my            today does not erase the facls before
  dent. himself appointed.                      comity elect.ion officin.ls. •who upheld        us.
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  H104                                  CONGRESSIONAL RECORD-HOUSE                                              January 6, 2021
     I am objecting to the certification of       Instea.d of using this time to dispute                      C: 0110
  Pennsylvania·s electoral votes because       the results of our fair aml lawful elec-      Tog·el-her. they exceeded their au-
  Governor Tom Wolf. Secrel.ary of State       t-ion. we should be spending this time      thority by extending the deadline for
  Kathy Boockva.r. and the Pennsylyania       making sure vaccines are quickly given       absentee ballots and by waiving signa-
  Supreme Court violated the St.at.e leg-      to essential workers and our most vul-      ture requirements for those ballots.
  islature·s clear constitutional author-     nerable communities. that people are           In their haste to make these changes.
  ity to set elect-ion proceedings.           getting housing.                             the secretary and the court created
     Under Lhe Pennsylvania Constitn-             We should look at rental assistance.     two different and unequal standards fo1·
  Lion. only the General Assembly has         We should ensure that. that. is a,rail-      voters. Pennsylvanians who chose to
  the power to set election law.              able.                                        vote in person still had t:o have their
     AddHionally, Article 11 of Lhe U.S.          Small businesses. the engines of our     signatures verified aL Lheir polling
 Constitution explicitly grants State         economj'. should be getting needed           place. but l-hose who chose to vote by
  legislatures, not the Governor act.ing      grants and loans.                            mail did not. How is this process fair?
 alone and not the courts. the explicit           That should be our focus.                  This objection is ahout, Pennsylvania.
  power to determine the manner of ap-            Hospitals desperately need support       hut it, affects every State. As a State
  pointing Presidential elect.ors.            and help. We should be paying· atten-        Representative of New Mexico. Penn-
     Pennsylvania·s court unla.wfully ex-      tion to t-he needs of hospi ta.ls.          sylvania·s unconstiLuL-ional actions dis-
  tended the deadline to receive absent,ee        We are in the middle of a pandemic       enfranchised my constituents and the
 and mail-in ballots. Governor Wolf's         where hundreds of thousands of people        constituent,s of my colleagues. It is my
 administration dismissed signature an-       are dying. and we are in a recessio11        duty Lo give my constituents a voice.
  thentication procednres for absentee        that is put.ting· millions of Americans
  and mail-in ballots. allowed for the un-                                                 Signing these objections raises their
                                              aL risk of hunger. homelessness, or          concerns to the fullest. extent. my office
  even administ.ration of the election        both. It is time we st.art legislating for
 across counties. and unilaterally                                                         a1lows.
                                              the people.                                     I. again. condemn in the strongest
 changed Pennsylvania·s election code             One la.st person I want to mention is    terms the violence that took place here
 without the Stale legislature's con-         our junior Senator. Senat,or TOOMEY.         yesterday. We have many issues Lo
 sent.                                        There are very few things Lhat he and        sol,re. including reforms lo restore all
    The Constitution is clear and t-he        I agree on. bul he has sk-.ted very
 facts are indisputable.                                                                   Americans· faith in the fairness of our
                                              clearly l,hat Joe Eiden has won this         elections. I look forward to those seri-
    This past weekend. each Member of         elecLion. He has stood up on the Senate
  this body stood in this Chamber and                                                      ous dvil and peaceful debates.
 swore an oath to protect and defend          floor and he bas stated that.                  Madam Speaker. I yield the balance
 our Constitution. I intend to fulfill my         So it needs to be very clear that the    of my lime to the gentleman from
 constitutional oath which the people of      late Governor Thornburgh; Albert             South Carolina (Mr. DUNC'.<\.'<).
  PennsylYania have entrusted in me. M~·      Schmidt. the commissioner: and our             Mr. DUNCAN. Madam Speaker. Lhis
 objection is grounded in the Corn,Litu-      current junior Senator an have one           process we are going through today
  tion and rule oflaw.                         Lhing· in common: democracy first. par-     isn't about personalities. This isn·1.,
    If we allow Lhe Governor to violate        Usanship second. Let·s keep that in         abouL Joe Biden or Donald •rrump. As
  the constitutional rights of the Gen-       mind.                                        hard as some try to paint H l-hat wa~:.
 eral Assembly. what is sLopping him              Ms. HERRELL. Madam Speaker. I            let me say that names and personal-
 from violating the constitutional            rise in support of the objection.            ities don'l matter. This is. gravely.
 rights of the 12.8 million Pennsylva-            The SPEAKER. The Chair recognizes        abouL the ConstituLion of the United
 nians our State legislators were elected     the gentlewoman from New Mexico for          States.
 to represent?                                5 minutes.                                     Almost 20 years ago. after Lhe at-
    Mr. EVANS. Madam Speaker. I rise              Ms. HERRELL. Madam Speaker, this         l.acks on 9111. Americans were per-
 in opposition to the objection.              is not how I imagined my first speech        suaded to give up some of their con-
    The SPEAKER. The gentleman from           in the House of Represent.atives or my       stitutional liberties. Using the jus-
 Pennsylvania is recognized for 5 min-        first week to be in Washington.              tification of that global crisis. the ter-
 utes.                                           The violence that occurred in this        rorist attacks on that fateful day.
    Mr. EV A.L'IJS. Madam Speaker, I rep-     building :resterday is reprehensible and     America saw the erosion of their lih-
 resent. the Third District of Pennsyl-       inexcusable. I am appalled by anyone         ert.ies for the safety and security many
 vania. which includes part of Philadel-      who assaults our Nation·s law enforce-       felt they may receive through the USA
 phia. Lhe birthplace of An1erica. It was     ment officers.                               PATRIOT Act and other resull-ing
 in Philadelphia that the Constitution            I swore an oath on Sunday to support     processes too many felt would keep us
 of the United States was written and         and defend t-he Constitution of the          safe from another attack here on our
 signed. Lhe very Constitution that we        United St.ates. We are here Laday de-        shore.
 are an sworn Lo uphold as Members of         layed. but not, <let.erred. to debate a        This year. using the justification of
 the House of Represent,atives,               constitutional question and follow a         the global pandemic. COv"ID-19. we
    We are elected t,o serve our constitu-    consLi LutionaJ process.                     once again saw our NaLion·s Constitu-
 ents. and it is our job to represent            The Const.itution gives State legisla-    tion violated. You see. the Constitu-
 them and Lheir interests in Congress.        tors. not State executives or judges.        tion is clear in Article IL Madam
    Yesterday. I spoke Lo the son of the      the sole auLhority to determine how          Speaker. that the power and duty to
 late Dick Thornl)urgh. who is a two-         their St.a.Le selects Presidential elec-     set the manner of national elections
 time Republican Governor of Pennsyl-         tors.                                        rests solely with the St.ate legfalat.ures.
 vania and was Atlorney General under            Nobody disputes that in Permsyl-            That power doesn't rest with us. Thal
 President Ronald Reagan and Presi-           va11ia. as well as in other Stat.es. rules   power didn·t rest. in the hands of
 dent Bush. His son st,ressed to me that      and regulations were changed by execu-       unelected count.y election officials. sec-
 his father would have wanted the rule        t-ive fiat or judicial edict.                retaries of state. or a supreme court.
 of law to prevail regardless of the polit-      These changes were significant and        but. rather. in l-he hands of Lhe St.ate
 ical outcome. because he cared more          irreg1.l.1ar. They included changes to       legislalures. which pass laws set.ting
 abouL the &1,feguarding of democracy         vote-hy-mail deadlines. Wenlity verifi-      Lhe manner of elections held in their
 than partisanship.                           cation requirements. and other ha11oL        Slat-es.
    111 ad<lit.ion. Al Sclunidt. who was a    handling practices.                            This :,rear. using the extraordinary
 Republican commissioner of elecUons.            In Penns.ylvania specifically, Lhe        circumstance of the COVID-19 pan-
 said. when Philadelphia certified its re-    Democml- Secretary of the Common-            demic. we witnessed these duh' passed
 sults on November 23: ··rm proud that        wealth and l-he Democrat-controlled          laws circumvented and usurped lime
 lhe hirthplace of our Republic held lhe      Pennsylvania Supreme Court usurped           and again. nol b.v having the law"
 most- transparent and secure election        the consUtutional aut-hority of th€'         changed in the respecLive State legisla-
 in the history of Philaclelphia. ··          St-ate legislature.                          tive bodies. hul- those laws ar!Jit.rarily
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   and unilaterally changed hy cotrnty            so l,oo musL the vot,es for President-             t.ruth. They inspire confidence and
   cle1·ks: sec:reLaries of state: and. in lhis   elect Biden.                                      unit,y rather than sowing- division and
   case of Pennsylvania. an elected su-              We have also heard today concerns              strife. There is a striking· parallel be-
  preme court. which is supposed Lo in-           about. mail-in ballots. I am not a law-           tween our nascent, country and what
   terpret the law. not make law.                 yer. hul I am an engineer and. there-              they endured in Valley Forge and whaL
     \Vhen those nonlegislalive entities          fore. a student of numbers. It wasn't             we are enduring- right now: A hard win-
  change the laws without g-etli:ng the           just Democrats who voted by mail. It               ler of division. illness numing ramp-
  g·eneral assemblies to change the law.          was not a free-for-all. as it- was de-            ant,. and an uncertain fulure.
  in my opinion. the resulting ballots            scrihecl earlier. Madam Speaker. 600.000             Today. our colllltry's resolve is heing-
  east. either by mail or in person. those        Republicans in Pennsylvania across the            t.ested. and I know that we will pass
  hallots were illegal under Lhe law.             State voted l)~• mail. By questioning             this test t-ogether and be made strong-
     Illegal ballots should not be counted.       the election resulLs, you are telling             er. We now have the opporlunity and
  Therefore. the resull-ing electoral votes       those Pennsylvanians that the hours               the responsibility to do l,hal lonighL by
  should be considered invalid.                   l-hey spenL in line to cast their ballot          upl1olding tlle wm of the people. by
     What bothers me is that so many of           or the trip lhey Look Lo the post office          voting to certify the results of this
  you at·e okay with t11at. that so many          in l-he middle of a pandemic just didn't          electoral college and by moving for-
  Americans. because their person won.            maLt-er.                                          ward wH-h a servanl heart and a com-
  you are okay with the manner in which              Alan Novak is a man who served as              mon resolve to preserve this great ex-
   that victory was gained.                       t.he chair of the Republican Party in             periment that is t11e United States of
     It is politics. Look, I get it. But we       Pennsylvania for nearly a decade. I will          America.
  didn't swear an oath to play politics.          say that again. The Chair of Lhe Repub-              Mr. BABIN. Madam Speaker. I rise in
  We swore an oat.h to the United SlaLes          lican Party of Penniwlvania for a clec-           supporL of U1e objection.
  ConstituLion. As George Washington              acle is one of Lhose voters I am talking             The SPE.A..KER. The gentleman from
  said: The Constitution is the guide             ahou L i.n Pennsylvania. He lives in my           Texas is recognized for 5 minut-es.
  which I will never abandon.                     district. and he split his ticket. He                Mr. BABIN. Il- is with great pride and
     Ms. HOULAHAN. Madam Speaker. 1               votec1 for me as his Member of Congress           a profound sense oi respo11sibilit~r that
  rise in opposition to the ohjecLion.            and also for President Trump. And he              I object to the 2020 elecLion in the
     The SPEAKER. The gentlewoman                 elo().uently said:                                St.ate of Pennsylvania.
  from Pennsylvania is recog11ized for 5            \vnat makes America great. exceptional.            I am very proud to stand alongside
  minutes.                                        and emlm·ing ls our commitment to our gov-        fellow patriol,S who have pushed l)ack
     Ms. HOUL.i\HAN. Madam Speaker.               en,ment. of laws. our orderly constitutional      against a fraudulent and criminal elec-
  first. I (10 want to acknowledge the            prOC<'SS that. settles om· election di8Pll tes.   tion process-a process that was the
                                                  and our peaeeful transfer of power with re-       ant-ithesis lo the very rule of law that
  devastaUng events of the last- 12 hours
                                                  spect and civility, It is easy when it i~ preUy
  and to express my deep appreciation             and t11e outcome i.s; not controversial. But      governs Lhese United States.
  for lhose who have worked to secure             when il is not pretty and there is eon-              At the same time. st-anding here to-
  this building and safeguard our democ-          tr0Yersy. then it is even more important          night is surreal because this is a crit-
  racy, On behalf of my colleagues, we            that we respect.. honor. and abide by our re-     ical juncture that will undoubtedly de-
  are all grateful for your service.              vered and tested process for the orderly          termine Lhe survivability of t,his g'l'e.at
     I ran for this office on a platform of       tran.-,fer of power. Perhaps that may be all      Republic.
  civility and decency, and many of my            that we can ag1-.ae on. and it is the need for       Our free and fair election process--
  colle~<>Ues anfi constiLuents know that         grace, respect.. and civility.                    and by extension, the people's trust in
  I am a third-generation veteran. and I             So I ask my colleagues across the              its legitimacy-is what has separated
  g-rew up in a milil.ary household.              aisle; Are you willing t-o disenfranchise         us as a nation. A process that we have
                                                  people like Mr. Novak and the more                shared with the world, its moral force.
                      C 0120                      than 400.000 people in Pennsylvania's             A process Lhat now. sadly. has been
     Madam Speaker. what you may not              Sixth District?                                   bastardized by those more inLerested in
 know. though. is Lhat I grew up in a di-            Perhaps some of (,he independent, and           the maintenance of power than they
  \rided household. Throughout my child-          pragmatic spirit that is so prevalent.            are in the free and open voice of the
 hood. one parent voted Democrat and              among voters in my community comes                American people.
  the other Republican. In my purple              from the history of the place that we                If I remember correctly, Democrats
 household. I learned that duty to coun-          call home. Many Americans have vis-               were calling for transparency in 2000
 try was far more important than party            ited Philadelphia and our historic                and 2004. when George V-,i. Bush was
 allegiance. With each election. my fa-           sites. but very few make it out to my             elected: and again in 2016. when Presi-
  ther would say: "And when the election          community. which is the home of Val-              dent- Trump took office.
 is done. we salut.e smartly and we carry         ley Forge. Here, General George Wash-                Where are you nmv'?
 on:·                                             ington led the Continental Army to                   I ask this. Madam Speaker: 'What do
     Now I live in and I serve in a commu-        winter quarters. The war had not been             you have Lo lose by having a thorough
 nity that has a lot in common wilh the           going well for our young soldiers. and            invesLigaLion Lo determine the validity
 home that I grew up in. It. too. is a            that winter was harder still. It was bit-         of these votes?
 purple place that honors civility and            terly cold. and food shortages and                   Why not encourage an investigation
 decency, Pennsylvania·s Sixth District           smallpox were abundant. Many people               t-0 relieve the concerns of ha.If of Lhe
 is, in many ways. a microcosm of the             die(1.                                            people in this country?
 Commonwealth and of our Nation. Our                 We remember what happened there                   If you are so convinced that Eiden
 voter registration in Chester County is          because it was a test of our endurance.           was elected legitimately. what do you
 40--40-20. R. D. and I. Volers across my         a demonstration of devotion to mission            have to fear?
 district commonly split their ticket.            and to our count.ry over ourselves.                  If there was no fraud. simply show us
 some voting for President,..elect Eiden          Coming out, of LhaL- awful winter expe-           the proof. Investigate it. Validate it.
 while also voting do..-:n the ballot for         rience. our troops emerged better                 This isn·t about one candidate versus
 Republicans for our State legislature.           Lrained. united. and ultimately vic-              another. This is about uphold.in._,; Lhe
    What. some of my oolleagues are ar-           torious. In those harsh. dark times.              principles that are indispensable Lo the
 guing today is Lhat. those ver:v ballots         they found their common ground and                existence of the democraLic Republic
 are illeg"itimate. My colleagues cannot          their fortitude.                                  that we are so fortunate to call home.
 honesLJy believe that. In fact. just this          Just like then. il is in these tryi.o.g-           I have no doulll- thaL there was wide-
 week they joinecl me on the House floor          moments when we learn who our lead-               spread election fraud Lhis past Novem-
 to be sworn in lo this hallowed llody.           ers truly are. They are t,he one;; who            ber. and I am not alone. 1 starn1 here
 ,,ml they trusted that the votes east in         don't, just represent the peoplt> or give         today speaking for 75 million Ameri-
 their favor were legitimate. And they            orders or ready us for a fighl-. They are         c:ans whose voice was unconstit,ul-ion-
 are rig-ht. If those votes counted, then         those who educate and who sl)e11k                 ally silenced.
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  H106                                   CONGRESSIONAL RECORD- HOUSE                                              January 6, 2021
    To you. the silenced. I say this: I w.m Ms. DEAN. Madam Speaker. this is a The                     SPEAKER. The gentlewoman
  continue Lo fight fo1· you. You have          sad da~, for America-a day of shame. a       from Florida is recognized fo1• 5 min-
  been heard. }'or more than 240 years.         day of ignominy. an attack on Lhis           utes.
  tyranny has soughl t.o extinguish the         Capitol. an al-tack on our counL1T,             Mrs. CAlYlNlACK. Madam Speaker. as
  1ighl- of freedom.                               Madam Speaker. our words matt-er.         a new Representative here. I did nol
    As Ronald Reagan said before: Pree-         Mobs. thugs. insurrectionists. domesUc       envision my first speech on the House
  dom is a fragile thin._g-. and it is never    teiTorists attacked our government           floor Lo he this. here tonight. but rath-
  more lhan one generation away from            with the aim of attacking our free and       er. a tribute to our first responders and
  exUnct,ion.                                  fair elections.                               front-line workers who have been a
    The Const.iluLion and Lhe Bible on             Make no mist.ake. these terrorists        shining light in an othenvise toug-h
  which it stands is stronger than the         came armed. armed with false flags:           year for us all.
  cheap lyrannical tactics of those who        armed with hate; armed with weapons:             After the events tonight. I am espe-
  seek to destroy i L                          and. tragically. armed with lies force-       cially grateful for our men and women
    Madam Speaker. 1 yield to the gen-         fed Lo them hy those at the highest           who put service above self. confronting
  lleman from North Carolina (Mr.              level of government. including some           lawlessness and danger while pro-
  BUDD).                                       from the legislaUve and. yes. the exec-        tecting t-his very Chamber. its Mem-
     Mr. BUDD. Madam Speaker. mob vio-          utive branches. InciLed by the one at        bers. and our constitutional Republic.
  lence is not representative of our coun-      the highest level of government. they           As a Member of Lhe people's House.
  try or of t,his building. The American       atiacked people. property. this Capitol.      and the wife of a first- responder. thank
  people-al least the ones who are still        this cathedral of democracy.                 you to our law enforcement- here today.
  up wat.ching right now-have seen this            Words matter. In his last words to        But. especially. aft.er t-onigbt·s unac-
  body return Lo a peaceful debate. And         our Nation and to ali of us here. our        ceptable breach of the people's House. I
  L-hat is the American way. So Iet:s get      dear colleague. John Lewis. vlrote last       am furthermore resolved in the fact
  hack t,o that debate and let ·s talk for a   July: ··Democracy is not a state. It is        Lhat we. as represent.atives of Lhe peo-
  moment about Pennsylvania.                   an act:· And each generation has an           ple. must. Lake a stand for every Ameri-
     For decades. absentee vot.ing was re-     obligation Lo preserve its institutions.      can's right to a free and fair election as
  served for members of the mili t,ary and         Democracy is a series of acts. acts hj'   guaranteed by the Constitution.
  cit-izens who are medically or phys-          you and by me. by citizens. one lmild-          Article I. Section 4. Clause 1 of the
  ican~, unable to g·et to the polls. But in   ing upon the other and another-not            Constitulion explicitly rests the Lime
  2019. Pennsylvania dramatically in-          acts LhaL we have heard and see.11 and        and manner of our elections in the
  creased the amount, of ballots LhaL          suffered today. words and acts to incite      hands of our St.aLe legislaLures. How-
  would be cast, in the Presidenlial elec-     violence. acts that tear at the very fab-     ever. Stat.e law in the 2020 election was
  t.ion through expanded. no-excuse.           ric of our democracy.                         modified or circumvented without ap-
  mail-in voting.                                 Madam Speaker. yet. I have hope.           proval of the St-ate legislature. These
     On September 17. Pennsylvania's           \Ve. too. are armed. We are armed with        actions are in clear violation of the
  Democrat-controlled Supreme Court             the facts. We are anned wiLh Lhe trut,h.     Constitution. specifically Article II.
  violated the Constitution by extending       We are armed with the love of our             Section L Clause 2. which grants StaLe
  the deadline to receive mail-in ballots.     country. We are armed with our sworn          legislatures t.he sole auLhority Lo es-
  Article II states that legislatures. not     oaths. And we are armed with our pre-         tablish how State Presidential elect.ors
  the courts. deLermine the time. man-         cious ConsLiLuLion.                           are appointed.
  ner. and place of their States· elec•           We have faced tyranny and insurrec-           These changes. along with other elec-
  tions. But Pennsylvania ·s high court        tion before. We are here tonight to her-      tion irregularities throughout the 2020
  direcLed the State officials to assume       ald t,o America and to the world: \'Ve        election. require me. as a Member of
  LhaL non-postmarked ballots were re-         will <lefend our democracy. and we will       t.11is body. to object to the certification
  ceived on time without any evidence          endure.                                       of these electorai votes. just as my col-
  that t-hey were sent before election            Madam Speaker, wllen I came into           leagues across Lhe aisle have objected
  day.                                         work this morning. as I was preparing         to every Republican Presidential elec-
    On October 23. while early voting was      to come to the floor, I read Tom Fr1ed-       tion over the last 20 years.
 already underway. Lhe State supreme           man·s op-ed, which began with the                Tonight, as we Ulldertake Lhe very
 court ruled that election officials did       words from the Gospel of Mark: For            serious responsibility of debating these
 not have to authenticate signatures for       what shall it profit a man. if he gain        State electoral certifications. I urge
 mail-in ballots.                              the whole world but- lose his soul?           my colleagues to listen earnestly and
   To sum it up. Penhsylvania officials           For what shall H profit any man.           with an open mind, remembering that
 illegally did three criUcal things:              Madam Speaker. I urge my Repub-            just 3 days ago. we swore an oath to
    One. they radica-lly expanded vote ])y     iican colleagues to have the courage to       the United States ConstituLion. not a
 mail for virtually any reason.                uphold their oath, courage like that, of
   Two. they removed restrictions when                                                       political part~'.
                                               Congresswoman         Margaret      Chase        Our constituents are counting on us.
 a ballot, can be sent in.
   Three. they removed signature verifi-       Smit.h. a lifelong Republican and the         Our country is counting on us. Our
 caLion on those very ballots.                 first in her party to speak out against       children are counting 011 us. and we
   Just, this week, the Pennsylvania           McCarth;,rism. Putting duty over fear.        cannot let them down.
 Senate pleaded with Members of Lhis           she said: ··1 do not want to see the Re-         Madam Speaker. in December. 25 of
 body to delay certification until the         publican Party ride to polit.ical victory     my freshman collea,,<>ues and I sent. you
 Supreme Court resolves these disputes.        on Lhe Four Horsemen of Calumny-              a letter imploring you to investigate
 The Commonwealth of Pennsylvania              Fear. Ignorance, BigoLry. and Smear.          these election irregularities. To date.
 violaLed their own consLiLution. Tl1ey        Surely. we Republicans aee not that           we have not received a response. That
 violated the U.S. Constitut.ion. They         desperate for vicLory:·                       brings us to today.
 opened Lhe door for thousands of un-             Madam Speaker. for today. we have             My colleagues across Lhe aisle have
 verifiable ballot-s.                          seen l,he cosL of victory by such means.      repeatedly i11voked our Pounding Fa-
   Because they failed to guarantee Lhe        It shook lhe very walls of Lhis building.     ther. Benjamin Franklin. who fa.
 integrity of their votes. I cannot con-       Our colleagues know there is no LruLh         mously said: We have a republic. if we
 sent- to accepting Pennsylvania·s elec-       to this cha.llenge.                           can keep it.
 toral votes.                                     For what shall it profit a man.               I say. let's keep it.
                                                  Madam Speaker. iL has been my sol-            Madam Speaker. it is with thaL senti-
                    C: 0130                    emn honor to parLicipate in Lhis satl         ment- in mind thaL 1 ask my colleagues
   Ms. DEAN. Madam Speaker. I rise in          day. I pray for our count1y.                  to defend Lhe power vested in this leg-
 opposition to the challenge.                     l\frs. CAMMACK. 1\/Iallam Speake!'. I      islaU ve braJ.lCh by the U.S. Constitu-
   The SPEAKER. The gentlewoman                rise to support the objection of the          tion and reject- tJ1e certification of the
 from Pennsylvania is rec01-,>nized for 5      electoral certification of the Common-        electoral volet, of Lhe Stat.e in ques-
 minutes.                                      wealLh of Pennsylvania.                       tion. H h, our responsibility l-o have
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   courage in the faee of adversity and             Matlam Speaker. 1 wanted t-o poinl-            Mr. GRIFFITH. Yes. ma·am. The
  ))l'ing int,egrity back t,o this proeess.      out to all these great lovers and sup-         poinL of order would he that the gen•
     Madam Speaker. I yield the balanee          port.ers of the Pennsylvania legislature       tleman said Lllat there were lies on lhi:,;
  of my lime to the gentleman from the           that, it, was the Republican Pennsyl-          floor here today. looking over in this
  g1•eat State of Texas (Mr. ARRIXGTO~>-         vania legislature that passe(l a Repub-        direction. I ask that those words be
     Mr. ARRINGTON. Madam Speaker. I             lican bill that. they all \•Ol-e(1 for and     taken down.
   thank t,he gentlewoman from the gTeat         supported that set up the system under           We may have a disag1·eeme11t on mat-
   Stat.e of l<'lorida (Mrs. CAM:11ACTIS:l. my   which we just ran the election. and            ters. but-
  friend.                                        l-hat t.he reason the President lost was         The SPEAKER.
     Madam Speaker. as A.mericans. we            because he was nol- as popular as other          The gentleman's demand hs not. l-ime-
  l)elieve governments receive their jusl-       Republicans in our State. He got fewer         ly.
  powers from the consent of t,he gov-           vot,es Lhan all of them.                         The gentleman from Pennsylvania
  erned. That sacred transaction can               Madam Speaker. I wanted to lay out           wil1 proceed.
  only happen legitimately in a free and         all this evidence because I thought it           Mr. L.A.M:B. Madam Speaker. the fact
  fair election.                                 was a sign of respect for my colleagues        is. at- the end of the day. H- hurts. It
     Eleclion int.eg·rily is Lhe very life-      and for all the Amerieans out there            hurts them: it hurts t-his country. It
  hlood of our unrivaled system of se1f-         who don ·t know who t-o trust. I was           hurts an of us. But the fact is that the
  g:overnment. The law and the Constit,u-        raise(l on that. I was raisecl on that re-     people have made this country work hy
  tion g·ave Congress not. only t-he au-         spect. which makes t,his a hard speech         not giving in.
  thority hut.. I believe. the responsi-         for me to give. Because to do this with          Go ahead. Shout iL out.
  l>ilil-Y to serve as the last check on the                                                       One last- thing to say, Madam Speak-
                                                 any kind of honesty means admitting            er. And I thank you for your patience.
  integrity of our PresidenUal elections.        and declaring in Lhis House that these
  We either believe. according to statute.                                                      All people need to know tonight.
                                                 ohjecl-ions (1011·1, deserve an ounce of re-
   Lhat every elector was ··lawfully cer-                                                       Ma.clam Speaker-
                                                 spect---not an ounce.                            Maclam Speaker, the truth hurts. But-
   Lified" and "regularly g•iven:· or we
  don·t..                                                             C: 0140                   the fact is this: We want this govern-
     States certainly have broad dele-             A woman died out there tonig11t. and         ment Lo work more than they wanl- it.
  gated powers to adminisler Federal             you are making these objections.               to fail.
  elections. but Lhey still must operate           Let·s he clear abouL what happened             Afte1· everything that 11as happened
  within the bounds of the Constitution.         in this Chamber today. lnva.ders came          today. we want that more than ever.
     Despite rece1vmg numerous peti-             in for Lhe first- Lime since the War of        Know that-. Know that. the people
  tions-to t-he detriment of the country.        1812. Tbey desecrat,ed these Halls and         watching· at home. We want this gov-
  I might- add-the Supreme Court- failed         this Chamber and practically every             ernment. Lo work. \Ve will make it
  to answer the most important question          inch of ground where we work. For the          work. They will not- make it fail.
  of the 2020 election: Can entities out-        most part. they walked in here free. A                   I'ARLIAMP..1'-"TARY INQUIRY
  side of the State legislatures make            lot of them walked out free. There                Mr. PERRY. Madam Speaker. par-
  election law'?                                 wasn·t a person watching at home who           liamentary inquiry.
     The plain language of Al'ticle II of        didn·t know why that was-because of               The SPEAKER. The genLleman will
  the Constitution answers Lhe quesLion          the way that they look.                        state his parliamentary inquiry.
  unequivocally no.                                My point. Madam Speaker. is this:               Mr. PERRY. When is the appropriate
     The uecisions made today in these           Enough has been done here already to           time to ask that the words be stricken.
  Chambers are of the utmost con-                try to strip this Congress of its dignity.     be taken down?
  sequence. and the horrible precedent           and these objectors don·t need to do              The SPEAKER. Immediately aft-er
  that will be established if we <lon·t act,     anymore.                                       the words are uttered.
  will have lasting impact on our beloved                                                          For what purpose does the gentleman
                                                   We know that t,hat attack today
  Republic.                                                                                     from LoUisiana seek recognition?
     Madam Speaker. this proceeding is           didn't materialize out of nowhere. It             Mr. HIGGINS of Louisiana. Madam
  not just about the integrity of this           was inspired by lies. the same lies that,      Speaker. I rise in support of the objec-
  eleclion. It is about ensuring the integ-      you are hearing in this room tonight.          tion.
                                                 And the Members who are repeating                 The SPE..~KER. The gentleman is
  rity of all future elections.
     I take no pleasure or pride in making       those lies should he ashamed of them-          recognized for 5 minutes.
  my objection Loda;,,,. nor do I wish for       selves. Their consUtuents should be               Mr. HIGGINS of Louisiana. Madam
  any State electors Lo be disqualified.         ashamed of them.                               Spl;laker. my. my. my. Let us take a
  However. hased on the law, the Con-              We know what is going Lo happen as           deep breath. shall we?
  stitution. ancl my conscience, I cannot        soon as I walk away. what has hap-                Madam Speaker. the cornerstone of
  support certifying votes fr-om any             pened all night tonight. what will con-        the strength of our American Republic
  State that violated the Constitution.          tinue to happen. They will take these          is not only the peaceful Lransition of
    Madam Speaker, this decision is not.         same symbols. these same concepts,             power; it is the peaceful transition of a
  about loyally to a President. It is            smuggle them into their argument,s,            lawful power. It is within the param-
  about my fidelity to the Constitution          and make t11e same arguments. 1 want           eters of our oath. indeed. is our duty to
  and the oath that I swore.                     people at home. anyone who is still            inquire if we suspect that perhaps our
    .M.r. LAMB. Madam Speaker, I rise in         watching. to know t,hat these argu-            elecLions have been compromised.
  opposition.                                    ments are not for them: they are for              Much has been said about what we do
    The SPEAKER. The gentleman from              you.                                           not know. What, we do not know calls
  Pennsylvania is recognized for 5 min-            None of l-he evidence we wanted to           for investigation.
  utes.                                          discuss here tonight will change their            W11a t we do know is that. in llle dis-
    Mr. LAMB. Madam Speaker. I came              opinions or whal, they are al)out to say.      puted Sl-al,es. Governors. secretaries of
  J1ere tonight prepared to talk about the       But ;;rou need lo know Lhat is not the         state. or local election commissions
  place I represent- and how well the            end. It is not as if there is nothing we       acted in violation of the Election
  Democratic and Republican county of-           can do because of that. And if there           Clause of the U.S. Constitution. where-
  ficials :ran our election. I wanted to         was. I don't think this Nation would           in State legislatures are granted the
  point ouL that in my home county of            have macle it to' almost 250 years.            sole authority to determine how Presi-
  Allegheny County. in the place l-hey             'l'he fact is, Madam Speaker. t-hal- al      dential electors are appointed. -:IL is
  were eounling- the vo!,es. t-here were 31      Urn end of the clay. people--                  that simple. State exeeuLive officialH
  video cameras-----31-in t-he same place.                     1'01:."T OF nm,ER                usurped t-he constitutionally vei;l.ed au-
  just showing people counting votes.              Mr.   GRIFFITH. Madam Speaker.               thority of St-ate legislalures wi Lhin
  ever;,., single one oft-hem on paper. with     point of order.                                :,several of the sovereign States.
  representatives from hoth campaigns              The SPEAKER. The gent-leman will                Now. why we are involved in Con-
  wakhing.                                       state his point of order.                      in-ess'.' Because the Founders gave u;a a
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  narrow role. If we suspect thal an elec-         The SPEAKER. The gentlewoman               how daims of election miscondm,t are
  tion was compromised in a sovereign           from Pennsylvania is recognized fol' 5        made. It is easy to make wild claims of
  St.ate. l,hen we have a role in the seaL-     minutes.                                      election fraud ou cable television or
  ing of lhose electorn and the counting.          Ms. SCANLON. Madam Speaker. 1              TwiLLer. hut those elaims are not facts.
    America is not a confederacy of             slarted this day disheartened thal our        And while there may be no immediate
  States. We are a union of States. We          co11eagues were going to drag us              consequences for mi,;leading the public
  are a representative repul)lic. There-        through this cynical politkal charade         with such statements. there is cer-
  fore. eauh sovereign State has a deep         of objecting to duly cerLified elecLornl      tainly a penalty for misleading the
  obligation to follow the writ of iLs own      college vot-es. but I was ready and           courts.
  election law during a Federal elecLion.       eage1; to defend Pennsylvania's elec-            A lawyer faces fines. jail. and loss of
    \Ve would not be having· this con-          Lions and the will of Pennsylvania;,;         his 0l' her license f01' making frivolous
  versation if our objections were solely       voters.                                       or false claims. The lawyers for the
  rested upon the elections of sovereign          Never did I expect. to he answering         Trump campaig11 never alleged wide-
  State Governors or State senaLors and         calls from family and friends conce1ned       spread fraud or illegal voting had im-
  represenlatives. It is a Federal election     for my safet;v or to have to barricade        pacted Pennsylvania's elections be-
  for the President and Vice President of       myself in an office. But most. impor-         cause those claims are false.
  the United States. We eert.ainly have a       tant of all. never did I expect to see our       When our colleagues indulge in this
  role. and we should investigate and           Capitol overrun by armed insurrection-        political theatre and endorse fringe
  support that role.                            ists intent on disrupting our govern-         conspiracy theories. they may think
    Madam Speaker. .America is an               ment at the urging of the President.          there are no consequences because they
  anointed nation. born of imperfect men          What happened here today has made           know that this Lime the majoril,ies of
  driven by perfect intent. May we he           me heart-sick for our country. but it         the House and Senate will ovenule
  worthv of what it is Lo he an American.       only stren,,.o-thens my resolve to uphold     them. But as t11e entire world ,;aw
  what lL is to be a representative of the      the rule of law and to prot,ect lhe deci-     today. U1eir baseless ulaims of election
  American people.                              sion of Pennsylvania's voters.                fraud do have consequences. They un-
    May I ask. may we seek the quiet               Earlier this week. we raised our           dermine fa.ith and respect for our elec-
  whisper of God's ovm voice within us.         hands and swore an oath Lo bear true          tions and our government. They chip
  And I ask my colleagues to consider           faith and allegiance to the Constitu-         away at Lhe foundation of our constitu-
  supporting· thls objection.                   tion of the United States. But. today.        tional Republic and they take a sledge-
    I yield L110 balance of my t-ime to the     those who are blocking the counLing of        hammer to the peaceful transfer of
  gentleman from New Jersey (Mr. VAX            elect.ors from Pennsylvania are show-         power. It is our job to respect the rule
  DREW).                                        ing t-hat their allegiance lies not to the
     Mr. VAN DREW. Madam Speaker. be-
                                                                                              of law and reject this political charade.
                                                Constitution or to their constituents,           Finally. I want L-o offer my deepest
  fore I start. something I didn't plan on      and many would a1gue not even to the          respect.. to our Republican colleagues in
  saying. This is a debate. It is a discus•     Republican Part~,. but t.o their own po-      both Lhe House and the Senate who
  sion. Everybody has a right to an opin-       litical fortunes and t-he outgoing Presi-     have withstoou intense political pres-
  ion. That is American. Because some-          c1ent.                                        sure. and today honor their oath in the
  one doesn·t agree with your view or              Pennsylvania's voters. not Members         rule of law by rejecting these un-
  your ideas does not mean that they are        of Congress. are tasked with choosing         founded objections.
  liars. It mearus they have a different..      Pennsylvania's Presidential electors.            Mr. WILLIAMS of Texas. Madam
  view. a differenL opinion.                    and parlicular1y not congressmen from         Speaker. I rise in favor of the objec-
     And I think. for God"s sake, as people     other States. The people have spoken.         lion.
  watuh this or see it or hear it. they ex-     and Pennsylvania certified our elec-             The SPEAKER. The gentleman from
  pect more from us than thaL We can            tors. We must respect our oath here by        Texas is recognized for 5 minuLes.
  disa,,,<>Tee at a cert-a.in level. There is   rejecting this unfounded objection to            Mr. WILLIAMS of Texas. Madam
  nothing worse than moral pomposity.           Pennsylvania's electoral votes, and not       Speaker. I would first like to say to my
     You know. today was an amazing and                                                       colleagues on the other side of the aisle
  terrible day. But one thing that we do        substitute Congress· jud..,"111enL for that
                                                of the people of Pennsylvania.                who said we should be ashamed over
  know is that our law enforcement pro-           Legal challenges to elections are se-       here. I am not, ashamed. and neither
  tected lives. and they protected and          rious matters. and that is why there is       are my colleagues over l1ere. We are ac-
  preserved our democracy. I wat..chec1         a place to consider those challenges: In      tually proud of what, we are doing· and
  firsthand. as I always have. just as I do     courtrooms before impartial judges.           what we are standing for. So I hope Lhe.
  back home in south Jersey, these brave          And Pennsylvania·s legal process has        RECORD will show Lhat.
  men and women put their lives on the          worked. The pseudo-legal arguments               Yesterday·s cowardly attack on our
  line to defend all of us.                     that are being raised by the objectors        American democracy was a horrible
     May God bless the woman who lost           here today are not new. Over the past         ack While Congress aLtempted to exe-
  her life today. and may God bless what        2 months. the President, and bis allies
  will always be the greatest Nation in
                                                                                              cute their consLiLuLional duty l-o de-
                                                have filed more than 20 lmvsui ts Lo          bate and vote on this certification of
  the history of the world: the Unit,ed         challenge Lhe Pennsylvania elecLion.
  States of America.                                                                          the electoral colleg·e. violence inter•
     At the core of our counLry·s great-        Those challenges have been rejected in        rupted the proceedings in an att.empl
  ness is our democratic system of gov-         Federal courts. State courts. appellate       t.o stop the tlemocraUc process.
  ernment. Without, faith in the integrity      courts. and the United States Supreme            '!'hose who commitled these acts are
  of our elections. Americans will not          CourL. Challenges have been rejected          clomestic terrorist;; and should be pros-
  have faith in our democracy.                  by judges who are registered Demo-            ecuted to the fullest extent of the Jaw.
     The United States of America is the        craLs. Republicans. Independents. and         And I thank the Capitol Police and all
  international embo(liment of freedom          who have been appointed by Demo-              of the law enforcement organizations
  and opportunity. the shining Cit:\'· on a     cratic and Republic.'an Presidents.           that pushed back against this moh.
  hill. Free anu fair eleclions have al-          And w}\v dicl tl1ey lose all Lhose             I can·t help but be remincled of Lhe
  ways been a hallmark of America's             cases?                                        bravery during the baseball shooting
  greatness.                                      As Third Cir0uit.. Judge Bibas. a           on myself and my Republican col-
     After this past Presidential election.     Trump appoinl-ee. wrote. "Free. fair          leagues in June of 2017. I thank God
  approximately 60 million Americans            elections are the lifeblood of our de-        every clay for their presence.
  have serious rloubts about the outcome.       mocracy. Charges of unfairness are se-           The American people desel·ve full
  Thal is a number that. we cannot ig-          rious. BuL calling an election unfair         transparency in the electoral process.
  non:>.                                        does not- make it so. Chai-g·es require       with confidence that any iI-i-egula1·ities
                                                specific allegations and then proof. We       and inconsistencies in that process will
                     C 0150                     have neither here ...                         be fun:,., investigateu.
     Ms. SCANLON. Madam Speaker. I                \Vhat the Court said points Lo an im-          As a forn1er Texas secretary of st.at-e.
  rise in opposil,ion to the o1;jedion.         port.an[. distinction about when and          I know t.he electoral process well. And
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 above all. I know what the <..>our1.,t<. the      What uniles each and every genera-          ing about Act 77. how the Republicans
 executive branch. and lhe elections of-         lion of Ameiicans ii; lhe idea that           in Penns;vlvania were falling- all over
 ficials can and cannot do without. ap-          those who suhmit themselvei; lo the           Lhemselves to pass this law for mail-in
 proval of the St-ate legislature. Dming        authorily of government ought Lo have          voling beea.use they thought it would
 my l-enure. I knew that my authorHy            a voice in thaL same government.               help them.
 was confined to Lhe powers t-he legisla-          We are Americans here in this Cham-            You heard Represent.ative SCANLON
 ture provided me. If States fail t-o abide     ber and in I.his country. But what. does       explainin;( why t,here were no allega-
 h;s,• the ConsLiLuLion and follow their        it really mean to he an American? It           tions of fraud made in courL hecause a
 owns laws, it calls into question wheth-       means believing in t.he rule of law. It        lawyer going into court anci lying to
 er l-he votes in Texas. or any other           means speaking up in defense of our            the court gets his or her ticket t-0 prac-
 State. a.re fairly represented.                founding principles and in defense of          tfoe law punched. They can be ilis-
     And now. as a duly elected Member of       the Constitution.                              ha.rrecl.
 Congress. the ConsLHution outlines my             Being an American means that- you              Politicians can say anyLhing on cable
 1·ights to speak and vofoe my constHu-         are proud of your country but that. you        TV. but Lhey have to be darn careful
 ents' concerns with my vote. It is piv-        never heat. yom· chest. And being an           when they are in court. So all these big
 otal that we have free and fair elec-          Ame1•ican means that sometimes you             TV talkers never alleged fraud in
 Lions in our representative democracy          must stand alone while others sit.             court.
 and. more importantly. that we trust              Now. obviously, I can·t stand. but             Let me tel1 you alJouL one court case.
 in the results of those elections.             trust me. if I could sta.nd. I would stand     Il was a case where they brought on
     In no way is voicing- an objection an      in defense of our ConstituLion today.           their best legal talent. Il- was a case
 attempt to over1,urn an election. And             Tulr. CARTWRIGHT. Madam Speaker.            where they drew as a jud_g-e a staunch.
 when this process is complete and all          l 1ise in opposition.                          principled. conservative Republican.
 objeclions have been heard. I acknowl-            The SPEAKER. The gentleman fl-om            Judge Matthew Brann. He called this
 edge that we will have a peaceful trans-       Pennsylvania is recognized for 5 min-          case ··strained legal arguments without
 fer of power on January 20.                    utes.                                          merit .. and ··speculative accusations:·
                                                   Mr. CARTWRIGHT. Madam Speaker.              He called iL --Uke Pra.nkenstein·s mon-
     Faith in our system musl be resto1'ed
                                                I completely agree with my colleague           ster... a •·hapha.zardly stilehed L-0-
 and Americans musL be confident. that
                                                Represent.a.tive D\\"IGHT EVANS. and I         gether·· case.
 their vote matters. and only lawful
                                                remind this Chamber Lhat Pennsyl-                 Judge Bram1 said he "has no auLhor-
 votes will be counted. This is a sad day
                                                vania is the cradle of American democ-         ity to take away the right- l-o vote of
 in our Nation's history. but- a solemn         racy.
 reminder that our country will not fal-                                                       even a single person. let alone millions
                                                   We can·t claim to he the birthplace         of citizens...
 t.er and wm not fa.il. In God we trust.        of American democracy. That would he              On appeal Judge Bibas, a 'l'rump a1r
     Madam Speaker. I yield t-o the gen-        a disservice to James Otis. Jr.. who. in
 tleman from North Cat·olina cMr.                                                              pointee writing for the Third Circuit.
                                                1761. stood up in a Massachuselts              agreed. He said: ··Calling an election
 CAWTHORX).
                                                courtroom and argued against t.he              unfair does not make il- so. Charges re-
   Mr. CAWTHORt~. Madam Speaker. as             King's writs of assistance.                    quire specific allegaU011S and then
 I said in my convention speech. I want            But Pennsylvania is the cradle of de-       proof. We have neither here ...
 a new generation of Americans to be            mocracy. It is where we host.eel the              So. we have judges--dozens ancl doz-
 radicals-to l)e radicals for freedom           signing of the Declaration of Independ-        ens of them. Federal judges. State
 an,1 for liberty, but not radicals for vio-    ence and the American Const.itution.           judges. Democl-ats. Republicans-turn-
 lence. I am bitterly disappointed by the          It was Pennsylvanians who imme-             ing away these challenges. All they
 protest. that happened yesterday. The          diately went to battle to defend t,his         ever wanted was evidence.
 actioni; of a violent few were cowardly        idea. of democracy. They went right               Here is the number-one rule when
 and pathetic. and I am not afraid to           after Bunker Hill to the Siege of Bos-         you go Lo court: Don·t forget lo bring
 call it out.                                   ton. Ame1ican riflemen were instru-            the evidence with you.
    The Republican Party is a party of          mental at the transformaLional Battles            This objection, in all seriousness. re-
 limited government. It ii; the big tent        of Trenton and Sara.toga in victory.           flects the most profound disrespect to
 party. IL is not the party of destruc-         And it is Independence Hall wh.ere             our American judiciary. We Pennsylva-
 tion.                                          these documents got sitc,'1led. the Dec-       nians understand democracy. It was in
    Madam Speaker. the oath I took just         IaraLion of Independence and the Con-          Pennsylvania that our Founders signed
 days ago demand that I speak out in            stituLion.                                     the Constitution, and ArUcle II makes
 defense not of one President or an-               You heard my colleagues. You heard          it plain as day: We elect our President.
 other. but in defense of a hallowed doc-       Representative        HOULAHAN       talking   We don't have a king.
 ument that has safeguarded this Re-            a.bout the privations at Valley Forge.            If you can undo a Presidential elec-
 public for over 200 years. The Constitu-       all in support of creating democracy.          tion simply by alleging that somet,hing
  tion grants power solely to State legis-         You heard Representative BREND.'1N          was amiss, Lhen we don·t have a democ-
 latures to determine how elections are         F. BOYLR quoting John Adams. that de-          racy at all. We have something else en-
 carried out. When other officials who          mocracy only dies by suicide.                  tirely.
 are not vested with constiLuiional au-            You hea.rd Representat-ive DEA..>;             And if we vote to sustain this objec-
 thority usurp their role and grind the         quoting John Lewis. our hero. who              tion. we are not upholding our Con-
 Constitution under their heel. I must.         said: Democracy is not a state. It is a.n      stitution at all. We are doing some•
 object-.                                       act.                                           thing else entirely.
                    D 0200                         You heard Representative WILD t.alk-           Let·s vote '"no·· on this objection.
                                                L11g about lhis stunning assault on our           Mr. DAVIDSON of Ohio. Madam
    Our Nal.ion is a. nation of resilience.     democracy.                                     Speaker. I rise in support of this objec-
 In Valley Forge. George Washington                If it, seems like we get a little prickly   tion.
 prayed for a republic to be formed from        in Pennsylvania about assaulting de-              The SPEAKER. The ge11tleman from
 the a.shes of a monarchy. At Gettys-           mocracy. you are right. We do. Penn-           Ohio is recognized for 5 minutes.
 bUI"£. Americans gave t-heil· lives t.o de-    sylvania is the cradle of democracy.              Mr. DAVIDSON of Ohio. Madam
 fen!l a very simple idea. that I.he Amer-         You heard how foolish and empty             Speaker, eve1-;y one of us swore an oath
 ican democracy t.ha.l had been earned          these challenges are. Representative           to support and defend the Constitution
 wit.h the blood of their forefathers           LAMB said it: 31 cameras filming the           of the United States against all e11-
 would not perish due to internal divi-         place where the count- was happening·.         emies. both foreign and domestic. I
 sion.                                          resulting in thousands of hours of vid-        swore that oath in unifo1•m. and the
    Then. on l-he islands of Iwo Jima and       eotape-you can see it on YouTuhe-              first part of that oath is t-he same as
 Okinawa. Ameri<.:an servicemen gave            proving there was no fraud.                    what we swear here in Congress.
 Lheir Jives to defend this Nation·s free-         You heard Representatives MICHAEL             The last time we needed to defend
 dom from fascism.                              F. Don.E and BRRN1lAN P. BOYLE talk-           om· Constitution aga.insL a domestic
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  enemy. we fought, a civil war. Arnl at                       C 0210                        So here is the Lru.Lh: Joe Biden won
  the conclusion of LhaL Civil War we            2021 has the chance to be remembered      Lhis election. the effort will fail. and
  passed the 13th. 14th. and 15th Amend-      for when t,he leaders of a deeply divided    everybody knows it..
  ments that make clear that no State is      America came together to defend that           For some out there. this isn·t. about
  so sovereign that they can deprive          sacred docume11t anr1 to ensure that         making a statement for the betterment
  Lheir citizens of equal protection of the    the int-egrit,y of future Presidential      of our country: it is about avoiding the
  laws.                                       elections is ensured. It is imperative       pain of leveling· with the people and
    \\'11en iL comes to elections. that       we take this opportunity. The future of      telling them the truLh: the emperor
  means one person gets one vote. It          our Republic depends on it.                  has no clothes.
  doesn't mean that other citizens can           Benjamin Pranklin. in the summer of         I know many are disappointed in the
 dilute the votes of other cit,izens and      1787. during the heated debate to create     resull. buL what legacy are we leaving?
 deprive them of equal protection. And        our sacred ConsLit-ution. said these fa-     Have our kids seen tJ.1e day where Ron-
  it doesn·t mean LhaL a St,ate can do        mous words: .. I have lived long. sir. a     ald Reagan and Tip O'Neill had a beer
  that by law or by practice.                 long time . . . and the longer I live. Lhe   over their differences. or have they
    So whether the law was changed and        more convincing proofs I see of this         learned that to lead. you must tweet.
  made it such that Lhere is no way to        truth . . . that God governs in the af-      and sometimes all in caps. because now
 provide equal protection-one person.         fairs of men.                                this is Hollywood. fame is the ultimate
  one vote-or the practice was cor-               --And. if a sparrow cannot fall to the   goal?
 rupted. it cannoL sLand. }<'rankly, last-    {,,;round without His not.ice. is it prob-     But the first step that, we can take to
 ly. it must guarantee that, there is a       able that an empire can rise without         restore this is to reject the charade.
 proof that it was equal protection           His aid? We have been assured. sir. in       and whatl1appens next is up to us.
 under the law.                               the sacred writing that ·Except the            We get threatened with primaries: we
    None of t,haL happened in a number of     Lord build it. they labor in vain that       worry about t.he political implications.
 St.ates. The people of America. tens of      build it.' •.                                But our names will long be forgoUen:
 millions of them who came out Lo vote.          Madam Speaker. I pray LhaL we             the legacy of now will exist.
 have l)een unheard by this body and by       would turn to the God Almighty that            The bottom line: If we ask men and
 far Loo many courts. We need to show         ordained our Nation into being to help       women to be willing Lo give their lives
  them the respect Lhey are due by Lhe        us in our ti.me of need,                     for this Nation and we Lalk al)out l..heir
 ConsULution of Lhe Unit-ed States of            Mr. KINZINGER. Madam Speaker. I           service with tears in our eyes.
 America. the Constitution that we            rise in opposition to t.he objecUon.         shouldn"t we l)e willing L-0 give up Olli'
 fought to sustain to end the era of Jim         The SPEAKER. The gentleman from           jobs Lo uphold that Constitution?
 Crow to pass civil rights legislation.       Illinois is recognized for 5 minutes.          Madam Speaker. I yield to the gen-
  Lhe Voting Rights Act. the Civil Rights        Mr. KINZINGER. Madam Speaker, as          tlewoman from Washington <Ms. HER•
 Act. and so man;.· other pieces of juris-    a student of foreign policy. if somebody     RF.RA BF.l.J'I'LJ.::R).
 prudence.                                    described to me the actions that we             Ms. HERRERA BEUTLER. Madam
    Mr. JOHNSON of Ohio. Will the gen-        saw. I would have assumed we were in         Speaker. is this a country, is this an
  tleman yield?                               a failed nation or a banana republic.        America that we want Lo give to our
    11r. DAVIDSON of Ohio. I yield to         Storming past police. some carrying
 the genUeman from Ohio.                                                                   children. a country of lawlessness. of
                                              the flag of the Confederacy, the mob         might-makes right. of mob rule?
    The SPEAKER pro tempore. The gen-         breached this House.
  Lleman needs to maintain his position                                                       Previous generations of Americans
                                                 But there is good news: The democ-        have laid down their lives to answer
 and control of tl1e time.                    racy held today.
    Mr. JOHNSON of Ohio. Madam                   For the last few years. misinforma-       "no•· to that question. I do not want to
 Speaker. I rise in support of this objec-    tion and fear has been fed into people       be the first generation of Americans so
 tion and Lo give voice to the 249,386        for profit and power. and for Loo many       selfish as to answer ··yes:· Nothing is
 men and women of Ohio's Sixth Con-           years. leaders around the country said       more important to me than preserving
 gTessional Di.strict who have had their      nothing and somet-imes echoed those          t.his constitutional Republic as a Rep-
 voices si1enced by t.he rogue political      messages because of the belief that          resen tative.
 act,ors in Pennsylvania who unilater-        winning. no matter the cost. was worth         Article II of the Constitution stat.es:
 ally and unconstitutionally altered          everything.                                  "Each Stal.e shall appoint. in such
 voting met.hods to benefit the Demo-            Today, we saw the result of ignoring      manner as the legislature thereof may
 cratic candidate for President.              these warning signs.                         direct. a number of electors... meaning
    Secretaries of state and Stat.e su-          People look to Washington to give         that ii is the duty of the State legisla-
 preme courts cannot simply ignore the        hope. Instead. we simply amplify fears.      tures to select their electors in a man-
 rules goven1ing elections set fort,h in         People look to us for expertise on        ner they stipulate. It is right here.
 the Constitut.ion. They cannot choose        what can and can't be possible. Some-          The Founders of our Republic did not
 to usurp their state legislatures t-0        times it is easier to say what makes         want to federalize elections. which is
 achieve a partisan end. Constitution be      people feel good instead of the hard         why they reserved the selection of elec-
 damned.                                      facts.                                       tors to the State legislatures.
    Madam Speaker. this is a sad day for         Today. some Members of Congress             Historically. when Congress inter-
 America. We have seen too many sad           argue Lhat. we can unilatel'ally pick the    vened in the electoral process. it was in
 days like this recently: assaults 011        next President, that with our glorious       the Civil War. IL was when States were
 courthouses, police stations, and now        wisdom. armed with T\vitter. we know         sending multiple slates of electors. But
 the U.S. Capitol. People who disagree        better than t.he A:merican people. Some      that is not the case today.
 with the results of police work and          have shown that. if conspiracies are re-       Oi the six States actively being con-
 eourt decisions are ,nong to respond         peat.ad enough. they become facts and        tested. five have Republican legisla-
 violent.ly. And people who disagree          they aren"t disputed.                        tures: five are controlled by one party:
 with the results of an election are also        Even here in this Chamber after the       five have tJ1e authority to get together
 wrong to respond with violence. Thank        events today. some speeches have heen        and to vote to change the elector that
 you to Lhe Capitol Police and all the        shockingly tone-deaf. I have seen peo-       they sent to us.
 law enforcement involved for pro-            ple applaud cheap political lines that         How many of the six did? Not one.
 tecting the people·s House today.            are embarrassing.                              Pennsylvania did not get together
    Madam Speaker. some may quest.ion            Power and cultural fights have di-        and vote as a body and send us a new
 our motives for raising these objec-         vided us so much that they are Lhe ul-       slale of elecLors. They did not. send us
 tions. but other tl1an the Bible. Otu'       timate goal now. and sometimes the           a hill or a resolution citing injusUce at
 Constitulion is the most sacred docu-        oath we swear t.o uphold feels like a        the Staie level.
 ment known to man because it created         prop.                                          None of them.
 the most free and prosperous naLion in          People have been lied to by too many        Are they cowards? Do Lhey noL know
 human history.                               for too long.                                Lhe Conslit.ution'.' Have they not read
                                          ----- - - - - - ~ - - - - - -




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 il, like you and I? Or are they merely         are very. vei-y grateful to t-he Capitol         also poisonous propaganda of those
 passing the buck'/                             Police and all those who e,1,me in [.o           who seek Lo destroy our uniLy an<l pro•
    Here is the reaJH.y. Look. I believe        proLect. us.                                     moLe discord.
  this was not a fraud-free eledion. I be-          But the real debat.e right now about            According Lo this propaganda. Amer-
 lieve that there were problems in Penn-        Pennsylvania. is Pennsylvania·s Act 77.          ica cannoL conduct a free or fair elec-
 sylvania and in Georgia. But the Con-          Was il consUtutionaJ or was it. uncon-           tion. Our elections are rigged and
 stiLution gives us the right to fix thaL       stitutional? All the resL of Lhe trim-           doomed.
 at the State level. not throw out the          mings you can set aside and just de-                According to this propaganda. the
 electoral college. We do not. want to ah--     cide: \Vas ii constitutional or unconsti-        voters can 110 longer decide who shall
 solve the responsibility of Lhe people in      t.utio11al?                                      be President. The Con.,o-ress must decide
  t-hose States to holcl their own law-             Act 77 changed Pennsylvania ·s voting:       for them.
 makers accountable.                            law and Pennsylvania's Constitution.                At a time when our Nation faces an
    I. as a Washington St.ate Congress-             Now. Pennsylvania could change that          unprecedented health crisis. with thou--
 woman. don't know better than the              law. but it is done through an amend-            sands dying every day. wiLh Americans
 people in Pennsylvania and Georgia.            ment to lhe constitution. It is not just         st1"Uggling to put food on the table and
    Folks. we can·t voLe Lo undermine           done because somebody would like to              keep a. roof over lheir head. who are we
 the electot>a-1 college today. We have to      see that done.                                   to say that the man America chose to
 uphold iL                                          We had a mail ba1lot that was avail--        lead us ouL of this calamity shall not
    Mr. POSEY. Mad.am Speaker, I rise           able. It was an absentee ballot. We did          take office?
 in support of the objection.                   not have a no-excuse ballot-.                       The corona virus wi11 claim more
    The SPEAKER. The gentleman from                 What did Pennsylvania have to do to          ilJ:nerican lives than all of the casual-
 Florida is recog:nize<l for 5 minutes.         get to the point where they would have           Lies in World \Var II. To meet LhaL mo-
    Mr. POSEY. Madam Speaker. as you            a no-excuse mail-in ballot?                      ment. will require unity. not discord;
 have heard from both sides of the aisle            Number one. in two successive ses•           will require an abiding f."i.iLh in our
 over and over and over today and to-           sions of the Pennsylvania Legislature.           country. in our democracy, in our gov-
 night, Members of Congress take an             that. had t.o be passed in that legisla--        ermnent·s ability to function and pro-
 oath to protect and <1efend the Con-           Lion. one session after the other. If it         vide for the needs of its citizens.
 stitution.                                     passed hoth times. then it, had Lo he               The Members of this body cannot
    Clearly. Lhe Constitution says StaLe        published in every one of the 67 coun-           continue to challenge the merits of an
 legislatures make vot.ing laws. period.        ties of Pennsylvania. twice. When that           election that was fairly conducted and
 end of subject. Ancl. dearly. in Penn-         was finished. it then had to go before           overwhelmingly won by Joe Eiden. H
 sylvania and some oLher Stat.es. non--         the Pennsylvania voters to decide                must stop.
 legislators changed Lhose voLing laws.         whet.her they wanted the constiLuLion               Look at the damage that was
    No maLter who wins or who loses,            amended.                                         wrought in this House today. to tbis
 Lhose are violations of the Constitution           Pennsylvania did the first one. They         country today. Is that not enough?
 wheLher you. me. or anyone else likes          act.ually did take a vo l.e. and it was             RoosevelL said: ·•This Nation has
 it or not.                                     overwhelming. BuL Lhen the;\,'- scrapped         placed its destiny in the hands and
    As Congressman DAVIDSON pointed             iL. and they put, it in an omnibus hill.         heads and hearts of its millions of free
 ouL. over a dozen FBI agents were im-          ThaL is an unconstitutional change.              men and women. . . . Our strength:· he
 mediately dispatched to fully inves-           You cannot do it. It is that, simple.            concluded ••is our unity of purpose.··
 tigate Bubba Wallace's garage door.                So I love the idea about Washington             Let us unite once again in defense of
 But, sadly. the FBI never responded to         crossing the Delaware. I love Lhe idea           the greatest. hope of freedom-loving
 my request to investigate massive vot-         about. Washington going throu.._,;-h a ter·--    people around the world. tbis precious
 ing irregularity accusations, like Lhe         rible winter.                                    democracy.
 video footage from Georgia that, we all            I hate the idea of what we had to go            Madam Speaker, I yield to the gen-
 wished we didn"t see.                          through today. But. if oaths don't mat-          tleman from Maryland {Mr. RAS:KJNl.
    Neither has the Department of Home--        t.er. and we have all Utken them. and if            Mr. RASKIN. Madam Speaker. the
 land Security. the Department of               the Constitution doesn't matter. why             baseless attack on Pennsylvania and
 State, the Postal Inspector General.           do we even do it? Why go through this            its electors brought to mind. for me.
 the Director of National Intelligence.         charade that somehow we are really               the great Tom Paine, ~he champion of
 the CIA, and. saddest of all. the u .S.        close friends, except when it comes to           popular democracy. who came over to
 Department of Justice.                         t.he really important things?                    America to i":!ght with us in the Revolu-
    The rig•hL Lo vote is not only a con-          We have driven this cotmtry apart             tion against the king. He lived in
 stitutional right. iL is also a civil right.   through the people·s House. and we               Philadelphia. where he wrote ··com-
 and we must protecl it. Running a fair         wonder what happened?                            mon Sense·· and "The Age of Reason."
 and transparenl elect.ion is not some--           The biggest loss on November 3 was            And Paine said: In the monarchies. the
 thing America should run away from.            not by Donald Trump: it, was the faith           king is the law; but in the democracies,
 It is something we must live up Lo.            and trust, LhaL Lhe American people              the law will be king.
    Every eligihle American has a right.        lost in Lhis voting sysL.em because we              When you think about it. the peace•
 to have Lheir vote counLed and the             have allowed it t.o happen. It is uncon-         ful transfer of power is the central con--
 right to feel confidenL LhaL his or her        stitutional.                                     clition of maintaining democracy under
 vote was counLed. not neutralized by              Mr. $CHI.Fl:<'. Madam Speaker. I rise         the rule of law. That is why lhe famous
 an illegal vote.                               in opposition.                                   election of 1801 was such a big deal.
                                                   The SPEAKER. The gentleman from                  When John Adams relinquished the
                   C 0220                       California is recognized for 5 minutes.          Presidency to his passionate adversary
   Otherwise. I fear our Republic is                Mr. SCHIJ:<'l<'. Madam Speaker. 80           and lifelong friend Thomas Jefferson,
 doomed. Thai is why I implore you to           years ago today. Franklin Roosevelt              it was the first peaceful transition of
 support a full invesUgation.                   delivered his third inaug-ural address.          power between democracies in a demo-
   Madam Speaker. I yield the balance           .. Every realist knows:· he said. ··that         c,•ratic republic in the history of the
 of my time to Lhe fine genLleman from          the democratic way of life at t,his mo-          world.
 Pennsylvania (Mr-. KELLY).                     ment is heing direcLly assailed in every           And he said. as he rode back to Mas--
   Mr. KELLY of Pennsylvania. Madam             part of Lhe world-a:ssailed either hy            sachuseUs from Washington, Adams
 Speaker. this has been an interesting          an11s. or by the secret spreading of poi-        said thaL he did this because we are a
 day. And I know we wanL Lo debate              sonous propaganda by those who would             g-overnment of laws and not of men. We
 Lhis. and we broughl up all kinds of           seek to destroy unity and promote dis--          will betray thfo principle if we trade a
 Lhings. all kinds of poinls of hisL01•~T       cord in nations still at peace:·                 government of laws for a government
 and what happened and where it hap-               Today. l11e principal l-lu'eal Lo our cle--   of men or. even worse. a sin,rle man. or
 pened and all the rest. of t-his. and we       mocrac;y comes from a different. but             an impressionable and dangerous mob
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  intent on viol~,nt setliLion and insurrec-                  I.nm!                  Owem::                      6nn1<:k1.·r                 f.ch1;,11.kr             ;,;!('\"t'!l:-t         \"r-l,l
                                                              Loud('-rmH~:           P,thtzzo                    ~1!'-fauik                  :-:;ch1it'T              StiYfl~                 '\'"1•iri:i.quez
  Uon against our beloved. democratfo                                                l\1lnw·1                    Sh~uht•                     Seott t\'Ai              :-i-trkkt.md            \\'"a~ll'L'l
  Republie.                                                   Lu.1~tkt~m,.~v{•J      Pf'llrt•                    St!·Wat.--;,                Scott. Au~tir.           :-;ut,ZZi               Waltz
    Here is Abraham Lincoln right before                      :\1.,\-llioh.tki~      P'P?."IY                    "l'hompsou I PA 1           ~~•wt•ll                 Swt.h,..Pll             ,YJ.--.~f"r-m.in
                                                              lfanu                  POU~l)t·                                                8hN-man                  Takano                      ::;{;!mJ;7.
  the war. At what point. then. is the ap-                    Jda..;,t               Po.."(lJ'
                                                                                                                 Tiffany
                                                                                                                                             ~heni!l                  Taylor
                                                                                                                 Timmun,:;                                                                    Wat-€>1",:-:
  proach of danger to be expected? I                          lkC:..rth:.;           RP~'hl•tnhaJ.,i             VanD?.·t-w
                                                                                                                                             :,;;1m_p.-;un            Thomp~un tCAl           Wat~on ('okman
  would answer. if it ever reaches us. H-                     MrClain                RicC" 18Cl                  \'au D11yw·
                                                                                                                                                                      Tb.omp::;:m1 t:MS1
                                                                                                                                                                                              \\'t•lc-h
  must spring up amongst us. It. cannoL                       Mt'!lU-l.~l            Ru~t:r.s {Al,1                                          S!Qtkin                  'l''ttu,;
                                                                                                                 Wall><'t!!                                                                   \\"(•n.~ti-up
                                                              !i.1il11?r 1IL1        Hogl~t~ 1KY)                                            Smith :NJl               Tonko
  come from abroad. lf destruction be                         Millt-r 1WY1           RO$.€"
                                                                                                                 W.a1oJ-i..ki                Sl!li.tll t \\'A)        Torn•ti t C:.d. i
                                                                                                                                                                                              \\'t•:-t.('.!'nli.!:ll

  our lot. we musL. ourselves. be its au-                                                                        Wd'>t'rlTX)                 ~Oto                     Tonrf. t l\-Y 1         W?xtOtJ
                                                              Moorn•:,;              noi;:;{•Ud.1lt•
                                                                                                                 W<·b~ter- ,FL}                                       Trahan                  \\"ild
  thor anti it,s finisher.                                    Moort--;.a\Li          Rouzt!r
                                                                                                                 \\'i!liamF {TX}
                                                                                                                                             SpanlJf"l.)te;,·
                                                                                                                                                                                              'WilliO.tnl-ltGAl
                                                              Mullin                 Rulherfo?:<l                                            Spart.z                  Tln'lW?.
    Madam Speaker. my family suffered                         Murphy          i~C1   Ek~1li~~-                   \\"iJi>O!l t~CJ-            Sl)f'ln                  l:ndi:-nToOO            \\~il~on tFL1
  an unspeakable trauma on New Year·s                         )l'Ph1s                !-h-hw1?ikP1r               Wittmau                     Sti:lllto:n              tTpron                  \\'"o:rri~ck
  Eve a week ago. But mine was not. the                       Xorman                 &'1--<:.ion.o;              Wl'i;,bi                    i;t;ub<>r                Yar!!a..~               Ya.1111uth
                                                              Xtm£>::::              8mitl11:.-!01               Z.f'ldlll                   Steil                    \'"€',il.,<:.e,y        Yo1.m~
  onlv family Lo suffer such ten-ible pain
                                                              Oberuolt-e             'Smith l~E,
  in 2020. Hundreds of thousands of fami-                                                                                                                           )JOT YOTI::-;fG          11
  lies in America are still mourning                                                    NAYS-282                                             Bilitaki!-=              Ha..~rmg~               SlN'l
  theiJ: familv members. Many families                        Adam.~                 }<~spa,illat                Lit'll
                                                                                                                                             Bratly                   .To!:t·{' tOH:          Tlaib
  represented•· in l,he Congresis are sLill                                                                                                                           LaTumet·                T1·,0;ot>
                                                              A;i:uil.ar             EY8.l}$                     lJ(n';,:i~n                                          :kort. Dasid
  mourning Lheil· family members who                          Allrni                 Feen::;:t1·<1.              l~r1wf"nthaJ.
  have been taken away from us by                             .\ntodc·i              Fe>l~Oll                    Lm·1a                                                         [: 0308
                                                              Arm.:-tron;<           Fi.tzp--.ati·ir.:k          Lym:h
  COVID-19. hy the opioid crisis. by ean-                     AuC'hindos."           Flf'tehf'-I                 1:iau."                        Ms. CLARKE of New York changed her
  cer. by gun violence. by Lhe rising fa-                     Axnt>                  J<'ort.f'Ui?t.">1TY         Ma.!inow~kl                 voLe from "yea·• t.o --nay:·
  talilies assoeiated wit-h the crisis in                     BJ.L"OTI               Fo.~t...~r                  11a.1ont\Y.
                                                              Halrit>1-son           J;~rankel. Lm:::              Cc.rolyn H.                  So Lhe ohjecUon was not agreed to.
  menLal and emotional health.                                Ra.1,·                 F'ud~r                      ~falon1·\'". :-;rar.           The resulL oft.he vote was announced
    Enough. my beloved colleagues. It is                      BroT,-=.g-8.n          Gallu-h~•1                  1fa.n11in~                  a,; above recorded.
  time for America to heal. It- is time for                                          Galle,co                    .Ma~~it~
                                                                                                                                                A motion t.o reeonsiaer was laid on
  our families and communities Lo come                                               Garamicnd1                  i\-'lat~-ui
                                                                                     Garbarino                   J,1<-Batll                  the table.
  together. Let us stop pouring salt in                       Bt~yt~r                G.:ti·d.at!L)               McCaul                         The SPEAKER. The Clerk will now
  Lhe wounds of America for no reason at                      Bi~hc,p tGAi           llinda tTX.l                MrClintoi:.k                notify the Senat.e of the action of the
  all. Let us start healing our beloved                       BltuU\'"J'll\Uer       Golden                      McGollum
                                                                                                                                             House. informing that bod~, Lhat t-he
                                                              Blunt Ilc.~:h~,~tt•r   Gomez.                      ~1t·Ea('"hin
  land and our wonderful people.                              Bona.mid               Gonzales. Ton;t"            McGon-tn                    House is now read.v to proceed in joint
    The SPE.°'-KER. All t.ime for debate                      Bouttleau.x            Gonzalez tOH t              11i::Hl'm-~·                session with the furtl1er counting of
  has expired.                                                Bmvman                 Gonzalf'Z.                  1k'Kin1t>y
                                                                                                                                             the electoral vote for t.he President and
    The question is. Shall Lhe objecLion                      Bo~le. BI"f'nUan        Yi<""e-nt<-                McNe,rn;•:;•
                                                                 F.                  Gotthci.rut>l               ~fot"k~                     Vice President.
  submitted by the gentleman from                             BIOITTl                GrPen. AltTXi               ).frij~i·
  Pennsylvania cMr. PERRY) and the Sen-                       BrownlE:":;.·          GLiJalva                    Menl?
  ator from Missour:i (Mr. HAV."LEY) be                       Buchanan               Grothmun                    ~:Hume                           FURTHER MESSAGE FROM THE
                                                              Bucsoon                Gut~"i~                     M1llt>t-M~~rk~
  agreed to.                                                  Bush                   Ha»land                     MuoJ('ll.'.l.ar                             SENATE
    The question was t.aken: and. the                         Bu,i;,t.f)s            !larder ,('Al               :do-0rc tl.,"Tl
                                                                                                                                               A furtJ1er message from the Senate
  Speaker announced that Lhe noes ap-                         But'!f-rl'it"'ld       Huy":,;                     ).foorc 1WJ1
                                                              Carhajal               Jl{'-rtf,m Bt-ut h~r        ).forellt>                  by Ms. Byrd, one of its clerks. an-
  peared to have it.
                                                              Cit·d~tl::l~           Hi!rll'.hls!N'YJ            ).fo.ult-on                 nounced that the Secretary of the Sen-
    Mr. KELLY of Pennsylvania. Madam                          Car['?On               Ilill                       ).1rra11
  Speaker. on that I demand the _yeas                                                                                                        ate shall inform t.he House of Rep-
                                                              Cal"t\"11.~ht          mm~$                        :durph_y 1.FLl
                                                                                                                                             resentatives that the Senate is ready
  anc1 nays.                                                  ra.--e-                Hinson                      Xacllct
    The SPEAKER. Pursuant to section                          CA$t.en                Hcilli:n.e.-s:worth         Xapo!it.an.D                to proceed in joint session with the fur-
  3(s} of House ResoluUon 8. the yeas and
                                                              Castvr 1FL1            Horsford                    Xea.l                       ther counting of the electoral votes for
                                                              C'..a.-::tro tTX>      .HoulahJn                   :S-cgl.l."'ir
                                                                                                                                             President and Vice President.
  nays are ordered.                                           C'ncner                Hoyer                       ;"\l•'\•tllO'U.<:;.f>
    Members are reminded to vote when                         Chu                    Huffman                     Xl.>\\'1..l1fill
                                                                                                                                                cBy unanimous consent. Mr. HOYER
                                                              CldIUnu                Hlli:u~l.lga                ~01.x.-roi:;s:-
  their group is called and to leave the                      Clark{:VL..\1          Ja<:kso:n. L1.•e            O"Ha.lle-ran                   wa.s allowed to speak out of order.)
  Chamber after they have voted.                              ~Iarkt- t~Y~           Jacobs.tC.\r                Ot:a.~i-o-C-ort't'Z                             HC)NORING SllUWANZA GOFF'
    The vote was taken by electronic de-                      Clt.>an•r              Jayapal                     OmAr
                                                              ('!lyhlUTJ             J.efftit<$                  ?all<mP                       Mr. HOYER. Madam Speaker. Lhis
  vice. and there were-yeas 138. nays                         C'ohe:U                John.."°-ntGAl              P.an(-ltt:t                 would not be the time I would have
  282. not voting· 11. as follows:                            Comer                  John.~Ollf$1)}              Pappa.!i.
                                                                                     Johnsnn          ,TS,                                   chosen. but it may be the last time
                      [Roll )Jo. 11)                          Connolly                                           Pfl$CJ•~~11
                                                              Cooper                 ,JOih"~                     Pa,.'\'ne-                  that we are in session before the new
                       YEAS-138                               Corrt>a                Kah<'lf'                    Pt'lo.')i                   administraUon comes in.
  Aderholt          Cole                Green tLll            Costa.                 Kaptui                      r>erlmuth.'l                  We are losing an extraordinary young
                    C'l"'"d\\"fol'd     Gre-cnt," iGA1        C'ourtnt"Y             Kntko                       Pet€'t;:.
  An-ini:::tt)tl    Bavi<L~on           Griffith              Cra.i~                 KeaT.ing                    Ph.iJlitJF                  woman who has been with me for over
  Habin             De~Ja.r!aif:        Ones~                 CrPn::-bav.-           Kelly tILl                  PitW.•iV'                   a decade and who is our floor leader.
  Jlaird            Diaz:-Bafart        IlatrN01·n            CTI.~t                 t."'h.anna                  PO{"Ull                     our floor director. All of you know her.
  Ba11kzs           Dona]dR             Harri~                Ci'uW                  Kilde-e                     Portt>r                     Her name is Shuwanza Goff. and she
  Bi.•11t2          DunC'an             Il3.1~hLa1~er         Cuellru·               Jillm~;-                    P1·cs..-=-l<·Y
  B,~11.."1n~n      l.lunn              Ilartr.le-1'          Cortis                 Kim 1CA1                    Prkr tNC1                   has been with me for a significant pe-
  Blee- 10'Ki       F..ste,;            Hi~rn                 David~ 1K~i            Kim1N.T;                    Qnl~lei·                    riod of time.
  Hi:,gs            Fallon              !-Ie.rreU             Davis. Danny K         Kind                        R.1Sk!ll                      Slluwanza is a wonderful person. And
  Bi,:il1up1XC-1    Fisr-111.J.aC!h     Hkt'l0.-\1            Davi:::.. Hor1J1f•\·   Klllzln~c,r                 R~>r-d
  BO<'h<•rt         Fitzf.rera.l<l      lli~~in:-..tLAi       Dfa.n                  Kil"kpattiek                R1ce-f)J:t1                 the problem with having wonderful.
  Bost              Fl(•i8:chmann       Hnd.i.:on             De:F'.azio             Kl"'l!;}Ula!ll~Ol-thi       Richmoud                    talented. g·ood st.aff is that- at an ad-
  Bt·ooks           Fo~                 Is.-.a                Df'GHtr-               Ku.stc-r                    R-Od;;.t"ts.:      n~·-~1   ministration change. they steal your
  Butld             Franklin. ("        ,fat·k....,"OU        DcLau1n                LaHood                      Ros.,;:,
                                        ,Jacob$ 1~•r•r)
                                                                                                                                             people. It is just a terrible thing that
  Bun.:hett           8n>tt                                   D,•1B!•1Jc•            r~mb                        Roy
  But1!'t•~:-:      FnkhN·              Joh:n.~on tl..A,      DE>li!ado              I..a.mr-e-\'in              H:o:vl>al.-.-\llard         happens. Two of my staff. Shuwanza
  {:a}V('I·t        Ga.(•tz             John.~on lOH1         Den'l1ll~$             L:.1t-st1u;WAl              Ruv.                        Goff and Mariel Saez, will be going l-o
  {'amm.a<-·k       Garda. >('Al        Jor-Ua.n              De-San11ll1;11         Lat"i-Cm , C'Ti             Rup:pt•1:-i:x•l'{..'.t'l"   the a.dminist,raLion as we11. and I have
  C'arl             Gil,lis             ,foy•::r tP•.:\ l     Drotd!                 r~tta                       Rush
  Curtt>I" 1G.-\1   G1n1f'nn            K~H~r                 Din;rr>H               La\\""?"t"-ni::••           Ry.all
                                                                                                                                             askecl t.he administ.raUon lo please do
  C-an~i 1TX1       G<>hroert           K\•JI~· ,M~i          !)o~N11l               Lm~on cFL~                  s~inf'lw,                   not take any more of my people.
  C".twthni-?:~     Goud IL~~           Kt•ll:v ~PA;          I>c,ylt~. !lhthad      l,p~• tC'A,                 :-,;,1rll.).Ut7-              But- Sbuwanza Goff has just ueen ex-
  C'hahot           G.:Jt1d~•n I TX l   Rw-toff                  F                   [.,f'1;"" 1~~Tt             !-}t·.ar.Jon                traordinary. Those of you who have
  C'lim•            GoF-ar              Lal\faJfa             r;mm,•r                Lt>Ut"l !-'<'tlli.HlrlVi'   N·!Jakor1:-k.v
  Clourl            Gl'!H"F~ 1I.A1      Lamborn               f.~:i'<·olla1          Lr-\·in 1CA.i               :-;d1lf.{                   deall with her underst,and bow brig-hl
  ('h••h•           Gl·:t\"l'.S!MO,     L,•~ku                E.~hou                 I.t1?\int?iin               St·hn(>idc-1                she is.
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  January 6, 2021                                   CONGRESSIONAL RECORD- HOUSE                                                              H113
     Thal is the bad news. Matlam Speak-                    Slates Code. because the lwo House:;            The VICE PRESIDENT. Are there
  er. thaL they have taken her. BuL the                     have not sustnined the objection. t-he        any objections to counting- the certifi-
  good news is. she is going t-0 lie the ad-                original certificat-e submitted by t.he       cate of vote of t-he Su.tte ofSouth Da-
  rninistration·s represenLaUve to Uie                      Cornmonwealth of Pennsylvania will he         kota t-hat the teller hat'l verified ap-
  House of Representalives. so we are                      counted as proYided therein.                   pears to he regular in form ancl authen-
  going to see a lot of Shuwanza. 1 am                         The t.ellers will now record and an-       lic?
  sure she will he talking· t-0 both of us                 nounce the vote of the SLate of Rhode            There was no olJject:ion.
  on boLh sides of Lhe aisle and tu'ging us                Island for President and Vice President                          C: 0330
  to vote one way or the other or getting                  in accordance with the action of t.he
  us informa Lion or doing all sorts of                    two Houses.                                       The VICE PRESIDEr.'T. This certifi-
  things that we might ask her to do and                       This certificate from Rllode Island.       cate from Tennessee. the Parliamen-
  Lhat she would want to do for us.                         the Parliamentarian has advised me. is         tarian has advised me. is t.he onl;;· cer-
    I want to say. Madam Speaker. and I                     the only certificate of vote from that         tificate of electoral vote from Lhe
  know you share my view. those of us                      State that purports Lo be a return from        State that purports to be a return from
  who have hall an opportunity to work                      the St.ate and ihat, has annexed to it a       the State and that has annexed to iL a
  closely    with    Shuwanza.      I   love               certificate from an authority of that          certificate of an authority of that
  Shuwanza Goff. She is just a wonderful                   State purporting to appoint. and ascer-        State purporting to appoint or ascer-
  spirit. She is smart-. She knows the                      tain electors.                                tain electors.
  rules. She knows the Door. I think Mr.                       Senator KLOBUCHAR. Mr. Presi-                 Ms. LOFGREN . .Mr. President. the
  MCCARTHY"s a.nd Mr. SC!\.LISE"s sl.affs                  de11t. the certificate of the electoral        cerLifie,-ate of the electoral voLe of the
  would say the same thing if I had g·iven                 vote of the State of Rhode Island seems        State of Tennessee seems to he regular
  them any not.ice that we were going to                    to be regular in form and auLhentic,          in form and authentic. and it appears
  do this. but I thoug·hL we had some                      and it appears therefrom that Joseph           therefrom that Donald J. Trump of the
  time.                                                    R. Eiden. Jr .. of the SL:ite of Delaware      State of Florida received 11 votes for
     Shuwanza. I really do want l-o thank                  received 4 votes for President and             President and MICHARL R. PENCE of the
  you, and we wish you the hesl- of luck.                  KAll'LiLA D. HARRI.:'\ of the State of Cali-   St.ate of Indiana receivecl 11 votes for
  We know you are not going far. l know                    fornia received 4 votes for Vice P1·esi-       Vice President..
  we are going to see a lot- of ;vou, but we               dent.                                             The VICE PRESIDENT. Are !,here
  wish you great success in everything                         The VICE PRESIDE.,.1\fl'. Are there        any objections Lo counting the certifi-
  you do.                                                  any ohjecl-ions to counting the cert.ifi-      eaL-e of the vote of the St.ate of Ten-
    I tell my staff. Madam Speaker. that                   cate of vote of the State of Rhode Is-         nessee that the teller has Yerified as
  l-hey can go off the payroll. hut t-hey                  iand that the Leller has verified ap-          regular in form and a1.1thent.ic?
  cannot go off the staff.                                 pear-s Lo he regular in form and authen-          There was no objection.
    God ])less, Shuwanza. and good luck.                    tic'?                                            The VICE PRESIDENT. Hearing
                                                               There was no objection.                    none. t-his certificat.e from Texas. the
                        C: 0322
                                                               The VICE PRESIDENT. Heal"i111,r            Parliamentarian has advised me. is the
     At 3:22 a.m.. the Sergeant at Arms,                   none. this certificate from South Caro-        only e,-ertifica.te of vote from the State
  Paul D. Irving, announced the Vice                       lina, Lhe Parliamentarian has advised          that purporLs to be a return from the
  President and the Senate of the United                   me. is the only certificate of vote from       St.ate and that has annexed to it a cer-
  States.                                                  that State that purports to be a return        Lificate of an authority of that State
     The Senate entered the Hall of the                    from the State and that has annexe!l to        LhaL purports to appoint. or ascertain
  House of Representat.ives. headed by                     it a certificate from an authority of          electors.
  the Vice President and the Secret.ary of                 that State purport.ing to appoint and             Senator KLOBUCHAR. Mr. Presi-
  Lhe Senate. the Members and officers                     ascertain electors.                            dent. tlle e,-ertificate of Lhe electoral
  of the House rising to receive them.                        Mr. RODNEY DAVIS of Illinois. Mr.           vote of the State of Texas seems to be
     The Vice President t.ook his seal- as                                                                regular in form and authent.ic, and it-
                                                           President. the certificate of the elec-
  the Fresiding Officer of the joint con·                   toral vote of the State of South Caro-        appears therefrom that Donald J.
  vent-io11 of the two Houses. the Speaker                 lina seems to be regular in form and           Trump of the Stat-e of Florida received
  of the House occupying the chair on his                  authentic. and it appears therefrom            38 votes for President and MICHAEL R.
  left. Senators took seats to the right of                that Donald J. Trump of Lhe State of           PEJ:\CE of the State of Indiana received
  the rostrum as prescribed by law.                        Fl01ida received 9 votes for President         38 votes for Vice President.
     The VICE PRESIDENT. The joint                                                                           The 'VICE PRESIDEJ\'T_ Are there
  session of Congress t.o count the elec-                  and MICHA.EL R. PF-'ICB of the State of
                                                           Indiana received 9 votes for Vice Presi-       any objections to counting the certifi-
  Loral yote will resume. The tellers will
                                                           dent.                                          cate of the vote of the State of Texas
  t.ake their chairs.                                                                                     t11at the teller has verified appears to
    The two Houses retired t-0 consider                       The VICE PRESIDENT. Are there
  separately and decide upon the vole of                   any objections to counting the certifi-        be regular in form and auLbentic?
                                                           cate of vote of the St.ate of South Caro-         'l'here was no objection.
  the Commonwealth of Pennsylvania. to
  which an objection has been filed.                       lina that the teller has verified appears         The VICE PRESIDENT. Hearing
    The Secretary of the Senate will re-                   Lo be regular in form and .authenlic?          none. this certificate from Utah. the
  port the action of the Senate.                              There was no objecti011.                    Parliamentarian has advised me. is the
    The Secretary of the Senat-e read Lbe                     The VICE PRESIDENT. Rearm.is                only certificate of vote from that State
  order of the Senate. a.s follows:                        none. this certifie,-a.te from South Da-       that purporLs to be a return from the
    Ordered. That the Senaie by a vote of 7                kota. the Parliamentarian has advised          State and t.hat has annexed to it acer-
  ayes to 92 nays rejects the objection to the             me. is the on1y certificate of vote from       Lificat.e of an authority from the St.ate
  electoral votes t..'9.Rt in the Commonwealth of          that St.ate that purports to be a return       purporting to appoint- or ascertain elec-
  Pennsylvania for Jo,;eph R. Biden. Jr .. for             from the St.ate and that has annexed to        tors.
  President and KA;l[AT~~ D. H.ARRis for Yice              it a certificate from an aut.11ority of           Mr. RODNEY DAVIS of ILLINOIS.
  President.                                               that. State purporting l-o appoint and         Mr. Preside11t.. the certificate of the
   The VICE PRESIDENT. The Clerk of                        ascertain electors.                            electoral vote of the State of Utah
 the House will report the action of t-he                     Senator BLUNT . .Mr. PresidenL. the         seems to be regular in form and au-
 House.                                                    cert.ificate of the electoral vote of Lhe      then tic. and it appears therefrom that
   'l'he Clerk of the House read the order                 State of South Dakota seems t.o be reg-        Donald J. Tn1mp of the Stale of Flor-
 of the House. as follows:                                 ular in form and authentic. and it      ap-    ida received 6 vol.es for President. and
   Orderer!. That. t.he House or Repre~entali\·e.~         pears therefrom that Dofu'lld J. Trump         MICHAEL R. PEKCE of the Slate of Indi-
 r'l-'jeet.;; t.he ohiec·tion to tht> electoral vol;, of   of the State of Plorida received 3 votes       ana received 6 votes for Vice President.
 the Commonw"allh of Pennsyh-ania_                         for President. and MICHAEL R. PE"'CF, of          The V!CE PRESIDENT. Are there
    The VICE PRESIDENT. Pursuant to                        the State of Indiana received 3 votes          any objections to counting l-he eertifi-
  Lhe law. chapter 1 of title 3. United                    for Vice P1'esident.                           caLe of the vot-e of the Slat.€ of UL-ah
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   that the teller has verified to be reg-       There was no objection.                           ls the objection in writing and signed
   ular in form and auLhenLic?                    The VICE PRESIDENT. Hearing                   by a Member and a Senator?
      There was no objection.                  none. this cerLificate from West Vir-               Mr. GOHMERT. IL fa in writing. It is
      The VICE PRESIDENT. HHaring              ginia. the Parliamentarian has advised.          signed by a Member. but it is not
  none. this certificate from Vermont-.        is the only certificate of vote from that        signed and ohjecl-ed to ])y a Senator.
   the Parliame11Laria11 has advised me. is    State that purports to be a return from          Mr. President.
   the only certificate of vote from the       the State and that has annexed Lo it a              The VICE PRESIDENT. In that caSE'.
  St-ate that purports to be a return from     cerLificat.e of an authority from the            t,he objection cannot lie entertained.
   the State and that has annexed to it a      St.ate purporting to appoint or ascer-              This certificate from Wyoming. the
  certificate of an autho1ity from lhat        tain electol'S.                                  Parliamentarian has advised. is the
   State purporUng to appoint or ascer-          Mr. RODNEY DA VIS of ILLINOIS.                 only certificate of vote from that State
   tain electors.                              Mr. President. the certificate of the            and purports to be a return from U1e
      Senator BLUNT. Mr. President. the        electoral vote of the St-ate of \Vest Vir-       St-ate and has annexed to it the certifi-
  certificate of the electoral vote of the     gi11ia seems to be regular in form and           cate of an authority from the same
   St-ate of Vermont seems to be reg-ular      aut,hentic, and it appears therefrom             State purporting to appoint or ascer-
   ill form and authen!.ic. and it appears     that Donald J. Trump of Lhe SL.a.Le of           1,a,in electors.
  therefrom that Joseph R. Eiden. Jr .. of     Florida received 5 votes for President              Senator BLUNT. Mr. President,. the
   the Stat,e of Delaware received 3 votes     and .MICIL-\.EL R. PE"1CE of the St,ate of       certificate of the electoral vote of the
  for President and KAMALA D. HARRIS of        Indiana received 5 votes for Vice Presi-         St.ate of Wyoming seems t.o be regular
  the State of California received 3 votes     dent.                                            in form and authenlic. and it appears
  fo1· Vice President..                          The VICE PRESIDENT. Are lhere                  therefrom that Donald J. Trump of the
      The VICE PRESIDENT. A1·e there           any objections to counting Lhe eertifi-          State of F101ida received 3 vol.es for
  any objections to counting the certifi-      cate of the vole for Lhe SLate of West           President a.nd MICHAEL R. PE.'IGE of the
  cate of the vote of the State of             Virginia that t.he teller has verified ap-       State of Indiana receive(l 3 votes for
   Vermont that the teller has verified as     pears to be reg·ular in form and authen-         Vice President.
  regular in form and authentic?               tic?                                                The VICE PRESIDENT. .A..re there
      There was 110 objection.                   There was no objection.                        any objecLiorn; L-o counting a certifi-
      The VICE PRESIDENT. Hearing                The VICE PRESIDENT. Hearing
  none. this certificate from the Com-                                                          cate of the vote of the State of Wyo-
                                               none. this certificate from Wisconsin,           ming t.hat U1e leller has verified ap-
  monwealth of Virginia. the Parliamen-        the Parliamentarian has advised. is the
   tarian ba.s advised, is lhe only certifi-   only certificate from that State that            pears to be regular in form and authen-
  caLe of vote from that State thal pur-       purports to be a retum from the Slate            tic?
  ports to be a return from the State and                                                          There was no oiijecLion.
                                               and thal has annexed to iL a certificate            The VICE PRESIDENT. Hearing
   that has annexed L,o it a certificate of    of an authority Ieom the State pur-
  an authoriLy from that same State pur-                                                        none. the Chair advises Members of
                                               porting to appoint or ascertain elec-
  porting· to appoint or ascertain elec-                                                        Congress the certificates having been
                                               tors.
   tors.                                         Ms. LOFGREN . .Mr. President. the              react the tellers will ascertail1 and de-
      Ms. LOFGR:1£N. Mr. President. the        certificate of the electoral vote of the         liver the result to the President of the
  certifieate of the electoral vote of the     State of Wisconsin seems to be regular           Senate.
  CommonweaUh of Virginia seems Lo be          in form and authenUc. and it appears                Senator KLOBUCHAR. The under-
  in regular in form and authentic. and it     therefrom that Joseph R. Eiden. Jr .. of         signed. ROY BLU"1T and AMY KLO-
  appears therefrom that Joseph R.             the State of Delaware received 10 votes          BUCHAR. tellers on the part of the Sen-
  Eiden, Jr.. of the State of Delaware re-     for President and KA);[AL..-\. D. H.-\.RRIS of   ate: ZOE LOFGP..EN and RODNEY DAVIS.
  ,:,-eived 13 votes for President and         the St.ate of California received 10             tellers on the part of the House of Rep-
  KAMALA D. HARRIS of the State of Cali-       votes for Vice President.                        resenlati ves. report the following as
  fornia received 13 votes for Vice Presi-       The VICE PRESIDENT. For what                   the result of Lhe ascertainment and
  dent.                                        purpose does the genLleman from Texas            counting of the electoral votes for
      The VICE PRESIDENT. Are lhere            rise?                                            President and Vice President of the
  any ohjections to counting the cerUfi-         Mr. GOHMERT. Mr. President. I ob-              United Stat.es for the Lenn beginning
  cate of the vote of the Commonweall-h        ject to the electoral votes of the State         on the 20th day of January. 2021. The
  of Virginia that the teller has verified     of Wisconsin because 71 House Mem-               report we make is that Joe Biden and
  as appearing regular in form and au-         bers. all of who condemn violence as we          KAMA.LA HARRIS will be the President
  thentic?                                     witnessed today, are f1rmly committed            and the Vice President. according to
      There was 110 objection.                 to the resolution of disagreements in            t.lle ballots that have been given to us.
      The VICE PRESIDENT. Hearing              eivil. lawful, peaceful institutions with           The tellers delivered to the President
  none. this certificate from \Vashington.     full and fair debate. free of Yiolence.          of the Senate t-he following st,atement
  the Parliamentarian has advised. is the      And though not a single court has al-            of results:
  only cer~ificate of vote from that State     lowed an evidentiary hearing t.o listen          JOD"T SE.'>.'l!Ol, OF CONGRESS FOR THE C01JNTI!':G
  that purports to be a return from the        to the si.g'nificant body of evidence of           OF THE ELECTORAL                von:s         FOR PRESIDBl'iT
  State and that has a certificate of an       fraud. and though some seize on the                A)>!> V1C'J,; PitF~'lIDE.."\"T           OP     THE        1:NITF.D
  authority from the same State pur-           court's failure to misrepresent that no            STATES O~'J.'ICTAl, TALLY
  porting Lo appoint or ascertain elec-        court would listen to the evidence as               The undersigned. Rm.- BLUNT and
  t-ors.                                       saying evidence did not exist; while             As!Y KLOBUCHAR tellers on the part. of
      Senator KLOBUCHAR. Mr. Presi-            Democrat leaders in Milwaukee ille-              the Sena.te. ZOR LOFGRF."1 and RODNEY
  dent. the certificate of the electoral       gally and uncornstitut.ionally created           DAvrn t-ellers on the part of the House
  vote of the State of Washington seems        more than 200 illegal polling places:            of Representatives, report the fol-
  Lo be regular in form and authentic.         tens of thousand£ of votes were                  lowing as the result of the ascertain-
  and it appears LI1erefrom that Joseph        changed hy workers, despite election             ment, and counting of the electoral
  R. Biden. Jr .. of the St.ate of Delaware    workers· objections, plus so many                vote for President and Vice President.
  received 12 votes for President and          other illegalities t,o fraudulently create       of Lhe United St.ates for the tenn be-
  KA:\IALA D. HARRIS of the State of Cali-     a 20.000-vote lead. we object. along ,vith       ginning- on the twentieth clay of Janu-
  fornia received 12 votes for Vice Presi-     a Senator who now has withdrawn his              ary. Lwo Lhousand and twenty one.
  dent.                                        objection.                                                                 For Ples.1dent
     The VICE PRESIDENT. Are there               The VICE PRESIDENT. Sections 15                    Elecloral\'Otes
  any objections to counLing· the certifi-     and 17 of title 3 of t.he Unitetl SLates             of each State     J>sei,b R    Oooald J       fuimala     Mlcbae<
                                                                                                                      £Men. Jr      Trump         D Harns     R ?en:!:
  cate of the voLe of the SLate of \\'ash-     Code require that any objection he pre-
  ing-ton that the teller has verified and     sented in v,riting. signed h.Y a Member          Ala~.a:tn~9
                                                                                                J\laska-3
  appeal's Lo he regular in fo11n and au-      of the House of RepresentaLives and a            f>Jllona-11                  II                         ll
  thentk?                                      Senator.                                         Ar~.ansa~-£
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  January 6, 2021                                                       CONGRESSIONAL RECORD-HOUSE                                                                      Hll5
                                 for President          for Vice Pres1de1n         thousand and twenty one. and shall he           The SPEAKER pro tempore ! Ms.
         Elec:inrnl vo:es                                                          entered. t.ogether with the list of the       JAC'KROK LEEl. Pursuant t-o Senate Con-
         at !!ath Sial.e    JOSf-fth R   Doreld J      Kamala       Michael
                            B,de-n, Jr    Trump-       D Harns      R ~nr,e        votes. on the Journals of the Senate          euri-enl Resolution l. the eleeLoral vole
                                   55                        55
                                                                                   and House of Representatives.                 will be spread aL large upon tlle Jour-
  ca11furma-55
  Co!;ira-00----9                    9                          9                                    C 0340                      11al.
  Connert,uH-7                       7                          7
  Oelaware---3                       3                          l                     The VICE PRESIDEJ.~T. The whole
  Dismct of Cc,h1mb1i-3              J                          J
  Ffmlda-29                                       29                         29    number of eleeLors appointed Lo vote                       ADJOURNMENT
  Georgia-Jo                       ]6                        15                    for President of the UniLed St-ates is
  Hawau--4                          4                           4                                                                  'l'he SPEAKER pro Lempore. Pursu-
  ldal,o----4
  lllimns-2-0
  lrwhana-ll
                                   20
                                                  4

                                                  ll
                                                             2D              •
                                                                             ll
                                                                                   538. Within that whole number·. a ma-
                                                                                   jority is 270.
                                                                                                                                 ant- t-o section 5{a)(l)<Bl of House Reso-
                                                                                                                                 lution 8. the House stands adjourned
  10\'la----o                                      6                         6        The votes for President of the United      until 11 a.m. on Monday, January 11.
  K.1nsas-6                                       £                          6     States are as follows:                        2021.
  Kennr.:f~-8                                     8                          8        Joseph R. Eiden. Jr .. of t-he State of
  Lou1S1.aoa-8                                    8                          t                                                     Thereupon (at- 3 o·cloek and 48 min-
  M«ne-4                            3             l           3               l    Delaware has received 306 votes.              utes a.m.l. under ibs previous order. Lhe
  Ma,yland-10                      10                        10                       Donald J. Trump of the State of Flor-
  Massachusetl-s-11                ll                        ll                                                                  House adjourned until Monday. Janu-
  M<cbtgan-16                      !&                        16                    ma has receivec1 232 votes.                   ary 11. 2021. aL 11 a.m.
  Mmneso:a-10                      IO                        lO                       The whole number of eleuLors ap-
  M1ss1ss1ppi-6                                    6                          6
  Mis.soun--10                                    IO                         10    pointed to vote for Vice President of
  Mon!ana-3                                        3                          3    the United St-aLes is 538. Within that         PUBLIC BILLS AND RESOLUTIONS
  Nebraska-5                        l              4          l               4
  Nevada-£                          6                         £                    whole number. a majority is 270.                Under clause 2 of rule XII. public
  New Ham_pshire-4                  4                         4                       'l'he voLes for Vice Presi<lent of ll1e    hills and resoluUons of the follovnng
  Ne• lme)~l4                      14                        14                    Unil,ed Stat-es are as follows:
  Nsv, Mexiro-5                     5                         5
                                                                                      KAMALA D. HARRIS of the State of           tiLles were int-roduced and severally re-
  N!!wYOfk--29"                    29                        29
  Jllo:rth Caro-hna-15                            15                         15    California has received 306 votes.            ferred, as follows:
  llnflll Dakota-3                                 J                          3                                                        By Mr. CLOt.:D 1for himself. !\Ir. A1.u:x,
  0h,o-18                                         18                         18       Michael R. Pence of the State of Indi-
  011/JJoma-i                                      i                          l    ana has received 232 vot-es.                         Mr. STEl'EE. i\:U-. DAHDSON, Mr.
  Oragon-7                           ]                          ]
                                                                                      This announcement of l-he sLate of                 BERG1lAN, Mr. PAL\filR, Mr. RT"TI!ER-
  Pennsyl'Jama-io                  20                        20                                                                          FORD. and i\ll". BAmD):
                                                              4                    the vole hy the President of the Senate
  Rh<!lle lsland--l
  Sou:b Carolrn:1-9
  Southllakola-3
                                    '             9
                                                  3                           'i   shall b!;l deemed a sufficient declara-
                                                                                                                                   H.R. 217. A hill to amend Lille 38. 1:nited
                                                                                                                                 States Code. to direet the Secretary of Vet-
  Tennes;eo----11                                lJ                          ll    Lion of the persons elected President         er= Affail·s lo enforce the Jieensu1·e re-
  'Tex.as-38                                     38                          38    and Vice President- of the United             quirement. fol" medical p1·oviders of the De-
  Utail-6                                         6                           6
  Ve:-mont-3                        3                         3                    States. each for the term beginning on        partment of Yetet,m:-; Affairs: to Lhe Com-
  Vrrguua-13                       13                        ll                    the 20th day of January. 2021. and shall      n1itt.ee on Veterans· Affairs.
  Wash,nglon-12                    12                        12
  West \iirgrnia-5                                s                           5    be entered. together wil-h the list of the           By i\il'. PFLUGER <for him&.lf. Mr.
  W1sa:msrn-JO                     IO                        JO                    votes, on l11e Journals of the Senat-e                 Tm;y GONZALES of Texas. Mrs. BICE
  \\',-omiog-3 .                                   3                       3                                                              of Oklahoma. Mr. ,JAl~SOK. Ms.
        T\llal-538                306            232        306          232       and House ofRepresentaLives.                          HERRELL. Mr. B..I.BDl. Mr. Roy_ Mr.
                                                                                      The Chair now recognizes for the pur-              CRI';XS!IA\\'. M.r. FALLOX. and Mr.
                            Rm: B!XNT,                                             pose of a closing prayer the 62nd Chap-               ARRINOTOK):
                            A:-ff KLOBt;C--.rUR.                                   lain of the United States Senate. Chap-          H.R. 218. A hill to prohibit the Secretary of
                              Teller.• on lhf' purl of                             lain Barry C. Black.                          the Interior and the Secretar;;· of Agriculture
                                 the Senate.                                          Chaplain BLACK. Lord of our lives          from issuing moratoriums on issuing new oil
                            zm: Lm·uR1-:c1.                                        and sovereign of our beloved Nation.          and gas leases and <lrill permit:; on eertain
                            Rom,"EY DAVIS.                                                                                       Federal lands: to the Committee on Natural
                              Tellers on 1/w p<1rl of
                                                                                   we deplore Urn desecration of the
                                                                                   United St;ates Capitol Building. the          Resources. and in addition to tlle Committee
                                the House of RrJ)-                                                                               on Agriculture. fo1' a _period to be subse-
                                 resentalii,es.                                    shedding of innocent blood. the loss of
                                                                                                                                 quently determined hy the Spea.ker. in each
     The VICE PRESIDENT. The sLaLe of                                              life. and the qua,g-mire of dysfunction
                                                                                                                                 case for consideration of such provisions as
  the vote for President of the United                                             that U1reat,en our democracy.                 fall within the jurisdiction of the committee
  States. as delivered to the President of                                            These tra.gedies have reminded us          concerned.
  the Senate. is as follows:                                                       that words matter and Lhat the power                Bv Mr. DOGGETT:
     The whole number of the electors ap-                                          of life and death is in the tongue. We           H.R. 219. A bill to amend the Trade Act of
  poil1t-ed to vote for President of the                                           have been warned that eternal vigi-           1974 to exclude from eligibility for the gener-
  United States is 538. of which a major-                                          lance continues to be freedom·s price.        alized s:,"Stem of pl'<=farenees any counw:-,-
                                                                                      Lord. You have helped us remember          t.hat fail.s to effectively enforce its environ-
  ity is 270.                                                                                                                    mental laws or meet its international envi-
     Joseph R. Biden. Jr .. of the state of                                        that- we need to see in each other a
                                                                                   common humanity that reflects Your            ronmental obligations. and for other pm·-
  Delawa.re. has received for President of                                                                                       poses: to the Committee on Ways and Means.
                                                                                   image. You have strengthened our re-
  lhe United States 306 votes:                                                                                                         By Mr. EMMER !for himself and Mr.
     Donald J. 'rrump. of the state of                                             solve to protect and defend the Con-                   RO!>NEY DAVIS oflllinoi.~):
  Florida. has received 232 votes:                                                 stitution of the United States against          H.R. 220. A bill to make supplemental ap-
     The stat-e of the vote for Vice Presi-                                        all enemies domestic, as well as for-         propriations to ca1Ty out farm stress pro-
                                                                                   eign.                                         grams. provide for expeillte<l additional sup-
  dent of l-he United St-ates. as delivere,1                                         Use us t-o lJring healin.i;· and unity to   port under the farm aml ranch stress a,;sist-
  l-o the President of the Senate. is as                                           a hurting and divided Nation and              ance network. and for other purposes: to the
  follows:                                                                         world. Thank You for what You have            Committee on Agriculture.
     The whole number of Lhe e1ecLors ap-                                          blessed our lawmakers to accomplish                 By Ms. ESHOO:
  point,ed to vol-e for Vice Presidenl of                                                                                          H.R. 221. A hill to amen<! title 5. "Gnited
                                                                                   in spite of threats to liberLy.               States Code. to modif:,· the oath of offi('e
  t-he Unite(l St-ates is 538. of which a ma-                                        Bless and keep us. Drive far from us
  jority is 270.                                                                                                                 taken hy individuals in the civil service or
                                                                                   all wrong desires. incline our hearls to      uniformed services, and of other purposes: to
     KAMALA. D. HARRIS. of U1e state of                                            do Your will. and guide our feet on the       t11e Committee on Oversight and Reform.
  Califo111ia, has received for Vice Presi-                                        pat-h of peace, And God bless America.              By Ms. ESHOO !for herself and Mr.
  dent, of the United States 306 voles:                                              We pray in Your sovereign name.                     M('EA('li!!':l:
     MICHAEL R. PE..'-CE. of the sl-at-e of ln-                                      Amen.                                         H.R. 222. A bill to lrea t the Tuesday next
  <liana. has received 232 votes.                                                    The VICE PRESIDENT. The purpose             after the first Mornlay in N o\·emher in the
     This announcement of Lhe slate of                                             of t-lie joint session having concludetl,     same manner as an;- legal public holiday for
  the vote by the Presidenl- of the Senate                                         pursunnt t,o Senate Concurrent Resolu-        Plll'poses of Federal employment.. and for
  shall be deemed a sufficient declara-                                                                                          other purposes: to the Commiltet> on On·1·-
                                                                                   Lion 1. 117t.h Congress. the Chair dt>-       sight and Reform.
  t-ion of Lhe pe1-sons eleet-ed President                                         dares the joint session dissolved.                   By Mr. ESPAILLAT (for himself anil
  anc1 \'ice Pi-esic1ent of the Uniled                                               (Thereupon. at 3 o'clocl, and 44 min-               Mr. SIRE.-s):
  Stat.es. each fo1· Lhe term beginning on                                         utes a.m .. the joint session of t-he two      H.R. 223. A Mll to direc-t. t.be 8eeret.m·y of
  the twentieth day of January. two                                                Houses of Congress was dissolved.>            Haalt.ll ,1nd Human Se-r,;ices to rel.mhut"N'
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  H116                                             CONGRESSIONAL RECORD- HOUSE                                                            January 6, 2021
   ciualifi~d healt.h eare providers for the ,•o,,t,;     naneial crim.inal aelh·lU~ a.ssoeiated with            ,superatld lo the oath direeted hy the Con-
   of pun,ha,;in_,r. leasing. inst.ailing. and opel'•     the facilitation of seve1·e fo1ms of tra1Iicking       ~tit.ution such other oath of office a>< it.s wfo-
   at.ing qualified equipment for <,old stontK<' of       in persorn; within the factors eom;i<l:ered as         don1 1night sugge!$t:·
   CO\"ID-19 ,•aednes: to the Committee on En-            indi<:ia of serious and sustained efforts to                  By Ms. ESHOO:
   ergy and Commerce.                                     elinlinate se,·,m, fonns of traffit:kinp; in pe1·-       H.R. 222.
          By Ms. GARCIA of Texas ,for herself.            Rons. and for othe1· purposes; to the Com-                Conp;res.~ ha:s the powe1· to enaN thh, legi:;-
             Mr. CA:ITIW of Texas. l.\11'. BABJJ\". Mr.   mittee on Foreign Affail'~.                            lation pursuant to the following:
            YELA. Ms. .Jo13;,;;;o;,; of Texas. l\fa.             By Mr. TAKANO:                                    A.rticle I. Section 4 of the Constit.ut.ion
            ,J.-\CKsON LEE. Mr. ROY. Mr. YEASI-:Y.          H.R. 23'1. A hill t.o amend title 38. L'nited               By Mr. ESPAILLAT:
            Mr. TAYLOR. Nil'. WII.LIAW, of Texas.         State:; Code. to treat certain individuals who           H.R. 223.
            and Mr. Gimm: ofTe>:asJ:                      se1-vetl in Vietnam as a member or the armed             Congress has lhe power to enac,t t.hi,s legis-
      H.R. 22,. A lJill Lo designate the facility of      foreess or the Republic of Korea as a ,·eteran         lation pur;;uant Lo the following-:
   the t:nited States Po:stal Service localed at          of the -"u·med Forces of t11e United State,; for         Article One of the United St.ates Constil.u-
  5302 Gah-eston Road in Houston. Texa:s. as              pm·poHes of the provision of health t:are by           tion. section 8. clause 18:
   t.he --vanesoa Guillen Post Offiee Building-"':        lhe Department of \'eterans Affairs; to the              The Congresi; shall have Power---To make
   l.o the Committee on Oversight and Reform.             Committee on Veterans· Affairs.                        all Laws which shall be nece:;sary and proper
          By Mr. GRIFFITH:                                       B.:,r l\'1s. VELAZQt:EZ ifo1· herself. Mrs.     for carrying into Execution Lhe foregoing
      H.R. 225. A hill Lo amend chapter 4'! of title                CAROLY~ B. MALO;:..,;y of New York,          Powers. and all otlun· Powers vested by thiH
  18. t:nited States Code, to more comprehen•                        Mr. EsI'AJl.LAT. Ms. M:S..>.:G. Mr. NA!l-   Constitution in the Government of thP
  sively address the interstate transportation                      LBR. Ms. Or..\»JO-COHTRZ. Ms. Cl~"-RKR       t:nited State.s. or in ally Depai·t,nent or Offi-
  of firearms or ammunition: to the Com-                             of New York. Mr. JBJ•·;•mt"~- Miss RWE      c,er thereof
  mittee on the Judiciary.                                          of New York. and Mr. si:.:ozzn:                     B;v iv!s. GARCIA of Texas:
          By Mr. GRIFFITH;                                  H.R. 235. A bill to autllorize additional              H.R. 224.
      H.R. 226. A hill to diJ:ect the t:nited Stat.es     monies to the Publie Housing Capil.aI Fund              Cong-res.<, has tl1e power to enact thi:; legis•
  Postal Servh'e t.o designate a single. uni,1ue          of the Department of Housing and D"1·ba11 De-        Iation pursuant to the following:
  ZIP Co,le for Fairlawn, Yil';sinia.. and for            velopment. and for other purpose.-<: Lo the             _.\rtide I. Sect.ion 8, Clause 7: {The Con-
  other purpose,s: to the Committ.ee on On,r-             Committee on Financial Services.                     gi·eRR shall have Power . . . j To e:siahlish
  sight and Reform.                                              B,· Mr. DOGGETT il'or himself and Mr.         Post Offices and ))Ollt. Roads
          By Mr. HASTINGS tfoI' himiself and                        S:dmI of New Jersev ):                             By Mr. GRIFFITH:
            Mrs. H.-\YB,•>):                                H. Res. 20. A resolution ~x:presMing support          H.R. 225.
      H.R. 'lZl. A hill to provide dediea ted fund-       for the goals and ideals of "National Hydro-            Congress has the pawer to enaet t.his legi,;.
  ing for the national infrast.rueLure invest•            cephalus Awru·enes;; Month": Lo the Com-             lation pm-suant r.o the following:
  ment, program and the capital investment                mittee on Energy and Conunerce.                         This bill is enacted pursuant to the power
  grant pl'Ogram. and for other purposes: to the                                                               g-ranted Lo Congress under Article I. Sect.ion
  Committee on Transportation and Infra•                                                                       8 of the L'nited St.ales ConstHut!on .
  .struet.ure. and in addition to the Committee                CONSTITUTlONAL AUTHORITY                                By Mr. GRIFFITH:
  on Ways ,md Means. for a period to be subs.,_                               STATEMENT                           H.R.226.
  quently determined by the Speaker. in ea<Jh                                                                     Coll)!.1.-ess has the power to eruwt t.hi,s legis-
  ease for consideration of such provisions as                Pursuant to dause 7 of rule XII of lation pursuant to the following:
  fall within t.he jurisdiction of the committee           the Rules of the House of Represenla-                  This bill is enacted pw-suant to tl1e power
  conc-erned.                                              tives. tJ1e following st.atements are sub- granted to Congress under Al'(.icle I. Sec;t.ion
         By Mr. LAMALFA;                                  mitted regarding the specific powers                 8. Clause 7 of the United States Conslitution.
      H.R. 228. A hill to designate the facility of       grantec1 to Congress in lhe Constitu-                        By Mr. HASTD!GS:
  the United States Postal Service loeated at             tion to enact the accompanying bill or                  H.R. 227.
 2141 Ferry St.reel in Andersou. Ca.!ifornia. as                                                                  Congres.5 has the power to enaet this Jegis-
  t11e "Norma Comnick Post Office Building":              joint resolution.                                    la tion pm-suant to the following:
  t.o the Committee on Oversight and Reform.                     By M1'. CLO'CD:                                  Article 1. Section 8
         By Mr. RL'IZ:                                       H.R. 217.                                                 By l\:Ir. LaMALFA:
      H.R. 229. A hill to amend the Federal Ele.:-           Congre.ss has the power to enact this legis-         H.R. 228.
 !.ion Campai..!\'n Aet. of 1971 to prohibit a can-       iat.ion pursuant to the following:                      Congress has the power to enacL this legis-
 didate for election for Federal omce from                   Article 1. Section 8. Clause 17                   lation pursuant to the following:
 using amounts contributed to the ean-                       ·•To make all Laws which shall he nec-               Article 1, Section 8
 didate·s campaii,m Lo make payments to ven-              essa1·,· a.nd proper for carrying into Execu-                By Mr. Rl."IZ:
 dors owned or controlled b;v the candidate or            tion the foregoing Powers. and all other                H.R. 229.
 hy an inuuediate family member of the can-               Powers ve>1ted l>y this Constitution in the             Congress ha.~ the power to enact this legis-
 cliclate: t.o the Committee on House Adminis-            Government of the United States. or in any lation pursuant to the following:
 tration.                                                 Department or Office1· thereof.··                       Article I. section 8. Clauses 1 and 18 of the
         By Mr. Rl."IZ:                                          By Mr. PFLUGER:                               United States Constitution. to provide for
     H.R. 230. A hill to prohibit the use or funds           H.R. 218.                                         the general welfare an!I make all lav,,; nec-
 provided for the official travel expenses of                Con_,,i-ress has the power to ena<:t this legis- essary and proper to caITY out the powers of
 Memhers of Congress and other officers and               lation pm-suant to the following:                    Cong:ress.
 employees of the legislative branch for air-                Article l. Section 8                                      By 11,11•. RUIZ:
 line acco=odarJons which are not coach-                         By lVIl:. DOGGETT:                               H.R. 230.
 class accommodations. and for other pu1·-                   H.R. 219.                                            CoD!,'l'ess has the power to enaet this legis-
 poses; to the Committee on Hou.,,-e Adminis-                Congre,ss has the power to enact this le<,;is- lation pm-suant to the following:
 tration.                                                 la tion pursuant to the following:                      Article I, section 8. Clauses 1 a:nd 18 of the
         B~- ll,1r. RVIZ:                                    Article l Section 8 of the Coll$titution of t:nited States Consl1tution, to provide for
     H.R 231. A bill to prevent the enrichment.           Lhe United States of America. The Congress the gene1-a.l welfare and make all laws nec-
 of eertain GoveJ:nment officers and employ-              shall ha,·e Power To lay and collect Taxes. essru;; and proper to carry out the powers of
 ee.-; or their families th1•ough Federal funds           Duties. Imposts and Exeises. to pay the Congress.
 or C'ontractin:g. and for other purposes: to the         Debt;:; and provide for the common Defence                   By Mr. R"C"IZ:
 Commitlee on Oversight and Reform.                       and gem,l'al Welfare of the "Cnite,l States: but        R.R. 231.
         By ll'Ir. RUIZ:                                  all Duties. Imposts and Excises 8hall he uni-           Congress has the power to enact tbi;; leg-is•
     H.R. 232. A hill to amend the Ethies in Gov-         form throuirhout the D"nlt.ed States.                lation pursuant t.o the following;
 ernment A<:L of 1978 to require the Pre.~ident.                 B.v Mr. EMMER:                                   Article L section 8. Clauses 1 and 18 of the
 \-ice President. and Cabinet-level officers to              H.R. 220.                                         United States Constitution. to provide for
 release their ta-X returns. and for other pur-              Cong-res.<; has the power t.o enact t.hi,s legis- the general welfare and make all laws nec--
 poses: to the Committee on Ways and Means.               lation pm-suant to the following:               ·    essary and proper t.o carry out the powers of
 and in acldit.ion to the Committee on Over-                 Article l. Section 8                              Cong1'ess.
 sight and Reform, for a period to he suhse-                     B,· J\,Is. ESHOO:                                     By Mr. Rt:IZ:
 <iuently determined by the Speaker, in each                 R.R. 221.                                            H.R. 232.
 ca«e for eonsiderat.ion of such :provisions as              Conµ-ress ha,i the power to enact this legis-        Collgress has thP power to enaet thi~ legis-
 fall wll.hin the jul'isrlit'tion of !.he committ.E><'    lation pursuant to the following-:                   lation pursuanl to the following:
 eoncernetl.                                                 Clause 3 of artkle VI or the Con,;tiluLion.          Article I. section 8. Clauses J and 18 of the
         B,· Mr. STEIL tfor himself anrl Ms.                 In l\kCulloch v. J\.faryland. 17 i:::.s. 316 Gnit.etl Stat.es Con.sLituLion. l.o provide for
           DEA:ll:                                        ll819l. thE' Supreme Court st.ate<l. ··Yet. he the general welfare and n1ake all ia.ws llP.C'-
     H.R. 233. A hill t<> amend the Trafficking           woulcl he char;t'ed wit.h in:;anity who ,;hould es,;ary and p1·oper to c-.ar1·~- out [.he powers of
 Yktim.~ Prnte>etion Aet of 2000 to include fi-           eont.en<l thnt the l<>;dsla!.ure might not Conirre~~-
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         B.v l\k STEIL:                                         ADDITIONAL SPONSORS                                   H.R. 97: Mia. Wll.U. 1\fa. E;;mx>. Ml'.
     H.R. 233.                                                                                                      CAHDE~}~s. l\'.Ir, fJOIIN':-iON of Georg-ia. J\1r.
                                                           Un<ler dause 7 of rule XII. sponsors                     Y.-\RG.;.s. Mr. MEEKS. Ms. CU,RKF. of ~ew
     Con~ress MH the pow~r to ~na<~t thi~ le}..ds-       were addell to public bills and re:,oJu-
  Jation pu1-,;uant Lo the following:                                                                               York. Mr. E\'A:-;,;. Ms. Kt:LLY of Illinoi,;. Mr.
                                                         tions, as follows:                                         KHAX:KA. Mr. Gm,JAl.\'.A. Ms. McCOLLC~!. Mrs.
     Article L Section 8. Clause 3 of t.h<> l:nil Pd                                                                LAll'RF:Ncr:. Mr. L11<:t:. M,s. PING.HE!,. M><.
                                                            H.R. 24: l\lr. BTIGE:S>L
  Stat el-' Con.stit.ution                                                                                          E>lC'OBAR, l\:tr. HAS'l'IXG><. Mr. RASK.Ir-:. M;-.
                                                            H.R. 28: l\,'11'. BALDF.R80:-l. Mr. BA)."'K:S. Mr.
         By Mr. TAKANO:
                                                         BILIRAKTR. Ml'. Cnu:. l\fr. RODJ<EY DA \'lS or Il-         BA:'\S, Mr. P.-\YXE. Mr. BU:C.IEXAt:J-:R. Mr,:.
     H.R. 234.                                           linois. lVu:. DL-\.Z-BALART. l\,'Ir. FLEISL1rn.~:,;:,;:,   Ws\'l':So;,; Cou:~UN. Mr. TRO?o-"E. Mr. RUSH. Mr.
     Congress has the _power to enact. t.lli,; leg-is-   Mr. GROTIL\!AX. Mr. GT:I'HRIE. lv1J.•s. HIKsox.            PDC'AN. Ml'. BRO\\-X. l\fr. TO:-,KO, l\-fa. SC.'\.;\'I.OX.
  la tlon pursuant to the following-:                    Mr. ,JOHXS0:<1 of South Dakota. Mr. L.l.MALFA.             Mr. LOWEXTHAL. Ms. MF.NG. Mr. CooPRR. Ms.
     Artide L Section 8                                  Mr. LATTA. Mr. McHt:NRY. Mns. RODGERS of                   LOFGP.J::..'\. l\:Irs. TP.AHAX. Ms. CHU. M1-;;. CARO-
         By Ms. VELAZQL~Z:                               Wa.shingt.on. Mr. P1-·r,nmm. Mr. Rl'Tlll,'.llFOR!}.        LYX B. -1\-1,\1,0XEY of ::Sew York. Ml'. BBYEH.
                                                         lvtr. SC'HWJ•:JKERT. Mr. \\.RIGHT, an<l Mr.                Ml'. MALIXOWtiKI. !\fa. DE,\N. M,;. SPEIER. Mr.
     H.R. 235.                                                                                                      COl!E;"s. and Mr. LF:nx of Miehigan.
                                                         STAl:BKR.
     Cong-res.~ has the power to enat't. this lep;is-     H.R. 40: Mr. PRICE of North Camlina. Mr.                    H.R. 173: Ms. SCH!\.KOWRKY. Mr. HAs·rJKGS,
  la tion pursuant lo the following:                     CA:sTiw of Texas. Mr. TORR!-:,; of ::,few Y-ork.           Mr. St:O7..ZI. Ms. NORT<XX. an<l NI.-;. GARCIA of
     A1·Ude I. Sect.ion 8. CJ.au,se 1                    and Mr. SMJTH ofWashin~ton.                                Texa::..
     The Congress shall ha\·e Power to . . . pro-         H.R. 51: Mr. H.l.i-"r!NG:-i.                                H.,J. Res. 12: 1'fr. HRRX. 'Mr. LAHOO!>. Mr.
  ,·ide for the .          general Welfar<> of the        H.R. 82: Mr. KJNZIXGER. Mr. PJUCE of )forth               WRIGHT. Mr. Fn.cHJo:R. Ml'. DOX.\IJ)S. Ml'.
  l:nited St.at.es: .                                    Caroilna. and Mr. Bt:nm:,;:;_                              BURCHETT. antl Mrs. \\'.\GX1'm.
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  ~~,,1 ltongrrssional Rrcord
    United Sr-ates
                                                                                         117 th CONGRESS, FIRST SESSION
     (JI America           PROCEEDINGS AND DEBATES OF THE


  Vol. 167                         WASHINGTON, WEDNESDAY, JANUARY 6, 2021                                                                   No. 4


                                                             Senate
    The Senate met at 12:3D p.m. and was            REPORT OF THE SECRETARY OF                              MEASURE READ THE FIRST
  called Lo order by Lhe Presillent pro                     THE SEN.ATE                                                TIME-S.13
  l-empore (Mr. GRASSLEY).                                                                               Mr.  G.RASSLEY.      Mr. PresidenL. l llll-
                                                   The PRESIDING OFFICER laid be-
                                                fore the Senate the following letLer derstand there is a bill at Lhe desk. and
                                                from the Secretary of t,he Senate. I ask for its first reading.
                    PRAYER                      which was ordered to lie on Lhe table:                   The PRESIDING OFFICER. The
                                                                                                      clerk will read the bin 1Jy iitle for the
     The Chaplain, Dr. Bal'I'y C. Black. of-       DEAR Mil. PRESJD1';>.7: On Tuesday, ,January first time.
 fered l-he following prayer:                   5. 2021. the President of the linite<l St.ates           The senior assistanL legislative clerk
     LeL us pray.                               sent   hy me,menger the attached sealed env<e-
                                                                                                      read as follows:
     Almighty God, have compassion on           lope  addre:,-sed to  the President    of  the Senate
                                                                                                        A blll is. 13l to establish an advL~ory com-
 m, with Yotu· unfal1ing love. As our dated January 5. 2021. said to contain a mes- millee Lo make recommendation.-s on im-
 Javm1akers prepare to formally certify SRge regarclin1< additional st.eps addressing provement;; to the security. inteinity. and
                                                 the th.real posed ny applications and other
  the votes cast by the electoral college, software developed or controlled hy Chinese ail.ministration of Federal elecLions.
 1.Je present with Lhem. Gu.ii.le our legis- companies. The Senate not l>eing in session                 Mr. GRASSLEY. Mr. President. I now
 lators with Your wisdom and truth as on the day whid1 the P1·esident delive1:ed ask unanimous consent for a second
  the1· seek t-o meeL the requirements of t.his message. I accepted the meb'Sl!ge at 5:00 reading. ancl in order to place t,he bill
  Lhe U.S. ConstituLion. Lord, inspire p.m.• and I now present to ~-ou the Pi·esi- on the calen.dar under the provisions of
 them to seize this opportunity to dem- dent·s message. with !.he accompanying pa- rule XIV. I object. t-o my own requesL.
 onstrate to the Nation and world how pers. for disposition by the Senate.                               The PRESIDING OFFICER. Objec-
 t.he democratic process can be done                    Respeetfull;s•.
                                                                            J'CLIE A. ADAM:5.         tion having been heard, the bill will re-
 properly and in an orderl;,• manner.                                     Sec-rl'tary of the SenC11e. ceive ils second reading on Lhe next
 Help them to remember that history is                                                                legisla. ti ve day.
 a faithful stenographer. and so are               The    PRESIDING        01'-'FICER.      The  Sen-
 You.                                           at-0r  from   Iowa.
     We pray in Your sovereign Name.                                                                  JOINT SESSION OF THE TWO
 Amen.                                                                                                   HOUSES-001JNTING              OF ELEC-
                                                                                                         TORAL BALLOTS
                                                       MEASURE PLACED ON THE                             The PRESIDING OFFICER. Under
         PLEDGE OF ALLEGIANCE                                 CAL&"\IDAR-S. 11                        the provisions of S. Con. Res. 1. the
                                                                                                      Senate will now proceed as a body to
     The President pro tempore led the             Mr. GRASSLEY. Mr. President. I un- the Hall of t.he House of Representa-
 Pledge of Allegiance. as fo1lows:              derstand there is a bill at the desk that Lives for the counting of the electoral
    I pledge allegiance to the Flag of I.he is due for a second reading.                              ballots.
 United States of America, and to the Repub-       The PRESIDING OFFICER. The                            Thereupon. Lhe Senate. at 12:51 p.m ..
 lic for which it stands. one nation under God.
 indivisihle. with liberty and justice for all.
                                                Glerk will read the bill by tit-le for the preceded by Lhe Secretary of the Sen-
                                                second time.                                          a.Le. Julie E. Adams. and the Deputy
                                                   The senior assistant legislative clerk Sergeant at Arms. Jennifer Heming-
                                                read as follows:                                      way. proceeded to the Hall of the House
    RESERVATION 01'' LEADER TIME                                                                      of Representatives for the purpose of
                                                   A bill !S. lll to provide for an exception to counting elect-oral ballots.
    The PRESIDING OB'I<'ICER (Mr. a limitation against appointment of persons
 LA:-JKFOHD). Under the previous order. as SeCJ·et.ary of Defense within seYen years of                  T11e V1CE PRESIDENT. Pursuant to
 the leadership time is reserved.               ,·elief from active duty a,,s a regular comnlis- S. Con. Res. 1 and section 17. title III.
                                                sion<>d officer of the Ar111ed Forces.                U.S. Code. when the Lwo Houses with-
                                                                                                      draw from t-he joint session l-o count
                                                   Mr. GRASSLEY. In 01·der to place the electoral vote for separaLe consid-
           MORNING BUSINESS                     t,he bill on the calendar under the prn- erat.ion of an objection. a Senator may
    The PRESIDING OFFICER. Under visions of rule xrv. I would object to speak to the objection for 5 minut-es
 the previous order. the Sena.Le will be its fnrther reading.                                         and not more than once. Debate shall
 in a period of morning business. with             The PRESIDING OPFICER. Objec- not exceed 2 hours, after which the
 Senators permiUed to :;peak Lherein tion having heen heard. the bill will he Chair will put U1e question: Shan the
 for up to 10 minutes each.                     placed on the calendar.                               olJjection he sustained?

         • This ··t,ullcr" symbol identifies sraremenrs or insertions which are nor spoken by a Member of the Senate on the floor.

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  S14                                         CONGRESSIONAL RECORD-SENATE                                                  January 6, 2021
    The clerk will report the obje<.:l-ion             board of elections on steroids. The vot-      Arneriean voLer,;: and ovenule the
  made in the joi11t session.                          ers, the eourts. and the States have all      courts and t.he States on this extraor-
    The senior assistant. leg-islative clerk          spoken. They have all spoken. If we            dinarily thin basis. and I will not pre-
  read as follows:                                     overrule them. it would dan1age onr           t-end such a vol-e woulc1 be a harmless
     Ohjel"tion from Repi-esentative Go,;An fl'om     Repuhlic forever.                              protest gesture while relying on others
  Arizona and St>.nat.or CRT:z and other,;, ··we. a      This election a<.!Lual1y was not unusu-     to <lo the right thing. I will vote to re-
  !.VIc>mher or the House of Represienl.ath·es and    ally close. Just in recenl- history. 1976.     sped the people's decision and (lefend
  a United St.ates Senat.or, object. lo the count-    2000. and 2004 were all closer than Lhis       our system of government as we know
  ing of the electoral vote8 of the St.ate of Ari-     one. The electoral college margin is al-      il-.
  zona on the ground that they were not. under        most. identical to what. it was in 2016. If
  all of the known cil"cumstancei<. regularl;."
  given.
                                                       this eleetion. we1·e overturned by mere
                                                       allegations from the losing side. our          RECOGNITION OF THE MINORITY
                                                       democracy would enter a death spiral.                         LEADER
   RECOGNITlON OF 'l'HE MAJORITY                      We would never see the whole Nation              'I'he \'ICE PRESIDENT. The Demo-
                  LEADER                              accept an election again. Every 4 years        cratic leader is recognized.
    The VICE PRESIDENT. The majorit-y                 would he a scramble for power at any
                                                      cost. The electoral colleg-e. which most         CHALLENGE TO THE ELECTORAL
  leader is recognized.
                                                      of us on this side heen have defending                          COLLEGE
                                                      for years. would cease to exist. leaving
                                                      many of our States with no real say at            Mr. SCHUMER. Mr. Vice President.
           UNANIMOUS CONSEl\17.'
                                                      all in choosing a President.                   as prescribed by Lhe Constitution and
               AGREEMENT
                                                         The effects would go even beyond Urn        l-he laws of the Na.Lion. t.he purpose of
    Mr. MCCOl\'NELL. Mr. President, I                 elections themselves. Self-government.          Lhis joint. se:,-sion ii:s for teller;;. ap-
  ask unanimous consent that the major-               my colleagues. requires a shared com-          pointed on a hipartisan basis by the
  ity leader and the DemocraLic leader                mitment l-o the truth and a shared re-          L-wo Houses, to read Lo Lhe Congress the
  he allowed to speak and that following              spect for the ground rules of our sys-         results of an election tlrn,L has alread..v
  their remarks. the majorit.y leader and              tem. We cannot keep drifting apart            happened. We are here to receive an an-
  the Democralic leader each control up               int-o t.wo separate tribes with a sepa-        nouncement. of a vote that has already
  to 1 hour of debate time and he author-             rate set of facts and separate realities       been certified by every State in the
  ized to yield up to 5 minutes of that               with nothing in common except our              Union and confirmed by the courts
  Lime to any Senator seeking recogni-                hostility l-0ward each other and mis-          many times-many Umes over. We are
  tion. Further. I ask unanimous consent.             trust for the few national institutions        here to watch the current Vice Presi-
  that the Senators be permitted lo in-               that we all slill share.                       dent open envelopes and receive the
  sert. statements into the RECORTl.                     Every time-every time in the last 30        news of a verdict that has already been
    The PRESIDING OFI<'ICER. Is L-here                years that Democrats have lost a Pres-         rendered. It is a solemn and august oc-
  objection?                                          idential race, they have L-ried a chal-        casion, no doubt. hut it is a formality.
    Without object.ion. it is so ordere(l.            leuge just like this-after 2000. after            The Congress does not deter:rnine the
    The VICE :PRESIDENT. 'l'he majority               2004. and after 2016. After 2004, a Sen-       outcome of elections: the people do.
  leader.                                             ator joined and forced t..he same debate.      The Congress is not endowed with the
                                                      And. believe it or not. Democrats like         power to administer elections: our
                                                      Harry Reid. DICK DURBIK. and Hillary           States are given that power.
    CHALLENGE TO THE ELECTORAL                                                                          By the end of the proceedings today,
                                                      Clinton praised-praised and applauded
                   COLLEGE                                                                           there will be confirmed once again
                                                      the stunt. Republicans condemned
     Mr, McCONNELL. Mr. PresidenL we                  those baseless efforts back then. and          something that is well known and well
 are debating a step that has never been              we just spent 4 years condemning               set,Uec1: The American people elected
 taken in American history: whether                   Democrats' shameful atLacks on the             Joe Biden and KAlliALA HARRIS to be
 Congress should overrule the voters                  validity of President Trump's own elec-        the next President and Viee President
 and overturn a PresidenUal election.                 tion. So there can be no double stand-         of the United States. Yet a number of
     I have served 36 years in U1e Senate.            ard. The media that. is outraged today         our colleagues have organized an effort
 This will be the most important. vote I              spent 4 years aiding and abetting the          to undermil1e and object, to that free
 have ever cast.                                      Democrats' attacks on our institutions         and fair election. They are in the mi-
     President Trump claims the election              afLer they lost.                               nority. They will lose: L-hey know thaL
 was stolen. The assertions range from                   Biit we must not imit.at,e and escalate     They have no evidence of widespread
 i::;pecific local allegations. to constitu-          what we repudiate. Our duty is to gov-         voter fraud upo11 which to base their
 Lional arguments. t-0 sweeping con-                  em for Lhe public good. The United             objecUons. That is because there is
 spiracy theories. I supported the Presi-             States Senate has a higher calling than        none. There is none. not brought before
 den t:s right to use the legal system.               an endless spiral of parl-isan vengeance.      any of the courts successfully.
 Dozens of lawsuits received hea1•ings in                Congress will either overrule the vot-         They know that President T111mp
 courtrooms all across our country. hul               ers. the States. and the courls for the        and his allies have suffered a defeat in
 over and over. courts rejectecl L-hese               first time ever or honor the people's de-      court. after court across the country.
 claims. including all-star judges whom               cision. We \vill either guarantee Demo-        losing no fewer than 62 legal chal-
 the President himself nominated.                     crats· delegitimizing efforts after 2016       lenges. And. I might add, many Repub-
    Every election. we know. features                 became a permanent new routine for             lican-appointed       judges-some         ap-
 some illegality and irregularity. and.               holli sides or declare that our Nation         pointed hy President Trum]}-rendere<l
 of course. l-hat is unacceptable.                    deserves a lot better than this. We will       those decisions.
    I support strong St.ate-led voting re--           either hasten down a poisonous path               They know-you all know-lhat, Joe
 forms. Last year·s bizarre pandemic                  where only t,he winners of elections ac-       Biclen and KAMALA HARRIS are going Lo
 procedures must. not- become the new                 Lually accept the results or show we           be sworn in as President and Vice
 norm. But. my colleagues. nothing be-                can still muster the patriotic courage         President of the United States on Jan-
 fore us proves illegality anywhere near              that our forebears showed not only in          uary 20. but they are going· to object to
 the massive scale-Lhe massive scale                  victory but in defeat-.                        Llle counting of the vote anyway. aml
 that would have lipped the entire elec-                 The Framers built the Senate lo slop        in Lhe process, they will embarrass
 tion. nor can public doubt alone justify             short,-term pa..."Sions from boiling over      Lhemselves, they will emban-a:,-s Lheir
 a radical break when Lhe !louht- it.self             and melting· the foundations of our Re-        party. and worst. of all, they will em-
 was incited without any evidence.                    public. So I believe prol-ecting our con-      barrass their <;Ountry.
    The Consl-itul-ion gives us here in               st.itul-i011al order requires respecting          This insurret•tion was fo1·lunalelr
 Cong1·ess a limited 1·01e. We eannot                 t.he limits of our own power. It would         discouraged by the leadersllip of the
 simply declare OUl'Selves a national                 he unfair an<1 wron..,1,· to disenfranc11ise   majority part-y. hut. it was not quelled.
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  January 6, 2021                        CONGRESSIONAL RECORD-SENATE                                                                S15
  It is    very :;ad comment 011 our time,;
          ,1.                                   antitlemocralic. tllere will alwa:rs. al-      consrner tl1e efaims of illegality and
  Lhat merel;v accepting the results of an      ways be-praise God-a far broader and           fraud in this election'?
  elect.ion i,; coru;idereu an acl. of polit-   st-ranger coalition ready t.o push hack           And I believe there is a better way.
  ical courage. Sadder and more dan-            and defend everything we hold dear.            The leaders just spoke alJouL setting
  gerous st.ill is the fact. that an element        We can send that message t.oday by         asille the electfon. Let me he clear. I
  of the Republican Party believes their        voting in large and overwhelming num-          am not arguing fo1• seU,ing aside the re-
  political viability hinges on the en-         hers to llefeat these o1Jjections. My col-     sult of this elect.ion. All of us are faced
  dorsement of an au.empted coup. Urn.t         leagues. we each swore an oath just 3           with two choices. hoth of which are
  anyone-much less a.n elected official-        days ago that we would defend and sup-         lousy. One choice is vot-e against the
  would he willing t-o tarnish our democ-       port Lhe Constitution of the United            objection. and tens of millions of
  racy in order to burnish Lheir personal       St.ates against all enemies. foreir,,"11 and   ."..mericans will see a vote against the
  polit-ical fortunes.                          domestcic: that, we would bear true faith      objection as a statement thal voter
     Over the course of the afternoon and       and allegiance to the same.                    fraud doesn·t matter. isn·t, real. and
  however far into Lhe evening this band            We swore that we took this obliga-         shouldn't. be taken seriously. And a
  of Republic objectors wants to take us.       tion freely. without any mental 1·es-          great many of us don·t believe that.
  Senators of goo<l will from both sides of     ei-vatio11 or purpose of evasion, and             On l-he other hand. mosL. if not all. of
  the aisle will explain whs' these chal-       t11at, we could well and faithfully dis-       us believe we should noL set aside the
  lenges must be dismissed. The Senators        charge the duUes of the office we were         results of an election just because our
  from States whose electoral votes are         al.lout lo enter. so help us God.              candidate may not have prevailed. So I
  heing challenged will explain how the            The precise words of that oa.!,h were       endeavored t,o look for door No. 3. a
  allegations of fraud are baseless. And a      shorLly written after the Civil War.            third option. and for that I looked Lo
  substant,ial bipartisan majority must         when the idea of true faith and alle-          history. t-o the precedent of the 1876
  vote to put dov,,1 these objections and       giance to this country and its Con-            election. tlle Hayes-Tiluen elect.ion.
  clefend the sanctit,y of our elections and    stitution took on enormous meanin_;;-.         where this Congl'ess appointed an elec-
  indeed-and indeed-our great and               Let- those words ring in the E>.ai·s of        toral commission to examine claims of
 1-,'Tand democracy because thaL is what        every Senat.or today. Let us do our            voter fi·aud.
  we are talking ahouL Loday: the he.a.1th      duty to support and defend the Con-               Five House Members. five Senators.
  of powe1• democracy. this wonderful.          stitution of the United Slates. so help        five Supreme Court Justices examined
  beautiful. grand democracy where the          us God.                                        the evidence and rendered a judgment.
  peaceful passing of the torch is                 The VICE PRESIDENT. The majority            What I would urge of this body is Lhal
  extolled by schoolchildren in tbe sec-        leader.                                        we do the same: that we appoint an
  ond grade hut not by some here.                  Mr. McCOl\"NELL. Mr. PresidenL. I           electoral commission to conduct a 10-
    As we speak. half of our voters are         yield up to 5 minutes to t,he Senator          day emergency audit-. consider the evi-
 being conditioned by the outgoing              from Texas, Senator CRUZ.                      dence, and resolve t.he claims.
 PresidenL to believe Lhal- when his               'r'he VICE PRESIDENT. The SenaLor              For those in the DemocraLiu aisle
 party loses an election. the results           from Texas.                                    who say there is 110 evidence, Lhey ha.ve
 must not be legit,imate.                          Mr. CRUZ. Mr. President. we gather          been reject-ell. then you should rest in
    As we speak. the eyes of the worlc1         t.ogether at a moment of great division.       comfort.. If l,hal is the case. an elec-
 are on this Chamber. questioning               aL a moment of great passion. We have          toral commission would reject those
 whether America is still the shining           see11 and. no doubt, will continue to see      claims.
 example of democracy. the shining ei ty        a great deal of moralizing from both              But for those who respect the voters.
 on the Hill.                                   sides of the aisle. hut I would urge t.o       simply telling t-he voters. ··Go jump in
    What message will we send today to          both sides perhaps a bit less certitude        a lake: the fact that you have deep con-
 our people. to the world Lhal, has so          and a bit more recognition l,hat we are        cerns is of no moment. to us.·· thal
 looked up t-0 us for centuries? What           gathered at a time when democracy is           jeopardizes. I believe. the legitimacy of
 message will we send to fledgling· de-         in crisis.                                     this and subsequent elections.
 mocracies who study our Constitution.             Recent pollilig shows that 39 percent          The Constitution g·ives Lo Congress
 mirror our laws and traditions in the          of Americans believe the election that         the responsibility Lhis day to count the
 hopes that Lhey. too. can build a coun-        just, occurred "was 1iggec1.·· You may         votes. The Framers knew what they
 try ruled by Lhe consent- of the gov-          noL agree with that. assessment. but it-       were doing when they gave responsibil-
 erned?                                         is, nonetheless. a reality for nearly half     ities to Congre.ss. We have a responsi-
    What message will we send to those          the eount,ry.                                  bility. and I would urge that we follow
 countries where democratic values are             I would note il is not just Repub-          the precedent of 1877. The Electoral
 under assault and look to us to see if         licans who believe LhaL. Thirty-one            Count Ad explicitly allows objections
 those values are still worth fighting          percent of Independents agree \'l,ith          such as this one for votes that were not
 for?                                           that statement. Seventeen percent. of          regularly given.
    What message will we send to every          Democrats tJelieve the election was               Let. me be clear. This objecLion is for
 dark corner of the world where human           1igged. Even if you do noL share that          the Stat-e of Arizona. but it is broader
 right.s are betrayed. elections are st.o-      conviction. it is the responsibility, I        than Lhat. It is an objection for all six
 len. human dignity denied?                     believe. of this office Lo acknowledge         of the contest-ell States Go have a cred-
    What will we show U1ose people? Vilill      that is a profound Lhreat, to Lhis coun-       il)le. objective. impartial body hear the
 we show Lhose people that there is a           try and to the legitimacy of any ad-           evidence and make a conclusive det.er-
 bet.t.er way to ensure liberty and oppor-      ministrations that will come in the fu-        mination. That would benefit bolh
 tunit.y of humankind?                          ture.                                          sides. That woult1 improve Lhe legit-
    Sadly. a small hand of Republican ob-         I want Lo t.ake a moment to speak t-o        imacy of this election.
 jectors may darken l-he view of our de-        my Democrat-ic colleagues. I under-               So let me urge my colleagues: All of
 mocracy today. hut a larger g:roup of          stand. Your guy is winning right, now.         us take our responsibility seriously. I
 Sena tors and House Members from               If Democrats vote as a bloc. Joe Eiden         would urge my colleagues: Don·t take.
 boLh sides of the aisle can send a mes-        will almost certainly be certified as          perhaps, the easy path. but. instead.
 sage. Loo; that democracy beats deep in        the next President, of the United              act together. Astonish the viewers and
 the hearts of our citizens and our elect-      Stales.                                        act in a bipartisan sense t-o say we will
 ed representatives: that we are a coun-          I want to speak to the Republicans           have a credible and fair tribunal. con-
 try of laws and of not men: LhaL our           who are considering vot.ing: against           sider the claims. consider the facl,5.
 l-raditions are not so easily discarded.       lhese objections. I unde1'!ltan(l vour         eonsider the evidenue. and make a uon-
 even by our President: thal facls mat-         concerns. but I urge you to pause antl         clusive del.ermi.nation whether ancl to
 ter: that truU1 matte1·s: that while de-       t,hink: What does it say to t,he nearly        what extent this election complied
 mocracy allows free speech and free ex-        half the countr:v that l>elieves this elec-    with the Constitution and with Federal
 pression. even if that. expression is          tion was rigged if we vote not even lo         Jaw.
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  S16                                   CONGRESSIONAL RECORD-SENATE                                                   January 6, 2021
     Mr. SCHUMER, Senntor KLOBGC-HAR.          Trump's Defense Secret.aries--Diek                   For now. l want. to ,,t1<11·ess my re-
     The \'ICE PRESIDEN'I'. The Senator        Cheney, Donald Rumsfeld. William                  marks t-o what I think is the fnnda-
  from Minnesota.                              Cohen-he };:nows that all of these lead-          menlal question being posed hy lhe ob-
     Ms. KLOBUCHAR. Mr. President-. 1          ers have come together to sa:sr that.             jectors. and that is. does Congress have
  first would like to sa~' I appreciate the    these scurrilous attacks on our demoe-            the eonstit-utional aulhorit.y to decide
  words of our leader. Senator SCHUx!ER.       rac:v must stop and we must allow for             whiuh Stal-es· electoral college votes
  a;; well as Senal-or MGCOKNELL's call        a peaceful t,ransit-ion of power.                 should he uounted and which should
  for a higher 1.,-alling.                        Senator SD-:EM.'l. will fill you in 011 tl1e   not, llased on how well we think they
     January 6 is not typically a day of       specific facts as to why this election            ran t.heir elections? This is what Ll1e
  hisLorical significance for om· country.     was sow1d and true in Arizona. bul- a             objectors are really asking us Lo do-to
  b'or centuries. this day is simply t-he      summary: President Trump reeeived                 federalize elections by rejeeting· eleu-
  day !-hat we receive each St-ate·s cer-      1.661.686 voles in the St.at.e: President--       torai college votes from States whose
  tified elect.oral votes. and iL has come     Elect Bi<len won 1.672.143 votes. mean-           processes they say Lhey disapprove of
  and gone without much fanfare.               ing that. he won the St..'1.le hy 10.457          and thereby having Congress select lhe
     In fact. Lhis is only the third time in   votes.                                            President of the United States instead
  120 years that. t-he Senate has gatheren       On November 30. aft-er Arizona·s Re-            of the American people.
  t.o debat-e an objeuLion. and as Senator     publican Governor. the secretary of                  The answer, Jl,1.r. President. is no.
  CRUZ well knows. both Limes these oh-        st.ate. the auorney general. and the              t,here is no such authority under Lhe
  jections were resoundingl~· tlefeated.       conservaLive chief justice of the Ari-            Constitution. The Constitulion assigns
  The last time the vote was 74 to 1.          zona Supreme Court certified the l'e-             to the States the responsibility to con·
     \Vh.v? Because Senators have long be•     sult,'l of the election. the Governor ae-         rluut elections. It is clear in article 11.
  lieved that- they should not. mess           tually :iaid:                                     section I. It leaves coul'Ls wiU1 the re-
  around with t,he will of the people.           We do elect.ions well here in Arizona. The      sponsil.Jility Lo adjudiea.te disputes. and
  They have undersLood the words of our        syste1n iH strong.                                it. assigns to Congress the ministerial
  g-reat, former colleague John McCain           Eight, postelection lawsuits brought-           function of count.ing ballots. except, for
  from the St,1.l-e of Arizona. who once       in Arizona t,o challenge the resulLs              extreme circumstances. such as when a
  said that nothing in life is more liber•     were dismissed by judges. Nine Mem-               St.ate sencls competing slates of elet:-
  aling than Lo fight for a cause larger       bers of t11e House from Arizona were              tors to Congres.<,. which hrings me to
  than yourself.                               elected in the same election. including            the 1877 President.
     In this case. my colleagues. our          four Republicans. Colleagues. I did not              Some ol)jectors claim to merely wanL
  cause. despite our political differences.    see Senator CRUZ over at the swearing-            a commission t-0 conduct an audit and
  is L,o preserve our American democ-          in al the House of Representatives last            then let States decide whet.her Lo send
  rac;v. t.o preserve our Republic becam>e.    Sunday asking for an audit. He did not.           eleutors. Well. first. the situations ai·e
  as someone once said long ago. it is a       stop Lheir swearing-in because there              not at all analogous.
  republic if you can keep it.                 was no fraud. and he dicl not ask for an             In 1877. Congress had before it two
     Now. I appreciate all my Democratic       audit- beeause we had a fair election.            slates of elect-ors from several States.
  and Republican colleagues who have             I will end with l,his. My friend ROY            Tl1ere are no Trump eleetors from
  joined our ranks of coup fight.ers. who      Bu,-:-rr. my fellow Rnles Committ,ee              swing States: there are just Biden elec-
  have stood up for our democracy, who         leader. many years ago found a staLue,            tors.
  stand t.all for our Republic. and who be-    a bust of a man al the top of a book-                Second. legislat,ors from the swing
  lieve in an ideal greater than ourselves.    case. He did research. He went lo the             Stat.es-the;v have already spoken.
  larger than om' political parties. That      historians. All he could find out was             They have made their decision. They
  ideal is America.                            that no one knew who this guy was ex-             have chosen not Lo send us alLern.ative
     And Senator CRUZ. he knows this: On       cept Lhat- he was a cleric. Hence. the            elect.ors.
  January 20, Joe Bi.den and KA;'.!ALA         statue is called "'!.'he Unknown Cleric:·            Third. a eomro.ission-really? It is
  HARRIS will be sworn in as President           Now, aL the time. our leaders thoughL           completely irnpract-ical. and we all
  and Vice President of the United             this man important, enough that Lhey              know it. with 14 days to go before a
  States. He knows that President-Elect        would warranL a statue for him, buL               constitutionally mandated inaugura-
 Bi<len won more votes than any Presi-         today no one knows who he is. Sena.Lor            tion.
 dent in history and more tl1an 7 million      BLUNT's message to scl1ooikids and                   Look at it this way: If the elect.ors
 more vol.es than President Trump.             Senat.ors alike that visit his offiee.            are right and it is Congress·s job to sit-
     Despite the unfounded conspiracy          when he shows them the statue: What,              in juclgment on the worthiness of the
  theories Senator CRUZ tells. he knows        we do here is more important Lllan who            States· electoral processes. what is the
  thaL high-ranking officials in President,    we are.                                           criteria for acceptable electoral proc-
 Trump's own Homeland Security De-               Senal.ors. what matters is not our fu-          esses? What, investigations have been
 partment- have concluded that the 2020        tures. not. our own short-tenn des-               conducted of these processes? \Vhat
 election was "the most secure in Amer-        tinies.                                           body has deemed that certain SLates·
 ican history ...                                What matters is our demoerncy's des-            processes are unacceptable? What op-
     If he wants to improve the numbers        tiny bec.-aui;e I think many of us know           portunities were these Stat.es given Lo
 in his own party that he just men-            people will not know who we are 100               challenge the findings? Why are the ob-
 tioned of people believing in our elee-       yem-s fl·om now or 200 years from now.            jectors objecting only t-o swing States
 tions. maybe he should start con-             but what they will know is this: They             that Presidt>..nt Trump lost? What. ahout.
 sulting· wi tll them or mayhe he should       will h"11ow what we did today. 11ow we            t11e ones he won? I don't know-Norlh
 start consulting with former AUorne~"         voted today. That is more important               Carolina? \\'b.at about California? They
 General Barr. wl1o said that. he ha.s         than who we are. It is a Republic. if we          have ballot- 11arvest.ing. I am told. If
 found no evidence of widespread fraud         can keep iL                                       this is all supposecl to be Congress·s
 in the 2020 election.                           Thank you. Mr. President.                       job. you would think we would have a11-
    We don·t have to go hack to 1877. my         I yield Lhe floor.                              swers to these qut>.stions and proee-
 collea.irnes. Senal-or CRt:Z knows that 80      The VICE PRESIDENT. The nmjorily                dures in place lJecaus€' we would have
 judges. including conservative jmlgei:s.      leader.                                           done this evel'y 4 ye.am. right? But we
 including judges confirmed in this              Mr. McCONNELL. I yield up to 5                  don'l because iL is not our job.
 Chamber. nominated by President               minutes to the Senator from Pennsyl•                 If we adopt- this new precedent lhal
 'I'rump. have th1·own out. these law-         vania. Senator T'OOMEL                            we sit- in judgment of States· processes.
 suits. calling them baseless. inad-             The VICE PRESIDENT. The Senator                 then we are federalizing- the eleel-ion
 equate. and contrary both to the plain        from Pennsylvania.                                law. We would necessarily have t.o e/'.-
 meaning of t.lie constituLional text and        Mr. TOOMEY. I intend later t.D all-             t-ablish the permissible c1'it-ei-ia ancl
 eo1nn1on sense.                               dress l-he i,;peeifies of Pennsylvanil, 1f        rules for the Stales· elecl-ions.
    And he know,; that. :l-11 10 living De-    and when an ohjecl-io11 is raised in re-             The ballot harvesting example-it is
 fense Secretaries. including: hoth of         gard lo Pem1s~•lvania.                            illegal in some States: it is encouraged
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 in others. Does il. become mandal-ory or     parties won races. and Lhese results                    The American people han, ~))Oken . . . Sen-
 forbidden depending on who is in con-        have been confirmed h:y sLakeholuers                  ator Ohan1a and I hnse . . . at·guPd. our dif~
 trol of Congress? And. as the leader         across the political spectrum.                        feren("PS. and he ha;; preyaile<l . . . . '\Yhnteve1·
                                                                                                    our differenees. we are fpllow Arne1-ieans.
 pointed out. it would he l,he end of the       The Republican chairman of the Mar-
 electoral college. The elecloral college     icopa County Board of Su!)8rvisors                     He spoke to the nearly 60 million
 is the mechanism by which the people         said:                                                 Americans who voted for him. saying:
 select the President. But if Congress           No matter how you voted. this tele,·tion             It i~ na t Ul-al tonight l-o feel some dis-
 get-s to decide which Sta.tes get. to vote   \\·a.~adn1inisie1~<1 ,vith integrity. trans-          appointment. lmt tomorrow we must mo\·e
                                              pai·em:~', an<l . . . in a<,<:01xlanee with A1izona   heyond it and work together to iret our coun-
 in Lhe eledoral college. the11 clearly                                                             try n1.oving again.
 Congress is electing- the President. not     Siate laws.
 the people. Whichever party eontrols            The Republican speaker of the Ari-                Senat,or McCain was 1ighL
 both Houses of Congress would cont.,rol      zona Stat.e House rejected calls for the             Today we have serious. significanl
 the Presidency.                              legislature to overturn the election. work to do beating this pandemic and
    The public would never tolerate Con-      saying:                                            reviving our economy. I urge my col-
 gress picking the President instead of          AH a. con.servalive Republican. I don·t. like leagues to follow the example of Sen-
 themselves. so they would abolish the        the result.~ of the presidential election ... at-or John McCain and so many others.
 electoral college. as many of our co1-       but I cannot and will not entertain a >-ug;.es• reject this meritless challenge, and up-
 leag:ues would like to do. and the end of    I.Jon that we violate (:urrent law to chn-n.ue l1old the will of Arizona. ·s voters.
 t,he electoral college. of course. means     the out.come.                                        Thank you.
 tlle Nation will be governed by a hand-         Eig•ht challenges contesLi.ng t.he Ari-           The VICE PRESIDENT. 'l'he majority
 ful of big blue Stales and regions that      zona election were brought Lo Federal leader.
 can drum up vei-y large numbers.             and State court.s. All eight were wit-h-             Mr. McCONNELL. Mr. PresidenL. l
    Mr. President. the Constitutio11 does     eh-awn or dismissed. including a unani- :,rield up to 5 minutes to the Senator
 not assign Lo Congress the responsi-         moms ruling hy t-he Arizona Supreme from Oklahoma. Senat,or LAKKFORD.
 lJility to judge the worthiness of Stat,e    CourL The chief justice wrote:                       The VICE PRESIDENT. The Senalor
 election processes nor it.s adherence to        [Thel challenge fails to present any evi• from Oklahoma.
 its rules. That is the responsi1Ji1iL~· of   denee of ·•misconduct:· [or] ··ille1<al Yates··      Mr. LANKFORD. Mr. President. in
 t.he States and Lhe courts.                  . .. let alone e,;lablish any de;.1•ee of fraud or America, we settle our differences in
    Let me conclude with Lhis. I vot-ed       a sufficient error rate that would undermine elections. What happens if you dou·t
 for President Trump. I publicly en-          the 1Je1·taint1· of the election results.          t-rust the election count 01· you are con-
 dorsed Pr-esident, Trump. I campaigned          During a recent committee hearing, I cernec1 that so many court.s denied or
 for President Trump. I did not want          asker1 a simple question of the fo11ner dismissed cases within hours after they
 Joe Eiden to win this election. There is     DirecLor of Cybersecurity and Infra- were given thou&'l.nds of p,i,ges of evi-
 something more important to me than          structure Securit.y: Did he find any evi- dence?
 having my preferred candidate sworn          dence disputing the integrity or fair-               The reason we have a Congress to
 in i.s the next President. and that is to    ness of Arizona. ·s election? His answer settle our Nation's divisions and the
 have t.he American people·s chosen can-      was simple: "No.··                                 rules of the Senate make sure that
 didate sworn in as the next President.          Arizona and our 15 counties should be every opini011 in the Nation is heard is
    A fundamental defining featui·e of a      congratulate<! for running a secure so issues like this can be addressed.
 (lemocraUc republic is the right of Lhe      election. Perhaps t.he most heartening               The constitutional crisis in our coru1-
 people t.o elect their own leaders. It is    demonsl-ration of Arizona·s election Ll'Y right now is that. millions of Amer-
 now our duty. It is our responsil)ility      success is Jocelyn from Phoenix. icans a.re being told to sit down and
 to ensure that righl is respected in this    J oeely11 is 18 yea.rs old and was a first- shut, up. Their opinions matter.
 election and preserved for future elec-      time voter in 2020. So was Rachel from               During the electoral challenge on
 tions. I urge you to vote against this       Tucson and thousand more Arizonans January 6. 2005. Senator Te<l Kennedy
 objection.                                   who for the first Ume exercised their stood 011 this floor and said this. He
    The VICE PRESIDE1':'"T. The Demo-         constitutional righL to decide their said:
 cratic leader.                               own leaders. Today's challenge to Ari-               I commend tile many thousands of cit.izens
    Mr. SCHUMER. Mr. President,. the
 Senator from Lhe great State of Ari-         zona·s election fails a:n.v factual anal- in Massachusetts and other States who in-
                                              ysis. More clisturl)ing·ly. it- seeks to rob       sisted  that treating today"s electoral vote
 zona. Senator SIKEMA.                                                                                  in Congress as a meaningless ritual
    The VICE PRESIDENT. The Senator           Jocelyn and Rachel and more than 3 count           would be an insult to our democracy unless
 from Alizona.                                million Arizonans of a. free. fair elec- we register our U\\'Il protest. against the obvi-
    Ms. SINE.l'\ILA. Thank you. M1·. Presi-   tion.                                              ously-11awed voting process that took place
 dent.                                           Those of us who are trusted with in so many SLates. We are hopeful that this
   J 1ise l.oda.y Lo share the facLs aboul    elected office are first and foremost major issue that goes to the heart of our de-
 Arizona·s recent election and to urge        public servants. We serve our constitu- mocracy is now firmly implanted on the
 my colleagues to step away from c1ivi-       ents. We do not seek to substitute our agenda for effective action b;; . . . Cong-re.ss.
 sive political rhetoric and step Lowa.rds    personal ambitions for the will of the               I agree. The U.S. ConsUtution does
 renewing- Americans· faith in our de-        American people. Our system a1lows not allow me to assign different elec-
 mocracy.                                     for a continuous contest of ideas. And tors to a State. nor should it. The U.S.
    The 2020 Arizona election was a suc-      l-hose voters who support the losing Constitution does not give the option
 cess. not. for any one party or indi-        side of a free. fair election have not, to the Vice Preside11t of the United
 vidual huL as a demonstration of the         been disenfranchised: rather. they States to just unilaterally decide
 will of the voters. A record 80 percent      mainLain just as important a voice in which States are in and out. and it
 of registered vot.ers parLicipated.          Ame1ica's future. Leaders have a duty should noL. Ea.eh St.ate decides its elec-
 tl1anks Lo local Arizona election offi-      to serve all of our constituents. includ- tors through its people.
 cials who ensured our system worked          ing tl10se who vot.ed for other can-                 A small group of Senators. including
 and our la.ws were upheld. Arizona has       didates.                                           myself. have demanded that we not ig-
 offered early voting for more than 100          Great. lea{lers in our history faced the nore Lhe questions that millions of peo-
 years. and our vote-by-mail system in-       choice of whet.her to take an action ple are asking in our Nation. so we
 eludes strict safeguards. All ballots in-    sLrengt.hening our democracy even if a have proposed a const,itutional soiu-
 elude tracking mechanisms and tam-           different. action would better serve t-ion. Pause the counL Get more facts
 per-resistant envelopes. Elect.ion staff     theil• poliUcal ambitions. Many a.re re- to the States before January the 20th.
 are l-rained t.o authent.ie signat-ures.     vered today because t-hey chose our Re- We proposed a 15-member eommission.
 And Arizona imposes severe criminal          public over their self-interest-s. inelucl- just like what was done aft.er the failecl
 punishments for ballot tampering.            ing m:,· personal hero. Senator John e1eetion of 1876. We are eneouraging
    The Arizona election pro(luce<l bipar-    McCain. 1''ollowing his Presidential people lo spend 10 days g-oing through
 tisan results in whieh members of both       loss. Senat,or McCain said:                        ali the issues so States can have one
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  last opportunity t,o address any chal-            The VICE PRESIDENT. Is t-here ol>-        evat;uaLion was ordered. leaving· rioters
  lenges. Then the States. as the Con-            jection·?                                   t-0 ,;tiilk these hallowed Halls. Law-
  st.it-u lion direct.s. would make Lhe final       Without objection. it is so ordered.     makers and our staffs. average cilizens
  decision 011 Lheir electors.                      Mr. Me<CONNELL, I want. t,o say to       who love their country and serve it
     I have some eol!eagues who have said         the American people. the United States     every day. feared for their lives. I un-
  Lhal a 10-da~, commission is nol enough        Senate will not be intimidated.             dersl-and that one woman was shol and
  lime. so t,he;v have count-erproposerl            We will not he kept. out of this Cham-    tragically lost- her life. We mourn her
  just ignoring the lingering questions.         ber by thug·s. mobs. or t-hreaLs. We will   an<l feel for hei• friends and. family.
     We need to do something.                    not bow to lawlessness or intimidal-ion.        'l'hese images were projected to t.he
     <Mr. GRASSLEY assumed the Chair. l             We are back at our posts. We will dis-   world. Foreign Emliassies caliled their
     Mr. LANKFORD. My challenge today            charge our duty under the Constitution      home capitals lo repori. 011 the
  is not ahout t-he goocl people of Ari-         and for our Nation. and we are going t-o    har1·owing scenes at. the very heart of
  zona.                                          do iL tonight.                              our democracy. This will he a stain on
                                                    This afternoon. Cong1•e:3s began the     our country not so easily washed
  RECESS SUBJECT TO THE CALL OF                  process of honoring the will of the         away-the final, terrible. indelible leg-
                 THE CHAIR                       American people and counting the elec-      acy of the 45th President of the United
                                                 toral co11ege votes. We have fulfilled       States am1 undoubtedly our worst.
     The PRESIDENT pro tempore. The              this solemn duly every 4 years for              I want Lo he very clear. Those who
  Senate will stand in recess subjecL to         more than two centuries. \¾11ether our      performed these reprehensible acts
  the call of Lhe Chair.                         Nat-ion has been at war or at peace.        cannot be called protestors. No. these
     Thereupon. the Senate. at 2:13 p.m ..       under all manner of threats. even dur-      were rioters and insurrect.ionists.
  recessed subject to the ca11 of the Chair      ing an ongoing armed rebellion and the      goons and thugs. domestic terrorists.
  and reassembled at 8:06 p.m. when              Civil War. the clockwork of our democ-      They do not. represent America. These
  ca11ed to order by the Vice President of       racy has carriecl on.                       were a few t.110usand violent ext.re.mists
  U1e United Sta.Les.                               The United States and the United         who tried to take over the Capitol
     The VICE PRESIDENT. The Vke
                                                 States Congress have faced down much        Building· and attack our democracy.
  President. as President of the Senate.
                                                 greater threats than the unhinged           They must and should be prosecuted to
  would like t-0 give a brief statement          crowd we saw today. VJe have never
  wilh the imiulg-ence of the Senate.                                                         the full extent of t.he law. hopefull.v. by
    Todiw was a dark day in Lhe histor,,         been deterred before. and we wi11 not be     this administration: if not. certainly
  of the United. States Capitol. but             deterred today.                             by Lhe next.. They should he provided
  thanks Lo the swift efforts of U.S. Cap-          They tried to disrupt our democracy.     no leniency.
                                                 They failed. They failed.                       I want to thank the many in t.he Cap-
  itol Police. Federal. State. and local
  law enforcen1ent. the violence was                This failed attempt to obstruct the      i tol Hill Police and Secret- Service and
                                                 Congress. this failed insurrection. only    1ocal police who kept us safe today and
  quelled. the Capitol is secured. and the
  people·s work continues.                       underscores how crucial the t.ask be-       worked t-o clear the Capitol arnl return
    We condemn lhe violence that took            fore us is for our Republic.                it Lo its rightful owners and its rightful
 place here in the strongest possible               Our Nation was founded precisely so      purpose. I want l-o lhank t.he leaders.
  terms. We grieve the loss of life that         that the free choice of the American        Democratic and Republican, House and
 took place in these hallowed Halls, as          people is what shapes our self-govern-      Senate. It was Speaker PELO~I. Leader
 well as the injuries suffered by those          ment and determines the destiny of our      MC'CON.:-lELL. Leader MCCARTHY. and
 who defended our Capitol toda~,. And            Nation-not fear. not force. but t-he        myself who came togelher and decided
 we will always be gral,eful to the men          peaceful expression of the popular will.    that these Lhugs would not. succeed and
 and women who stayed at their posts
                                                    We assembled this afternoon to count     that we would finish the work that our
                                                 our citizens· votes and t-o formalize       ConsLiLuLion requires us l-0 complete in
 to defend this historic place.
    To those who wreaked havoc in our            Lheir choice of the next President. Now     t,he very legislative Chambers of the
 Capitol today. you did not. win. Vio-           we are going to finish exactly what we      House and Senate Lhal were desecrated
 lence never wins. Ji'reedom wins. And           started. We will complete this process      but we know always belong to the peo-
 tbis is still the People's House.               the right way. by the book. We will fol-    ple and do again t-0night..
    As we reconvene in this Chamber. Lhe         low our precedents, our laws, and our           But make no mistake-make no mi.s-
 world will again witness the resilience         Constitution to the letter. and we will     take. my fiiends--today·s events did
 and strength of our democracy. for             certify the winner of the 2020 Presi-        not happen spontaneously. The Presi-
 even in the wake of unprecedented vio-         dential election.                            dent who promoted the conspiracy
 lence and vandalism at this Capitol.               Criminal behavior will never domi-       theories that motivated these thugs,
 the elected representatives of the peo-        nate the United States Congress. This        the President who exhorted them to
 ple of the United States have assem-           institut.ion is resilient. Our democratic    come to our Nation's Capital egged
 bled again on the very same day to sup-        Republic is strong. The Ame1ican peo-        them on. He hardly ever discourages vi-
 port and defend the Constitution of the        ple deserve 11olhing less.                   olence and more often encourages it.
 Uniled States.                                     The VICE PRESIDENT. The Demo-            This President bears a great deal of the
    Mas God bless Lhe lost. tJ:1.e injured.     cratic leader.                               blame.
 and the heroes forged on this daJ'·. May           Mr. SCHUMER. Mr. President. it, is          This mol) was. !11 good part. Presi-
 God bless all who serve here and those         very. very difficult- to put into words      dent Trump·~ doing. incited by his
 who protect lhis place. And may God            what has transpired today. I have            words and his lies. This violence. in
 bless the United States of America.            never lived 1-hrough or even imagil1ecl      good part. is his responsihl.lHy and his
    LeL's get back to work.                     an experience like Lhe one we have just      everlasLing shame. Today's events cer-
    (Applause. Senators 1ising.J                witnessed in this Capitol. President         Lainly-certainly-wourn not- haYe hap-
    The VICE PRESIDENT. Tl1e majority           Franklin Roosevelt set aside Decembel'       pened withoul- llim.
 leader.                                        7. 1941. as a day that ··wm live in in-         Now January 6 will g·o down as one of
                                                famy:· Unfortunately. we can now add         the darkest days in recent American
                                                January 6. 2021. to that very short list     history-a final warning to our Nation
         UNANIMOUS CONSENT                      of dales i11 American hislory that will      alJouL the consequences of a demagogic
              AGREEMENT                         Jive forever in infamy.                      President. the people who enable him,
   Mr. MCCONNELL. Mr. Presiaent.,                   Thi:, temple t.o democracy wa,, dese-    the captive media that. parrot his lies.
 ask unanimous t:onsent that the major-         cra l-e,t its vdnd0\Vl5 sma.shed. and our    and Lhe people who follow hil11 as he at-
 ity leader and the Demoeral.ie leader          offices vandalized. The world saw            tempts Lo push America to l-he brink of
 he allowed to speak and that the Um<'          America ·s elected officials hurrie(lly      rnin.
 not eount against the 2 hours of debate        ushered out he<.Jause they were in             As W'i' 1·econvene t-onight. let us re-
 in relation to the objection raise.cl on       l1ai.·m·s way. The House and Senate          memher. in the end. all this mob has
 the Slate of Arizona.                          Door were places of shelter until the        real]~· accomplished is t-o dela~· our
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   work by a few hours. We will resume               waul to have debaLe about- elect-ion se-      disputes. All of t-hose thing,; happened
   our responsibilities now. and we will             curit-Y because they want to make sure        afler t.he 2020 eleetion.
   finish our task toniirht. The House and           H- is right-. whkh is why it is an impor-       Stat,ehouses and courts across l-he
   Senate Chambers ·will he restored good            t-ant issue l-hat still needs to be re-       country took allegaLions of voter fraud
  as new and ready for leg-islfl.l-ing· in          solved.                                        seriously and followed the constitu-
  short order.                                         Tram;parency in government just             tional process l-o hear challenges to
     The eounting- of the eleetoral voGe;,. i::<     doesn·t- seem llke a bad idea. Obvi-          t-his year·is elect-ion. No Stale found
   our sac1-ed dul-y, Democracy·s roots in           ously. the Commission that we have            evidence of any widespreacl voter fraud
   this Nat.ion are deep: they are strong:          asked for is not going to happen at this       am! neither did any court ask to review
  and they will not- be undone. ever. by a          point. and l undersl-aml that-. And we         the St.ate·s findings.
  group of thugs. Democracy will tri-               are headed tonight- toward tlw certifi-          In Arizona. Republican Governor
   umph. as it has for centuries.                    eaUon of Joe Biden to be the Presiclent       Doug Ducey: the Democratic secretary
     So to my fellow Americans who were              of the United States. and we will work        of st.ate. Katie Hohhs: the Republic.an
  shocked and appalled by t,he images on             togeLher in this body t-o he able to set      aUorney general. Mark Brnovieh: and
  t,heir televisions t-oday and who are             a peaceful example in the days ahead.          ihe State supreme court chief just-ice.
  worried about the future of this coun-               I yield the JlOOl'.                         Robert BruLinel all cerlifiecl the results
  try. let me speak to you directly. The               The VICE PRESIDENT. The Demo-               of the election on November 30.
  divisions in our countrr clearly nm               cra tfo leader.                                  And we know-we have heard-Arizo-
  deep. but we are a. resilient. fonvard-              Mr. SCHUMER. The Senator from               nans have been voUng- by mail for al-
  looking. and optimistic people. And we            Nevada. Sena.tor CORTEZ MA8TO.                 most 30 years. and Governor Dueey has
  will begin the hard work of repairing                Tl1e VICE PRESIDENT. The Senator            expressed confidence in the St-at.e·s
  t,his NaLion tonight because here in              from Nevadc1..                                 process num...rous times. In November.
  America we do hard things. In Amer-                  Ms. CORTEZ MASTO. Mr. Vice Presi-           he said:
  ica. we always overcome our chal-                 <le11t-. I know that this room is full of         We do el,1t•tions well hei-e in Aiizona. The
                                                    leaders of both parties who love this          syslem is si.rong. and lhat. iis why I have
  lenges.                                                                                          ln·ag-ged on it. RO nlm:h.
     I yield t-he !1001·.                           count.r~,. and many believe that for
     The VICE PRESIDENT. The majority               America to succeed. our polit.ics must.          He further stated:
  leader.                                           find common gTound. That has never               \\Te have !::."'Ome of t.he :..tro.nge-st election
     Mr. McCONNELL. Mr. Vice Presi-                 been clearer than today. when armed            laws in the country. laws that pl"iori!.ize ac-
                                                                                                   countahility and dea.r!_v lay out our proce-
  dent,. i yield 2 minutes to the Senator           rioters stormed l-he U.S. Capitol.             dw~s for eonduet.ing. ean\'assing· and even
  from Oklahoma. Se11aLor LANKFORD.                 emboldened by President Trump's false          contestllll( the 1•esult.s.
     The VICE PRESIDENT. The Senator                and inflainmat.ory rhetoric about- t-he           Arnl they are righ L Arizona ha.s one
  from Oklahoma.                                    2020 elections.                                of the most t,ransparent eleut.ion proc-
     Mr. LANKI<'ORD. Mr. Vice President.               I 1)elieve t.hat we. in t-his Chaml}er.     esses in the country with built-in ac-
  you saiil things more eloquently than             have a special duty as leaders t.o work        uountability. starting wiLh the internal
  how we say it in Oklahoma. In Okla-               together Lo lower the temperature of           auditing.
  homa. we say something like: '.\-11Y in           our polit.ics. and I hope that. my col-           We have heard unfounded allegations
  Gotrs name would someone think at--               leagues. who have questioned the legit-         l,hal voting machines in .Arizona and
  tacking law enforcement ancl occu-                imacy of this election in Arizona and          elsewhere somehow changed vote tal-
  pying t-he U11it.ed St.at-es Capitol is the       all of these other StaLes. now see the         lies or somehow improperly rejected
  best way to show that you are right'.'            dire and dangerous consequences of             ballots while claiming to accept them.
  \Vhy would you do t-hat-'.'                       sowing doubt and uncert-aint-y.                These allegations all ignore the fact
     Riot-ers and thugs don't run the Cap-             I also know that, as U.S. Senators.         that- Arizona counties conduded ballot.
 itol. We are the United States of Amer-            we all lake solemnly the oath we swear         audits by haml to double-cl1eck the ma-
 ica. We disa,,,<>Tee on a lot of things, and        to support and defend the Constitution        chine counts. and these audits found no
 we have a lot of spirited debate in this           of the United SL-ates against all en-          widesprea-d fraud or ilTegularities.
 room. but we t.alk it out-. and we honor           emies. foreign and domestic. At this              Maricopa County. Lhe count,y where
 each other. even in our disagreements.            moment in history. I can think of               more than 60 percent of the State·s
 That person. that person, and that- per-          nothing more patriotic than renewing            population resides. conducted a post--
 son is nol my enemy. That- is my fellow            our faith in the Charters of Freedom           election hand count audit in t-he week
 American. And while we disagree on                 t-hat our 1''oundin..i:r Fathers crafted for   aft-er the election. which showecl per-
 things. and disagree strongly at times.            our Republiu. starting with the funda-         fect. 100 percent. aucurac~' in the ma-
 we do not encourage what l1appened                mental American principle in our Dec-           ehine t.abuial-ions. So why would we
 today-ever.                                       larat.ion of Imlependence that govern-          need. my colleagues. t-o call for a 10-
     Now, I want- t.o join my fellow Sen-          ments derive their just, powers from            day emergency audit- to be comlucted
 ators in saying thank you l-o t-he Cap-            the consent of the governed.                   by a legislative commission when it
 itol Hill Police. the law enforcement-.               The people have spoken in this eleu-        has already been done hy the State of
 the National Guard. the Secret Servke              Uon. and our only joh here today is to         Arizona? \Vhat happened to State's
 who stood in harm·s way. While we                 do what they ask. It is not to argue            rights?
 were here debaUng. t.hey were pushing             election security. That is not the place           The audit involved checking· ballots
 ba<:k. Aml I was literally interrupLed            for what we are doing Laday.                    for the Presidential election hut also
 mitlsenLence speaking here because we                 Our Constitution specifically re-           ballol-s for 1''ederai and St-at-e legisla-
 were all unaware of what was hap-                 serves to the people the right to meet          tive elections. The audit report shows
 pening right outside this room because            in their respective St-ates and vote for        every precinct ·s machine and hand
 of their fai tllfulness and hecause of             t-he President and Vice President. As a        count- tol-als for ea.ch of the races au-
 what they have done. I want to Lhank              result, individual States oversee and           dit-eel. and for every sing·Je race in every
 t-hem.                                            implement the election process. nat-            precinct-. Lhe difference between the
    Ronalcl Reagan once said: Peace is              l-he Federal Government.                       hand count and t-he machine count was
 not the absence of confliut. It. is the               To guard a,..<Yg,inst fraud or irregu1ar-   zero. Maricopa·s audit, report stated:
 aliilit-y to handle conflict by peaceful          ilies in the voting process. the Stal-es        No discrepancies were found by t-he
 means.                                            ,u·e required l-o have rolmst- elect-ion se-    hand count audit boards.
    The peaueful people in my St.ale of            curity measures. Likewise. State legis-            Seeking t-o find any reason to contest
 Oklahoma want lheir quesLions an-                 latures have t-he opportunity l-o exam-         these results. some of the St-ate B.epulJ-
 swered. but- t-hey don't- wanl- t-his. what       ine evidence of voter fraud before tl1ey        licans t-he11 tried l,o daim t-hal Mari-
 happened t-oday. They wan l t-o t1o Lhe           certify their electoral colleg-e votes.         copa Count.y failed L-0 follow Stale law
 rig·ht thilig·, and the~, also want lo do ii      And om· eourts-fl'orn distriet- courts to       in conduuting this ,,mlit ll.v He1eel-ing
 the right way. They want- to honor Lhe            l-he Unit-ed States Supreme Court-ad-           voting eent-er locat-iorn; Lo audit- in-
 constiLuLio11al process. but- the~· also          judieale legal ehallenirns and elect-ion        stead of \'DLing- precincts. This was
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   wrong. And thi:::. too. went to a court.        eleetor::; can he sullmiLtetl by the same         Mr. BENNET. Colleagues. it has heen
  In rejecling this claim. Lhe State courl         State. That <loesn·t happen very often.        a terrible day for everybod~, here and
  in Arizona found that the eounty fol-            It. happened in 1960. It. happened in 1876.    for our count-1,,-.
  Jowe(1 the properly issuel1 guidance on          Let's hope it tioesn't ever happen                One of the things I was tllinking
  hand audit procedures from the Ari-              again. In those rare moments_ Congress         about today is something· I oft,l'n t,hink
  zona Secretary of State_ And the court.          has t,o make a choke. It has t-o decide        al1out when I am on this floor. which is
  found that Maricopa County offiefals.            whkh of the electoral votes will be             Lh,it llle li'OUJ1(1ers of this country. the
   therefore. could not lawfully have per-         cmmt.ed and which will not_ That did           people who ,note our ConstituUon. ac-
  formed Lhe hand count audH the way               not happen here-thank heavens-and              tually knew our history better than we
   Lhe plaintiffs wanted it done. If they          let.·s hope that it never does.                know our history.
  had done so. they would have exposecl               Many of my colleagues have raisetl             I was thinking aboul that history
  themselves to criminal punishment.               ohjections or had pi·eviously st.atecl         t,oday. as we saw the mob riot in Wash-
     The VICE PRESIDENT. The Sen-                  their int.ent. to raise objections wHh re-     ington. DC-thinking- abouL whaL the
  ator's 5 minutes has expired.                    g•ard to these. I have spenl an enor-          Founders were thinking about when
     Ms- CORTEZ MASTO. Thank you.                  mous t,ime on this issue over the last         they wrote our Constitution. which was
  Mr. Vice President. I would close by             few· weeks. I have mel v,ith lawyers on        what happened to the Roman Republic
  just saying-. please. my eolleagues. do          boLh sides of the issue. and 1 have met        when armed gangs, doing the work for
  not disenfranchise the voters of Ari-            wit.h lawyers representing the Trump           politicians. pi-evented Rome from ca.st-
  zona and certify their votes tonight.            campaign, reading eve1-ything I can            ing their ballot.s for consuls. for prae-
     Thank you.                                    find about the constilutional provi-           tors. for senal-ors. These were the offi-
     The VICE PRESIDENT. The majority              sions in quesUon. and I have spent a           cers in Rome. and these armed gang:;
  leader.                                          lot- of time on Urn phone with legisla-        1·a11 Lhrough Lhe street.::: of Rome. keep-
     Mr. McCONNELL. Mr, Vice Presi-                tors and other leaders from U1e con-
  dent.. I yielcl up to 5 minutes to the                                                          ing elect.ions from he.ing ::;tarted. keep-
                                                   tested States. I didn't initially declare      ing elections from ever being called. In
  Senator from Ut,ah. SenaLor LEE.                 my position because I didn·t yet have
     The VICE PRESIDENT. The Senator                                                              the end. because of that, Lhe Roman
                                                   one.                                           Republic fell. and a (licLator l,ook its
  from Ut.ah.                                         I wanted to get the facts firsL. and I
     Mr. LEE. Mr. Vice President. from                                                            place. anc1 that was the end of Lhe
                                                   wanted to understand what was hap-             Roman Republic-or any repuhlic. for
  Lhe Ume ! preparecl my remarks for               pening. I wanted to give the people
  Loday. it seems like a. 1ifeLime ago. A                                                         that matter-until t.his beautiful Con-
                                                  serving in government in the contested          stitution was written in t-he United
  lot has cha.n_i.;ed i11 the last few hours.      States Lhe opportunity lo do whatever
  So I am going· to delive1· some of Lhe                                                          Stat.es of America.
                                                   they fell they needed to do to make               So it is my fervent hope that the way
  same 1·emarki,,. but it ha.-, a lit.Ue hit of   sure Umt their eleclion was properly
  a different feel than it would have just                                                        we respond to this today, m~, dear col-
                                                   reflecled. I spent an enormous amount.         leagues. is that we give the higgest bi-
  a few hours ago.                                of time reaching- out lo State govern-
     My thoughts and prayers go out to                                                            partisan vot-e we can in support of our
  t,he family members of those who have           ment officials in those St.at.es. but in        democracy and in support of our Con-
  been injured or killed today. My heart-         none of the contest.eel States-no. not          stitution and :in rejection of what we
  felt gratitude goes out to t.11e Capitol        even one-clicl I discover any indication        saw Laday and what the Roman Repub-
                                                   lhat there was any chance that any             lic saw in its ovvn time.
  Hill Police who valiant.ly defended our
  building and our lives.                         State legislature or secretary of state            There is a lenc1ency arounc1 this
     While it is true that legitimate con-        or Governor or Lieutenant Governor              place. I think. to always believe that
  <,-erns have been raised with regard to         had any intention to alt.er the slate of       we are the first people to confront
  how some of the key baUleground                 elecL.ors. That being the case. our job is     something when that is seldom the
  St.ates conduct.ed their Presidential           a ver;1r simple one.                           case and to underappreciate wha,t the
                                                      This simply is11·t, how our Federal
  elecUons. this is not the end of the                                                           effect of our actions will be. We need to
                                                  system is supposed to work. That, is to
  story. We each have t,o remember that                                                          deeply appreciat,e. in this moment. our
                                                  say. if you have concerns with the way
  we swore an oath Lo uphold. proLecL.                                                            obligation l-o the Constitut.ion. our o!J-
                                                  1,hat an election in Lhe Presidential
 and defend this docume11L writLen                                                               1igation to democr·acy. ancl our obliga-
                                                  race was hancUed in yom· SLaLe. the ap-         Lion to Lhe Republic.
  nearly two and a half centuries ago l)y
                                                  propriat.e response is to approach your            There are people in this Chamber
  wise men raised up b;,,,- God for that
                                                  State legislatures, first and foremost..       who have twisted the words-twisted
 very purpose. That document makes                   These protests-hearing from those
 clear what our role is and what. it, isn't.                                                     the words-of a stat.ute writ.ten in t.he
                                                  who have raisec1 concerns-should have
 H, makes clear who does what when it                                                            19th century t.hat was meant Lo act.u-
                                                  been focused on their StaLe capitols.
 comes to deciding Presidenl,ial elec-                                                           ally settle our electoral disput.es. to
                                                  not the Nation's Capit,ol. because our
  Lions_                                                                                         leave them with the States. as the Sen-
                                                  role is narrow. our role is defined. our
    You see. because in our system of                                                            ator from Utah was saying, to give us
                                                  role is limit.ed.
 government. President,s are noL di-                 Yes_ we are the election judges when        a ministerial role. except in very rare
 rectly elected_ They are ehosen hy               it comes to Members elected to our             circumstances. That is whaL that law
 Preside11tial elect.ors. and the ConsW,u-        own body. And, yes_ Lhe House of Rep-          is about that the Senator of Texa.s was
 t.ion makes very clear_ under arLicle IL         resentatives are the judges of Lheir own       talking about, today. Anrl that is the
 section 1, that the States shall appoint         1'aces there.                                  law that is leading us to be asked to
 Presidential electors according Lo pro-             \'Ve also have the authoritir to pre-       overturn the judgments of 60 court.s in
 cedures that their legislatures develop.         scribe. as a Congress, rules goven1ing         Ame1ica. many of t.he courts in Al'i-
 Then comes the 12th Amendment. IL                the time. place. and manner of elec-           zona. some of whom have howled lhe
 explains what- we are doing here today           tions for Senators and Representatives.        President"s lawyers out of t.he court-
 in the CapiLol. IL explains that the             There is no correspo11di11..ls authority       rooms because there is no evidenee of
 President of t,he Senate-the Vice                with respect, to President-ial elecLions-      frauc1.
 President of the United States-shall             none whatsoever. It iioesn·t. exist. Our           By the way. the fact t-hat 37 percent.
 open the hallots. ··and the votes shall          joh is l,o convene. lo open the ballo ls.      or 39 percent, of Americans Lhin.k there
 then be counted." It. is those words             a.nd to count them. Thal is it.                is evidence of fraud does not mean
 that. confine. clefine. anc1 constrain              Thank you.                                  there is fraud. If you have turned a
 every scrap of authority that we have               I yield the floor.                          blind eye to a conspiracy t.11eory. ;vou
 in t.his process.                                   The VICE PRESIDENT. The Demo-               can· t now come Lo Lhe floor of the Sen-
    Our job is to open and then count.            crat.it: leader.                               at.e and say you are ig·norin;t the people
 Open, lhen count-that is it. That is all            Mr. SCHUMER. The Senator from               who believe Lhat the election wais sto-
 there is.                                        Colorado. Mr. BEN);ET.                         len. Go oul Lhere and t.ell them the
    There are. of c-ourse. rare instances-           The VICE PRESIDENT. The Senator             trut.h. which is that Pver:_. single Mem-
 instances in which multiple slates of            from Colorado.                                 ber of this Senate knows this elect.ion
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  wai:,•:n·t stolen and that we. just a;; i:n     the in Legri t;y of our elecLions aiui re-       What is interesUng nhout. the par-
  lhe Roman Repu1J1it;. have a 1·esponsi-         st-0ring· every Americ.an·s fait,h that      allel lleLween the two is l-hey boih wic-re
  hilit,y to proted lhe independence of           \,heir voice and t-heir vot.e matt.er.       waving flags to a sole sovereign. t-o an
   the judiciary from politicians who will           Ameriea is a ,iivided country with se-    individual. ,mrrendering democr-atie
  stop at nothing- t-o hold on to power.          rious (1ifferences. buL H is st.ill the      principles to the cult of pe1-sonality.
  Ther<" Is 1101,hing new about that either.     great.est country on Earth. There <,-an       One was a monarch in Enidaml. and the
  That has l)een true since the first re-         be no disagreement that upholding- de-       other were the flags I saw all over our
  public was founded.                             mocracy is the onh' path to preserving       Capitol. including in U1e hallways and
     So now we find ourselves in the posi-       our Republic.                                 in this room. to a sing-le person name(]
  t.ion. just days afLer many Senators               l yield tlle floor.                       Donald Trump.
  here swore an oath to uphold. an(l ae-             (Applause. l                                 The sad difference bet.ween these Lwo
  fend the ConstituLion-every single                 The VICE PRESIDENT. '!'he Demo-           times is one was yet another nation in
  Member of the House of Representa-             craLi<.: leader.                              the history of ow· country that tried to
  tives swore t.he same oath. as well. and          Ml'. SCHUMER. I yield 21 2 minutes Lo      challenge the United StaLes of Amer-
  I think we have a solemn obligation             Senator BOOKER and 21 2 minutes to           ka. but t-his time. we- lJl'ought this hell
  and responsibility here to prove. once          Senator KAL'-E. in reverse order.            ltpon ourselves.
  again. that this country is a naLion of            The VICE PRESIDENT. The Senator              My colleague from Texas sa!!l. that
  laws and not of men. ancl the only re-          from Virginia.                                this was a moment. where there were
  sult \,hat we can reach together is one            Ml·. KAINE. Mr. President. and my         unprecedented allegations of voter
  that rejects Lhe claim of the Senator          colleagues, I applaud the comments of         fraud. Yes. that is true. They were un-
  from Texas and the other Members of            my colleague from Georgia deeply.             precedented when the President. before
  the House and Senate who seek to                   My first job after school was in          the election even happened. said; If I
  overturn the decisions thaL have been          Macon. GA. working for a Federal              lose this elecLion. then the election
  macle b~' the States. hy lhe voters in          judge. Lanier Anderson. I learned a lot      was rigged.
  these States. and ])y the courts.              about integrity an(l a lot aboul law             That, is unprecedented. It is unprece-
     If we follow what they have proposed.       from him. I also learned some sad les-        de11ted that. before the night of the
  we will be the ones who will have dis-         sons. that in the history of Georgia-         counting of the vote was even done.
  enfranchised every single person who           and. indeed. Virginia and many                 that he called it rigged. IL is unprece-
  cast a vote il1 this election. whet.her        States-so many people. especially peo-        dented that he is fanning the flames of
  they voted for the President or they            ple of color. hacl lleen disenfranchised     conspiracy theory to create a smoke-
  didn"t.                                        over the course of our history. Our late      screen in this Nat.ion t.o cover what he
     I urge you to reject. this. ancl I deeply   friend. John Lewis. a Cong-ressman            is trying to do. which is undermine our
  appreciat,e t-he opportunity to serve          from Georgia. was savagely beaten on          democratic principles.
  wil,h every single one of you.                 Bloody Sunday jusL for marching for              But it is not. just that. The shame of
     Thank you.                                  voting rights. 'l'hat act of violence in-     this day is it is being aidecl and abetted
     <Applause.)                                 spired this body. U1e U.S. Senate. to         by good Americans who are falling
     The VICE PRESIDENT. The majority            come toget.her in March of 1965 and           p1•ey. who are choosing Trump over
 leader.                                         work to pass. in a bipartisan fashion.        truth. who are surrendering to the pas-
     Mr. McCONNELL. I yield up to 5               the Voting Rights AcL.                       sion of Iles as opposed to standing up
 minutes to the Senator from Georgia.               We should be coming together               and speaking t-rut-h to powe1'. who are
  Senator LOEFFJ.ER.                             today-after acts of violence-as a U.S.        trying to fundraise off of the shame of
     The VICE PRESIDENT. The Senator             Senate. to affirm the Yotes of all who        conspiracy theories as opposed to doing
 from Georgia.                                   cast. ballots in November. Instead. we        the incalculably Yaluable. patriotic
     Mrs. LOEFFLER. Mr. President,               are contemplating an unprece<lented           thing: to speak truth to our Nation.
 when I arrived in Washington this               objection t-hat would be a massive dis-       Our democracy is wounded. and I saw it
 morning. I fully intended to object to          enfranchisement, of American voters.          when I saw pictures of yet another in-
  the certification of the electoral votes.         The Georgia result was very clear: a       surgency. of a flag of another group of
 However. the event.;; that have tran-           12.000-vote margin. 2 cerLifications by       Americans who tried to challenge our
 spired today have forced me Lo recon-           Republican officials. 4 separat,e re-         Nation. I saw the flag of the Confed-
 sider, and I cannot now. in good con-           counts and canYases. 7 lawsuits. as in        erac:1' t-here.
 science. object to the certificaUon of          Lhe other States. If we object to resulLs        ',Vhat will we do? How •will we con-
  these electors.                                like this. the message is so clear. We        front this shame? How will we confront
    The violence. the lawlessness. and           are saying to States: No matter how           this dark second t-ime in Ame1'ica11 his-
 siege of the Halls of Congress are ab-          secure and accurate your elecUons are.        tory? I pray that we remember a Geor-
 horrent and st.and as a direct attack on        we will gladly overthrow Lhem if we           gian and his words. All I can say is we
 the Yery instiLuLion my objection was           don·t. like wllo you voted for. But. more     must. in spirit. join Loget11er like those
 int-ended t.o protect: the sanctjty of the      importantly, what we wm he sa:ving-           Georgians on a brid._ise called the Ed-
 American democratic process. And I              really. what we will be doing-is as t-he      mund Pettus. who joined hands. who
 thank law enforcement for keeping us            body that acted together to g·uarantee        were ca1Ied Lhreat.l:\ Lo our democracy.
 safe.                                           Americans the right to vote. we ,vill         who were called outrageous epithets
    I believe that the1·e were last-minute       become lhe agent of one of the most           when they sought l-o expand our de-
 changes to the November 2020 election           massive disenfranchisement.s in the           mocracy. to save it.. ~o heal it-when
 process and serious irregularities that         history of this country.                      they joined arm in arm and said what
 resulted in too many Americans losing              So I urge all of my colleagues: Please     we sl1ou1<1 say now. commit ourselves
 confidence not only in Lhe integrity of         oppose these objecLions.                      to that ideal. that t.oget.her. we shall
 our elections but in t,he power of Lhe             Thank you.                                 oyercome.
 ballot as a t.ool of democracy. Too                I yield to my colleague from New              (Applause. l
 many Americans are frusl-ral,ed at              Jersey.                                         The VICE PRESIDENT. The majorily
 what they see as an unfair system.                 The VICE PRESIDENT. The Sena.Lor           leader.
 Neve.rtheless. there is no excuse for ihe       from New Jersey.                                 Mr. McCOl'.~ELL. Mr. Vice Pt·esi-
 events that took place in these Cham-              Mr. BOOKER. Mr. Vice Pi-esident. I         dent. I yield up to 5 minutes t.o lhe
 hers today, and I pray that America             can only think of t.wo times in Amer-         Senator from Nebraska. Mr. SA:-;:-;r:.
 never suffer;; such a dark day again.           ican hh;tory t-hat individuals laid siege        The VICE PRESIDENT. The Senator
    Though the fate of Lhis vote is clear·.      to our Capitol. stormed out sacred            from Nebraska.
 Lhe future of the American people·s             eivk spaces. and tried to upend and              Mr. SASSE. Mr. Vice President. I
 fait.h in the core ins ti tut.ion of this de-   ove1·run this governn1ent. One was in         wanl to say. before we hegin. thank
 mocrae~• remain:; uncert.ain. \Ye as a          the War of 1812. and t-lle other one was      _you for the way you have fulfilled your
 hody must turn our focus Lo protecting-         toda~,.                                       con:sLitutfonal dut.ies and your oat.h of
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  office toda;,'. Ohviousl:v. it lmsn·t heen        wol'il-antl our ancest.01-is have spilled     tional system i,; st-ill the great-est 01·der
  eas;v.                                            blood to clefend t-he glories of Lhis re-     for any government, ever. and it- is our
      Colleag-ues. toda~· has I.Jeen ugl;,·.        puhlk. Why would they do Lhat? Be-            job to steward it and protect, it.
  When 1 came to the floor this morning.            cause Amerfoa is the most exceptional           Let\, remember that Loda~• when we
  I planned to talk about the lesson of             nat-ioll in the llistory of the world and     vote.
  1801 hecause I am kind of a history               because the Constit-ution is Lhe great.-        The VICE PRESIDENT. 'l'he Demo-
  nerd. and I wanLed lo celebrate Lhe g-lo-         est political document- that- ba..<s ever     cratic leader.
  ries of the peaceful Lransit-ion of power         been written. Most g·overnment.s in Lhe         Mr. SCHUMER. 'I'he Se11<'itor from Il-
  across our Nalion·s history. It feels a           past- have said might makes right. and        linois. Mr. DUHBDi.
  litUe naive now to t.alk about ways               we saw some of thaL hooligan nut,tery           The VICE PRESIDENT. The Senator
  that American uivics might be some-               today. Migl1i make.s right-. No. it-          from Illinois.
  t-hing· thal- could unite us and bring us         doesn'L.                                        Mr. DURBIN. Mr. Vice P1·esident-. in
  hack t-oget,her.                                     God gives us r:ight.s by nature. and      March of 1861. a Springfielc1 lawyer
     Now. 1801 blew everyhoc.1:,r·s mind all        government is jusl our shai·ed project        caught a train to \V:u;hingl,on. His
  over t-he wor1c1. by lhe way. John                to secure lhose rights. America has al-       name was Abra.ham Lil1coln. IL wasn·t
  Adams loses to Thomas Jefferson. and              ways heen about. what we choose t-o do       his first Lrip there. He served as Con-
  Adam.s willingly leaves Lhe Executive             Log·eLher. the wa:-' we reaffirm our con-    gressman 15 years before and returned
  mansion and moves hack Lo 1\fassa-ehu-            stituLional system. We have some gov-         in the beginni11g of the Civil War to
  set.ts. and Jefferson peacefully assumes          ernment-al tasks. and we all in this         serve as President.
  power. People all over Europe said:               body could do better at those govern-           It was a different- place than he knew
  That must be fake news. Those must he             mental tasks. but- the heart of America       as a Congressman. In 15 years. it- had
 lia(l reports. There is no way any Exec-           is not government. The cent-er of Amer-      changed a lot-. The Sprigg's hoarding
  utive would ever willingly lay down               ica is not Wa.shinglon. DC.                  house across t,he st-reet. which is now
  power. Yet Adams. in defeat. did some-               The cent-er of America is t-he neigh-      the Lillrary of Congress. was gone. And
  thin._g- g-lo1ious to give all of us a gift.      llorhoods where 330 milli011 Americilcns      this     building    wa;s    changing-big
     I wanted l-o cele))rate that. and it.          are raising· their kids and trying to put     changes. They were building a dome on
  feels a 1iUle bit harder now. This build-         food 011 the t,able and trying to love       the Capitol. But they were also in the
  ing has heen desecrated. Blood has been           their neighbor. That is lhe center of        earliest- clays of war. and President Lin-
  spilled in Lhe l1allways. l was with oc-          America.                                     coln was coU11seled: St-op building the
  togenaria.n Members of this Chamber                  We are not supposed to be the most        dome. It costs too much money. We
  who needed to have troops and police              important people in America. We are          can·t- spe11d any more t-ime on it.
  st-alJilize them to get uown the stairs at        supposed to be servant. leaders who t-ry        And he said: No. We are going t-o
 a time when a Jot of our staffs were               to maintain a framework for ordered          build that dome. and we are going to
  panicked and 1111der their desks and not          liberty so that there is a structure         finish it. That dome and this building
  knowing what was going- to happen to              that, hack home where they live, the~'       will be a symbol of this country thal
  them.                                             can get from the silver-framed struc-        will survive this Civil War and come
     It. was ugly toclay. But- you know             ture and order to the golden apple at        back strong.
  what? It turns out thaL when some-                the center. as Washington would have            So they built the dome. They won
  thing is ugly. talking about beauLy              said. which is the things that they            the war. And since those clc-i.ys. Lhat
 isn·t just permissible: talking about              build together. the places where t-hey       dome and this building- have heen a
 beauty is obligatory in a l-ime like               coach little league. the places where        symbol to this counlry. a symbol of
  that. Why? vVhy would we t,alk about              !,hey invite people to synagogue or          unity and of l10pe.
 beauty after the ugliness of toda~·? Be-          church.                                          Tours come through he,·e--before
 cause our kids need lo know t-hat Lhis                Sometimes. Lhe biggest- things we do      COVID-19-1.Jy the tens of thousands. If
 isn·t what America is. Whal happened               Logether are govenunental. like kick-        :,ou have ever noticed their tours. they
 today isn·t what America is.                      ing- Hit-ler·s ass or like going to the       are often shushed. People are saying-:
     They have been given a glorious in-           moon. Sometimes. th.ere is govern-            Show some respect for this building-.
 heritance for the 59th Presidential               mental stuff. But t,he heart of America          We know this building and the Ro-
 election. If the Vice President wasn·t            is about places where moms and dads           tunda as a place where some of the
 in the Chair an<l if the President pro            arn raising- ki<ls. and we are supposed       greatest American heroes of both polit-
 tempore was, I would have made some                Lo serve them by maintaining order           ical parties lie in state. and we go
 joke that CHCCK GRASSLEY has voted in             and by rejecting· violence. You can't do      there l-o ho11or them. We know this
 two-thirds of those 59 Presidential elec-         big- l-hings like that if you hate your       building because we work here. We
 tions. He is laughing. IL is not as good          neighbors. You can·t do big things to-        enact laws here that chang·e America.
 as "hit deer. deer dead." but iL still got        gether as Americans if you think at-her       We gather for State of t,he Union mes-
 a Grassley 1aug-h.                                Americans are L-he enemy.                     sages from PresidenLs and honor the
    I don·t think we want Lo tell l-he                Look. there is a lot- of uncertainLy       people in the gallery.
 Americans Lhat eome after us that this            about the future. I get it. There is a lot       This is a special place. This is a sa-
 republic is broken, that this is just a           that- does need t-0 be rebuilt. But. if you   cred place. But Lhis &.creel place was
 banana republic. that our institutions            are angry-I want- to beg you-don't let        desecrated by a mob today. on our
 can·t he trusted. I don't think we want-          the screamers who monetize hate have          watch. This temple to democracy was
 that. We don·t, want Lhat in this body.           the final word. Don·t let needlists be-       defiled by tlmgs who roamed the halls
 and we don·t. want t-hat in our home-             come your drug- dealers. There are            ancl sat in that chair. Mr. Vice Presi-
 towns. I don·t think we want to tell our          some who want to burn it all down. We         dent. the one that you vacated at 2:15
 kids t-ha.t America"s best da.vs are he-          met some of them toclay.                      this afternoon-sat am1 posed for pic-
 hind us-because it is noL t.rue. Thal is             But they aren't going to win. Don"t        tures. those who were roaming around
 not. who we are. America isn"L Hal-               let them he your prophel-s--instead. or-      i.n this Chamber.
 fields' and McCoys· blood feud forever.           iranize. persuade. but- most impor-              What brought this on'? DM this mob
 America is a union.                               t.anLly, love your neighbor. Visit the        spring spontaneously from Amerk-a?
    There is a lol lhaL is l)roken in this         widower down the street who is lonely         No. This mob was invited to come 1..o
 eounLry hut noL anyLhing that. is so hig·         and doesn't- want to tell anybody that        Washington on Lhis da:v. h:v this Presi-
 t.hat the American people can·t. rebuild          his wife died and he doesn·t have a lot       dent.. fo1· one reason: hecause he knew
 it. that freedom ancl community and               of friends. Shovel somebody's drive-          the electoi-al co1leg·e vote was going· to
 entrepreneurial effort- and that neir,.·h-        way. You ca.n·t hale somebody who just-       be counted Lhis da~"- He wante<l this
 borhoods can·t relmi1d. NoLhing· t-haL is         shoveled .YOUJ' driveway.                     molJ to disrupt t11e const-itulional proc-
 broken is so big that- we can·L fix iL.              'fhe heart of life is about community      esl' which we are pal't of. This n10h was
    Generations of our forefathers and             and neiirhhorhoot1. and we are supposed       inspired hy a President- who cannot ac-
 our foremothers-probahly               not    a   t-o he i,servant leaders. The const-itu-      cept- clefea l.
                                                                                                                             -----··--·-------------



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    If you wo1Hler whether I am going- l-oo        iLol t.oday and across the country over      and deployed to Iraq. ready t.o sacrifice
  far in what I say. jusL read the Lran-           the pasl year are unacceptable. and I        whatever was asked of me. all because
  scripL with the secretary of state from          eo11.demn them at the highest. level.        I love this Nation-willing to sacrifkE'
  Georgia and lislen to this President's           Like all of us in lhe Chamber. I am          my life. if needed, hecauise I believe in
  wild conspirac.\• theories, one after the        thankful for Lhe heroic law enforce-          the sancLity of our elect-oral system.
  olher. swat-Led down by lhat Repuh-              ment officers who worked feverishly to       which had declared George \V. Bush my
  1ican-elecled official and his attorney          resto1·e order so that we get- back lo       Commander in Chief.
  a.<; having 110 basis in facL This Presi-        l-he electoral certification process.           I earne<l my woimcls proudly fighting
  <lenl begs. he coaxes. he even lhreaLens            During- my 29-year career as an obste-    in a war I did not support 011 t,he orders
  tbal secreL,wy of state to find the vat.es       trician and g;vnecologist. too often I       of a President I did nol vote for be-
  be 11.eeds. In any other venue. l-hat           had to sit, do,vn wit-h patients and give     cause 1 believed in and I sLill do believe
  would be a simple. ohvious crime.                them a very bad diagnosis. IL might          in the values of our Nat.ion: because I
     The lengths he will go to are obvious.       have been a young mother of three             believe in a governmenl of. by. and for
  The Texas Senator says to us: Well.              whose Lhree babies I delivered. now          the people. where voLers-voters--
  many people still agree with him. you            with metastatic breast cancer. or per-       choose who leads them. not the other
  know, when it get..s down to the bott.om         haps another woman wit.h advanced            way around.
  line. Many people have fallen for this           cervical or ovarian cancer. all of which        I have spenL my entire adult life de-
  Presidential posiUon that it must have           have very challenging prognoses. But         fendinl).· our democracy. lmt. I never-
  been a rigged election if I lost.                before I sat down with each one of           never-thought it would he necessary
     Well. 1 ·would say that after-we have         those patients. I carefu11y reviewed all      to defend it from an attempted violent
  losL count-57 lawsuits. 62 lawsuit-&-I           the labs. their x rays. and the pathol-      overthrow in our NaLion·s own Capitol
  have heard so many differe11.t num-              ogy to make sure I had the fact.s            Building·. Well. I refuse to let anyone
  bers-aft-er 90 different judges; after          straight. lmt at the end of Lhe uay. my       i.J.1tent on inst.igating chaos or inciting
  Lhis President Look hi::s case. the best         final recommemlation was always              violence deter me from carrying ouL
  he could put Log-ether. Lo the highest          going to be a recommendation from my          my constitutional duties.
  Court in the land across the street.            heart..                                          You know. when my Army huddies
  where he had personally chosen three                I want my fellow Kansans and all          and I raised our right hands. when
  Justices on the Supreme Court-and I              Americans Lo know that I have given          4.5.000 t.r-oops in Arizona raised their
  say to the Senator from Texas that he           as much consideralion and thought             right llancls and swore to protect- and
  knows mueh more about that Court                surrounding the issue of objecting to a       defend the Constitution, we ditl noL
  than I do-I don't believe they let that          State's elect-oral college votes as I did    qua.lify our oaths by saying that we
  paper that, he sent. up there even hit          considering the treatment plan for a          would follow orders only when Lhe
  the desk before they laughed it ouL of          serious healhh concern. and toclay·s de•      Commander in Chief was someone
  the Court. And that is the best he had          cision once a.._g-ain is from my heart.       whose election we were happy wHh.
  to offer-no evidence whatsoever of                  Mr. President, I rise today Lo restore       Just like when every SenaLor in Lhis
  this     rigged      election   and     t-his   integrity to our Republic. and I rise to      Chamber was sworn into office. we
 fraudulence.                                     do it knowing that many of our col-           didn"t mutt.er umler our breath that we
     The Senator from Texas says: We              leagues are all concerned for current         discharge our duties only when it
  jusL want. t-o create a little commis-          and future generations. We must re-           served our political interests or helped
 sion, IO days: we are going Lo audit all         st-ore faith and confidence in one of our     us to avoid the wrath of a pelt.y. inse-
  of Lhe States--pai-Licularly the ones in        Repuhlic·s most ha.llowecl and patriotic      cure. wannabe t.in-pot dieLator on the
 contention here--aml find out what ac-           duties: voting.                               precipice of losing- power and rel-
  tually occurred.                                   There is no question our U.S. Con-         evance. No, there is no ambiguity
     And it- really draws its parallel to         stitution empowe1·s Stale legislatures        here-Joe Biden won the elect.ion with
 1876. to Hayes and Tilden. Don't forget.          to execute free. legal, and fair elec-       a record number of votes. Republican
 what that commission-that so-called               Lions. Unfortunately. in several States.     officials naUonwide confirmed those
 political compromise-achieved. IL was             the clear authoriLy of those State le<,;-    results. including in Arizona. as has
 not just, some ordinary governmental             islatures to determine the rules for          judge after Trump-appointed judge.
 commission. It- was a commission that            voting was usurped by Governors. sec-         Even Trump·s Attorney General admit-
 killed reconstruction. LhaL established          retaries of st-ate. and activist courts.      ted that the U.S. Department of Jus-
 Jim Crow. that--even after a civil war.          Our laws and Const-ituLion should al-         tice had not found widespread fraud
 which tore this Nation aparL. it re-             ways be followed, especially in a time        that woul<l have affected the outcome.
 enslaved African-Americans. and it was           of crisis.                                       Yet still many of my Republican col-
 a commission that invited voter sup-                I don·t rise lo undo a State's legally     leagues are asking us to ignore all of
 pression we are still fighting today in          obtained electoral college votes: rath-       that. With 110 evidence of their o-1v11.
 America.                                         er, I rise in hopes of improving the in-      they are asking us to ignore court rul-
     LeL me close by saying Lhis. The vote        tegrity of the ballot l-0 hold States ac-     ings. ignore Republican-elected offi-
 we are going to have here is a clear             countable to the time-proven constitu-        cials. and even worse. ignore the wi11 of
 choice of whether we are going Lo feed           tional system of the electoral college.       Lhe people across this vast.. great Na-
                                                     This is why I urge the formation of        tion by t.rying to overtun1 this elec-
 Lhe beast of ignorance or we are going
 to tell t,he truth to the American peo-          an electoral commission to give con-          tion. They are placing more trust in
 ple. We saw that beast today roaming-            structive su.._g-gestions and recommenda-     Reddit conspi.J.•acy theories than the
 Lhe halls. Let·s not invite it l)ack.            Uons t.hat States can take Lo make our        Constitution, proving that appeasing
    The VICE PRESIDENT. The majority              elections once again safe. f1•ee. and fail•   Trump is more important to them than
 leader.                                          aft.er a year of jarring irregularit.ies.     protecting Lhe most basic tenet. of our
                                                     We must 8-lld will have a peaceful         Republic-the adherence t.o free and
    Mr. McCONNELL. I yield up lo 5
                                                  transi Uon of power.                          fair elections.
 minutes t,o the Senator from Kansas.                To all my fellow Americans. I have
 Senator MARSHALL.                                                                                 If there is one thing I know. iL is that
                                                  no doubt. that our Republic can grow          my troops didn"t. sign up to defend our
    The VICE PRESIDENT. The Senator               stronger through this difficult day.
 from Kansas.                                        May God bless this great Republic.         democracy in war zones thousands of
    Mr. MARSHALL. Thank you, Mr.                     Thank you. Mr. President.                  mile away onl~' to watch it- crumble in
 President.                                          I yield the floor.                         Lhese hallowed halls here at home. Yet
    Preedom of speech ancl the freedom               The VICE PRESIDENT. The minor-             Lhat is what ihis effort amounts to--an
 t-o protest are provided in our Constitu-        ity leader.                                   attempt to subvert. our demoerac~'- In
 tion. \:Vhile I share the same frustra-             Mt·. SCHUMER. The Senator from Il-         Lhe proeess. it is threatening what
 Uon many Americans have over Lhe                 linois. Senator Dt.:CKWOR'PH.                 makes America American. because in
 President-ial election. the violence and            Ms. DUCKWORTH. In 2004. I packed           this country-in this eount.ry-t.he
 mob rule t.h,'J..t occurred al the U.S. Cap-     up my rneksaek. laeed up my hoots.            powe1· of the people has alwa:,;s
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   mat.t.ered more than l,he people in            test. Thfa is about. overt.urning a State-      I was g-oing to t.ry in a feehle wa.,·.
   power.                                         cert,ified election.                         maybe. lo reach some of the rhetorical
      Tlmt is Lhe ideal that this Nation was         If you vote to overturn these elec-       heig·hls of BEN SASSE. I knt!W I could.n"l
  founded upon. That is ·why a few pl,,ll'i-      tions. woul{ln·t it be the opposite of       ,10 Lha1.-. so i.l1$tead-I know I am vio-
  ots threw some tea in Boston Harbor.            Stat-es· rights Republicans havt! always     lating· rules, Today is the day for vio-
  why Washingt.on cros:,e<l the Delaware.        advocated fo1•?                               lating rules. This is a photo that ap-
  why suffragii,ts were arre::;ted a century        This would doom the electoral col-         pears today in one of t.he most promi-
  ago. and why my friem1 John Lewis               leg-e forever. It was never intended by      nent German newspapers. You don·t
  crossed that bridge in Selma in 1965. It        our Founders that Congress lrn.ve the        need t,o draw it up. You can di·aw up
  is why millions spent a Tuesday in No-         powE:>r to overturn State-certified elec-     photos from any newspapel' or any tele-
  vember st.anding in line. braving a pan-        tions. My oath to the Constitut,ion          vision feed anywhere across the world.
  demic t.o make their voices heard.             doesn't a11ow me to clisolJey the Jaw. I         And what is this photo of? It, is of
     Listen. this administration has al-          can·t voLe to ove1·Lurn the verdict of        thugs-thugs-in the Ha,lls of this Cap-
  ways had an adversarial relationship            St.ates. Such a vote would !Je to over-      itol. u.irninishing everything we say we
  with Lhe t.ruLh. Trump always cries             turn everything hel<l <lear liy those of     believe in. in this democracy.
  conspirac:v. alwa:,,-s foments chaos            us who support the rights of Stales in          When you look at those images. real-
  whenever somethi11,.1< doesn't go his           this great system of federalism that         ize that those images a.1-e priceless for
  way. Bul- Laday. we here in this Cham-          was bequeathed to us by our Pounders.        our adversaries. I am willing·_ tonight.
  her have the opportunity to prove that            Tlie electoral college was created to      in an overwhelming way. to take a
  here in this country. trut.h matters.          devolve the power of selecting Presi-         small step. in a bipartisan way. to
  that. right matters. that the will of the      dential electors to the States. The           start restoring that trust of our people
  people matters more than the wl1ims of          electoral college is. without question.      and. hopefully. the billions of people
  any single powerful individual.                 an inseparable friend to those who be-       around the worltl who believe in that
     I have no tea to throw in Boston Ha.r-      lieve that ever~• American across our         not.ion of American democracy. Re-
  bor tonight. and I regret that I have no       vast country 1leserves to lJe heard.          memher. these images are still there.
  rucksack to pack for my country. no               If Congress were given the power to           I yielcl the floor.
  Black Hawk to pilot. nor am I asking           overturn the States· elections. what             The VICE PRESIDENT. T11e majo1ity
  for any grand gesture fl·om my Repuh-           terrible chaos would ensue every 4           leader.
  lican colleagues. All I am asking of you       yea.i·1;. Imagine the furor ag-ai.nst the        Mr. McCONNELL. Mr. President. I
  is t-o reflect. on t-he oaths that you have    electoral college if Congress hf!comes a      yield 5 minutes to the Senator from
  sworn. on the damage done t.o our              forum to overt.urn States· eleet-oral eol-    Missouri. Mr. HAWLEY.
  Unioi1 today. an<i on Lhe sacrifices           Jege sbtes.                                      The V1CE PRESIDENT. The Senator
  made by those who have given so mueh              It is one thing- to be angry. It is an-    from Missouri.
  t.o thi8 Nation. from the servicemem-          oLher to foeus one·s anger in construc-          Mr. HAWLEY. Mr. President. I want
  bers at Arizona ·s Fort Huachuca and           tive ways. That hasn·t happened today.        to begin this evening hy saying t.hank
  Marine Corps Air Station Yuma to the            to say the least.                            you to the men and women of lhe Cap-
  mari:hers who bent America·s moral                We simply cannot destroy the Con-          it-ol Police. LJ.le National Guardsmen.
  arc a little bit more toward justice           stitution. our laws. and the electoral        the MetropoliLan Police. and others
  with every single step that they took.         college in the process.                       who came l,o this CapiLol and put their
  every bridge that they crossed.                   I hope. as the Nation·s anger cools,       lives on the line to protect everybody
     Then ask yourself whet.he.r the de-         we can channel that energy into essen-        here who was working inside. 1 want to
  mocracy they were willing to bleed for.        tial eleetoral refon11s at the St.a.Le        thank law enforcement all auross this
  the country lhat each of us in t-his           level. America is admired around the          count,ry-in my home State of Missouri
  Chamber has sworn to defend. is worth          world for our free elections. We musi,-       and everywhere else-who do that da:y
  damaging in order to protect the por-          we absolutely must fix this mess and          in and (lay out.
  celain ego of a man who treats the Con-        restore confidence and integrity to our          I just want to acknowledge that.
  sLitution as if it were little more than       elections. We must.                           when it comes Lo violence. it was a ter-
  a yellowing pieee of paper.                       The VICE PRESIDENT. The Demo-              rible year in America this 1asL year. We
     I think we all know the right answer.       cratic leader.                                have seen a lot of violence against law
     The VICE PRESIDENT. The majority               Mr. SCHUMER. The Senator from              enforcement. and today. we saw it here
 leader.                                         Virginia. Senator \VARKER.                    in the Capitol of the United Sta.Les. In
     Mr. McCONNELL. Mr. President. I                The VICE PRESIDENT. The Senator            this count.ry. in Lhe United States of
 yield up to 5 minutes to the Senat.or           from Virginia.                                America. we cannot say emphatically
 from Kentucky. Senat.or PA..:L.                    Mr. WARNER. Mr. Presidenl. I think         enough: Violence is not how you
     The VICE PRESIDE.J.'1T. The Senat-or        like most oi us. I am still pret.ty reel-     achieve change. Violenee is noL how
 from Kentucky.                                  ing- from what happened today. WhaL I         you achieve something better.
     Mr. PA UL. I w-rote a speech for            was going to talk alJouL was the work            Our Co11st,itul-ion was built and put.
 today. I was planning: to say that I fear       I am most. proud of since I have JJee11       into place so that there would be. in
 the chaos of establishing a precedent.          here. with my good friend RICHARD             the words of Abraham Lincoln. no ap-
 that Congress can overturn elections.           BURR and all the members of the Intel-        peal from ballots to bullets. which is
 Boy. was I right. Chaos. anarch;,r-the          ligence Committee. about a multiyear          whal we saw. unfortunately. au.empted
 violence today was wrong- and un-               report we did into foreign interference       tonight. '!'here is no place for that in
 American.                                       in our elections. Probably our top rec-       the United Slates of America. and that
    The vote we are about to cast is in-         ommendation of that five-volume. bi-          is why I suhmit t.o my colleag-ues that
 credilJiy important. Now more than              partisan report- was that any official or     what we are doing here t,onight is. ac-
 ever. the question is. Should Congress          uandidat-e should use rest,raint and cau-     tually. very important because. for
 override the certifie(l results from the        Lion when questionh:1g results of om          those who have concerns alJout the in-
 Stat.es and nullify the States' rights to       elections because when you do so. you         tegrity of our elections and for those
 conduct elections?                              ofien carry out Lhe goals of om· foreign      who have concerns about- what hap-
    T11e vote today is not. a proLeBt: the       adversaries. Use caa.utio11 because.          pened in November. this is t.he appro-
 vot.e today is li t.eral1y Lo O\'erturn elec-   wheLher knowingly or unknowingly              priate means. This is the lawful place
 t-ions. We have been t.old that Lhis is a       and whether t.hat adversary is in Rus-        where those objections and coneerns
 protest. that this is about an electoral        sia or China or Iran. their goals are         should be heard. This is tht> forum that
 commission. No. it is not. U is ahout           preU:,. simple: They want lo make it
                                                       0
                                                                                               the law provitles for-that our laws
 whet.her to seat tlw electors certified         appeu.r lo Americans. to folks around         provide for-for those concerns to tie
 lly a Slate. It is not about an eJeclol'al      t.he world. and t.o lheir own people Lhat     reg-istered, not through violenee-not
 commission. lt is 1101. about a protest.        thert! is nothing special about Amer-         by appealing· from hallots t.o hullels-
 You can g-o outside if you want t-o pro-        ican democracy.                               lJut here. in Lhis lawful pl'ocess,
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       So L-o thoic<e who say that, thiic< is just-   the American people from both parties             voter fraud or eledion irre;rnlaril-ie;;
   a fonnality today-an antique cere-                 Rnd all walks of Hfe can have con-                that have been suggested by Lhose
    mon.v that- we have engaged in for a              fidence in U1eir elect-ions and so Lhat,          seeking to overturn the elect-ion. There
    couple of hundred years-I can·t say               we can arl'ang:e ourselves nnder the              have lieen 60 cases in court afte1· eourt.
    t-hat I agree. I can"L say that. our prece-       rule of law that we :ihare t.og-et,her.           all throughout our SLate and through-
   dent sugg·est.s that,. I acl,ually think it          I yield the floor.                              out U1e country. including in Lhe Su-
   is very vital. what we do. The oppor-                The VICE PRESIDENT. The Demo-                   preme Com·t. lhat. have dealt wiLh t.his
   tunity to be heard an(i t-o reg•ister ob-          cratic leader.                                    bizarre argument. that. we know is
   jections is very vital because this is               Mr. SCHUMER. The Senal-or from                  based upon that lie.
   the place where those object.ions are to           Pennsylvania. Mr. CA~EY.                            In one court.. the U.S. Court, of Ap-
   be heard and dealt. with. debated. and               The VICE PRESIDENT. The Senator                 peals for the Third Circuit, Judge
   finally resolved-in this lawful means.             from Pennsylvania.                                Bibas. appoint-eel !Jy President Trump.
                                                        Mr. CASEY. Mr. President. I rii;e Lo•           ,vrot,e:
   peacefully. without violence. without              nig-ht- to defend l-he people of the Com-
   aLtacks. withOtlL bullets.                                                                             The campaign·s t.~lailn..~ h.:-1,ve no 1neriL rrh~
      Let me just say now. briefl~;-in lieu           monwealt-h of Pennsylvania-to clefend             United State,; ha.~ free and fair <'leet.ions.
   of speaking about it- later-a word                 the more Lhan 6.9 million voters who              wlikll ar~ the liflahloo,, of our demoeral';·.
                                                      voted in this election-and t,o condemn.           Charges require s_pedfit- alleg-at.ions and \.hen
   about Pe1msvlvania. which is a State               in t-he strongest possible terms. this at-        proof. We lla,·e neit-her he1·e.
   that I haYe been focused on and have               Lemut t.o disenfranchise the voters of
   objected t-0. as an example of why peo-                                                                 So said Judge Bihas.
                                                      Pennsylvania based upon a lie. a false-             Finally. a word about those elecilon
   ple are concerned-why millions of                  hoo(l. That same lie sowed the seeds of
   Americans are concerned-about our                                                                    officials who did such work. These elec-
                                                      t-oday·s violence and today·s lawless-            tion officials all across our State-Re-
   election integriLy.                                ness here in t-he Capitol.
       I say t.o Pennsylvania. quite aparL                                                              publicans and Democrats from red
                                                        One of my constituents. Susan. from             counties and blue counties-did their
   from ,:illegat,ion.-; of an~, fraud. you have      Lehig·h Valley-the community of our
   a Stale conslitution that has heen in-                                                               jobs. They are patriots. and these ob-
                                                      State where Senat-0r T00:::1,iEY lives-re-        jec.:tio11s ate an attack on these Pellll-
   terpreted for over a century to say that           cently w1·ol.e Lo my office and. perhaps.
   there is no mail-in balloting permitted                                                              sylva.nia public servants. I will give
                                                      said il, best.:                                   you one example from Republican
   except. for in yery narrow cir-                       We cannot allow AXYBODY Lo on,rturn
   cumstances. which is also provided for                                                               Commissioner Al Schmiclt. of Philadel-
                                                      the leg-al votes of the cit.izen.s of Penu,;yl-   phia.
   in the law. Yet. last year. Pennsylva-             vania. This would he th<c ultimatf' destruc-
   nia's elected officials passed a whole             t.ion of our democra(;y.                            He·wrot-e:
   new law that allowed for universal                                                                      There rean~~ :-;houltl not ht> a dhmg1·eemenL
                                                         Susan had it right. We cannot allow            rteg-a1'llles.~ of party affiliation. wheo we"r"'
   m.a.il-in ballot-in...<s. and they did it. irre-    "ANYBODY"-and she put- that word                 t.alking- ahout counting votes . . . b_;- eligihle
  g·ardless of what the Pennsylvania Con-             in all caps-t,o oyerLurn the legal yole.,;        voters. It fa not 3 very -conu·oversial thing
  stitution said.                                     of the people of our St.ate.                      or. at least. it shouldn·t. be.
      Then. when Pennsylvania·s citizens                 Let me address the allegation regard-            After election day. Commissioner Al
   tried Lo be heard on this subject IJefore          ing the Pennsylvania Constitut-ion and            Schmidt. his family. and his colleagues
   the Pennsylvania Supreme CourL. they               the general assembly and somehow                  were subjected to death threats simply
   were dismissed on grounds of pi·ocedure             that the general assembly didn't have            because he was trying to do his jolJ
  and timeliness. in violaLion of that su-             the autho1ity to enact. '"110 excuse             with integrity. IL calls to mincl tJiat
   preme court·s ovv-11 precedent..                   mail-in voting---Lhat process-for the             g1·eat    line   from    "America.      the
      So Lhe merits of the case have neYer            people of our St.ate.                             Beautiful": ··o heaut-iful for patriot
  been heru:d. The constit,utionality of                 First. t-he law in question. Act 77, wa.s      dream. That sees 1Jeyond t-he years ...
   the statute. actually. has neYer been              passed in 2019 and was implemented                  These election officials. like so many
  defended. I am not aware of any court               without any serious question as to its            of our natriots-and we heard from
   that has passed on its constilu-                   co11stit.utionality. The law was passed           Senator DUCKWORTH tonight. a real pa-
   tfo11alit-y. I actua1l;- am not aware of
                           0
                                                      by a Republican-controlled general as-            t,riot--did their jobs. Let ·s support
  anybody who has defended the con-                   sembly. house and senate. It was only             these pat1iots. Vote against t11is objec-
  stitutionality. .a.nu this was the statute          after the 2020 election. when it became           tion.
   that governed t-his last election in               clear that President-Elect Joe Bide11               I yield the floor.
  which there were over 2.5 million mail-             won Pennsylvania by a lit.tie more                  The VICE PRESIDEN'I'. The majority
  in ballots in Pennsylvania.                         than 80.000 votes, that some Republican           leader.
      This is my point. that this is the              politicians in our St.ate decided to                Mr. McCONNELL. I yieM 5 minute!\
  forum. The Pennsylvania Supreme                     challenge the constitutionality of the            to the Senator from Utah. Mr. RDM?.'EY.
  Court, hasn·t heard the case. and there             law.                                                The VICE PRESIDE..'N'T. The Senator
  is no other court to go to. Lo hear the                Second. Act 77 is plainly constitu-            from Utah.
  case in the State. so this is the appro-            Liona-1. My colleagues allege that the              Mr. ROMNEY. Today was heart--
  priate place for these concerns t,o be              State constitution requires in-person             breaking. and I was shaken t-0 the core
  raised. which is why I have raised them             voting except under lin1ited cir-                 as I thought about, the people I have
  here today.                                         cumstances. This is not true. While               met, in China and Russia and Afghani-
      I hope t-11.at this body will not miss          Pennsylvania lays out specific situa-             stan and Iraq and other places who
  the opport.unity to take affirmative ac-            lions in which absentee voting is re-             yearn for freedom and who look to this
  tion to address the concerns of so many             quired. there is no in-person require-            building and these shores as a place of
  millions of Americans-l-o say to mil-               ment in our State constitution. The               hope. I saw the images being l)road-
  lions of Americans tonight that vio-                constitution sets a floor. not a ceiling.         castell around the world. and it breaks
  lence is never warrant-eel. t.hat violence          for this type of voting.                          my heart.
  wm not be tolerated. that those who                    Third. apart from Lhe argument- macle            I haYe 25 grandchildren. Many of
  engage in it wm he prosecuted. but                  by my colleague. there is bipariisan              them were watching TV. thinking
  that this body will act lo address Lhe              a;rreemenl across our Staie-at the                about this building. and whether their
  concerns of all Americans across Lhe                local. State. and Federal Ievels---that           grandpa was OK. l knew I was OK. I
  country.                                            our elect.ion was fair. secure. and law-          must tell you. as well. t,hat I am proud
      We do need an inve:itigatiou into               ful. On Monday. my colleague from                 to serve with t-hese men and women.
  irregularities. fraud. We do need a way             Pennsy]yanin.. Senatol' T00MRY. wrote             This is an extraordinary group of peo-
  forward loget.11er. We need elect.ion se-           in an op-ed: --The evidence is oyer-              ple. I am proud to be a Member of the
  0u1itv refo1ms. I IJet m~- friencls on the          whelming that Joe Biden won this elec-            U.S. Senal-e and meet with people of in-
  othe1: side of the aisle don·t. disagree            L-ion.··                                          le\tritv as we do here todav.
  with that. We need t-0 find a way to                   There is simply no eYidence lo justify           Now. we gather due t,o a·selfish man·,-;
  mon, forward on that toget,het· so U1n.t            Lhe oul-rag-eom; claims of widespread             injured pride and the outrage of his
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   supporl-ers. whom he has deliheralely         leagues are coming- dose to hre,,kimr          reg-an1 of the voLes of our eit.izenry.
   misinformed for the pasl 2 months and         this promise.                                  even as they speak out ag-ainst foreign
   stirred lo aelJon this very morning.             Since 1797. each U.S. President has         leader:; who ignore Lheir own people.
   iVhat hn.ppened here t,o(lay was an in-       peaeefully handed over power to the              They will fail. :1.ml history wm l'<'•
   surrection that was incited by the            next. and tlmt will happen again on            member t.hem.
   President, of the United States. 'l'hose      January 20. when Donald TrUlllp. de-             I hope that future g-enerat.ions will
   who ehoose to continue to support, his        spite t.he protesters t-oday. Lhe violencE>    view the aclions of some of those folks
   aangerous gambit- by objecting io Lhe         t.oday-when Donald Trump leaves the            today as 1i Lt-le more than an unfortu-
  results of a legitimate and democraUc          \Vhite House at. noon and Joe Eiden be-        nate anomaly.
   election will forever be seen as being        comes President.                                 Future opportnnist.s may use this ill-
   complicit in an unprecedented aLtaek            We lmve hea1·d l,onight. from bol,h         fated effort. to seek short-ter:m polit-
  against. our democracy. Fairly or not..        Democrats and Republicans allout l-he          ical g·ai..n over Uie long-ten11 stability
   they will he remembered for their role        importance of the voters speaking i.11         of oui.· Republic. But for the sake of our
  in U1is shameful episode of American           the election and about the fact that           great country and America's standing
   history. Thal will be their legaey.           there is no evidence of widespread             in the world. I ask my colleagues today
      I salute Senators LANE:I•'OR!l and         voter fraud. But thii; is 11ot just. an        to fully endorse the results of the free
   LOI~FFLER and B1v,i:;~ and DArnES and. I      issue for us here in Lhe United States:        and fair election and set aside this par-
  am sure. others who. in light of today's       this is an issue for nascent democracies       tisan attempt. t.o subvert lhe will of Lhe
  outrage. have withdrawn their objec-           around the world. which. as Senat-0r           people. We should be venerat.in.s: t,he
   tions. For any who remain insistent on        ROMKEY said. look to the United States        peaceful t.ransition of power. even if
  an audit, in order to satisfy the many         as an example. We are the shining city         our own p1·eferred candidate didn't win.
  people who believe the elecLion was            on t.he hill. We give those struggling        'f'hat. is. after all. who we are in the
  stolen. I would offer this perspeeLive:        under oppression hope for a better fu-        United States of America.
  No congressional audit i1- ever going to       lure.                                            Thank you. Mr. President.
  convince these voters. particularly              Now. like so many of us in thif'               The VICE PRESIDENT. Th<' majo1•ity
  when Lhe President will continue to            Chamber. I have traveled to developing        leader.
  say that the election was stolen. The          democracies around the world-to Af-              Mr. M0CO:NNELL. Mr. President. I
  hesL way we can show respect for the           ghanistan and Iran. to the Weslern Bal-       yield up to 5 minutes to the Senator
  voters who are upset is by telling them        kans, to Africa. to the country of Geor-      from Ohio. Senator PORTMA!\.
   t.he t-ruth.                                  gia. I went there wit,h my colleague             The VICE PRESIDENT. The Senator
      rApplause. Senators rising.)               Senato!' RISCH.                                from Ohio.
      That is Lhe huruen. That fa the duty         In 2012. we went to Georgia t,o ob-            Mr. PORTMAN. Mr. Vice President..
  of leadership. The truth is that Presi-       serve officially. on behalf of the Sen-        you have fulfilled your duties as Presi-
  denl~Elect Biden won Lhe eleclion. and         ate. the election between outgoing            dent of t.l1e Senate Lonight witl1 dis-
  President Trump lost. I had that expe-         President Mikheil Saakashvili and his         tinction. and we all appreciate it.
  rience myself. It is no fun.                   United NaLional Movement. Party and              I thought a.bout changing my mind
      lLaught-er.l                               Lhe challenge by Georgian Dream.              and not speaking tonight. given the
      Scores of courts. the President·s own      which was a newly formed party sup-           lateness of the hour. and I know all of
  Attorney General. and State elections         ported and funded by billionaire oli-          my colleagues would have appreeiated
  officials. both Republican and Demo-          garch Bidzina lvanishvili. It was a hat-        that greatly. But I thought it was nec-
  crat. have reached t.hat unequivocal de-       Ue for Parliament. hut also for control       essary to speak because I want the
  eision.                                        of the government.                            American people. particularly my con-
     In light of today·s sad circumstanees.        Senator RISCH and I visited mu!Liple        stituents in Ohio. to see thal we will
  I ask my colleague: Do we weigh Otu'          polling places on election day. and we         noL be intimidated. thal we will nol
  own political fortunes more l1eavily          af,>-reed with the interuational assess-       disrupted from our work. Lhal here in
  than we weigh L-he strength of our Re-        ment that that election was free and            Lhe citadel of democracy. we will con-
  public. the sLrength of our democl·acy.       fair and that, Georgian Dream were the         tinue lo do the work of the people. Mob
  and the cause of freedom? What is the         winners.                                       rule is nol going to prevail here.
  weight of personal acclaim compared              But there ,vas real concern in lhe             Now. let's face it. We did not reclaim
  to the weight of conscience?                  country that Saakashvili was going to          this Chamber tonight. Brave and self-
     Leader MCCO)<"NF'.J,L said that lhe vote   refuse to give up power-that, that             less law enforcement officers stood in
  t-oday is the most important in his 36        would lead to violence. and it would           the breach and eni,-ured that the citadel
 years of public service. Think of that         end t-he nascent democratic reforms            of democracy would lle protected and
 after his authorizing two wars and vol-        that were happening in thal former So-         that we would be defended. and we are
 ing against two impeachmenLs. He said          viet Republic.                                 deeply f,Tateful for that-as is the Na-
  that not. because the vote reveals some-         So Senator RISCH and I. the day after       tion.
  thing about the election but because          the election. wenl to vi.sit, PresidenL           I have listened carefully to com-
  Lhis vote reveals something al>out, us.       SaakashviU to try and talk him out of          me11ts of m..v colleagues, and I have lis-
     I urge my colleagues to move forward       staying in power. I ren1ember very             tened over the past couple of weeks as
 wil-h compleLing the electoral count. to       clearly going to his home. and we sat          this issue has been discussed. and I tell
 refrain from further objections. and to        down with him. and we l)Ointed oul             you. for me. it, is not a hard decision. I
 unanimously affirm the legitimacy of           that the hallmark of a democracy-              stand with the Constitution. I stand
 the Presidential election.                     what he had worketl so hard for in his         with what the Constitution makes
     Thank you. Mr. PresiclenL.                 8 years as President of Georgia-the            clear: The people and the SLates hold
     The VICE PRESIDENT. The Demo-              hallmark of t-hat was to t.urn over            the power here. not us.
 cratic leader.                                 power in a peaceful election to the per-          M:v oath to the Constit-uti.on and my
     Mr. SCHUMER. The Senator from              son the voters chose. Well. President          reverence for our democratic principles
 New Hampshire. Senator SHAHt-:r,N.             Saakashvili listened Lo us. and he did         make it easl" for me l-o confirm these
     TI1e VICE PRESIDENT. The Senator           leave office peacefully.                       State certificaUons.
 from New Hampshire.                               BuL it. is important that future gen-          By the way. I opposed this proeess
     Mrs. SHAHEEN. Mr. Pl·esident. on           erations reeognize that .•\merica-like         some 15 years ago. when some Demo-
 January 3. I. along· wilh 31 of my eol-        democracies everywhere--depends on a           crats cllose to o!Jject to the electors
 league1-. stood in this Chamber and            peaceful trnnsit,ion of power. on l)eliev-     from my 11ome Stat.e of Ohio after the
 swore an oalh to 8Upport and defend            ing in what the voters say. and en,sur-        2004 elections. I opposed it then. and I
 the Constil.ut.ion of the United St,ates.      ing that lmppens.                              oppose it now. I said at t,he time Lhal
 11., is both ironic and deeply dis-               Unfort.una.teJ~,. we have heard from        Congress must not thwart t-he will of
 appoinU.ng· that only 3 clays afler            some Senators today who have been en-          Lhe people. Thal i~ what we would he
 swearing these oaths. some of my col-          abling- President Trnmp·s willful dis-         doing.
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     Let·s assume for a moment lhal             challenges. le l ·s work together for the   ing. and he !lidn·t feel tlml lhey were
   Lhose who object. to the cert.ificaUons      people.                                     fully and effeclively engaged. He ended
   are right. that the Com,tilution in-           The VICE PRESIDENT. The Demo-             his speech l-hat day with words that I
   tended that a bare majority of Mem-          cratic leader.                              think have an eerie relevance tonight.
   bers of Congress could circumvent the          Mr. SCHUNIBR. Mr. Ptesident. I he-        Here is what Abraham Lincoln said:
  Stat.es that have chosen to certify the       lieve we have 8 minutes left. so I wouM       Fellow-[Ame1ic.-,ngJ_ we cannot e~cape hi»-
  popular votes of their own State citi-        like to divide 4 to Senator KrnG- and 4     tory. \\'e of t.his Congress and t.hh, adminiis-
  zens. I ask the objector,; to think al>out    to Senator VAN Hoi.u:x.                     tration. will lie remembered in spite of our-
   the precedent that would be set if we          The v"ICE PRESIDENT. That is cor-         Relves. )Jo pe1'Sona.I significance. or in.~1gnifi-
  were to do that.                              rect.                                       cance. can sparP on.i or another ol ms.
     What if the majority in the House            The Senator from Maine.                     And here are his final words:
  and the Senate were of the other party          Mr. KING. l\!lr. President.. Winst,on       The fiery t11al throug·h wllich we pa~,; will
  when a Presidential candida.te of our         Churchi11 once saicl that he could do a     light. us down in honor or dishonor to the lat.-
  party came through a close Presi-            2-hour speech extemporaneously, hut a        est generation.
  denUal election? 1Vould you want a            IO-minute speech took immense prepa-           The fiery trial lhrough which we
  Congress controlled by the Democrats          ration. I don·t. know what he would         pa...-as. will light us down in honor or dis-
  to play the role you now intend for us'!     have said about a 4-minute speech.            honor Lo lhe latest generation.
     It is asking Congress to substiLute its      We are a 240-year anomaly in world           Thank you. Mi-. President.
  judgment for the judgment of the voL-         history. We ihink l.J1at what we have          The VICE PRESIDENT. The Senator
  ers and its judgment for t,he judgment       here in this counLrJ' is Lhe way it has       from Marylaml.
  of the States Lhat certified the results.    al ways been.                                   Mr. VAN HOLLEN. Thank you. Mr.
  And even forgetLing the dangerous               IL is a very unusual form of govern-       President. The mob violence and at-
  precedent that would be seL what             ment. 1'he normal form of government          tack we saw on our Capitol t,oday
  would be the basis fo1· objecting in this     t.hroughout worm history is dictat.ors.      should be a wake-up call to each and
  election?                                    kings. czars. pharaohs. warlords. ty-         every one of us of what happens when
     Look. I voted for President Trump. I      rants. And we thought 20 years ago the        we fail to come togelher. not as Demo-
  supported him because I believe the          march of history was toward democ-            crats and Republicans bul each of us as
  Trump administration·s policies are          racy. hut it is in retreat in Hungary         Americans. lo stand up lo a President.
  better for Ohio and for the country.         and Turkey-goodness knows. in Rus,.           who time anrl again has shown con-
  And I supported the Trump campaign ·s        sia.                                          tempt for our democracy. contempt for
  righl to pursue recounts-they had               Democracy as we have practiced it is       our Constitution.
  every rig•ht to do it-and legal chal-        fragile. It is fragile. and it rests upon       Today. here on the Capitol. we wit-
  lenges.                                      trust.. It rests upon trust in facts. It      nessed people taking down an Amer-
     I agree t-hat t.here were instances of    rests upon trust i.n court-s. in puMic of-    ican flag and puLLi.ng: up a Trump flag.
  fraud and il"l:egularities in the 2020       ficials, and. yes. in elections.             That is noL democracy in Lhe United
  elecLions. I think we an do. And 1Jy the        I don·t sympathize or justify or in        Stal.es of America.
  way. there are fraud and i1Tegularities      any way-in any way-support-that is              As every Senat,or who has spoken has
  in every Presidential election.              putting it mildly-what happened here          mentioned. we have for lmndreds of
     But it is also true that after 2           today. hut I understand it. I 1mder-         years had a peaceful transfer of power.
  months of recounts and legal chal-           stand it because I saw those people           Nobody likes to Jose. a.nd supporl.ers of
  lenges. not a sing-le State recount          interviewed today, and t.hey said: We         the losing ca.ndidat.e are always dis-
  cl1anged the result. And of the dozens       are here because Lhis election has been      appointed. What is different this time?
  of lawsuits fiJed. noL one found evi-        stolen.                                         We all know whal, is different this
  dence of fraud or irregularities wide-          And the reason Lhey said that is that     time. We have a President- who. as the
 spread enough to change the result of         their leader has been telling them that      Senator from New Jersey said. even be-
 the elect.ion. This was the finding of        every day for 2 months.                      fore a vote was cast. lhaL if he didn't
 numerous Repuhlk-an-appointed judges             We cannot afford to pull bricks out       win the election, it was going lo be a
 and the Trump administration·s own            from the foundation of trust that            fraud and every day since then has per-
 Department of Justice.                        underlies our entire system. And I           petrated that lie.
     Every State has now weighed in and        agree with Governor RO'.\-D,"EY that. Lhe       We have a Preside11t who just. today
 chosen t.o certify ils elect,01-al slate      answer to this problem is to tell people     criticized t,he very loyal Vice Presi-
 based on the popular vole, as set. out in     the truth-is to tell them what hap-          dent. who is presiding righL now. m-g-
 the Constitution.                             pened.                                       ing him to disregard his responsibil-
    I unders{,and Lhal many Americans             It is easy to confront your opponents.    ities under the Constitution of the
 who would never storm this CapHol             It is hard to confront your friends.         United States in order to reinstall Don-
 don·t trust Lhe integrity of the 2020            It is hard t.o tell your supporters       ald Trump as President; the same per-
 election. don·t t.11ink the St,ates should    something they don't want to hear. but       son who got on the phone to the sec-
 have certified. don't think we should         that is our obligation. That is why Lhe      retary of stat.e in Georgia and threat-
 have accepted the results from the            word --1eader.. is applied t,o people in     ened him to change the results of the
 States. and are insisting on more             jobs like ours. It is not supposed to be     election.
 transparency and accountabilily.              easy. It is supposed to be something            Mr. President. I read something this
    In the 2016 elections, lest we forget-.    that we take on as a sacred obligation.      week I never Lhought I would read in a
 many Democrats objected to the re-            and if people believe something· that        newspaper in 1..he UniLed Stat.es of
 sults and distrusted Lhe elecUon.             isn·t true. it is our obligation to tell     America. It was an op-ed by all the liv-
    I cha1lenge my colleagues on both          them: No. I am sorry. it isn·t. just as      ing former Secretaries of Defense. in-
 sides of lhe aisle to listen but also to      Senat,or P0RTM.'I.N just said, as MIKE       cluding SecreL.aries Rumsfeld. Cheney.
 do our part t.o try to restore faith in       LEE just said: I am sorry we can·t do        and MaLtis. warning-warning-the
 our elections. We should all work t,o         this here. We don·t want to do this          counLry about our LradiLion of peaceful
 improve the integrity of the electoral        here. ThiH is a power reserved Lo the        Lransfe1· of power and that iL would be
 system and the confidence of the Amer-        States. not to the Congress.                 i11approp1·iate for the military Lo t.ake
 ican people in this bedrock of our g:reaL        And I agree wHh the majority leader.      sides in the United States of America.
 democmlic Republic.                           I think this is one of the most impor-       We Lalk t-o the world aboul how we
    Today. I will do my constitutional         tant votes any of us will ever take.         want to promote democracy and our
 duty and oppose t.11ese efforts to rejed         On December 1. 1862. Abraham Lin-         value,;. and ri;rht here at home too
 the Stat-e-certifiell results.                co1n came to this building. He came to       many are undermining L110se value.s.
    And tomorrow. in Lhe wake of this          this huilding in the darkest da_vs of the       Mr. President. Donald Trump cottld
 attack on the Capitol. the pandemk            Civil War. He was t-rying to awaken the      not do this alone. He could onl~• do iL if
 thal engulfs us. and other na t.ional         Congress to the urisis that we were fac-     he is aiderl and abetted hy individuals
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  who are willing· to perpel-rat-e thm,e lies    disingenuous given Lbat thm,e conce1·ns      Lake a long linw and a lot of work to
  and those conspiracies. an<l t-haL is wh~•     have heen fueled by the President's          overcome. Il h.ata been a day truly un-
  it is so importaut l-hal- we as Demo-          own baseless conspiracy lheorie$--UOt        worthy of om· Nation.
  crat.s and Republic-ans and Senat.or;;        h:v the evidence. not- by t-he facts. and        I t,hank the U.S. Capitol Police, l-he
  st.and up tog·eL-her-sLand up together         not by State elecLion administrators.        U.S. Secret Service. l-he law enforce-
  and tell the Lruth. You know when you          both Republicans and Democrats. who          ment officers from '\Yashing-ton. DC.
  go into a court of law. like those 60          actually oversaw these elections and         Maryland. and Virginia. Uw National
  cases, you are testifying under penally        know what Lhey are talking about-.           Guard. an<l oLhers who have protected
  of perjury. That is very different than           President- Trump and his allies have      this institution and the U.S. Congress
  here in the House and t-he Senate. and        now lost more Lhan 60 cases in courts         today.
  in all l-hose 60 cases. under penalty of      aeross the country. by judges of every           There will he time l,o say more about
  perjury. there was no evidence of wide-       political stripe. i11dudi11.g those ap-       today·s events. but I 1ise now Lo speak
  spread fraud. So it shoulrl be easy for       point-ed by t,he President. The lopsided-     about the unprecedented actions today
  us all together to tell the Lruth.            ness of tl1ese decisions has been ex-         t-o attempt to unclermine a fairly and
    On January 20. Joe Biclen will be            traordinary. It has been nothing less        properly con duded democra L-ic elec-
  sworn in a.s the next President of the         than a wholesale rejection of the Presi-     Uon.
  United St.ates. He has said he wants to       dent's claims. But- Lhis is not sru·-            Under our system of government.
  bring· the country together. He has said      prising. The PresillenL's own At-torney       States bear the primary respom;Hlilit-y
  he wants Lo bring Democrats and Re-            General said t-here is no evidence of        for 1'Unn.i..11q elecLions and certifying
  publicans Log·ether to do some of the         widespread fraud. His own Deparlme11t         election results, and t1mt is exacl-1,v
  pressing business of Lhis eountry. to         of Homeland Security described it as          what we have seen-all 50 St-al-es and
  defeat Lhis pandemic. t-0 get the econ-       the "most secure election in American         the District of Columbia have certified
  omy going again. to face challenging          history."                                     the results of the 2020 Presidential
  issues of racial and social justice. l            President Trump serves no one hut         elect-ion.
  hope we will learn from whaL happenecl        himself. He is not a custodian or guard-         The results of the election are clear:
  t-0day-the moli attack on l-his Cap--         ian of our democracy. He is a man             Joe Biden and KAMALA HARRIS won.
  itol-t-he price we pay when we don't          whose every decision is driven by his            C1ia.lleng;ing these elect-oral votes
                                                shallow self-interest. I llid not expect      now is the height of hypoc1·isy for a
  stand up for Lhe t-ruth and for democ-
 racy .                                         him t,o he gracious in defeaL I expected      parLy Uiat, pricles it-self on Stat.es·
    James McHenry, Maryland's delegate          him to throw tantrums. I am not even          rights.
  to Lhe Consi-itul-ional Conveniion.           surprised that- his rhetoric has incited         Even worse. today's actions are based
  wrote alJOul- a famous exchange in his        violence. as it has today. That is who        on the faulty premise thaL t-his elect-ion
 diariei, between Elizabeth Willing             President. Trump is: we have all known        was somehow tainted by wicle:;pread
                                                that for some time. I am surprised and        fr-aud. which is flal- out wrong.
  Powel and Benjamin Franklin. A lady                                                            Protesting these votes Laday is a dis-
 asked Dr. Franklin, '"Well. Doctor.            disappointed that so many Members of
                                                this body have let it get this far. Aft-er    service to our constitutional order and
 what. have we got. a Republic or a mon-                                                      Lhe more than BI million Americans
 archy'?" "A republic:· replie(l Dr.            he incit,ed riol.ers and criminal actions
                                                by a mob attacking America's symbol           who voted for Joe Biden and Kl1.MALA
 F1"anklin. ··if you can keep it-."
    My colleagues. this is a test of            of democracy, OUl' Ca.pi to I. what- more     HARRIS.
                                                will he do? He should just- leave, He has        We must also recognize that t,oday·s
 whet.her we unite to keep our Republic-.
                                                damaged the country enough.                   actions could echo far beyond this elec-
 I hope we will pass the test together.            Our job today is simply i-o count Lhe      tion. Our demoeraUc Republie has sur-
 Thank you.                                                                                   vive(] as a resull of certain bedrock
    Mr. LEA.HY. Mr. President. January          votes and to cert.ify thaL Joe Biden won
 6. 202L will forever mark a historic clay
                                                the elecUon. Pretending that Congress         principles. including t.lle peaceful
 for our Nation. Not simply because our         could effectively overturn the will of        Lransfer of power and the right- of the
 beloved Capitol building-the very              the American people has. predic-t.ahly.       people Lo elect their leaders.
                                                poured gasoline on an already lit- fire.         Por Congress to challenge the legit-
 heart of our democracy-laid under
                                                We must now get to work to put- this          imacy of electoral vat.es because Presi-
 siege. Not. simply because rioters
                                                fire out-. I am glad that. Congress is        dent Trump is upset that- he lost far ex-
 stormed the Senate and House floors.
                                                Laking the first step now-that is. Lo         ceeds our role as envisioned by our
 assaulting Capilol Police officers and         stop with this nonsense anc1 certify this     Founding Fat-hers.
 leaving a wake of destruction along the                                                         These challenges threaten Lhe very
                                                eledion. The next step will be harder.
 way. Not simply because the President                                                        cOl''<¼ of a functioning democracy-that
                                                The only way we stand a chanee of
 of the United States encouraged his            coming together as a country, leL alone       voters and votes matt.er.
 supporters to commit these felonies-           making progress for the American peo-            If a State's electoral votes can be set
 Lo march to the Capitol and •·to fight,:·      ple. is by working together.                  aside by Con.,,.DTess based on conspiracy
 in his words. No. today will also be re-          I am thankful to the many Senate           theories dreamed up by Lhe President
 membered because of what happened              Republicans who have forcefully re-           and his followers. the value of free and
 before all oft.hat. Today. over 100 Mem-       ject.ed this dangei-ous political stunt,      fair elect.ions is damaged.
 hers of the House and a dozen Senator,,        even before the violence. Your words            Mr. President. those who feel Lhey
 supported a ploy t.o deprive the St-ates       had meaning and sent a message to the         needed to protest today·s results say
 and the _,unerican people of their con-        country that our democracy will en-           they do so because of allegations of
 stitution.al role t.o choose our next          dure.                                         fraud. The problem is. those allega-
 President-a ploy that amounts to                  I have served in the Senate for 46         tions all originate from President
 nothing less than an assault on our            years. I can tell you that. history will      Trump himself.
 Constitutional republic.                       remember this sad clay. So let us en-           'I'he Justice Department found no
    The President's obscene claim that.         sure that it is not- just remembered for      evidence of widespread fraud. Att-0rney
 the election was stolen from him.              the destruclfon. for Lhe President ·s         General Bar:r himself said tllere were
 which he continued t.o b1)0Ut even while       recklessness. ancl for those in Co11g-ress    no irregulariLies thaL could have af-
 his rioting supporl,ers roamed the Halls       who so casuall;v at-tempted to overturn       fected the outcome of the election.
 of the Capitol toda.v. has been                the will of the American people. Let- us         Likewise. our courts--inclmling the
 disproven time and again. Every single         work together now and eertify t-his           Supreme Courtr--have tossed out law-
 Senator knows that Vke President               election. so lhis da;r wil1 also JJe re-      suit after lawsuit filed by President
 Biden won the election and did so deci-        membered for l-bose who stood up and          Trump and his allies. more UJ.a.11 60 in
 sive,]~,. Claims that Pre::-ident- Trump       rejected Lbis dangerous poliLil'al st-unt.    t-0tal.
 won reelect.ion are not just fantasy:          for the ;wod of t-.he Repuhlio and for L-he      I appreciate those Repuhlicanx Sen-
 Lhey are <lelusional. And eiUng voter;<'       good of l-he American people.                 ators who have ;stoorl up for democracy
 misl-rusl in the election resull.s as             Mrs. }'EINSTEIN. M1•. President-.          and against these hasBless olljeetions
 groumls for this st-unt is particularly        Today has been a dark day that will           Lo the election resul ls.
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      Senator Ro~h,EY called it an ""ei-,>1.'e-    made and that our colleagues lend cre-            This pa.'>l Novemlier. 1-he American
   0•iom, plov ··                                  dence to today: that Venezuela. Cuba.          people votec1 in Lhe highest numbers we
   " Se~toi: TomrEY said. --AnegaUons of           and China rigged om eountry's voting           have seen in our Nation's history. More
   fraud by a losing campaign cannot jus-          machines in favor of Joe Eiden: t.hat          than 155 million Americans cast a bal-
   Lify overturning an elecLion. ··                dea(l people voted in t,his eleclion and       lot- in what was a free and fair election.
      Senator PORT::.IAN »aitl. --1 cannot         they only voted for Joe Eiden: am1 that           A clear majorit,y voted for fo1mer
  support allowing Congress to thwart              poll watchers and election observers-          Vice President Joe Biden over Presi-
   t,he will of the volers. ··                     who risked their lives during this pan-        dent Donald Trump. This was not the
      And Senator TH1J1'.r: added. ··u:s time      <lemie to uphold lhe integrity of our          closest election in our Nation·s history
  for everybody to move on.··                      elections---st-uffed ballot. boxes with       by a lon.g- shot. President-Eled Joe
      He is right: the elecUon is over.            Eiden votes a.nd shredded Trump votes.         Biden woi1 by more than 7 million
  President-Elect Biden won.                       Not one-leL me repeal,----not one of          votes. He and Vice President-Elect
      Especially now. after a.11 oi l-lie          these thinbrs is true. There is no evi-       KAMALA HARRIS won 306 electoral
  events of the day. It is truly t-ime t-0         dence to back up lb.ese ridiculous             votes. Donald 1'rump and Mike Pence
  get Lo work repairin.g· our country.             claims.                                        received 232 electoral vot-es.
      Thank you, Mr. Pre>sident. I yield the         Many of these absurd claims from               Given the tremendous impact. the
  floor.                                           Donald Trump and his legal leam are            COVID-19 pandemie ll.as had on our
      Mr. CARPER. Mr. President. --free.           nothing more than conspiracy lheories          country. everyone should be over-
  fair elections are the lifeblood of our          circulating on1ine. This misinforma-           whelmed that Americans turned out in
  democracy. Charges of unfairness are             tion and dangerous rhetorie from the          such sLrong numbers for this election.
  serious. hut calling an election unfair          Presidenl and his allies, including calls      People should not have to choose be-
  does not make it so. Charges require             for violence. have polluted our dis-           tween casting their ballot and pro-
  specific allegations and then proof. We          course and imperiled our peaceful tran-        tecting their ov,:n heallh and l11eir fam-
  have neither here ...                            sition of power. And when our col-             ily's health. The pandemic wreaked
     Those aren ·t my words. Those are the         leagues show i11<lifference or outrighl-      havoc in so many of our 1ives for much
  words of a judge on the U.S. Court of            suppoi•t for these unsubstantiated             of last year. which is wh:v our election
  Appeals fo1• the Third Circuit.. rejecting       claims and conspiracy theories. t.hey          officials in most St.ates responded by
  PresidenL Trump·s legal challenges to            lead our nation and om· Constitution           taking special measures and pre-
  Lhe Pennsylvania election-a judge                down a dangerous path. We all swore            cauLions to protect. the right to vote
  who. 1 might add. was a longtime mem-            an oath to support and defend om· Con-        while safeguarding the health and well-
  ber of Lhe conservative Federalist, Soci-        stitution-not. our political party. and       being of voters and election judges
  ety and was nominaLed to the bench by           cert.a.inly not any individual candidate.      alike.
  President Trump.                                   Colleagues. for the safety of our citi-        Elect.ion security officials, Federal
     Mr. President. the 2020 presidential          zens and our Republic. we must lead by        and those in all 50 States and L-he Dis-
  election was hard-fought. but the                example and Lurn the tempe.rature              trict, of Columbia-Democrats. Repub-
  American people spoke clearly and de-            down. It. was a hard-fought campaign.         licans. and Independents----llave all cer-
  cisively: 81.2 million votes for Joe             but the campaign is over, the vol-es           tified that. we held a free and fair elec-
  Eiden. 74.2 million votes for Donald            have lJeen counted. the count has been          Lion despite these extraordinary cir-
  Trump. 51.3 percent of the vote for Joe         certified in all 50 States. and in 2            cumstances. The Department of Home-
  Eiden, 46.8 percent of the vot-e for Don-       weeks. on January 20th. Joe Biden and          land Security. DHS. stated that the
 ald Trump. 306 electoral college votes           KAMAL.-\. HARRIS will be sworn-in as           November 3 election was "the most se-
 for Joe Bi.den. 232 electoral college            President and Vice-President of the            cure ill American history" and that
  vol.es for Donald Trump.                        United States.                                 "there is no evidence that any votiug
     Accepl-ing the oul-come of an election          We have serious and urgent chal-            system deleted or losL votes. changed
 can be difficult when our poliUcal               lenges that will require working with          votes. or was in any way com-
 party doesn·t win. but calling an elec-          our new President and Vice President           promised."
  tion unfair does not make it so.                and witl1 one another. including mak-             President Trump responded how we
     More Lhan 60 Federal and State               ing sure hundreds of millions of Ameri-        would expect a would-he autocrat to re-
 courts. involving more than 90 judges.           cans can Le vaccinated. geLiing our            spond. by firing the head of the DHS
 many of whom were nominated by Re-               kids back t.o school. and get.ting their       agency overseeing election security.
 publican Presidents. including Presi-            parents back t.o work. just Lo name a          pursuing baseless and groundless law-
 dent Trump, are all in agreement. No             few.                                           suits. and promoting wild conspiracy
 evidence of widespread fraud. wrong-                It is time to stop trying to overLur11      Lheories about a rigged election. These
 doing, or o~her irregularities have been          the w:ill of the people and get, hack to      lawsuits repeat.edly have been dis-
 uncovered during the 2020 election.              worldng on their behalf.                       missed as frivolous by both State and
     Unfortunately, some of our col-                 President Lincoln observed at the           Fe-.deral judges appoil1ted by both Re-
 leagues today ask us Lo do the same              end of the GeLtysburg Address that,            publican and Democratic Chief Execu-
 thing Donald Trump asked of the sec-             ours is a "go;,ernment of the people. by       tives.
 retary of state of Georg·ia: Lo overtur11        the people. and for Lhe people ... Even in        There is simply no evidence of Wide-
 the results of the 2020 election without         the midst of a Civil War, President Lin-       spread voter fraull claims in Lhis elec-
 specific allegations and without proof.          coln put his unwavering faitll in "the         tion that can credibly affecl the out-
 Our colleagues are asking us not to              people .. Lo chart our Nation's course.        come of the election. which even
 abide hy Ll:J.e will of the people but to        We would be wise t-0 remember Lin-             former U.S. Attorney General William
 bend to the will of one man. Donald              coln's words in this moment. We are            Barr-speaking on behalf of the De-
 Trump.                                           not a govemment. of Trump. hy Trump.           partment of Justice-acknowledg·ed. In
     In 1787. delegates from 13 States con-       and for Trump. We are a government of          December. the electoral college met to
 vened in Philadelphia to debate the fu-          the people. by the people. and for the         certif..v the results. and all of the
 ture of our country. Our Founders dis-           people. And the people have spoken.            Stat.es and the Distlict of Columbia
 agreed on many things, but t-hey did             Our only jol) today is t-0 listen l-0 them.    have 110w reg·ularly reporLed their re-
 agree that they didn·t wanL a King. and             Mr. CARDIN. Mr. President. not lik-         sults Lo Co11gress. pursuant to the 12th
 they set up an intricat,e system of              ing whom the voters choose to vote for         Amendment. to the Constitution.
 checks and balances Lo ensure that we            in ru1 elecLion <loes not mean it is a            In Pennsylvania. a panel of the Third
 would never have an all-powerful King.           frau(lulent elecLi.011. Enahli..ng sueh talk   Circuit Court of Appeals unanimously
 Thal svstem of checks and balance,; is           and actively workil1g to disseminate           rejected President. TI·ump·s lawsuit
 heing 1;ushecl Lo a dangerous limit here         false informal-ion that t:ripples our gov-     making claims that a State court had
 toda;v. 1ml it will prevail.                     ernment is in itself a fraud committed         already dismissed. Stepl1anos Bibas-a
     Here are just some of the claims Don-        agairn,t the American people and our           judge whom President Trump ap-
 ahl Trump and hhs leg-al team have               Constitution.                                  pointed-wrote. --Free. fair elections
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  are l-ht' lifeblood of our democmey.         eleetion resuH-s. Lhe full U.S. Congress       moeracy prevails over cl1aos. And i11
  Charges of unfairness are serious. But       would forcefully condemn sueh auto-            America. those who <.:ommit. violent.
  calling an e1e<.;tion unfai1· does not.      cratic and undemoerat.ic moves.                acts ag-ainsl- om· government. are held
  make it so. Charges require specifit: al-       My congressional colleagues who are         accountable. These are the values that
  legations and then p1·oof. We have nei-      objecting t-o the electoral college re-        l served t.o defend in the U.S. Navy and
  l-her here."                                 sults withouL any evidence or legal            t-hat I have sworn an oath to uphold in
     On Monday. Jnnua1·y 4. in U1e U.S.        hasis must st.op coddling President            Lhe Senate. and they have not failec1
  District Court for lhe District of Co-       Trump's insat.iable ego. They musi re-         us.
  lumbia. James Boasherg·-whom George          member their oal11 is to t.J1e ConstiLu-          Our democracy was tested today-
 \V. Bush originally appointed to the          t.ion and not the President.                   first.. by a baseless objection to Arizo-
  lleneh-dismissed yet another frivolous          Sixty years ago. John F. Kennedy            na ·s elect.oral votes. despite the facl
 lawsuit seeking Lo sl-op Congress from        warned t-hat people who foolishly seek         that Arizona ·s elections were fairly ad-
  certifying- President Presidenl--Elect       power by riding the back of the Uger           ministered and certified by a Repuh-
 Joe Biden·s victory when it meets in          ultimat.eJ~, end up inside its belly. Peo-     llcan Governor. a Democratic Sec-
  joinL session to tally t,he electoral col-   ple should heed that advice. It is time        retary of stat.e. and public servants a(.
 lege votes on Wednesday.                      t.o put count.ry before personal               every level of government and rep-
     In a 7-page opinion. Judge Boasberg       ambit.ion.                                     resenting both political partie;,: and
 noted that the plaintiffs had filed in           Mr. TILLIS. Mr. President.. the             then again when individuals. spurred
  t.he wrong court; did not have standing·     American people should have full faith         on by the President. stormed the Cap-
  to sue: and had made no effort l-o serve     in our election system. which is why I         itol in an unpatriotic att-empL to over-
  defendants with the suii. a legal re-        led U1e passage of voter ID 1egislatio11       turn our election. T11ey will fail. To-
  quirement-. He indicated that he was         in North carolina and why I supported          night we \Vill c.ount Arizona·s elect.oral
  contemplating referring L-he case to the     President, Trump·s right to call for re-       votes and t.llose of eyery other State.
  Court.'s Commit.tee on Grievances "for       counts and bring challenges to the                For centuries. our democracy has
  potk!ntia1 discipline of Plaintiffs· coun-   courLs. I share the concerns of many           thrived bel.-ause after elections we h..1.ve
 sel.·· More importanlly. he wrote... the      Americans regarding· the lack of se<.:u-       come together Lo find common ground
 suit rests on a fundamental and obvi-         rity of widespread mail-in voiing and          and solve our challeng·es, and that is
  ous mi;;reading of the Constitution.··       the parcisan actions of activist Demo-         the work we begin t,onig·ht. My focus
 He conclu<led, "It would be risilJle were     cr-atic lawye1-s who succeeded in ma.k-        will continue to he on representing .Ari-
 its target not so grave: t.he under-          ing auesLionable changes to Lhe voLing         zonans by working wiLh Republicans
  mining of a democrati.c election for         proc,<ess while Americans were already         and Democrats and t-he incoming ad-
  President of the United St.ates:·            casting their ballots. Even if it, wa.sn·t     ministration to heat, this virus and re-
     After being shut down again and           enough to cl1ange the outcome of the           build our economy.
 again by the courts and St.ate elect.ion      election, irregularities and fraud are            Mrs. LUMMIS . .lvlr. President. it is
 officials-the people who run the elec-        never acceptable. and they should be           the privilege of a lifetime to represent
  tions-President Trump has continued          investigated and prosecut.ed when ap-          the people of Wyoming in this great. de-
 his sordid campaign lo undermine the          propriate.                                     liberative body. I genuinely look for-
 rule of law in our Nation. He cont.inues         The Framers of our Constitution             warcl to joining each of you to make a
 to fan the flames of division in our Na-      made i L clear that, the power to cerLify      difference for the American people and
  tion. including encouraging fringe ele-      elections is reserved to Lhe States. nol-      to uphold my solemn oath l-o support
 ments seeking t.o declare mai•tial law        Congress. Refusing to certify Stat.e           and defend t.he Constitution.
 or have the military intervene to over-       election results has 110 viahle path t.o         Let me he clear. An at.tack on our
  turn the election results. This dema-        success. and. most importantly. it-            Capitol is an at.tack on our Constitu-
 goguery led all 10 former Secr-eiaries of     lends legitimacy to tile left's stat,ed        tion and democi·ac:,-· it.self. I strongly
 Defern,-e who are st.ill living-Repub-        policy objective of completely federal-        condemn the violence that. occurred
 licans and Democrats alike-to warn            izing elections and eliminating the            today, which did more to Lhwart the
 against any attempt to involve the            eledoral college. Congress should not          democratic process than Lo proiect it.
 military in pursuing claims of election       overstep it-s const,itutional authority        Today. many Members of Lhe Senate
 fraud. arguing· that it would take the
                                               by overturning the results of States           were trying to peacefully use our
 Unit.ed Stat.es into "dangerous. unlaw-
                                               and the will of American vot.ers, espe-        democrat.ic process to en.sure each and
 ful and w1constitutional territory.··
     President Trump and his enablers·         cially absent legitimate requests from         every American's vote counts. In the
 ceasele.<is proYocations can into ques-       States for Congress to intervene.              best tradition of the U.S. Senate. we
 Uon whet.her we ca.n ha.Ye a peaceful            It is a precedent we should not set.        will fulfiH our constitutional duty ru1d
 an<l orderhr transition of power in the       and NAKCY PELOSI and CHUCK SCHt:MER            complet,e Uie electoral count tonight.
 United States. This concern is not the-       should not have the power to set asicle          In 1833. Senator Daniel Webster said
 oretical. as we saw t.oday. as a lawless      elect,ors after the 2024 election and          that •·duty binds . . . the conscience of
 mob encouraged by the President tem-          over.rule Federal courts and t,he Con-         the individual member" in counting
 porarily took control of our sacred           st,itulion as they see fit.                    the votes for President and Vice Presi-
                                                  I was proud Lo suppol'L Presideni           dent. Each of us has a solemn duty t.o
 Capitol.
    President Trump·s rel:ent phone call       Trump's agenda and campaign wiLh               ensure that. the slat.e of Presidential
 to pressure the Georgia secretary of          him. and I am deeply disappointed he           electors we certify is beyond reproacl1.
 state to ··fin(r· the votes he needs to       was not reelected despite his success in       respecting the people's voice ancl up-
 win lhe State is his latest failure to        creat.ing johs. cutting t.rui:es. securing a   holding the Constitution.
 t.ake care that the laws he faithfully        conservative judiciary. reforming· the           Congress will not overturn t.he peo-
 executed.                                     VA. and rebuilding our military. Al-           ple's voice. A president will be inau~"U-
    Historically, American Presidents          t.houg·h I certainly wish the result,s         rated on January 20. Cong-ress cannot
 have understood that Ameriea is a de-         were different. Congress ca1111ot change       ancl shall not diet.ate the results of a
 mocracy and not. an autocracy or a cult       them without inflicting irreparable            Presidential election to our States.
 of personality. 1 find it unfathomable        damage to our constitutional Republic.         That would be the death of our Repub-
 that we even need Lo say thaL out loud.       I will not oppose the certification of         lic.
    Elected legislators cannot. in good        the electoral college votes. and I will          In lhe coming montl1s. Congre:,;s
 conscience. allow President Trump l-o         not embolden poliUcians in the fllture         must take a fresh look at troubling
 continue t.o acl like a, dictator by try-     lo appoint, our Presidents; inst.,ead of       concerns from the eledion Lhat, simply
 ing to undermin.; valid elect.ion result.s    having- the American people dul~• elt'ct       don't add up. After the 2000 Pre;;i-
 and trash imd hurn our Republic on his        l11em.                                         dent.ial election. millions of voters in
 way out. of office.                              Mr. KELLY. Mr. President. In Amer-          Florida felt disenfranchised. and now 74
    If a foreign leader aeted in such a        ica. we have fair elections and peaceful       million Americans cleserve the assur-
 hlatant way to oyerturn legitimate            lransit.ions of power. In America. df>-        ance and t.he dignity that their vet.es
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   count lhe same a,; every oUrnr Ame1·-              'l'im and I have a g-ood relationship. I      [T]he President of tht> Senate ,;hall. in t.h;,
   iean. We owe our first. cluty to the            love TD1 SC'OTT. In 1876. South Caro-         p1·esen<:e {)( the Senate and the Hott~<' of Rep-
   Amerkan people. following· pr0<.,e-             lina. Louisiana. all(l Florida sent l-wo      re,sent.-.t.in;,;. open all cel'tiikat<>s and th,·
                                                                                                 Yot.es shall then he counte<l;-The person hay-
   dures-1ike the ElE>el-oml Count Acl-            slates of electors-they had two Gov-
                                                                                                 ing the greatest numher of vote;; for Presl-
   used for near1;.· 150 years.                    ernors. hy t-he way-and we didn·t             <lent- shall he Presi<lent.
       It- is my fervent- l1ope t,hat our State    know what to tlo. Why ilid SouLh Caro-
   legislatures will consider meaningful           lina. Florida, and Louisiana do it'? To          Where in there does it say that. Miki>
   election reform to ensure that our elec-        hold the com1Lry host.ag-e t-o ell(l Recon-   can My. ··r don·t- like the results: I
   tion laws are applied uniformly. to en-         struction. It worked.                         wanL to send t.hem back to U1e SL.at.es:
   sure the technology we use is accurate             The Commission was 8 to 7. Il did          I believe there was frauu··?
   and secure, and. most importantly. to          work. Nobody accepted il. 'l'he way it,           To the conservatives who believe in
   ensure thal, all Americans treasure our        ended is when Hayes did a deal wish            t-he ConsliLuLion. now is your chanee
   precious right, to vote and feel l-heir         these three Sta.Les: You give me the          to stand up and be counted.
   voices are heard. St.ales are al Lhe very      electors. l will kick Lhe U11io11 Army            Ol'ig-inalism. count me in. It- means
   center of eleetions in om· count-ry and         out. The rest- is history. It- led to Jim     what il- says.
   will remain so.                                 Crow. If you are looking for historical          So Mike-Mr. Vke President. just
      Many ask why Congress shoulu lJe in-        guidance. this is not t,he one t.o pick.       hang in there. They said: We can count
   volved in election matters that- have              If you are looking for a way to con-       on Mike. All of                      ui,
                                                                                                                        can count. 011 t-he
   been considerec1 l)y the courts. Some          vince people there was no fraud. having        Viee President. You are going· to do the
   argue that Cong-ress· role in cerlifyi..ng     a commission chosen by NAXCY PELOHI.           right thing. You are going to <lo the
   our Presidential elections is merely           ]l,.fiTCH MCCO::<!NELL, and Johll Roberts is   constituUonal thing. You have a son
   ministerial. Under our constitutfona.1         nol going- to get you to where you want        who flies F-35s. You have got a son-in-
   separat-ion of powers. it- is t-oo often        to go. 1t ain't g·onna work. So it is not.    law flying F-18s. They are out, there
   forgotlen that Congress has the right          going· to do any good. It is going to          flying so we can get- it right here.
   and duty t,o interpret the Constitution.       delay. and it gives credibility to a dark         There are people d._vi11g. to my good
   especia11y on matters which hy lhe             chapter of our history. Thal is why I          friend from Illinois. to make sure we
   Constitut,ion have been delegated to           am not with you. but- I will fight lo my       have a chance t-o argue among our-
   Congress. like the elecLoral count.. Con-      death for you.. You are ahle to object.        selves. and when it- is over. it- is over. Jt
   gress interpreted the Twelflh Amend-           You are not doing' anything wrong.             is over.
   ment in passing t-he Electoral Count           Other people have objected. I just                The final thing. Joe Eiden. I have
   Act in 1887 a.nd continues to breathe           think it is a uniquely bad idea Lo delay      Lraveled the world with Joe. l hoped he
   new life into these provisions by Hs ac-        this election.                                lost. I prayed he would lose. He won.
   tions today. Our Pounders underslood               Trump aml l have had a hell of a           He is the legitimate President of the
   Congress would pla~' a key role in de-         journey. I hate it- heing this way. Oh,        United Stat,es. I cannot convince peo-
   bating constitutional issues a.s a co-         my God. I hate it. Prom my point of            ple. certain groups. by my words. but I
   equal branch of government.. Thomas            view. he has ])een a consequential             will t-ell you by my actions that maybe
   Jefferson commented in an 1819 let-ter         President. But today. t-he first thing         I. above all others in this body. need to
   that "each of the three departments [of        you will see. all I can say is. counL me       say t,his. Joe Eiden and KAMALA HARRIS
   government] has equally the right t-o          out. Enough is enough. I tried to be           are lawfully elected and will become
   llecide for iLself what is it-s dut.y under    helpful. But when Lhe Wisconsin su-            the President and tl1e Vice President of
   the Constitution...                            preme court ruled 4 to 3 that they             the United Stat-es on January the 20th.
      I remain deeply concemed lha.t U1e          didn"l- violate the ConsLit-ut-ion of Wis-        <Applause. Senators rising-. l
   electoral voles of the Commonwealth            consin. I agreed with the three. but I           The VICE PRESIDE:111"'I'. The majority
   of Pennsylvania were not "regularly            accept the four. If Al Gore can accept 5       leader.
   given·· under Pennsylvania law. as re-         to 4 he is not PresidenL. I can accept,           Mr. McCONNELL. Mr. President, I
   quired by the Electoral Count Act. Se-         Wisconsin 4 to 3.                              yield back the balance oi our time.
  rious concerns have been raised aboul               Pennsylvania went to the Second Cir-
                                                                                                   YOTE 0:.1 01!,JJ-:cTIOX TO COUXTI:SU OF ARJ,..()XA
   the const-it-utionalily of Pennsylvania's      cuit. So much for all the judges being
                                                                                                                      ELP.('TORAL \·OTES
   vote-by-mail statute. Also. Pennsyl-           in Trump·s pocket. They said: No. you
   vania election law may have been a.p-          are wrong. I accept the Pennsylvania             The VICE PRESIDENT. All lime has
   plied unevenly by SLate officials. in-         Second Circuit that Trump"s lawsuit            expired.
   cluding signature verifiC'al-ion and           wasn't right.                                    The question is. Shall the objection
   voLer identification requ1rement.s.                Georgia. they said the secretary of        su1>mitt-ed by t-he gentleman from Ari-
      In 2005, Senator Barbara Boxer and          state Look t11e law in his own hands.          zona. Mr. GOSAR. and the Senator from
  the late RepresenLative SLephanie               and he changed Lhe election laws un•           Texas. Mr. CRt:Z. and others be sus-
  Tubbs Jones object-ed Lo t-he slate of          lawfully. A l!'ederal judg-e said no. I ac-    tained?
  elect-ors from Ohio. They right,fully           cept the Federal judge, even thou.i.th I         Mr. McCO:NNELL. Mr. President.. I
  drew attention to the fa.ct that. many          don't agree wit.h iL.                          ask for the yeas a.ml nays.
  African-Americans and other commu-                 Fraud. They say there is 66.000 people        The VICE PRESIDENT. Is there a
  nit-ies suffered disproportionate wait-         in Georgia under 18 voting. How many           sufficient second?
  times at the polls. broken vot-ing ma-          people believe !,hat? I asked: Give me           There is a sufficient second.
  chines. and high ballot rejection rates.        10. I haven·t had one. They said 8.000           The clerk will call the roll.
  Raising this objection led to some of           felons in prison in Arizona voled. Give          The senior assistant legislative clerk
  these issues being remedied and more            me 10. I haven't, goUen one.                   ca11ed the roll.
  Americans having t-he precious oppor-              Does that say there are problems in           The resulL was announce{l-yeas 6.
  Lunii,y t.o vote. That is a legacy our          every election? 1 don·t- buy this.             nays 93. as follows:
  Senate and every Ame1ican should                Enough is enough. We goL- to end it..                           [Rolkall Vot.e No. 1 Lef!.]
  value today.                                       Vice Presiclent PE~CE, what they are                                YEAS 6
     Thank you.                                   asking you to do, you won't do because
                                                                                                 Ci-uz                  H;\·dt•~Smith       :'.>l;rsh.;11
     The VICE PRESIDENT. The majority             you can't.                                     Ha,tlf'\'              K<nn<-<l_Y          TUb('r\"illt
  leader.                                            Talk ahout- interesting· times. 1 asso-
                                                  ciat-e myself with RAKD PAGL. How                                         :\TAYS 93
     Mr. McCONNELL. Mr. President. I
  ;.·ield 5 minul.es t-o t-he Senator from        many times will you hear that-? The            BiildWlll              Brown               (~<.'llll:i
                                                                                                 Rar1"2s...::.o         Bmr                 ('Ol'l'1J;n
  Sou th Carolina. Senat-or GRAHAM.               mob hai< done something nobody else            B~met                  Ca.ntw~ll
     The VICE PRESIDEl'{T. The Senator            could do Lo g-eL me and Rand to ag·ree.        ma..·khm:ll            Capitc1             Cot~,1n
  from Sout-h Carolina.                           Rand ii- right. If you are a conserv-          Bltunt"n! hal         C..trdi:1            ('•ra.md
     Mr. GRAHA_N[. Many times. my St.at-e         ative. t.his is lhe mosL offensive con-        Blum                  C',u-p,-,            C'l'tr.pt;
                                                                                                 l-kK1,kt•r             C:._t:,t•:V         I>~nn,~:-
  has heen the problem. I love it-. That is       eept in the world that a single person         Buozma.11              C:1~~ltly           V~t·kwmth
  where I wanl- lo die hut 110 t-ime soon.        could disenfranchise 155 million people.       B:aun                  Ct,!lin:-           J1,1tlJHJ
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  Er!l.'-I            Lot•!n{•t           s.::-:-.i•           wortlliness of a Slate·s election proc-         time and a;;ain. and lhey lost repeat-
  v~. 1n:-tt·m        J.UJ.\lJ            B<.·hB.TZ
                                                               ess. which it does not, reject-ing Penn-
  !<'1~<.·h1•t        Lumm.i~             Hdmmu                                                                edly. often in unanimous. bipartisan
  Gil!i~•ra!ld        !\iaudnu            !-:kutt ;}"L,        s_s,1vania ·s electoral votes woultl still he   decisions.
  Grah.:>.m           ::UarkE"\"          ~cott ;::.C"1        wilclly out of proportion to Lhe pur-             Some of t.lie objector,; also cite
  Gr.-1...;:;~Je\""   l\kConndI           Shahl"t>n                                                            Congress·s o,vn failure to investigate
  R.i,:.:?l'B"        ::,.'1.o?n?nde-7.   ~lwH,y
                                                               ported offenses and very damaging- to
                      M~rkl't":r          ~jnt>nM              our ReJ>ublic.                                  allegations of election irregularities.
  Ha.:.:.~111         lfor.an             Hmith                   Lel- me go Lhrough a few faet-s about        and that is their justification for re.fus-
  Hdm·tt.·b           Murkow~kJ           f'itaht•i;c,w        Pe1rns~,1vania.                                 ing lo certify the election results. But
  J!kkl•D]<mpi•t·     Murph.v             t;.ullit·an             .l!'irst, some of the objectors and. in      the allegations of elect.ion irregular•
  Hironc1             l\:!U1TO)"          Tti~tt>r
  liot~vt:"n          P«ul                Th:in,•              fact. even the Presiclent of the United         ilies and fraud have been investigated.
  InhofE'                                 Tillis               St.ates t-his morning- have observed t.hat      They have been adjmlicated. They were
  ,lohn~on            Portman             TO()Jl).(1-\"
                                                               the Pennsylvania Supreme Court dis-             adjud.icatecl in the Statt'>s in which they
  Kaint~              H1•r-d              Yan Holk•n
  Kl.'IJ:,,;          Ri~:h               WarM!
                                                               regarded existing law when it ruled             were alleg-ed to have occurred.
  Ktng-               Uo.tnll:C.Y         isrur.en             that mail-in ballots could he eounled             In Pennsylvania. the Trump cam-
  Klobul·hur          Ro:;:;.eu           \.\1uu.•hou-F-~      even if Lhey arrived up t.o 3 days after        paign took their case of election irreg--
  Lan.k!or<l          Hou.nuts            Wkk('l'              election day.                                   ularities into the courtroom of Judge
  Lc·.ah~·            Huhio               W>·.drm                                                              MatLhew Brann of the Federal district
  Loe                 Bandt•l::.          Yount-1                 Now. the object-ors are right a1Jout
                                                               thal. In my view. the Supreme Cou.rl of         court. Judge Brann is a conservat.ive
      The VICE PRESIDENT. On chis vot-e.                       the United St.ates should overturn Lhal         Republican Federalist Society member.
   t.he yeas are 6. the nays are 93.                           illegal decision. But only 10.097 balloLs       Here is what, he said al>out the Trump
     The objection is not sustained.                           arrived in Pennsylvania during the 3            campaign case:
     The Secreiary will not.if~• the House                                                                       This court has heen pre:;ented with
                                                               days aft.er the election. and those 10.097
  of the action of the Senate. informing                                                                       strained legal argun1e11t.f: without 1nerit and
                                                               ballots have been exclucled from l11e
  that hody that Lhe Senate is now ready                                                                       speculative accw,ations . . . unsupporteii hy
  to proceed to joint session for further                      vote count that resulted in President-
                                                                                                               evidence. In the l;nitetl State.~ of America.
                                                               Elecl- Eiden winning Pennsylvania by            tllis cannot justify the uisenfranehisement of
  cotmU11g- of the electoral vote for
  President and Vice President.                                about 80.000 votes. What grea.ter rem-          a single vole1·. let alone al! [llwJ voters of
      The majority leader.                                     edy could the objectors possibly wanl           the ~ixth mos'!. populat.e<l st.ate.
      Mr. iVIcCONNELL. So. collea.gues.                        than the complete exclusion of Lhe                   So the campaign then appealed Judge
  here is where we ai·e. We have a few                         late-arriving ballots? How could we             Brann·s decision to U1e Third Circttit,.
  more speakers now as we wait for the                         possibly invalidate the entire Pennsyl-         and they drew a three-judge panel. all
  House l-0 finish their debate ancl vote.                     vania election over 10.000 voles l,hat          Repuhlican-appointed judges. one ap-
  ,ve expect lJ1e House to finish voting                       were not. even included in Lhe vote             pointed !)~, President. Trump. The panel
  on Arizona between 11:30 ancl midnight.                      count?                                          concurred wi~h Judge Brann.
                                                                 A second charge we heard-and Lhe                   Certainly there were irTegularities in
                                                               Senator from Missouri alluded to it             this elecLion-lhere always are-hut
           MORNING BUSINESS                                    this evening-is that a 2019 Pennsyl-            there is no evidence of significant.
    Mr. McCONNELL. Mr. President.. 1                           vania law Lhal allows mail-in hallot-s          fraud. conspiracies. or even significant,
  ask unanimous consent. that the Sen-                         for any reason-that. that, might vio-           anomalies that cast any serious doubt
  ate he in a period of morning business.                     late the Pennsylvania Const-itul-ion.            011 who actually won the elect.ion.
  wilh the following Senators permitted                       First. of all. as Senator CASEY observed.            You know. one of tlie ways you can
  to speak therein for up to 5 minutes                         Lhis was a bipartisan law passed with            tell is to look at the big- pidure in
  each: Senator TOOl\IEY, Senator RUBIO.                      nearly unanimous Republican support.             Pennsylvania. Look at what happened.
  and Senat.or COLLL.\fs.                                      Clearly. the St.ate legislators and t.he        In 2016, President, Trump ,von Pennsyl-
    Mr. SCHUMER. And on our side. Sen-                        Governor believe it is consistent v..ith         vania hy eight-tenths of 1 percenL In
  ators WYDEN. HIROKO. and COOC'lS.                            lhe Pennsylvania Constitution.                  2020. he lost Pennsylvania h:;r a little
    The PRESIDING OFFICER (Mr.                                   Secondly, this law was not chal-              over 1 percent. Is there a.nyU1ing at an
  Booz.MA:~n. Without. objection. it is so                    lenged when it was passed. It wasn·t             Lhat is implausible or surpri.sil1g ahoul
  ordered.                                                    challenged when .it was applied during           a 2-percent change in the election out-
    The PRESIDING OF:FICER. The Sen-                          the June primary election. It was chal•          come?
  ator from Pennsylvania.                                     lenged only after President Trump lost               Relative to 2016. in Pennsylvania the
                                                              the general elect-ion. But 2.6 million           President lost a Utt.le ground in most
                                                              Pennsylvanians voted by mail-in hallot           of Lhe rural counties he had carried. He
 OBJECTION          TO    COU1'1""TING      OF                in the general election. Over 37 percent
    PENNSYLVANIA               ELECTORAL                                                                       lost. a lot of ground in the big suburban
                                                              of Pennsylvania voters. in good faU.h.           counties. and he slightly narrowed hiS
    VOTES                                                     relied on a law to cast their votes. as          large loss 111 Philadelphia. There are no
    Mr. TOOMEY. Mr. PresidenL I appre-                        they had done previously, Now. I un-             surprises here. This reflects a pattern
 date Lhe indulgence of my colleagues                         derstand you can make a theoretical              t.hat occurred an across the count13 .
 allowing me to speak twice today. But                        a.rgument about whel.her this is con-                My colleagues. as I have said. it is
 m~, understanding is that later this                         sistent with Pennsylvania·s Constitu-            not our responsibility to sit in judg-
 even.in_~. objectors will object Lo the                      tion. and that needs to he resolved for          ment of State elect.ion procedures in
 certification of Pennsylvania"s elec-                        future elections. But because of lhis            the first. place. but if it were. iliere
 toral vot-es because they disapprove of                      constitutional question that some peo-           would not he nearly sufficient reason
 l-he process that my State used in the                       ple have. the o1Jject-ors want to prevent        Lo den~, my constituents their right to
 last election. So in light. of my expec-                     Pennsylvania voters from pariicipating           parLicipat.e in this President,ial elec-
 L-atio11 of this objection. I rise t-o clefend               in the Presidential election entirely.           Uon.
 the right of my citizens. my constitu-                       That would be an outrageous remedy                   Joe Bide11 won the election. 'l'hat is
 enl~'>. to vote in the Presidential elec-                    to this purporled offense.                       not what I had hoped for. but Lhal is
 t.ion.                                                          A third charge we have heard is that          whal 11,,.,,ppe11ed. It was an honest. vie-
    Let ·s be clear. Thal is exacl.ly whal                    Pennsylvania officials did not properly          Lory with Lhe usual minor irreg-ular-
 this objection is about.. It is what it                      implement. Pennsylvania election lav;            i l-ies that occur in most elect,ions.
 would rlo. It- would overturn Lhe results                    in a variety of other ways. But Lhe                  \Ve witnessed today t-he damage that
 of the PresidenLial elecl-ion in Pennsyl-                    Trump campaign has shown t.hat. many             can result when men in power and re-
 vania. and it woulc'l thereby den;\· Penn-                   of these issues ha.ve-well. first of all.        sponsibility refuse to acknowle!lge the
 sylvania·s voters the opportunity Lo                         none of these issues would have                  Lrut.h. We saw bloodshed because the
 even parl-icipat.e in Lhe Presidential                       changed the election outcome. but                demagogue chose to spread falsehoods
 election.                                                    more importantly. the campailrn had              and sow distrust. of his o,Yn fellow
    Even if Congrei:;s did have t-he con-                     many opportU11iLiE>.s. of which it availed       Americans. Let'~ nol ahel such decep-
 stitutional responsibility to judge the                      itself. t-o litigate lhese issues. They did      tion. Let·s reject. this motion.
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     The PRESIDING OFPICER. The Sen-            ciat.ion of Manufacturers-an organiza-       died in this Cauil-ol. somewhere not. far
  ator from Oregon.                             tion with thousand:; of businesses.          from where we :.,_n, standing.
     Mr. WYDEN. Mr. President. wit-h ju.st      thousands of companies. and not ex-             \\'e had police officers-lhe men and
  a few minutes to speak. I am going to        actly a leftwing· oulfit..-Lhey called fm·    women we walk by eve1·y single day.
  get right t-0 the point.                      moving forward with the 25th Amend-          who guanl the doors and we say hello
     Gunfire in the halls here. IEDs on the    ment. 1.'hat was all over the news al-        to-ouL t-here with l'iot gear getting
  Oapit,ol grounds-I will say to my eol-       ready this aft,ernoon. colleagues. The        spit on and attacked today-not 10
  leag;ues. with t.11e domestic terrorists      National Association of Manufacturers.       weeks ago: ju.st a few hours ago. I
  roaming the halls just a few hours ago.      That is what we are seeing· in our coun-      think il is important, to think ahout all
  I have been stunned that this debate is       try with respect to Lhe fear of Ameri•       those things on a night like tonight-
  actually going forward. and that is be-      cans. having watched what ha.ppened           wi th everything that has happened.
  eause. colleagues. lhis is a fake debate     here.                                            I wouldn't- eYen be here today-I
  on electoral cerl-ifications: Lhal is be-       I am just going to close by way of         doubt very much whether I would have
  cause it lends credibilit,y Lo Lhe hogus     saying t-hat I believe that for the next      even been interested in politics-had it
  idea that t-he CongTess can act-ually        2 weeks, we have an enormous respon•          not been for my grandfather. He died
  toss out the results of the election.        sibility t.o wat.chdog Donald Trwnp day       when I was 14. but. I gTew up at his
  and. as we saw today. it ;;;erves to fuel    in and day out. to do everything pos-         knee. He would sit- on the porch and
  insurrection.                                sible to prevent- the kinds of abuses         would smoke t,hree cigars a day. and he
     Co11.Lrary to what some of my ··aye"                                                    loved history.
                                               that we saw today. where an A..merican           He was born in 1899 in rural Cuba. It
  voting colleagues believe by votes cast      lost her life. and we saw the fear
  just a few minutes ago. lhis debate has                                                    was still governed by the UnHed
                                               among our citizens at what went on.           States. It was a protectoraLe. Three
  neYer been about setLing up some kind        LeL's do everyt.hing we can a,-; leaders.     years later. it gained its independence
  of routine election tribunal. This iSll·t    DemocraLs and Repuhlicans. Lo make            and became a republic.
  about election secw•it,y, If the Republic    sure thal in the next 2 \Yeeks. Donald           Du1·ing my grandfathel''s first 60
  majol'ity for the last 2 years had act.u-    Trump·s abuses are checked and we do          years of life. he saw his country have
  ally been interested in election secu-       everything- we can to protect this won-       an armed insurrection after a con-
  rity. l-hey would not have worked re-        derful Nation of ours.                        tested election. multiple Presidents go
  lent.lessly to block my legislation to          1 yield the floor.                         into exile, two military coups. and the
  sectu·e our 2020 elections with hand-           The PRESIDING Ol<'FlCER. 'I'he Sen-       rise of a Marxist dictator-a tyranny
  marked paper ballots and post-election       ator from Florida is recognized.              that stands Lo this day.
  security audits.                                Mr. RUBIO. Mr. President-. OYer the          My entire life-my entire life I haYe
     By the way. those are the kinds of        last weeks ancl days leading up to t-his      liYetl with and next to people who came
  approaches that are part of the Oregon       Yote here today, I baYe heard from a          to America because their country was
 system. where for 25 years we voted by        lot of people about this vote. and I          chaotic and their country was unsafe.
  mail. I am the Nat.ion's first mail-in       guess I wru1t to address it as much to       What- I saw today-what we have seen-
  U.S. Senator. The second-and I see my        them as anybody else. These are people       looks more like those eount-ries than
  colleagues from Maine and Alaska here        I know. These are friends. These are          the ext.raordinary Nation that I am
  because they are Yery fond of him. like      neighbors. These are longtime sup-           privileged to call home, and I think
 1 am-Gordon Smith, a Republican.              porters. generally people on my side of      alJOut the mockery that it makes of
 was the second mail-in U.S. Senat.or in       the political aisle.                         our country.
 our country. That is because we do the           And they are upset,. They are upset..        A lot of people say: Oh. well. China.
 joh right.. It is efficient.                  They look at the media. and the medja.       China. Let me just say something. In
    Our late-Republican secretary of           they censored stories that might have        all modesty. no one here has worked
 state. Denn.is Richardson. actually told     been negative toward Joe Eiden or             harder on the issue of China. They hate
 President Trump there was no evidence         were negative toward Joe Eiden. and          my guts. I am sanctioned-I don't.
 of fraud.                                    social media companies helped them            know what they are sanctioning-dou-
    So if Republicans had been interested      out. And they saw how some States            ble sanctioned. and I l->an't travel there.
 over the last 2 years in actually work-       tinkered with and eYen mutilat.ed            I wasn ·t planning to anyway.
 ing· wHh me and colleagues 011 both           Sl.at-e election laws. and they have            China is laughing. They are loving
 sides of the aisle and secretaries of        doubt.s thal the election was legi Li-        this tonight. In Beijing they are high-
 slate. we could have had an approach         mal-e.                                        fiving because they point to this and
 that, would llave empowered tlle Oregon          It gives this country this extraor-       they say: This is proof the future be-
 idea t,o go national. Instead. we are        dinary crisis of confidence. which is         longs to China. America is ill decline.
 now debating tonight the idea of-a           very dangerous because democracy is              Vladimir Putin-there is nothing
 discussion grounded in total fiction.        very fragile. and iL is not held together     Vladinlir Putin could have come up
 brewed in cauldrons of conspiracies on-      by elections. Democracy is held to-           v,ith better than what happened here.
 line. These. colleagues. are fever           gether by people's confidence in the          It makes us look like we are in total
 dreams-fever dreams laundered by             election and their willingness to abide       chaos and collapse-not to me11tion the
 people with election certificates and        by its 1·esults.                              Ayatollah. who is probably bragging, if
 real power. And I will t..ell you. it has        So the not-ion was we need to do          he has buddies. to his buddies: Look
 been painful to wal-ch colleagues sidle                                                    what is happening lo the Great Satan.
                                              something: we need to fight. Several of          I think politics has made us crazy.
 up to some of those conspiracies that        my colleagues have adopted the idea-          Everyboc1y in this country has lost
 would inflict so much damage on the          and I respect. it-that they are going to      their minds on politics. and we haYe
 American expe1iment.                         object.                                       forgotten lhat- America is not a govern-
    Colleag·ues. I am going· to close with        Now. listen. it is important to under-    ment. America is not, a Presidenl-.
 one last point. We saw today an effort.      stand something. Even the people ob-          America is not a Congress.
 by domestic terrorists t,o try to punch      jecting in the Senate recognize that it          Le~ me tell you what. America is.
 our democracy lo ll1e ground. to t-he        is not going to pass. It is not. going lo     America is yow· family. America is
 ropes. I am going· to close by simply        change the outcome. but, it is going Lo       your faith. America is your commu-
 saying something Lhal hadn"t been said       send a message. and it. is going· to make     nity. That is America. That is what our
 tonight.. anc1 that is that Donald Trump     a point.                                      adYersaries don't unclerst.aml. and that
 can do enormous damage t-o our coun-            The problem is I think iL is a t,errihle   is what we need to remember. Thal is
 try in the next 2 weeks. In the next- 2      idea al t-his moment-. Ju,:;t hour·s ago. a   how we are going t-0 rebuild 1-his coun-
 weeks. coll€'agues. Donald Trump can         ;voung lad:v died in thi::, Capitol. That     try and turn the pag·e and haYe a future
 do enormous damage to our wonderful          means somebody. somewhere in l-his            even brighter than our past.
 counti·:v.                                   counlr:v. got a phone call that lheir            So that is why I feel so strongly
    Thi1a after·noon-I don·t know if my       daughler was dead. Their daughter was         about this and why I hope lhoi:;e who
 colleagues saw it--Lhe Nat-ional Asso-       going· Lo a political rally: she is dead-     disagree with me will understand.
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      I yield the floor.                                Pl's have to reac•h ae1·o&s tile ai~le 1o ,Jo the      Slat.e-110U1ing more_ \Ve should not
      The PRESIDING OPFICER. The Sen-                   ppoplt•H work. an<! WP l'itizen,; nlxo haw• t.o       a.ttempt, t.o usurp the roleR of (-he vot-
   at or from Hawaii is reeogllized.                    ri~~ 1 to the oc(.•a,i-;ion.
                                                                                                               ers. the States. or the eleet.oral college.
      Ms. HIRONO. Mr. President. it has                   And in 2000. during· an election wi lh                 The American people have done their
   been I1ard. at timefa. t.o find the words           :.suJJstantial irregularities and partisan              job. turning- oul in record numbers Lo
   Lo describe Urn full harm that Donald               intel'vention from the Supreme Court.                   vole in Lhe midst of a fright,ening· pan-
   Trump has inflicted on our eountry. \.\'e           Al Gore. neverlheless. put his country                  clemic. Indeed. as a percentage of the
   ean spend hours dissecting how his                  first and he said;                                      voting-eligible populaUon. lhe turnout
   policies have made us less safe and less               Let theh, he no doubt. while I strong-Jy <liR-       was the hig-l1est in 120 years. Similarly.
   healthy. but his Presidency has also                ai::-ree with the Court·,., dedsio11. I accept it.     in the midst of t,his pandemic. hun-
   been a profound moral failure.                      . . . And t.onight.. for the sake of our unity as      <lretls of election official:, and volun-
      Let me tell ;\'OU a st.ory. A few years          a people a11,i t.he :st.reng-t.h of our democrae:;.     Leers have done their job. staffing poll-
  ago. a father from Hawaii joined me at,              I offer n1y t.~onGession.                              ing places and faithful}~- counting and
   one of my talk-story sessions in my of-                 As I reflect on the service of these               often recounting votes. The States
  fice. and he asked me a quesLion that                 distinguished public servants and t.110               have done their job hy certifying Lhe
  st,ruek me hard at IJu,L Lime and has                 acts Lhe~' took to maintain our democ-                election resulLs.
  stuck with me until today. He said:                   mcy. I am also drawn to remarks                          Now. I have heard the proponents of
  How can I tell my son that l;ving is not              President Obama made 4 years ago in                   these object.Jons raise questions about
  OK when the President of the United                   his farewell address to the Nation when               whether Lhe various States conducted
  Sl.ates lies every single day? I strug-               he warned that- our democracy is                      lheir elections properly. When rUspuLe8
  gled to answer his question then_ and I               threatened whenever we take it for                    over elect.ions arise. candiclales are
  am nol sure I could offer an adequate                 granted.                                              able to appeal to our legal system. not
  answer now.                                              It is a p:irticularly sage warning as              Congress. for recourse.
      But IJ1is conversation remains a cleal'           we contend with the Pi·esident of the                    In the 2 months since t.11e 2020 elec-
  example of how we t1o not live in nor-                United Stat.es seeking l-o nullify a free             Lion. the President·s lawyers and allies
  mal Limes. How is it. normal as we and                and fair elect-ion simply because he                  have had the opport,uniLy l-o make
  the world watched in horror as an                     losL We have to stand up. speak out.                  their arguments and challenge election
  angry moh stormed the U.S. Capitol?                   and fight back because our democracy                  results before the courts. Notably.
  Blood was shed. People were hurt. Van-                itself is at stake.                                   every one of nearly 60 lawsuits they
  dalism occurred.                                         Ameriean (lemocracy has endured                    have brought forward have !Jeen re•
     It is noL normal when we haYe a                    over t11ese centuries in lar?:e part be-              jecte,d. In fact. the Supreme Court has
  President who lies every single day.                  cause our institutions serve as guard-                twice refused t.o hear their election
  And even in the face of this vandalism.               rails t.o keeu us from 0 ·oin°· ov~r the              challenges.
  t-his mob, he really doesn·t have much                cliff. As eiect,ed offi;ials~ we can                     We must abide by these rulings. The
  to say except,; I love you. You shou1d                strengthen these guardrails by listen-                t.ime has now come for Congress to do
  g-o home nov,.                                        ing to our own conscience in moments                  its job. We should affirm Lhe certifiecl
     It is not normal when. in the middle               of peril. by having what our friend                   results of each State by counUng- the
  of a pandemic that has claimed the                    John Lewis called --an executiYe ses-                 vol-es of their elect.ors. Altering the re-
  lives of over 350.000 Americans. which                sion with myself.··                                   sults of the elecloral college would set
  is nearly the oomhined population of                     Before making a big decision. John                 a terrible precedent in which the parLy
  the islands of Maui and the Big· Island.              would say: Listen self. this is what you              in control of Congress could override
  we haye a President who only seems to                 must do: this is where you must go.                   the will of Lhe 11oters and overrule our
  eare allout spreadi11g conspiracies to                Today. we can follow John's example,                  courts to unilaterally choose the next
  undermine confidence in our elections                listen Lo our conscience. stand up for                 PresidenL One Senator at.terilpt.e<l such
  and our democracy.                                    ot11· ConstituUon. and do what is right.              a maneuver after the election in 2004.
     IL is not normal when duly elected                    I yield the floor.                                 and the Senate overwhelmingly re-
  Senalors who Look an oath to uphold                      The PRESibING OFFICER- The Sen-                    jected that effort. The Senate ha..-; dem-
  the ConsUtution pull a stunt to try and              ator from Maine is recognized.                         onstrated by its vote tonight that it
  nullify millions of votes in six States                  Ms. COLLINS. Mr. PresidenL let, me                will follow that precedent and do so
 so that Donald Trump can remain                       begin my remarks t,onight by express-                 again.
  President. I call this effort a stunt be-            ing my heartfelt graUtude to the mem-                    Today-tonight. Mr. President, I will
 cause it is doomed to fail.                           bers of the law enforcemenl commu•                    continue to vote to reaffirm the foun-
    We haYe a strong bipartisan major-                 nity and the Nalional Guard whose                     tlation of our democracy. tlle Constitu-
 ity. as noted in the vote that we just                hard work arnl courage made it possible               tion of the United Stat,es. And I will re-
 took, in both Chambers of Congress                    for us to resume our deliberations t.o-               ject, these challenges to the electoral
 who reject Lhis stunt. and courts have                night.                                                college.
                                                                                                                Thank you, Mr. President.
 rulerl. against Trump and his allies in                  We return to this Chamber t.onigl1l                   The PRESIDING OFFICER. The Sen-
 more than 60 cases.                                   undeterred by the violence we wit-                    ator from Oregon is recognized.
    So whenever thls farce ends. the re-               nessed and sLrengthened in our deter-                    Mr. MERKLEY. Mr. President. I in-
 sult will be the same: Donald Trump                   mination to fulfill our constitutional                vite all of my colleagues to cast. your
 will have lost the election. and Joe                  duty. Tlle Constitut.ion is the founda-               eyes upon lhese three boxes si tt.ing on
 Biden will become the 46th PresiflenL of              tion of our American democracy. and                   the l.able in front of the da1s. These
 the Unit.ed Stat-es.                                  the Const.ituUon is what must guide                   three boxes contain the certified re-
    You can t-ell a lot ahoul a person                 our decisions on the Presidential elec-               sults from every State in our Union re-
 from lhe way they handle defeat. The                  tion.                                                 garding how that St.ate voted. how
 way Donaltl Trump bas handled defeat                     The process the ConstituLion sets                  their electors have voted for the Presi•
 sa;rs a lot about who he is. Wat.ching so             forth for elect.ing Presidents l-hrough               oent of the United States of America.
 many of our colleagues indulge t.he                   the electoral college is straight-                       You cast your eyes on Lhese three
 President tells us a lot about them too.              forward. The people vot,e. Electors are               boxes. and you know that. there is
    \\'e don't have to look back very far              chosen. The electors vote. Then Con-                  something special. You see Lhat there
 in history l-0 find examples of can-                  gress counts the electors· votes.                     are straps on Lhem holding the top on
 didates who lost Lough race..<; 1ml dem-                 That final step in the process is why              a.nd st.raps around the side and they are
 onstrated their charader in defeat..                  we have convened today. Counting the                  engraved-beauLiful ha11dle. beautiful
 Our colleague Senator RoMKEY gra-                     votes of Lhe electors. a fnnetion chat                leather work. crafted in the cabinet
 ciously conceded his defeat. t.o Presi-               the 12th Amendment assigns to Con-                    shop of our veQ' Senate to say to the
 dent. Ohama in noting-;                               gress. is an administrative a.nd largely              world that their cargo is pret:iou,;.
    At. a lime lik<> t.his. we <:an·t ri~l, partisan   ceremonial act. Our job is simply l-o                    There are three of these boxes. The
 hiekPring an<1 politil'a) po~turing-. Our lead-       count. l11e votes certifietl by each                  thinl box is hrand new. It was crafted
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  because so many SI.ates were cele-             Liful happened.. and Lhat- is. we sat. here    cent of U1e vole went for Joe Biden:
  brating (,his process l.,hal they started     in this Chamber. all of us listening to         46.8 percent of the vote wa:; for Donald
   t-0 use very large forms. very large en-     each other. 5-minute speeches. hearing          Trump: 306 electoral college Yotes for
  velopes. very large sealr; to put those       eaeh other ouL diverse views. wrestling         Joe Eiden: 232 electorn.1 college vote:;
  lJallots into and. thus. a third box was      wHh a complicated issue. IL is reallr           for Donald Trump. Fow· years earlier.
  needed. These boxes cont~'1in the voice        the first time thal has happened in the        Donald Trump referred Lo t.hal- kintl of
  of Lhe American people weighing in. as        12 years I have served in the Senate.           out.come as a ..landslide·· for him. and
  Lhey have elect-ion after elect.ion after        We need to restore the process of            he lost the popular vote lJ~• 3 million
  election. They have been used-Lhese           struggling wit,h America ·s issues to-          voles.
  t.wo smaller boxes-for the lasl 14 elec-      geLher on the floor of the Senate. That           But accepting the ou Lcome of the
  tions. They are l.ransporL.ed L.hrough        is the Senate I saw when I first came           election can be difficult when our po-
  Lhose doors to the House of Represent-        here as an intern for my home State             litical party doesn·t win. We have all
  atives. where the Senate and House            Senator in 1976. That is the Senate that        felt Lhat. before. But. calling an election
  gathe1· to witness the opening of the         I saw when I worked for Congress in             unfair does not make it so. More llian
  envelopes to determine who will be the        the 1980s. That. is the Senate that llas        60 Federal and State courts involving
  President- of Lhe United St.at.es. IL is      disappeared.                                    more than 90 judges-many of whom
  our constitutional responsibility Lo             There is a conversation going- for-          were nominated by Republican Presi-
  wit-ness I.he counting. That is what t,he     ward between Democrats and Repub-               dents. including Donald Tnm1p--are all
  Constitution ca11s for.                       licans to restore the abilit~• to hold de-      in agreement. Thai.. is prett.y ::,mazing.
      Tonight. when this Senate Chamber         bate on the floor. t-o restore the ability      isn't it? AB in agreement. No evidence
  was under at-tack by domestic terror-         Lo have amendments on tl1e floor so             of widespread fraud. v,rongdoing. or
  ists. we were held here in this room.         that we lleliberate a,nd wrestle with-in        other irregularities have heen uncov-
  door:,; locked Lo protect us with t,he        a very pulJlic and t-ransparent fashion-        ered during the 2020 election. That is a
  help of the CapiLol Police. They did an       the big issues.                                 victory for democracy. for ow· demoG-
  excellent job. And Lhen l-hey escorted           So let·s take this moment. when we           racy.
  us to a safe room. 1'ha.t announcement        are rethinking how to restore t.he insti-         Unfortunalely. some of our col-
  came quickly. And when Lhat an-               tuLions of our g-overnme11t. to restore         leag·ues today ask us to do t.he sa.me
  11ounce1ne11t came. our senio1· assistanL     and improve how this Sena.te operates           thing that Donald Trump asked of t.he
  parliamentarian. Leigh Hildebrand. or-        to deal with the issues ahead of us. so         secretary of state for the Sta.Le of
  ganized the team Lo rescue these hexes        that this moment is a moment where              Georgia-to overturn t-he resulLs of t.he
  and keep them safe.                           we come together rather than he di-             2020 eledion without specific allega-
     Thank you to her and the entire            vided: '.\·here. in a hiparLisan fashion.       tions and. more importantly. without
  Leam that, resGued the voice of Lhe           we craft a strategy to resLore issues t,o      any proof. Our colleagues are asking• us
  American people. Had the~, noL done so.       I.he floor-bills and amendments-and            not Lo abide by the will of the people
  then the hooligans outside. dis-              debate and decisions before the public.        but to bend to the will of one man-one
  respecting t-he ConstiLution. would              Out of a dark moment can shine a             man-Donald Trump.
  have come in here and opened Lhese            hright light. a renewal. and it is a mo-          In 1787. delegat.es from the Thirteen
  boxes and burned Lhe ballots. desLroy-       ment much needed now-a moment.                   Colonies convened in Philadelphia to
 ing the voice of the people symboli-           much needed in the executive branch            debate the future of what would he-
  cally. I know no one in Lhis Chamber         as we. on the 20th of January. welcome
                                                                                                come the United Stales of America.
  wanted something like thaL Lo happen          new leadership.                                 Our Founders disagreed on a lot of
                                                   And iL is a momenL much needed for           things. but.• irou know. they all agreed
  because we are here to defend the C011-                                                      on one thing for sure: 'rhey did not
 sLiLution. to defend Lhe iuteg-rity of the     us t.o rest.ore the Senate to be the de-       want a King: they did not wanl a Mon-
 election process. not Lo allow il Lo be       liberative body once reno,vned and re-
                                               spected around the world. Let's defend          arch. Many of them had been there.
 destroyed.                                                                                    done that. They di<ln.l want to see it
     Bu L. colleagues. alt,hough we are 100    these ballot. boxes. both from the hooli-
 Senators-or 99. actually. now because         gans outside and those who would vote           and feel it again. and they set up this
                                                                                               intricate system of checks and bal-
 there are only 99 of us who are duly          to destroy the ballots from any given           ances t,o ensure that we would never
 elect-eel at the moment. We are 99 Sen-       St.ate. And let us come together and re-        have that all-powerful King in this
 ators uniLed across partj'. defending         st.ore the Senate and fight for the vi-         country.
  Lhese ballots from l,he hooligans out-       sion of our ··we the people·· Republic.            That- system of checks and balances
 side.                                            I yield t-he floor.                          is being pushed to a dangerous Iimi t
     The.re is more t-han one way Lhese           The PRESIDING OFFICER. The Sen-              here today. hut that system will pre-
 ballots can be destroyed. ancl that. is       ator from Delav,rare is recognized.             vail-along wit-hit. our democracy.
 for this Chamber and Lhe House Cham-             Mr. CARPER. Mr. President. --Free.              Here are just some of the claims Don-
 ber to vote that one of Lhose envelopes       fair elect.ions are t-he lifeblood of our       ald Trump and his legal team have
 represent,ing tJ1e St.ate will be shred-      democracy, Charges on fairness are se-          made and LhaL our co11eagues lend cre-
 ded. will be l)luned. Lhat. Lhose votes       rious:· I think we will all agTee. --But        dence to here today: that. Venezuela.
 will be discount.eel.                         Galling an election unfair does not             Cuba. and China rigged our country's
     We just held a vote on whether or not.    make it so. Charges require specific al-        voting machines in favor of Joe Eiden:
 the envelope containing the elect.oral        legations and then [the;,' require] proof.      !,hat dead people voled in this election.
 votes from Arizona should be burned.          We have neither here:·                          and they only voted for Joe Billen: that
 We defended these ballots against the            Those are not my words. Those a.re           poll watchers and election observers
 hooligans outside. but there are those        Lhe words of a judge on Lhe U.S. Circuit-       who risked their lives during this pan-
 in this Chamber supporting the de-            Court of Appeals for the Third Circnit          demic Lo uphold the integrity of our
 struction of the voice of the ciLizens of     rejecting President Trump's legal chal-         elections sLuffed ballot. boxes with
 Arizona-six voLed. And we are coming-         lenges to the Pennsylvania election. I          Eiden votes. and then they shredded
 hack later tonight- to vote on whether        might add, a judge who was a longlime           Trump votes.
 Lo shred or burn t.he ballots for the peo-    memlier of the conservaLive Federalist.            Not one-let me repeat-not one of
 ple of Pennsylvania.                          Societ.y and was nominated to the               these things is true. There is no evi-
     We have to st-and t-ogetJ1er Lo say ab-   bench by none other Uian Donald                 dence-no evidence-to back up these
 solutely 11ot. 1'he constitutional re-        Trump.                                          ridiculous daims. Man,y of these ab-
 spom;i))ility is for us to tlefend lhe           The 2020 PresidenUal elect-ion was           surd claims from Donalcl Trump an(!
 process, not to proeee<i to (lestroy Lhese    harcl-foug-ht-we will all agree. But the        his legal t-eam are nothing more than
 ballot.:-.                                    American people spoke clea1•Jy. ,1,nd           conspiraey t,heories circuiting online.
     Now. in Sl)it.e of all Lhe t.roulJling·   t.hey spoke decisively: 81.2 million vot.-         This misinformat.ion and dangerous
 things that have happened in thi:s            e1-s voted for Joe Biden-81.2: 74.2 mil-        rhetoric from the President and hi:< al-
 Chamber this evening-. something- lwau-       lion voted for Donald Trump: 51.3 per-          lies--including calls fo1· violence-have
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  polluted our discoui"Se and imperiled           g·overmnent of the people. hy the peo-       serious response. one much more seri-
  our peacMul 1-ran>.<fer of power.               ple. and for the people. and lhe people      ous than the sham hefore us loday.
     When our eolleu,rne>.< >.<how intliffe1·-    have spoken. The people lmve spoken.             First. Fede1~a1 and Slate law enforce-
  enee t.o outright support for Lhese un-         Our joll here t.oday is to listen Lo U1em.   ment aut-horities should investigate
  substant-iated elain1s a.n<l conspiracy         I intend to do that.. I trust that my col-   Donald Trump for election fraud. ex-
  theories. they lead our Nation ancl our        leagues will join me in doing that aR         tortion. conspiracy, and whatever
  Const-it-ution <lown a dangerous. dan-         well.                                         at.her ul1arges fit tlle bill and. if wai·-
  gerom, patl1.                                      I yield the floor,                        rant.e(i. indici, and try him for any
     All of us who serve here swore an               The PRESIDING OFFICER. The Sen-           crimes he has commit.led.
  oaLll to t,;upporL aml defend our Con-         ator from Massachu~elts.                          Second. we must recognize l,hat. Don-
  st,il-ntion. l swore that same oath as a          .Mr. MARKEY. Mr. President.. first. l      a.ld Trump is and will 1·emain a dange1·
  naval flight officer man;y times and as        wanl t,o thank all of the first resnond-      to our Constitution and our democ-
  midshipman before thaL. BuL all of us          ers who helped to prol.,eet this sicred       racy. So. while Ume is certainly lim-
  here have sworn to support and defend          Chamber today and protect Lhose elec-         i led. we shoulcl impeach Trump again
  our Constitut,ion. not our political           toral college ballol-s.                       and bar him from l1olding office in the
  parly and cerLain1y not any individual             Today is a special day. On a day          fut.ure.
  candidat.e.                                     when some 2.500 or more Americans                Pinally. we should abolish the elec-
     Colleagues, for Urn safety of our citi-      will Jose their lives lo the corona.virus.   Loral college. It is a vestige of a racist
  zens and our Republic, we must lead by         when another 130.000 will he hospital-        Jim Crow Amerie-'1.. and we have out-
  example. We must turn the tempera-             ized with iL, when hundreds of small          grown it. l!.'very person·s vote in every
  ture down. It was a hard-fought cam-           businesses will close their doors and         State should count, just the same-one
  paign. but the campaign is over. The           put thousands of Americans out of             person. one vot.e.
  voLes have been counted. The count has         work-on this day-t.11e U.S. Senate is             Elect.ion fraud a.nd reform are very
  been certified in all 50 States.               not debating how Lo get more life-            serious issues. Election reform abso-
     In 2 weeks. on January 20. Joe Eiden        saving vaccines into Amerieans· aims          lutely should he debate.d in Congress.
  and KAMALA HARRI::l will be sworn in ai,       or how to put 2.000 badly needed dollars      which is why, inst-ead of today·s Ka-
  President and Vice President of the            into their pockets. No. Instead, we are       buki theater. I invit.e my Republican
 Unit.eel SLr,tes. as they should be. We         using lhe first days of the new Senate        colleagues to stand up and say: Yes. we
 have serious and urgenl challenges              and Congress l-o give l-ime to our rad-       need to protect and expand voling
  t-hat will require working together            ical Republican colleagues' baseless          rights and election security. We need
  with our new President and new Vice            and damaging claims of elect.ion              automat.ic voter registration, We need
  President. wit.h one another in this           fraud-all in an attempt to keep Don-          online voter registration. We need
  Chamher-Demoura,ts.            Republica.ns.   ald Trump in office in violation of the       same-day votei- registration. We should
 and Indepemlents-and with our col-              U.S. ConstiluLion. There is a word for        make elect-ion day a Federal holiday,
 leagues over in the House of Represent-         this. It is called ··sedition... All of       We shou1d restore voting rights to peo-
 atives.                                         Lhese unfounded ohjecUons to State            ple with prior felony convictions, We
     What- is on our ··to do·• list?             elect.ors are sedit,ious. They are noth-      should support independent redis-
     We can start wiL11 making sure that         ing short of an insurrect.ion against the     tri.cti.11.,g; commissions. Let·s spend our
 hundreds of millions of Americans get           established order of the U.S. Constitu-       time debating that, on the floor-debat-
 vaccinat.ed-Lhat we get off the dime             tion and our democratic Republic.            ing how t.o reduce the influence of big
 and start vaccinating. We vaccinated 4             This is a historically shameful day        money in our political system. to slow
 million people last month. We were              for the Senate and for our country. To        the revolving door bet.ween government
 suppose{l to have vaccinated 20 million.        l)e clear. the notion that there is any       officials and lobbyists. to stop gerry-
 How are we ever going Lo get t,o 250            meaningful voter fraud that has been          mamlering and voter suppression. That
 million at this rate?                           idenLified in the 2020 Presidential elec-     is the real election reform that we
    What else is on our "to do" list?            Lion is a dangerous. anti-democratic.         should be debating and supporting, not
    We are getting our kids back t.o              bl'easonous ficUon. Joe Eiden won.           these shameful. craven. baseless objec-
 school. We have kids who are unable t.o         Dona1tl Trump lost-period-but that            tions.
 get on the internet. who are unable to          hasn'l stopped the President- and his             More than 350,000 Americans have
 participate in their classes, and who           supporters from making allegations of         died from tlte coronavirus. That is the
 may not have any adult supervision at           voter fraud in some 60 legal challenges       truth. Nearly 8 million people have
 home. They are struggling. and they             across the country. heard by some 90          fallen into poverty because of the eco-
 are falling even further behind. We             judges, including Trump judicial ap-          nomic crisis caused by this vims. That
 need to do something to help them.              pointees. Not one of these challenges         is the truth. Wearing a mask saves
    \\'hat else is on our ··to do'· list?-       succeeded-not one. Despite this re-           lives. Vaccines are safe and effective.
 gel,t.ing their parents back to work,           ality. my radical Republican col-             That is the truLh. Joe Eiden won. Don-
 just t.o name a few things. Think of all        leagues claim we must have a commis-          ald Trump lost.. That. is the t.ruth.
 of the millions of people who have lost         sion lo investigate the fraud.                    I urge all of my Senate colleagues to
 jobs and don·t have skills anymore to              \:VeII. we do know one of the most un-     vot.e against these objections. affirm
 fill the jobs that are needed. They need        deniable instances of substantial and         our democracy. and recognize that Joe
 our help. They need L-o be retooled and         significanl eleclion fraud ever. V./e even    Biden and KA'.\-!ALA HARRIS will righL-
 retrained, It is t.ime to stop over-            have a recording and a transcript of it.      fully be sworn in on January 20 as the
 luming the will of the people. Let:s gel        It is of President. Trump. talh.'ing like a   President, and Vice President of the
 back to working· on t,hefr behalf.              Mafia boss to the Georgia Secretary of        Uniled SLates.
    Abraham Lincoln has been quoted a            State-a Republican no less-pres-                  The PRESIDING OFFICER. The Sen-
 couple of times here tonight. but he ob-        sm-i.ng and threatening him to fix t-he       ator from Connect.icuL
 served at the end of t.he Gettysburg Ad-        election in Trump's favor. and holding            Mr. BLUMENTHAL. Mr. PresidenL
 dress that ours is a ··government of the        out the prospect of criminal prosecu-         today wa.'> a stomach-turning. gut-
 people. by the people. for the people."'        tion if he doesn ·t.                          wrenching moment in our history.
 Eve.n in the midst of a civil war. Presi-          ··Find me 11.780 votes:· 'l'rump said.     Truly. it was an assault on the heart of
 dent Lincoln put- his unwavering faith          \Vell. someone should find Donald             our democracy.
 in Lhe people to chart our Nation·s             Trump a real lawyer and measure him               I want to join in thanking the fir;;t
 com-i,e. We would be wise to remember           for an orange jumpsuit. because the           responders and the polh:e.
 Lincoln">.< word,: al this moment.. at          list of staLutes that this latesL shock-          I aiso want to thank other;; who have
 this special moment. in our Nation·:,;          ing Presidential phone call m.1.y violate     been heroes of our democra,;y-unsung
 his1.-01•v.                                     is Loo long Lo recite. The President's        in many insta.nees_ PirsL they are all
    \Ye ;_re not a government of Trump.          words on Lhat phone call-indeed. his          of the election offiuials. all of the poll
 hy Trm11p. and for Trump. \Ve a.re a            conducl since his election-demand a           workers. all of the memhers of boards
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    of eledion who actuall~· eounted Lhe            Lions of this President can be followed        federate flag and a. Trump flag. and in
    votes-who went Lo the polls and made            by more effective would-he tyrants in-         other ways signaling t-Iiat they had
   sure that votes eould IJe caslr--ancl who.       Lent on destroying- our Republic.              done something significant-. No. In fael.
    uliimale1y. st.ood firm for the integTil-y         Yes. we have more important. tasks          what the:v have actually done is weak-
   of that, voting system.                          Lhat we should he addressing as wen-           ened our tlemocrac:,. showed some of
      I want to thank the judges. There are         t-he pandemic. Lhe economic revival.          Rs fragility, and eneourag-ed our oppo-
   now about 90 of them who. excepl- for            Yet-. today. we must he mindful of the        nent.s arountl the world.
   one or Lwo who J'U1ed the other way 011          lhreat- to our democracy that we face             In the last 2 months since the elec-
   a techniealily, have stood firm for the          down and come together on a bipar-             tion. we have one man who has aban-
   integrity· of that voting system. In             tisan hasis, but silence is never excus-       doned his post. who has mostly spent
   those 60 to 70 cases, except for that- one       ahle in the fa.ee of lawle-s;sness at the     his time golfing and tweeLing and in-
   who 1·uled on a t.echnicalit.y. they went,       ver:v t.op of our polit-ical structure.       dulging- himself in conspiracy theories
   with the integrity of our voti111< system           I yield lhe floor.                         and been less and less at-tuned to our
   and the rule of law.                                The PRESIDING OFFICER. The Sen-            national security and to a rag-ing pall•
      Today was. indeed, disg-usti111< and          ator from Delaware.                           uemic. and another man. our Presi-
   sickening, It was shoeking an<l des-                Mr. COONS. Mr. President. I have a         dent-elect. who is preparing to take
   picable. It was heartbreaking, but il-          question for an of my uolleagues t.his         over the responsibility for leading Lhis
   was nol- surprising. In fad. toda:v·s as-       evening, which is this: What, happenetl        country oul of this pandemic and out
   sault on our dernoeracy-the mob vio-            here today. and how is it different from       of it-s currenl, state of deep. deep clivi-
   lence. the liots. the thugs and g-oons          what we expectec1 as we assembled in           sion.
   who were inspil'ed and incited !Jr the           this Chamber early this aft.em.0011?             President Trump has abandoned his
   President of the United States-all                  Sadly. much like the impeachment.           po:;;t. He does not rleserve t.o be Presi-
   were of a pie<.,>e, in these past 4 years. of    trial of just a year ago, I think as           dent any longer. and he poses a real
   a President who ha.~ no respect for the         many of us slog-g-ed our way to the Na-        and present threat to the future of our
    truth or the rule of law.                       tion ·s Capital and duLifull:v filed int.o     democracy.
      Donald Trump·s Presidency is com-             Lhis Chamber. we expected hours and
                                                                                                     But let me also say this Lo my col-
   ing to a close in the very same way it          hours of debate and discussion, know-
                                                                                                  leagues, half of whom changed their in-
   began-with an at-tack on our democ-             ing the out-come. knowing that what.
                                                                                                   tended vol-e today after seeing· what
   racy. In 2016. the Trump eampaign wel-          was being engaged in by a hamlful of
                                                                                                  happened in the Capitol. There were. as
   comed hostile foreign inlerierence with         our colleagues was a political stunt.
                                                                                                  we began, roughly 13 Senators-Repub-
   our election. The President refused to          feeding the ego of our President. who is
                                                   chasing conspiracy theories about how          licans-who said they were going to
   aclmowledg:e that he would accept the
   results of the election if he lost. Then.       he actuan~, won lhe election 2 months          vote against the certification of the
                                                   ago that he lost and indulging his be-         election. and when we aclual1y finally
   again and again. he demonstraLed his
                                                   lief that somehow. somehow. the Con-           called the roll. it was just 6-7 of them
   contempt for the rule of law and for
                                                                                                  having been chastened lJy the events of
   laws themselves. He obstructed justice.         gress could st.ill. at the last momenL.
                                                                                                   today. But, two who continue on this
   and he would have been charged wiU1 il          snatch Yietory from the jaws of defeat.
                                                       Even in Lhe last day, President            quest clerked for the Supreme Court
   had he 11ot been the President of Lhe
                                                   Trump had been har:i,ngui..ng his own          Chief Justice. are deeply schooled in
   United States. He invited a foreign
   government to interfere in our elec-            incredibly loyal Vice President. MIKE           the law. and know better than what
                                                   PBNCE, as if somehow Vice President             Lhey did toda.y. And in the House, in
   t.ions ancl find dirt on his politieal op-
   ponent.                                         PBNCB would simply declare him Presi-          the debate going on over in U1e House
      Most dist.urbinglJ'• these acUons hy a       dent today.                                    even now. more than 100 House Repub-
   President who demonstrated that con-               We knew thaL President Trump had            licans continue with Lhis effort.
   t,empt for the rule of law were met wilh        been stirring up the spilits of thou-             On this floor earlier Loday. this
   silence from many political leaders.            sands. urging them to come to Wash-            evening. there were slrong- and clear
   oui- colleagues here ill t-he Senate            in,,,&ton. We had an inkling that he           and brave speeches by Republicans and
   among them-silence in the face of               might go oul and speak to them, hut I          Democrats alike.
   that contempt for t.he rule of law and          don·t think. as we filed into l-his Cham-         So I have a question as we move for-
   disrespect for the law enforcers.               ber. any of us-any of us-expected              ward. \'lhen will this fever break? When
      So we could have seen today coming.          that. for Lhe second Lime in our Repub-        will we finally say to each other:
  In fact. we did. I warned about it. and          lic's history. t-he pe1•imet~r of l,his CaP-   Enough is enough of indulging and fol-
   others did because the fantasies and            itol would be breached. Members of Lhe         lowing populism and demagoguery. Is
  falsehoods that drove those rioters-             Senate would be rushed to safety; that         it time to finally show who the leaders
  noL protesters but the mob who as-               not just the Capitol Police but U.S.           are ancl to uphold our Const-itutio11
  saulted the temple of democracy-were             Marshals and FBI officers and ful1y            Lhat every one of Lhe House Members
  fueled        by         the     President·s     combat-gearecl soldiers would be in Lhe        and a third of us swore to uphold just
  misst,atements and lies and contempt             U.S. CapiLol. taking it hack from a ri-        3 days ago·?
  for Lhe truth. and he was enabled. He            olous mob of thugs.                               I wili t.ell you. as I look ahead. that
  had enahlers.                                       Just a few moments ago. I went, to          I am confident that 2 weeks from now.
     Today. we are stopping-. in one in-           the Rotunda to see t.lle lit,ter ancl the      Joseph Biden will he STvorn in as the
  stance. that enabling. lmt we must also          trash. the residue am1 the remnants of         next President. KAMALA H,,l!RIS sworn
  make sure to stop it going forward.              Lhose who took over this building              in as l-he next Vice President. and we
  The political stunt that, brought us             l-oday. and to say thank you to the men        have a unique moment in my lifetime.
  here today offers no great solace that           and women of law enforcement who               because. as Presiclents and leaders in
  it will. These st.unts have con-                 helped secure it aft-er it- fell to an angry   the Senate of both parties over Lhe last
  sequences. We say words have con-                moh.                                           decades have observed. tl1e Senate has
  sequences. and the actions today will               BuL. folks. we have to think about          steadily shrunk in it.s significance. its
  have significant consequences. They              Lhe consequences of whaL happened              role. in its power. and the Presidency
  are an attack on our democracy that.             here today. why this happened. and             has steadily grown. Not in my life-
  undermines the core tenets of our                what it means and what it teaches. be-         time-not since LBJ-have we had an
  American Government and a clisrespect            cause. frankly. tonight. now. the whole        incoming- President who sp-enl 36 years
  for the will of the people and a peaceful        world is watching. The entire world i:,.       in this Chamher.
  transit.ion of power. The poliLieal              watching- a monLag·e of scenes-of folk:,.         We ha\·e a chance with Joe Biden. a
  st,,mts t-hemselves. driven hy oppor-            cavorting in Lhe Capitol. half-naked           PresidenL-eled- who ran on l)l'inging
  tunism, hlaze a path that can be fol-            men taking· Lhat. seat. scrawling things       our country tog-ether. a President-eled
  lowed h:v more competent ehalleng-es             on different- surface.s. parading up and       who ran on turnin._Q' the page from our
  just as the clktatorial instincts and ac-        down the Capitol conidors with a Con-          moment of nat-ional division. and a
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   President-elect who respeds ancl hon-            Arnl it is no!. jm;t. u:;:: it is everyone     Mr. MC'CONNELL. I know of no fur-
   ors antl understands the sig·nifieaw:e of     who has run for President since the he- ther debate.
   thi;, body.                                   ginning of Ameriea. Only once ill                       \"OTl": 0~ OB-HX"TION TO \OC'.\.....f1'N'G
     So we have lo take t.his opportunity        Amerka·;,, histor;v· have the people who               l'l:XNSYl~\".."\):J..\ 1'!J,.!·!CTOH.Al. Y0TE.:'l-
   Lo heal. to hear eaeh other. to com-          lost tried lo burn down our democracy             The VICE PRESIDENT. If there is no
   promise. to work tog-ether. and to see        on t-he way out. They caused a civil further debate. the quest.ion is. Shall
   the real chaJleng·es facing the Amer-         war that neal'ly dest-royed our Nat-ion.      the objection submitted l)y the gen-
   ican people and take Lhis last, best mo-         Make 110 mistake. the violence we tleman from Pennsylvania. Mr. PERRY.
   ment.                                         witnessed in this Chamber t-oday was and the Senator from Missouri. Mr.
     What happened here today shoul<l            the direct result of the poisonous lies HAWLEY. he sustained?
   leave all of us g-ravely concerned about      that DonaW Trump repeated again aml               Is Lhere a sufficient second?
   Lile health and the future of Olli' clemoe-   ai::-ain for more Lllan 2 months. His             Mr. THUNE. I ask for the Y~" and
   racy. and Lhe opportunity we will have        w'ords have eonsequences. Our demoe- nays.
   2 weeks from today is one we should           racv has been grievously injured by               The VICE PRESIDENT. The clerk
   not lei pass us by.                           thi; lying eoward.                            will call t.he roll.
     I yield the floor.                             This effort, to subvert our clemocraey         The legislative clerk called the roll.
     The PRESIDLl\!G OFFICER. The Sen-           is not merely one last Presidential tan-
   ator from Massachusetts.                                                                        The result was ;i.nnouneed-yP~u, 7.
     Ms. WARREN. Mr. President. more             trum. This effort is designed to knock nays 92. as follows:
   than 350.000 of our loved ones have died      out the basic pillar on which tlemoc-                       [Rollcall Yote )io. 2 Leg.]
   from a terrible disease. Sma11 busi-          racv is founded: the inea that the vot-                                  YEAS 7
   nesses have gone under. never lo re-          ers.::....not the sitting P1·esit1ent and not C'!'UZ               Lumnuf:.
   ope11. Millions have lost their jobs. and     the Members of Congress J)Ul the voters &Wlf>y                      ~farshall
   too man..v families don 'l know how           decide who will lead this Nation.             HydP-Bmith            8t:otttFI.,
   they are going to pay the rent or put            A democracy in which lhe elected                                    ::-iAY~ 9'2
   groceries on t-he l.able.                     leaders do not bend to the will of the Ba.idwin
                                                                                                                    G"1ham
     It- is tough out there. hut, Americans      voters is no democracy. It is a totali- Barra~stJ                  Gr:t~~T{';v               P011.Illill!
   are fighters. and despite all the chal-       tarian state. Antl those who pursue this s,,mw1.                   Ha,~.·-r•rty              R1•1•d
   lenges. in Novemhel' they did what            effort are supporting: a eoup.                Blal·kbut·n                                    Hi:-a-di-
                                                                                                                    :H:1.'-.c:an
   Americans do when t-hey are unhappy              I urge my collea,.,o-ues t-o vote no on 13lunw·mha1
                                                                                               Blunt                 H,.·in..•·if-h
                                                                                                                                              Romne-y
                                                                                                                                              Ii.u:-,~,n
   with their leadership-t-hey voled for         t.his effort Lo overthrow our democ- Bookt.~r                       Hkkt:!llot,pi-•r         Rou'!ld:!-
   ehange. The;y turned their backs on a         !'acy.                                        B-oozman             Hirono                    Rnhin
                                                    I :vielfl t-he floor.                      Braµn                Hoo1.·".e11
   sitting· President who fans the flames                                                      B:!:mrn               Inhoh·
                                                                                                                                              'Sd!ldt'l"~
                                                                                                                                              s,,_,~..:;l'
   of hatred while bodies pile up in the            The PRESIDING OFFICER. The Sen- Bmr                             .Tohn:son                 'Stba{Z
   morgue. Instead. they elected a new           at.or from Alaska.                            Cant.Well             Kain('
                                                                                                                                              Schumt-1
                                                                                                         eapi!o                  Kelly
   President, who wants to save lives. to                                                                eartlir:                K("llll~dy
                                                                                                                                                   StO{t tSC:
  save our economy. and to save our de-                                                                                                            :-;bnhe@11
                                                 RECESS SUBJECT TO THE CALL ff!,'                        ('"al1)('>l"            King
   mocracy.                                                                                              Ca:¼•:-,·               Klohocbar         Shelb;;
     E\'en as the pandemic raged. Ameri-                         THE CHAIR                               f'a.Sf<.1dy             Lankford
                                                                                                                                                   :Si.n?m,1
                                                                                                         C'olHns                 Leah:,-           ~rnitll
   cans showed up for democracy_ States             Ms. MURKOWSKL Mr. President. I                       Coon.~                  IR<'              .:-;tah1:now
   worked overtime to seL uD safe sys-           ask unanimous consent that Lhe Sen-                     C'oru:1rtt              Lo,,ffi-,r        :S.uUiva.n
   tems, ballot drop boxes. early voting,        al-e st-and ill recess suhject, to the call             Cort e,z I\.:fu.~t t>   r,uj:~.n          Tt-i-it~1-
                                                                                                         Cotton                  Manr-hin          Toune-
  and gallons of hand sanitizer. Voters          of the chair.                                                                                     Tilli:.
                                                                                                         Cr-amf',r               MarkPY
  mailed Lheir ballots earlier. put- on            Tlle PRESIDING OF!<'ICER. Witl10ut                    Crapo                   '!\lr.Cnum~ll     To-!:1mf•Y
  masks. and stood in line at the polls.         objeel-ion. the Senate stands in recess                 Value,:,;.              :i\i-euendt-z     Yan Hollf'"n
  'l'he election of 2020 shattered ,,oting       subject to the call of the Chair.                       Duc-kworth              11.lerkle:v
   records.                                                                                              Dul'bin                 Moran             Warren
                                                   Thereupon. the Senate. at 11:25 p.m .•                F.l1l$t                 l,Iurkowski       \\·h1te>honsf'
     So here we are on the floor of the          recessed subject to the call of t.he Chair              Fdnf.t('in              Murphy            Wfrk'\'l
   U.S. Senate in the aftermath of a his-        and reassembled at 12:28 a.m. when                      Fi~•hpr                 Muna:r            W,d•n
   toric election held in the middle of a        caned to order by t.he Vice President.                  Gi!Hornntl              Paul              Yomm
  pandemic. People are suffering. and we           The VICE PRESIDENT. The majority                        The VICE PRESIDENT. On this vote.
  should be working to get them the help         leader.                                                 the yeas are 7, the nays are 92.
   they need. Instead. we are here because          Mr. McCONNELL. I know of no fur-                       The objection is not. susl.ained.
  Donald Trump want.s to overturn the            ther debate.                                              The SecreLary will notify the House
  results of Lhat election. The Repub-             The VICE PRESIDENT. Pursuant to                       of the action of the Senate. infonning:
  licans objecting to the results of this        S. Con. Res. 1 and secLion 17. title III.               that body that the Senate is now ready
  election will be jud,_ged by history. buL      U.S. Code. when the two Houses with-                    to proceed t,o Joint Session for further
   Lhe rest ofus will be judged as wen.          draw from the joinl- session to count,                  count of the electoral vote for Presi-
     It is our responsibility to st-and up       the electoral vote for separate consid-                 dent and Vice President.
  for our democracy even while other             eration of an objection. a Senator may                    The majority leader.
  Senators work to undermine it.                 speak Lo the objecUon for 5 minutes
     Losing is hard. I ran for President
                                                 and not more than once. Dehate shall
  myself. It was a hard-fought primary.          not, exceed 2 hours. after which the                                     ORDER OF BUSINESS
  hut Joe Billen won and I lost_ I am not
                                                 Chair will put. the question: Shall the                     Mr. McCONNELL. l\:l.r. P1•esiden L for
  the only one Lo live through that: a           ohjecLion be sustained?
  number of Senal-0rs in this room have                                                                  informal-ion of all of our colleaguei,.. we
                                                   T11e clerk will reporL the objection                  don't expect additional votes lonight.
  run for Pre:;ident. None of us was suc-        made in Lhe joint session.
  cessful. and when we lost. we coneeded           The senior assistant leg·islative clerk
  and we got, out. of the race because that.     read as follows:
  is how democracy works. None of us                                                                .MESSAGES FROM THE PRESIDE-1'-JT
                                                   Ohjeclion from Senator HAWLEY from Mil;-           Messages from the President of t-he
  lied ahout the result.s. We didn'L Lhrow       souri and Represent.alive Pr!l!llY fl•om Penn- Unit.ed States were uommunieat.ed to
  temper t.anlrums. We clidn't tel1 our a1-      s,·Ivania. "We. a l:.S. Senator and Memner of
  1ies in Con.gress or the Stales to over-       the House of Representative,;. object. to t.h<> lhe Senate by Ms. Roberts. one of his
  t-urn the results. We didn·L feed poi-         eount.ing of the deet.oral Yot.e,-; of tJ1e St.ate secretaries.
  sonous propag•,mcia to our suppol'Lers.        of Penns~·lvania on tlw grounrl that. the,;·
  \Ye didn't urg·e people to match on            were not. under all of tile known              <'il"-
  St.ate eapit.als 01· 1-o tleseend on \\'ash-   <'UmHtnnues. reg·ulady g-iv~11. ··                      EXECUTIVE MESSAGES REFERRED
  ingt-on. We aceepLed Lhe will of the vot,-       Tbe VICE PRESIDENT. The majority                       Af' in executive session the Presidin,.~
  ers.                                           leader.                                                 Officer laid before the Senate messages
